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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                  ALEXANDRIA DIVISION

     UNITED STATES, et al.,

                          Plaintiffs,

           vs.
                                                              No. 1:23-cv-00108-LMB-JFA
     GOOGLE LLC,

                          Defendant.


       DEFENDANT GOOGLE LLC’S OBJECTIONS TO PLAINTIFFS’ DEPOSITION
       TESTIMONY DESIGNATIONS, AND GOOGLE’S COUNTER-DESIGNATIONS

          Pursuant to the Court’s Order Modifying the Pretrial Schedule entered on June 24, 2024,

   ECF No. 871, Rule 26(a)(3) of the Federal Rules of Civil Procedure, and Local Civil Rule 30,

   Defendant Google LLC hereby submits its objections and counter-designations to Plaintiffs’

   deposition designations, dated July 5, 2024. See ECF 895. The objections and counter-

   designations are contained in the attached exhibit. The objection codes are as follows:

       Code                                           Objection
       30b6       Outside the scope of FRCP 30(b)(6) topics
        103       Assumes facts not in evidence
        106       Incomplete excerpt or designation
        402       Irrelevant
                  Unfair prejudice, confusing the issues, misleading the jury, undue delay, wasting
        403       time, or needlessly presenting cumulative evidence
                  Calls for speculation; speculative; lack of personal knowledge
        602
       611b       Beyond the scope of direct
       611c       Leading
        701       Improper opinion by lay witness
        802       Hearsay
        805       Hearsay within hearsay


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          Google reserves the right to amend and/or supplement the attached deposition counter-

   designations and objections, including with respect to the Court’s rulings on motions in limine or

   other pre-trial rulings, as well as in the event a witness whom Google intends to call live is

   unable to testify live and may only appear by deposition. Google also reserves the right to

   introduce or use any of Plaintiffs’ designations at trial, including as counter-designations, to the

   extent Plaintiffs do not do so. Google further incorporates by reference herein, their deposition

   designations filed on July 5, 2024. See ECF 893.




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    Dated: July 19, 2024                 Respectfully submitted,

    Eric Mahr (pro hac vice)             /s/ Craig C. Reilly
    Andrew Ewalt (pro hac vice)          Craig C. Reilly (VSB # 20942)
    Tyler Garrett (VSB # 94759)          THE LAW OFFICE OF
    FRESHFIELDS BRUCKHAUS                 CRAIG C. REILLY, ESQ.
    DERINGER US LLP                      209 Madison Street, Suite 501
    700 13th Street, NW, 10th Floor      Alexandria, VA 22314
    Washington, DC 20005                 Telephone: (703) 549-5354
    Telephone: (202) 777-4500            Facsimile: (703) 549-5355
    Facsimile: (202) 777-4555            craig.reilly@ccreillylaw.com
    eric.mahr@freshfields.com
                                         Karen L. Dunn (pro hac vice)
    Justina K. Sessions (pro hac vice)   Jeannie S. Rhee (pro hac vice)
    FRESHFIELDS BRUCKHAUS                William A. Isaacson (pro hac vice)
    DERINGER US LLP                      Amy J. Mauser (pro hac vice)
    855 Main Street                      Martha L. Goodman (pro hac vice)
    Redwood City, CA 94063               Bryon P. Becker (VSB #93384)
    Telephone: (650) 618-9250            Erica Spevack (pro hac vice)
    Fax: (650) 461-8276                  PAUL, WEISS, RIFKIND, WHARTON &
    justina.sessions@freshfields.com     GARRISON LLP
                                         2001 K Street, NW
    Daniel Bitton (pro hac vice)         Washington, DC 20006-1047
    AXINN, VELTROP & HARKRIDER           Telephone: (202) 223-7300
    LLP                                  Facsimile (202) 223-7420
    55 2nd Street                        kdunn@paulweiss.com
    San Francisco, CA 94105
    Telephone: (415) 490-2000            Erin J. Morgan (pro hac vice)
    Facsimile: (415) 490-2001            PAUL, WEISS, RIFKIND, WHARTON &
    dbitton@axinn.com                    GARRISON LLP
                                         1285 Avenue of the Americas
    Bradley Justus (VSB # 80533)         New York, NY 10019-6064
    AXINN, VELTROP & HARKRIDER           Telephone: (212) 373-3387
    LLP                                  Facsimile: (212) 492-0387
    1901 L Street, NW                    ejmorgan@paulweiss.com
    Washington, DC 20036
    Telephone: (202) 912-4700            Counsel for Defendant Google LLC
    Facsimile: (202) 912-4701
    bjustus@axinn.com




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                                                         Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                             Amini Day 1 (Google)



                                        CID or Litigation           Video of         Page     Line    Page    Line     Party Confidentiality as of                        Google Counter-
   Witness         Date of Deposition                                                                                                                Google Objections
                                           Deposition            Deposition (Y/N)    From     From     to      to             2024.07.03                                   Designations
Ali Nasiri Amini      2023.11.14            Litigation                  Yes            11       16      11     20             Confidential
Ali Nasiri Amini      2023.11.14            Litigation                  Yes            25       24      26      1                Public
Ali Nasiri Amini      2023.11.14            Litigation                  Yes            26       4       26     20                Public
Ali Nasiri Amini      2023.11.14            Litigation                  Yes            43       14      44     16             Confidential
Ali Nasiri Amini      2023.11.14            Litigation                  Yes            44       17      45     22             Confidential
Ali Nasiri Amini      2023.11.14            Litigation                  Yes            45       23      45     24             Confidential
Ali Nasiri Amini      2023.11.14            Litigation                  Yes            46        4      46      6                Public
Ali Nasiri Amini      2023.11.14            Litigation                  Yes            46        7      46     13             Confidential
Ali Nasiri Amini      2023.11.14            Litigation                  Yes            46       17      47      8             Confidential
Ali Nasiri Amini      2023.11.14            Litigation                  Yes            63       24      64     24             Confidential
Ali Nasiri Amini      2023.11.14            Litigation                  Yes            65        4      65      6             Confidential
Ali Nasiri Amini      2023.11.14            Litigation                  Yes            65        9      65     15             Confidential
Ali Nasiri Amini      2023.11.14            Litigation                  Yes            65       17      65     19             Confidential
Ali Nasiri Amini      2023.11.14            Litigation                  Yes            66        2      66      5             Confidential
Ali Nasiri Amini      2023.11.14            Litigation                  Yes            66        7      67      3             Confidential
Ali Nasiri Amini      2023.11.14            Litigation                  Yes            67        4      67      6             Confidential
Ali Nasiri Amini      2023.11.14            Litigation                  Yes            67        9      67     11             Confidential
Ali Nasiri Amini      2023.11.14            Litigation                  Yes            67       13      68     11             Confidential
Ali Nasiri Amini      2023.11.14            Litigation                  Yes            68       15      69     11             Confidential
Ali Nasiri Amini      2023.11.14            Litigation                  Yes            69       23      70     22             Confidential
Ali Nasiri Amini      2023.11.14            Litigation                  Yes            74       10      75     21             Confidential
Ali Nasiri Amini      2023.11.14            Litigation                  Yes            75       24      76     11             Confidential
Ali Nasiri Amini      2023.11.14            Litigation                  Yes            76       13      76     15             Confidential
Ali Nasiri Amini      2023.11.14            Litigation                  Yes            76       18      76     23             Confidential
Ali Nasiri Amini      2023.11.14            Litigation                  Yes            83       6       86     19                Public
Ali Nasiri Amini      2023.11.14            Litigation                  Yes            86       20      86     22                Public
Ali Nasiri Amini      2023.11.14            Litigation                  Yes            87       1       87     14                Public
Ali Nasiri Amini      2023.11.14            Litigation                  Yes            91       4       91      7          Highly Confidential
Ali Nasiri Amini      2023.11.14            Litigation                  Yes            91       10      92     12          Highly Confidential
Ali Nasiri Amini      2023.11.14            Litigation                  Yes           108       13     109     10          Highly Confidential             106
Ali Nasiri Amini      2023.11.14            Litigation                  Yes           334       8      341     9           Highly Confidential             402
Ali Nasiri Amini      2023.11.14            Litigation                  Yes           349       3      349     5           Highly Confidential             402
Ali Nasiri Amini      2023.11.14            Litigation                  Yes           349       8      350     14          Highly Confidential             402
Ali Nasiri Amini      2023.11.14            Litigation                  Yes           373        1     373     23             Confidential
Ali Nasiri Amini      2023.11.14            Litigation                  Yes           394       18     394     20             Confidential                 402
                                                                                                                                                                         393:4-393:6; 393:9-
Ali Nasiri Amini      2023.11.14            Litigation                  Yes           394       23     397      5          Highly Confidential             402
                                                                                                                                                                               394:16
Ali Nasiri Amini      2023.11.14            Litigation                  Yes           401       19     402     16             Confidential                 402
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                                                               Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                                                   Avery (Kevel)


                                                                                                                                         Party Confidentiality as                              Google Counter-
 Witness      Date of Deposition    CID or Litigation Deposition   Video of Deposition (Y/N) Page From Line From Page to Line to                                     Google Objections
                                                                                                                                              of 2024.07.03                                     Designations
James Avery      2023.08.16                  Litigation                      Yes                   5           21          6       6              Public
James Avery      2023.08.16                  Litigation                      Yes                   8           18          8      22              Public
James Avery      2023.08.16                  Litigation                      Yes                   8           23          9       6              Public
James Avery      2023.08.16                  Litigation                      Yes                   9            5          9      10              Public
James Avery      2023.08.16                  Litigation                      Yes                   9           18         10      25              Public
James Avery      2023.08.16                  Litigation                      Yes                  11            1         12       2              Public
James Avery      2023.08.16                  Litigation                      Yes                  12            3         12      11              Public
James Avery      2023.08.16                  Litigation                      Yes                  13           11         14       9              Public
James Avery      2023.08.16                  Litigation                      Yes                  14           13         14      17              Public
James Avery      2023.08.16                  Litigation                      Yes                  14           21         15      13              Public
James Avery      2023.08.16                  Litigation                      Yes                  15           15         15      15              Public
James Avery      2023.08.16                  Litigation                      Yes                  15           24         16      13              Public          602, 701, 802 (16:10-13)          68:4-10
                                                                                                                                                                    602, 701, 802 (16:16-
James Avery      2023.08.16                  Litigation                      Yes                  16           16         17      20              Public
                                                                                                                                                                  17:4); 602, 802 (17:5-20)
James Avery      2023.08.16                  Litigation                      Yes                  18            4         18       7              Public
James Avery      2023.08.16                  Litigation                      Yes                  18           10         19      4               Public
James Avery      2023.08.16                  Litigation                      Yes                  19            6         19       8              Public
James Avery      2023.08.16                  Litigation                      Yes                  19            9         19      23              Public
                                                                                                                                                                   802 (20:18-21:9); 602,
James Avery      2023.08.16                  Litigation                      Yes                  20           15         21      24              Public
                                                                                                                                                                       701 (21:22-23)
James Avery      2023.08.16                  Litigation                      Yes                  21           25         22       9              Public            602, 701 (21:25-22:3)
James Avery      2023.08.16                  Litigation                      Yes                  22           11         22      11              Public
James Avery      2023.08.16                  Litigation                      Yes                  23            6         23      12              Public
James Avery      2023.08.16                  Litigation                      Yes                  23           15         23      24              Public               602 (23:20-24)                 24:1
James Avery      2023.08.16                  Litigation                      Yes                  24            3         24       6              Public                   602, 701
                                                                                                                                                                  602, 701 (24:8-12); 602,    83:6-83:22; 84:10-11;
James Avery      2023.08.16                  Litigation                      Yes                  24           8          24      21              Public
                                                                                                                                                                       611c (24:20-21)                84:13
James Avery      2023.08.16                  Litigation                      Yes                  24           23         24      25              Public                  602, 611c
James Avery      2023.08.16                  Litigation                      Yes                  25            1         25       5              Public                   602, 701
James Avery      2023.08.16                  Litigation                      Yes                  25            7         25       9              Public                   602, 701
James Avery      2023.08.16                  Litigation                      Yes                  25           11         25      15              Public
James Avery      2023.08.16                  Litigation                      Yes                  25           17         26      6               Public             602, 611c (26:4-6)
James Avery      2023.08.16                  Litigation                      Yes                  26            8         27      6               Public             602, 611c (26:8-12)
James Avery      2023.08.16                  Litigation                      Yes                  27           15         27      17              Public
James Avery      2023.08.16                  Litigation                      Yes                  27           19         28      5               Public              602, 701 (28:2-5)
                                                                                                                                                                   602, 701 (28:7-9); 602,
James Avery      2023.08.16                  Litigation                      Yes                  28           7          28      18              Public
                                                                                                                                                                       701 (28:11-18)
James Avery      2023.08.16                  Litigation                      Yes                  29           24         30       5              Public
James Avery      2023.08.16                  Litigation                      Yes                  30            6         30      25              Public
James Avery      2023.08.16                  Litigation                      Yes                  31            2         34       8              Public               802 (32:11-19)
James Avery      2023.08.16                  Litigation                      Yes                  34           10         34      18              Public
James Avery      2023.08.16                  Litigation                      Yes                  34           20         35      15              Public             602, 701 (35:4-15)
                                                                                                                                                                  602, 701 (35:17-22); 602
James Avery      2023.08.16                  Litigation                      Yes                  35           17         36       8              Public
                                                                                                                                                                         (35:24-36:5)
James Avery      2023.08.16                  Litigation                      Yes                  37           14         37      22              Public
James Avery      2023.08.16                  Litigation                      Yes                  37           24         39      9               Public
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                                                               Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                                                          Avery (Kevel)


                                                                                                                                         Party Confidentiality as                                     Google Counter-
 Witness      Date of Deposition    CID or Litigation Deposition   Video of Deposition (Y/N) Page From Line From Page to Line to                                       Google Objections
                                                                                                                                              of 2024.07.03                                            Designations
                                                                                                                                                                    802 (40:6-10); 802 (40:14-
James Avery      2023.08.16                  Litigation                      Yes                  39           11         41      14              Public
                                                                                                                                                                     20); 602, 701 (41:2-14)
James Avery      2023.08.16                  Litigation                      Yes                  41           16         41      20              Public                    602, 701                  41:22-42:1; 42:3
James Avery      2023.08.16                  Litigation                      Yes                  42            5         42       8              Public                      602
James Avery      2023.08.16                  Litigation                      Yes                  42            9         43       8              Public                    602, 701
James Avery      2023.08.16                  Litigation                      Yes                  43           10         43      16              Public                    602, 701
                                                                                                                                                                    602, 701 (43:18-20); 602,
James Avery      2023.08.16                  Litigation                      Yes                  43           18         44      17              Public                                             84:15-23; 85:15-17
                                                                                                                                                                      701, 802 (43:22-44:4)
James Avery      2023.08.16                  Litigation                      Yes                  44           19         44      22              Public                 602 (44:21-22)
                                                                                                                                                                      602 (44:24-45:1); 602,
James Avery      2023.08.16                  Litigation                      Yes                  44           24         45      13              Public
                                                                                                                                                                       701, 802 (45:10-13)
James Avery      2023.08.16                  Litigation                      Yes                  45           19         45      22              Public                  602, 701, 802
                                                                                                                                                                      602, 701, 802 (45:24-
James Avery      2023.08.16                  Litigation                      Yes                  45           24         46       7              Public            46:1); 602, 701, 802 (46:6-
                                                                                                                                                                                7)
James Avery      2023.08.16                  Litigation                      Yes                  46           9          46      15              Public             602, 701, 802 (46:9-11)              46:16-17
                                                                                                                                                                      602, 701, 802 (46:23-
James Avery      2023.08.16                  Litigation                      Yes                  46           23         47      19              Public             47:16); 602, 701 (47:17-
                                                                                                                                                                                19)
James Avery      2023.08.16                  Litigation                      Yes                  47           20         47      22              Public                     602, 701
James Avery      2023.08.16                  Litigation                      Yes                  47           25         48      1               Public                     602, 701
James Avery      2023.08.16                  Litigation                      Yes                  48            5         48      11              Public                       611c
James Avery      2023.08.16                  Litigation                      Yes                  48           13         48      17              Public                       611c
James Avery      2023.08.16                  Litigation                      Yes                  48           19         48      24              Public                       611c
James Avery      2023.08.16                  Litigation                      Yes                  49           1          50       5              Public            611c (49:1); 611c (50:1-5)

                                                                                                                                                                    611c (50:7); 602, 701, 802
James Avery      2023.08.16                  Litigation                      Yes                  50           7          51       4              Public             (50:9-24); 602, 701, 802
                                                                                                                                                                           (50:25-51:4)
                                                                                                                                                                     602, 701, 802 (51:6-13);
James Avery      2023.08.16                  Litigation                      Yes                  51           6          51      18              Public
                                                                                                                                                                       602, 701 (51:14-18)
James Avery      2023.08.16                  Litigation                      Yes                  51           19         51      21              Public                  602, 611c, 701
                                                                                                                                                                      602, 611c, 701 (51:23-
James Avery      2023.08.16                  Litigation                      Yes                  51           23         52       8              Public
                                                                                                                                                                     52:1); 602, 701 (52:5-8)
James Avery      2023.08.16                  Litigation                      Yes                  52           10         52      15              Public                     602, 701
James Avery      2023.08.16                  Litigation                      Yes                  69           9          69      15              Public                                                   69:3-8
James Avery      2023.08.16                  Litigation                      Yes                  72           1          72      10              Public
                                                                                                                                                                                                    72:25-73:3; 73:15-20;
                                                                                                                                                                                                    74:8-10; 74:25-75:8;
                                                                                                                                                                                                    75:11-76:8; 76:10-22;
James Avery      2023.08.16                  Litigation                      Yes                  76           23         77       8              Public                                            77:9-17; 77:21-78:23;
                                                                                                                                                                                                  78:25-79:1; 79:3-7; 81:9-
                                                                                                                                                                                                  19; 82:5, 81:21-82:3; 82:7-
                                                                                                                                                                                                     18; 82:21-23; 82:25
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                                                               Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                                                      Avery (Kevel)


                                                                                                                                         Party Confidentiality as                                 Google Counter-
 Witness      Date of Deposition    CID or Litigation Deposition   Video of Deposition (Y/N) Page From Line From Page to Line to                                       Google Objections
                                                                                                                                              of 2024.07.03                                        Designations
James Avery      2023.08.16                  Litigation                      Yes                  86           24         87       5              Public                 602, 611c, 701
                                                                                                                                                                    611c (89:4-10); 602, 701,
James Avery      2023.08.16                  Litigation                      Yes                  89           4          89      21              Public
                                                                                                                                                                         802 (89:11-21)
James Avery      2023.08.16                  Litigation                      Yes                  89           23         90      7               Public                  602, 701, 802
James Avery      2023.08.16                  Litigation                      Yes                  91           18         91      21              Public
James Avery      2023.08.16                  Litigation                      Yes                  91           22         92      13              Public                 602, 701, 802
James Avery      2023.08.16                  Litigation                      Yes                  92           21         93      16              Public            602, 701, 802 (93:11-16)
                                                                                                                                                                      602, 701, 802 (94:8-
James Avery      2023.08.16                  Litigation                      Yes                  93           19         95      12              Public
                                                                                                                                                                             95:12)

                                                                                                                                                                      602, 701, 802 (95:14-
James Avery      2023.08.16                  Litigation                      Yes                  95           14         96       5              Public
                                                                                                                                                                    95:21); 611c (95:23-96:2)
James Avery      2023.08.16                  Litigation                      Yes                  96            8         97       2              Public                    602, 701
James Avery      2023.08.16                  Litigation                      Yes                  97            4         97      14              Public                602, 701 (97:4-6)
James Avery      2023.08.16                  Litigation                      Yes                  97           17         97      21              Public                      611c
James Avery      2023.08.16                  Litigation                      Yes                  97           23         98      2               Public
James Avery      2023.08.16                  Litigation                      Yes                  98           14         98      22              Public                   602, 802
James Avery      2023.08.16                  Litigation                      Yes                  99            1         99      10              Public                 602, 701, 802
                                                                                                                                                                                                53:22-54:15; 54:23-25;
                                                                                                                                                                                                55:13-16; 55:19-56:14;
James Avery      2023.08.16                  Litigation                      Yes                                                                  Public                                        57:17-58:1; 58:13-16;
                                                                                                                                                                                                 61:19-62:16; 63:4-5;
                                                                                                                                                                                                       63:14-16
James Avery      2023.08.16                  Litigation                      Yes                                                                  Public                                         69:16-18; 69:24-70:5
                                                                                                                                                                                                70:10-71:25; 72:11-13;
James Avery      2023.08.16                  Litigation                      Yes                                                                  Public
                                                                                                                                                                                                       72:15-16
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                                                             Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                                     Bellack CID (Google)



                                        CID or Litigation   Video of Deposition                                                Party Confidentiality as of                            Google Counter-
    Witness        Date of Deposition                                             Page From Line From Page to Line to                                        Google Objections
                                           Deposition              (Y/N)                                                              2024.07.03                                       Designations
Jonathan Bellack      2020.10.02              CID                   No                 5          20          5       24          Highly Confidential
Jonathan Bellack      2020.10.02              CID                   No                15          24         16       6           Highly Confidential              106                   16:7-16:13
Jonathan Bellack      2020.10.02              CID                   No                16          14         16       21          Highly Confidential
Jonathan Bellack      2020.10.02              CID                   No                16          17         16       21          Highly Confidential
Jonathan Bellack      2020.10.02              CID                   No                17           9         17       24          Highly Confidential                                    19:1-19:16
Jonathan Bellack      2020.10.02              CID                   No                29          14         30       11          Highly Confidential                                    30:12-31:1
Jonathan Bellack      2020.10.02              CID                   No                31           3         31       21          Highly Confidential
Jonathan Bellack      2020.10.02              CID                   No                33           5         34        5          Highly Confidential
Jonathan Bellack      2020.10.02              CID                   No                47          18         48        3          Highly Confidential
Jonathan Bellack      2020.10.02              CID                   No                50          24         51       15          Highly Confidential                              53:8-54:7; 66:23-67:18
Jonathan Bellack      2020.10.02              CID                   No                72           7         73        2          Highly Confidential              602                   72:2-72:6
Jonathan Bellack      2020.10.02              CID                   No                78          22         79        3          Highly Confidential                                    77:24-78:9
Jonathan Bellack      2020.10.02              CID                   No                79           4         79       19          Highly Confidential                                   76:22-77:23
Jonathan Bellack      2020.10.02              CID                   No                92          20         93       25          Highly Confidential              602
Jonathan Bellack      2020.10.02              CID                   No                95          11         95       17          Highly Confidential              602
                                                                                                                                                                                  96:22-97:2; 97:14-98:12;
Jonathan Bellack      2020.10.02              CID                   No                95          18         95       25           Highly Confidential                            98:17-98:24; 99:8-101:5;
                                                                                                                                                                                       101:23-102:19

Jonathan Bellack      2020.10.02              CID                   No               112           7        112       15           Highly Confidential                           107:12-108:4; 109:11-109:22
Jonathan Bellack      2020.10.02              CID                   No               121          12        121       22           Highly Confidential             106                  121:7-121:11
Jonathan Bellack      2020.10.02              CID                   No               121          23        123        1           Highly Confidential
Jonathan Bellack      2020.10.02              CID                   No               131          18        131       21           Highly Confidential                                  131:5-131:17
Jonathan Bellack      2020.10.02              CID                   No               134          10        134       20           Highly Confidential                                  132:10-134:9
Jonathan Bellack      2020.10.02              CID                   No               134          21        135       25           Highly Confidential
Jonathan Bellack      2020.10.02              CID                   No               137          25        138        8           Highly Confidential                             136:1-136:11; 137:19-24
Jonathan Bellack      2020.10.02              CID                   No               139          17        140       16           Highly Confidential
Jonathan Bellack      2020.10.02              CID                   No               143          13        143       17           Highly Confidential                                 143:18-144:16
Jonathan Bellack      2020.10.02              CID                   No               144          17        145        1           Highly Confidential
Jonathan Bellack      2020.10.02              CID                   No               147           7        148        4           Highly Confidential
Jonathan Bellack      2020.10.02              CID                   No               148          5         148       10           Highly Confidential                                 148:17-149:13
Jonathan Bellack      2020.10.02              CID                   No               163           4        163       14           Highly Confidential
Jonathan Bellack      2020.10.02              CID                   No               172           1        172        3           Highly Confidential
Jonathan Bellack      2020.10.02              CID                   No               172          4         172       12           Highly Confidential             602
Jonathan Bellack      2020.10.02              CID                   No               172          13        173        9           Highly Confidential             602
Jonathan Bellack      2020.10.02              CID                   No               173          16        174       10           Highly Confidential             602
Jonathan Bellack      2020.10.02              CID                   No               175           7        175       12           Highly Confidential
Jonathan Bellack      2020.10.02              CID                   No               175          16        176        3           Highly Confidential           602, 802
Jonathan Bellack      2020.10.02              CID                   No               176           4        176        7           Highly Confidential
Jonathan Bellack      2020.10.02              CID                   No               176          12        176       16           Highly Confidential
Jonathan Bellack      2020.10.02              CID                   No               177          15        177       20           Highly Confidential             602                  177:21-178:1
Jonathan Bellack      2020.10.02              CID                   No               184          7         184       10           Highly Confidential             602
Jonathan Bellack      2020.10.02              CID                   No               205           2        206       7            Highly Confidential                           213:4-214:10; 217:11-218:19
Jonathan Bellack      2020.10.02              CID                   No               206          23        206       25           Highly Confidential
Jonathan Bellack      2020.10.02              CID                   No               207           6        209        6           Highly Confidential
Jonathan Bellack      2020.10.02              CID                   No               209           7        209       19           Highly Confidential
Jonathan Bellack      2020.10.02              CID                   No               209          20        210        6           Highly Confidential
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                                        CID or Litigation   Video of Deposition                                                Party Confidentiality as of                            Google Counter-
    Witness        Date of Deposition                                             Page From Line From Page to Line to                                        Google Objections
                                           Deposition              (Y/N)                                                              2024.07.03                                       Designations
Jonathan Bellack      2020.10.02              CID                   No               234          22        235        4          Highly Confidential
Jonathan Bellack      2020.10.02              CID                   No               256          13        258       3           Highly Confidential          106, 402, 602      256:5-256:12; 258:4-259:9
Jonathan Bellack      2020.10.02              CID                   No               259          10        260       18          Highly Confidential            402, 602
Jonathan Bellack      2020.10.02              CID                   No               280           9        280       12          Highly Confidential
                                                                                                                                                                                 280:22-281:4; 281:15-281:19;
Jonathan Bellack      2020.10.02              CID                   No               282          15        282       25           Highly Confidential           701, 602
                                                                                                                                                                                          282:5-12
Jonathan Bellack      2020.10.02              CID                   No               283           1        286       23           Highly Confidential           701, 602               286:24-289:6
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                                                                       Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                                            Bellack Day 1 (Google)



                                                                                                                                                     Party Confidentiality as of                          Google Counter-
    Witness        Date of Deposition   CID or Litigation Deposition     Video of Deposition (Y/N) Page From Line From Page to Line to                                             Google Objections
                                                                                                                                                            2024.07.03                                     Designations
Jonathan Bellack      2023.11.16                 Litigation                         Yes                   9           23        10        7                 Confidential
Jonathan Bellack      2023.11.16                 Litigation                         Yes                  16           4         16       8              Highly Confidential              402
Jonathan Bellack      2023.11.16                 Litigation                         Yes                  26           21        27       6                  Confidential
Jonathan Bellack      2023.11.16                 Litigation                         Yes                  27           1         27       6                  Confidential
Jonathan Bellack      2023.11.16                 Litigation                         Yes                  27           11        27       24                 Confidential
Jonathan Bellack      2023.11.16                 Litigation                         Yes                  28           19        29       8                  Confidential
Jonathan Bellack      2023.11.16                 Litigation                         Yes                  29           10        29       15                   Public
Jonathan Bellack      2023.11.16                 Litigation                         Yes                  29           17        29       24                   Public
Jonathan Bellack      2023.11.16                 Litigation                         Yes                  32            5        32       23                   Public                   602, 402
Jonathan Bellack      2023.11.16                 Litigation                         Yes                  32           25        33        3                   Public                   602, 402
Jonathan Bellack      2023.11.16                 Litigation                         Yes                  33            5        33       17                   Public                   602, 402
Jonathan Bellack      2023.11.16                 Litigation                         Yes                  37           23        38        4                 Confidential
Jonathan Bellack      2023.11.16                 Litigation                         Yes                  38            6        38        8                 Confidential
Jonathan Bellack      2023.11.16                 Litigation                         Yes                  38           25        39       20                 Confidential
Jonathan Bellack      2023.11.16                 Litigation                         Yes                  40           17        40       19                 Confidential               602, 402
Jonathan Bellack      2023.11.16                 Litigation                         Yes                  40           21        41       11                 Confidential               602, 402
Jonathan Bellack      2023.11.16                 Litigation                         Yes                  41           13        41       23                 Confidential               602, 402
Jonathan Bellack      2023.11.16                 Litigation                         Yes                  41           25        41       25                   Public                   602, 402
Jonathan Bellack      2023.11.16                 Litigation                         Yes                  56           20        56       23                 Confidential
Jonathan Bellack      2023.11.16                 Litigation                         Yes                  56           25        57       14                 Confidential
Jonathan Bellack      2023.11.16                 Litigation                         Yes                  101          11        101      14                   Public                   802, 602
                                                                                                                                                                                                        82:3-82:15; 83:2-83:6;
Jonathan Bellack      2023.11.16                 Litigation                         Yes                  101          16        101       20                     Public                802, 602        83:9-83:10; 83:12-83:19;
                                                                                                                                                                                                            101:22-102:4
                                                                                                                                                                                                        105:8-105:11; 105:14-
Jonathan Bellack      2023.11.16                 Litigation                         Yes                  106          21        106      25                      Public                802, 602
                                                                                                                                                                                                        105:24; 106:2-106:11
Jonathan Bellack      2023.11.16                 Litigation                         Yes                  107           2        107      4                  Confidential               802, 602              108:2-108:8
Jonathan Bellack      2023.11.16                 Litigation                         Yes                  131           9        131      19              Highly Confidential
                                                                                                                                                                                                         136:2-136:5; 136:8-
                                                                                                                                                                                                       136:12; 136:14-136:15;
Jonathan Bellack      2023.11.16                 Litigation                         Yes                  131          20        132      13              Highly Confidential
                                                                                                                                                                                                       136:17-136:22; 136:19-
                                                                                                                                                                                                       137:21; 137:24-138:15
Jonathan Bellack      2023.11.16                 Litigation                         Yes                  185           6        185       9                 Confidential                 602
                                                                                                                                                                                                       178:11-179:19; 184:11-
                                                                                                                                                                                                       184:13; 184:15-185:1;
Jonathan Bellack      2023.11.16                 Litigation                         Yes                  185          11        186       4                 Confidential
                                                                                                                                                                                                         185:3-185:4; 186:5-
                                                                                                                                                                                                                186:8
Jonathan Bellack      2023.11.16                 Litigation                         Yes                  201          5         201      6                  Confidential
Jonathan Bellack      2023.11.16                 Litigation                         Yes                  201          8         201      14                 Confidential
Jonathan Bellack      2023.11.16                 Litigation                         Yes                  201          15        201      17                    Public
Jonathan Bellack      2023.11.16                 Litigation                         Yes                  202          14        203      1               Highly Confidential           602, 106             201:20-202:13
                                                                                                                                                                                                         207:23-208:4; 208:7-
                                                                                                                                                                                                         208:10; 211:2-211:7;
Jonathan Bellack      2023.11.16                 Litigation                         Yes                  203           4        203       7                      Public                602, 106
                                                                                                                                                                                                        211:9-211:13; 215:18-
                                                                                                                                                                                                               215:22
Jonathan Bellack      2023.11.16                 Litigation                         Yes                  217          24        218      10              Highly Confidential
Jonathan Bellack      2023.11.16                 Litigation                         Yes                  218          13        218      23              Highly Confidential
Jonathan Bellack      2023.11.16                 Litigation                         Yes                  218          24        219      1               Highly Confidential
Jonathan Bellack      2023.11.16                 Litigation                         Yes                  219          3         219      7               Highly Confidential
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                                                                                                                                                     Party Confidentiality as of                        Google Counter-
    Witness        Date of Deposition   CID or Litigation Deposition     Video of Deposition (Y/N) Page From Line From Page to Line to                                             Google Objections
                                                                                                                                                            2024.07.03                                    Designations
Jonathan Bellack      2023.11.16                 Litigation                         Yes                  219          15        220       9             Highly Confidential                               219:9-219:14
                                                                                                                                                                                                       232:3-232:13; 239:3-
Jonathan Bellack      2023.11.16                 Litigation                         Yes                  231           5        231      15              Highly Confidential                           239:16; 246:4-246:7;
                                                                                                                                                                                                           246:9-247:1
Jonathan Bellack      2023.11.16                 Litigation                         Yes                  266          18        266      21                 Confidential
Jonathan Bellack      2023.11.16                 Litigation                         Yes                  266          23        266      25                 Confidential
Jonathan Bellack      2023.11.16                 Litigation                         Yes                  267          19        267      22                 Confidential
Jonathan Bellack      2023.11.16                 Litigation                         Yes                  267          24        268      4                  Confidential                                  268:19-268:23
                                                                                                                                                                                                       269:3-269:7; 269:13-
Jonathan Bellack      2023.11.16                 Litigation                         Yes                  269          18        269      22                 Confidential
                                                                                                                                                                                                              269:17
Jonathan Bellack      2023.11.16                 Litigation                         Yes                  344          25        345      2                  Confidential               402, 403
Jonathan Bellack      2023.11.16                 Litigation                         Yes                  345          9         345      9                  Confidential               402, 403
Jonathan Bellack      2023.11.16                 Litigation                         Yes                  346          6         346      8                  Confidential               402, 403
Jonathan Bellack      2023.11.16                 Litigation                         Yes                  347          5         347      23                 Confidential               402, 403
                                                                                                                                                                                       402, 403
Jonathan Bellack      2023.11.16                 Litigation                         Yes                  348          19        349       6                 Confidential
                                                                                                                                                                                     106 (349:3-6)
Jonathan Bellack      2023.11.16                 Litigation                         Yes                  350          11        351       1              Highly Confidential         402, 602, 403
Jonathan Bellack      2023.11.16                 Litigation                         Yes                  351          5         352       1                    Public                402, 602, 403
Jonathan Bellack      2023.11.16                 Litigation                         Yes                  352          2         352       3                 Confidential               402, 403
Jonathan Bellack      2023.11.16                 Litigation                         Yes                  352          5         352       13                Confidential               402, 403
Jonathan Bellack      2023.11.16                 Litigation                         Yes                  352          15        352       18                Confidential               402, 403
Jonathan Bellack      2023.11.16                 Litigation                         Yes                  352          20        353       4                 Confidential               402, 403
Jonathan Bellack      2023.11.16                 Litigation                         Yes                  353          6         353       10                Confidential               402, 403
Jonathan Bellack      2023.11.16                 Litigation                         Yes                  353          12        353       15                Confidential               402, 403
Jonathan Bellack      2023.11.16                 Litigation                         Yes                  353          17        353       17                Confidential               402, 403
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                                                                                                                                                                                                     Google Counter-
    Witness        Date of Deposition CID or Litigation Deposition   Video of Deposition (Y/N) Page From Line From Page to Line to Party Confidentiality as of 2024.07.03    Google Objections
                                                                                                                                                                                                      Designations
Jonathan Bellack      2023.11.17               Litigation                      Yes                  373          21        373      24              Highly Confidential
Jonathan Bellack      2023.11.17               Litigation                      Yes                  374          1         374      11              Highly Confidential                               374:12-374:14
Jonathan Bellack      2023.11.17               Litigation                      Yes                  402          1         402      14              Highly Confidential
Jonathan Bellack      2023.11.17               Litigation                      Yes                  402          1         402      14              Highly Confidential
Jonathan Bellack      2023.11.17               Litigation                      Yes                  539          22        540       2                    Public                   402, 403
Jonathan Bellack      2023.11.17               Litigation                      Yes                  540          4         540      13                    Public                   402, 403
Jonathan Bellack      2023.11.17               Litigation                      Yes                  540          19        542      11                 Confidential                402, 403
Jonathan Bellack      2023.11.17               Litigation                      Yes                  605          9         607       3                 Confidential                  402
Jonathan Bellack      2023.11.17               Litigation                      Yes                  607          5         607      23                 Confidential                  402
Jonathan Bellack      2023.11.17               Litigation                      Yes                  607          25        609      14                 Confidential                  402
Jonathan Bellack      2023.11.17               Litigation                      Yes                  609          16        610      14                 Confidential                  402
Jonathan Bellack      2023.11.17               Litigation                      Yes                  610          17        611       4                 Confidential                  402
Jonathan Bellack      2023.11.17               Litigation                      Yes                  611          7         611      24                 Confidential                  402
Jonathan Bellack      2023.11.17               Litigation                      Yes                  612          2         612       5                    Public                   402, 602
                                                                                                                                                                                     402
Jonathan Bellack      2023.11.17               Litigation                      Yes                  612          8         614       3                    Confidential
                                                                                                                                                                              701 (612:7-614:1)
Jonathan Bellack      2023.11.17               Litigation                      Yes                  614          5         614       6                      Public                   402
Jonathan Bellack      2023.11.17               Litigation                      Yes                  614          8         615       3                      Public                   402
Jonathan Bellack      2023.11.17               Litigation                      Yes                  616          1         616      19                      Public                 402, 403
Jonathan Bellack      2023.11.17               Litigation                      Yes                  616          23        618      19                      Public                 402, 403
Jonathan Bellack      2023.11.17               Litigation                      Yes                  619          5         619      16                      Public                 402, 403
Jonathan Bellack      2023.11.17               Litigation                      Yes                  619          19        619      20                      Public                 402, 403
                                                                                                                                                                                   402, 403
Jonathan Bellack      2023.11.17               Litigation                      Yes                  619          21        621       6                    Confidential      106, 402, 403 (620:25-
                                                                                                                                                                                    62:6)
Jonathan Bellack      2023.11.17               Litigation                      Yes                  621          14        621      24                      Public                 402, 403
Jonathan Bellack      2023.11.17               Litigation                      Yes                  622          13        622      21                      Public                 402, 403
Jonathan Bellack      2023.11.17               Litigation                      Yes                  623          1         623       3                      Public                 402, 403
Jonathan Bellack      2023.11.17               Litigation                      Yes                  623          8         624       3                      Public              402, 403, 106
Jonathan Bellack      2023.11.17               Litigation                      Yes                  625          24        626       4                      Public                 402, 403
                                                                                                                                                                                   402, 403
Jonathan Bellack      2023.11.17               Litigation                      Yes                  626          11        627       6                      Public
                                                                                                                                                                                106 (627:2-6)
Jonathan Bellack      2023.11.17               Litigation                      Yes                  628          7         628      15                    Confidential             402, 403
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                                                       Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                                    Bender CID (Google)


                                   CID or Litigation   Video of Deposition                                                 Party Confidentiality as of                          Google Counter-
 Witness      Date of Deposition                                             Page From Line From Page to Line to                                         Google Objections
                                     Deposition               (Y/N)                                                               2024.07.03                                     Designations
Brad Bender      2020.10.16              CID                   No                21           14         21      21           Highly Confidential
Brad Bender      2020.10.16              CID                   No                32            8         34       5           Highly Confidential                             30:14-32:7; 34:6-34:23
                                                                                                                                                                             42:10-43:20; 44:23-46:2;
Brad Bender      2020.10.16              CID                   No                43           21         44      22            Highly Confidential
                                                                                                                                                                                    46:3-46:15
Brad Bender      2020.10.16              CID                   No                 55          15         56      21            Highly Confidential                            36:5-38:7; 50:20-52:11
Brad Bender      2020.10.16              CID                   No                 59           5         59      21            Highly Confidential                           56:22-58:13; 58:14-58:23
Brad Bender      2020.10.16              CID                   No                 67          21         68      20            Highly Confidential
Brad Bender      2020.10.16              CID                   No                 87          13         88      16            Highly Confidential
Brad Bender      2020.10.16              CID                   No                 90          21         93       3            Highly Confidential                                 90:6-90:17
Brad Bender      2020.10.16              CID                   No                103          17        105      18            Highly Confidential
Brad Bender      2020.10.16              CID                   No                106          17        106      23            Highly Confidential
Brad Bender      2020.10.16              CID                   No                107          18        108      4             Highly Confidential             602
Brad Bender      2020.10.16              CID                   No                113           5        114      11            Highly Confidential                                114:12-116:2
                                                                                                                                                                              140:8-141:13; 141:17-
Brad Bender      2020.10.16              CID                   No                132          24        136       6            Highly Confidential
                                                                                                                                                                                     142:13
Brad Bender      2020.10.16              CID                   No                148          20        149      17            Highly Confidential
                                                                                                                                                                              155:2-155:15; 158:15-
Brad Bender      2020.10.16              CID                   No                164          20        165       5            Highly Confidential
                                                                                                                                                                               159:6; 165:6-166:11
Brad Bender      2020.10.16              CID                   No                223          15        225      18            Highly Confidential                                226:9-227:11
Brad Bender      2020.10.16              CID                   No                232          24        234      19            Highly Confidential             106               231:21-232:23
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                                                                                                                                                    Party Confidentiality as of                              Google Counter-
      Witness          Date of Deposition   CID or Litigation Deposition   Video of Deposition (Y/N) Page From Line From Page to Line to                                            Google Objections
                                                                                                                                                           2024.07.03                                         Designations
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                   9           24        10        4                Public
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  12           18        14        5                Public
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  14            6        15        8                Public
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  15           12        16       20                Public
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  16           21        17        9                Public
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  18           10        18       22                Public
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  18           23        19       19                Public
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  19           20        19       21                Public
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  20            2        20        6                Public
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  20            7        21       17                Public
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  21           18        21       20                Public
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  21           21        23       14                Public                      402, 701
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  24            9        24       19                Public
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  24           20        25       22                Public
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  25           23        26       17                Public
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  26            5        26       17                Public
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  26           18        26       22                Public
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  27            1        27       12                Public
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  27           13        28        4                Public
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  28            5        28       14                Public
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  28           15        28       17                Public                         602
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  28           22        28       23                Public                         602
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  30           18        31        1                Public
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  32           20        33        4                Public
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  33           21        34       13          Highly Confidential
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  34           14        34       22          Highly Confidential            611c (34:21-22)
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  35           3         35        8          Highly Confidential                 611c
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  35           24        36        4          Highly Confidential
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  38           14        38       23          Highly Confidential
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  38           24        39       11                Public
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  41           25        43        1          Highly Confidential                  602
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  43           2         43        4                Public                         602
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  43           8         43       19          Highly Confidential                  602
                                                                                                                                                                                      602 (47:16-19)
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  43           20        48       11           Highly Confidential
                                                                                                                                                                                       602 (48:7-11)
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  49           4         49        5           Highly Confidential                611c
                                                                                                                                                                                       611c (49:10)
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  49           10        50        3           Highly Confidential
                                                                                                                                                                                  611c, 602 (49:15 - 50:3)
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  51           16        51       17                 Public                     602, 701
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  51           22        51       22                 Public                     602, 701
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  53           16        53       18           Highly Confidential              611c, 701
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  55           11        56        5           Highly Confidential                 602
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  74           25        75       14           Highly Confidential
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  75           15        76        2                 Public                602 (75:25 - 76:2)
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  76            4        76       12           Highly Confidential                602
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  76           24        76       24                 Public               602 (76:245 - 76:24)
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  76           25        77       12                 Public                       602
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  82           17        83        3                 Public                     602, 701
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  86            2        87       19           Highly Confidential         602 (86:5 - 87:19)
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  90            5        92        5           Highly Confidential              602, 701
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                                                                                                                                                    Party Confidentiality as of                              Google Counter-
      Witness          Date of Deposition   CID or Litigation Deposition   Video of Deposition (Y/N) Page From Line From Page to Line to                                           Google Objections
                                                                                                                                                           2024.07.03                                         Designations
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  90           13        90       25                Public                     602, 701
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  91            2        92       13          Highly Confidential              602, 701
                                                                                                                                                                                  611c, 602 (95:20-22)
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  95           20        96        6           Highly Confidential
                                                                                                                                                                                   611c, 602 (96:2-6)
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  96           3         96        6           Highly Confidential             611c, 602
                                                                                                                                                                                    602 (96:22-97:9)
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  96           22        97       22           Highly Confidential
                                                                                                                                                                                    602 (97:14-97:22)
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  101           3        101      11           Highly Confidential       602, 611c (101:10-11)
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  101          17        101      23           Highly Confidential             602, 611c
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  102          25        103      14           Highly Confidential
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  103          16        103      17           Highly Confidential
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  103          19        103      24           Highly Confidential
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  104          3         106      12                 Public                 802 (104:3-7)
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  106          13        107      14           Highly Confidential        802 (106:13-107:1)
                                                                                                                                                                                    802 (107:19-24)
                                                                                                                                                                                    802 (108:12-17)
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  107          15        109       3           Highly Confidential
                                                                                                                                                                                    602 (108:18-24)
                                                                                                                                                                                   602 (108:25-109:3)
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  109          5         109      10                 Public                      602
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  111          21        113       9                 Public
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  113          12        113      12                 Public
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  114           2        114      15                 Public                 602 (114:7-15)
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  115          11        115      19                 Public
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  116           3        116       5                 Public
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  116          10        116      15           Highly Confidential
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  116          16        116      22                 Public
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  116          23        117      22                 Public                602 (117:10-22)
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  117          25        118       5           Highly Confidential               602
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  118           6        119      13           Highly Confidential               602
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  119          15        119      24                 Public                      602
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  119          25        120      17           Highly Confidential             402, 602
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  120          18        120      22                 Public                611c (120:20-22)
                                                                                                                                                                                    611c (120:24-25)
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  120          24        121      15           Highly Confidential
                                                                                                                                                                                    611c (121:13-15)
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  121          20        122      1            Highly Confidential               611c
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  122           2        122      13                 Public
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  122          14        123      3                  Public
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  124          16        125      25           Highly Confidential
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  126          3         126      9            Highly Confidential
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  127          20        128      12           Highly Confidential               602
                                                                                                                                                                                                          185:17-185:24; 186:4-22;
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  197          19        198       2                  Public                                          187:15-188:5
                                                                                                                                                                                                                 188:8-12
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  198           5        198       8                 Public
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  201          15        201      19           Highly Confidential            611c, 602
Gopal Krishan Bhatia      2023.09.21                 Litigation                       Yes                  201          22        202       1           Highly Confidential
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                                   CID or Litigation    Video of Deposition                                                  Party Confidentiality as of                         Google Counter-
Witness    Date of Deposition                                                  Page From Line From Page to Line to                                         Google Objections
                                      Deposition               (Y/N)                                                                2024.07.03                                    Designations
Ken Blom      2023.08.29              Litigation                Yes                  8          12         8       19                 Public
Ken Blom      2023.08.29              Litigation                Yes                  9          16        10       22                 Public
Ken Blom      2023.08.29              Litigation                Yes                 22          13        23       18           Highly Confidential
Ken Blom      2023.08.29              Litigation                Yes                 23           9        23       10                 Public
Ken Blom      2023.08.29              Litigation                Yes                 23          12        23       16                 Public                602 (23:15-16)
Ken Blom      2023.08.29              Litigation                Yes                 23          18        23       18           Highly Confidential              602
Ken Blom      2023.08.29              Litigation                Yes                 23          19        23       25           Highly Confidential              602
Ken Blom      2023.08.29              Litigation                Yes                 24          2         24        4           Highly Confidential              602
Ken Blom      2023.08.29              Litigation                Yes                 24           5        24        8                 Public
Ken Blom      2023.08.29              Litigation                Yes                 25           2        25        6                 Public
Ken Blom      2023.08.29              Litigation                Yes                 25           9        25       14                 Public
Ken Blom      2023.08.29              Litigation                Yes                 32          10        32       23                 Public
Ken Blom      2023.08.29              Litigation                Yes                 32          24        32       25                 Public
Ken Blom      2023.08.29              Litigation                Yes                 33           2        33        4                 Public
Ken Blom      2023.08.29              Litigation                Yes                 33          5         33       13                 Public                                        33:14-33:18
Ken Blom      2023.08.29              Litigation                Yes                 36          10        38       10           Highly Confidential
Ken Blom      2023.08.29              Litigation                Yes                 37          10        37       11                 Public                      602
Ken Blom      2023.08.29              Litigation                Yes                 37          13        37       14           Highly Confidential               602
Ken Blom      2023.08.29              Litigation                Yes                 37          16        37       17                 Public
Ken Blom      2023.08.29              Litigation                Yes                 37          18        37       21           Highly Confidential              602
Ken Blom      2023.08.29              Litigation                Yes                 38          19        38       20                 Public                   602, 701
Ken Blom      2023.08.29              Litigation                Yes                 38          22        38       25                 Public                   602, 701
                                                                                                                                                                               39:6-7; 39:9-14; 39:16-
Ken Blom      2023.08.29               Litigation               Yes                 39          2         39        5                  Public                  602, 701            22; 39:25-40:2;
                                                                                                                                                                                        40:4-8
Ken Blom      2023.08.29               Litigation               Yes                 45           6         45      22                  Public
Ken Blom      2023.08.29               Litigation               Yes                 55           2         55      25                  Public                     106
Ken Blom      2023.08.29               Litigation               Yes                 56           2         56       4                  Public                     106
Ken Blom      2023.08.29               Litigation               Yes                 56          5          56       8            Highly Confidential
Ken Blom      2023.08.29               Litigation               Yes                 56          12         56      13                  Public
Ken Blom      2023.08.29               Litigation               Yes                 56          15         56      15            Highly Confidential                                 56:16-57:3
Ken Blom      2023.08.29               Litigation               Yes                 57           4         57       4                  Public                     106
Ken Blom      2023.08.29               Litigation               Yes                 57          19         57      19            Highly Confidential              106
Ken Blom      2023.08.29               Litigation               Yes                 58          2          58      10            Highly Confidential
Ken Blom      2023.08.29               Litigation               Yes                 58          11         58      16                  Public
Ken Blom      2023.08.29               Litigation               Yes                 58          18        58       19            Highly Confidential
Ken Blom      2023.08.29               Litigation               Yes                129          23        129      25                  Public
Ken Blom      2023.08.29               Litigation               Yes                130           2        130      25                  Public
Ken Blom      2023.08.29               Litigation               Yes                131           2        131       5                  Public                611c (131:4-5)
Ken Blom      2023.08.29               Litigation               Yes                131           7        131      12                  Public                 611c (131:7)
Ken Blom      2023.08.29               Litigation               Yes                131          14        131      25                  Public
Ken Blom      2023.08.29               Litigation               Yes                133          24        133      25                  Public                602, 611c, 701
Ken Blom      2023.08.29               Litigation               Yes                134          2         134      25                  Public                  602, 701
Ken Blom      2023.08.29               Litigation               Yes                135           2        135       3                  Public                  602, 701
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                                                                                                                                         Party Confidentiality as of                       Google Counter-
 Witness      Date of Deposition   CID or Litigation Deposition   Video of Deposition (Y/N) Page From Line From Page to Line to                                        Google Objections
                                                                                                                                                2024.07.03                                  Designations
Bo Bradbury      2023.09.08                 Litigation                      Yes                   5           13         5       17         Highly Confidential
Bo Bradbury      2023.09.08                 Litigation                      Yes                   5           19         5       22         Highly Confidential
Bo Bradbury      2023.09.08                 Litigation                      Yes                   14          12         14      14         Highly Confidential
Bo Bradbury      2023.09.08                 Litigation                      Yes                   14          21         15       3         Highly Confidential
Bo Bradbury      2023.09.08                 Litigation                      Yes                   15           6         15      19         Highly Confidential
Bo Bradbury      2023.09.08                 Litigation                      Yes                   15          25         16      12         Highly Confidential
Bo Bradbury      2023.09.08                 Litigation                      Yes                   16          22         17       8         Highly Confidential
Bo Bradbury      2023.09.08                 Litigation                      Yes                   17          15         18       6         Highly Confidential
Bo Bradbury      2023.09.08                 Litigation                      Yes                   54          12         54      18         Highly Confidential                            53:11-17; 53:19-23
Bo Bradbury      2023.09.08                 Litigation                      Yes                   54          20         54      22         Highly Confidential
Bo Bradbury      2023.09.08                 Litigation                      Yes                   54          24         55       4         Highly Confidential                             55:5-9; 55:11-13
Bo Bradbury      2023.09.08                 Litigation                      Yes                  128          10        129       5         Highly Confidential
Bo Bradbury      2023.09.08                 Litigation                      Yes                  129          14        130      19         Highly Confidential
Bo Bradbury      2023.09.08                 Litigation                      Yes                  131          11        131      21         Highly Confidential
Bo Bradbury      2023.09.08                 Litigation                      Yes                  131          23        132       2         Highly Confidential
Bo Bradbury      2023.09.08                 Litigation                      Yes                  132           4        132      12         Highly Confidential
Bo Bradbury      2023.09.08                 Litigation                      Yes                  132          14        132      18         Highly Confidential
Bo Bradbury      2023.09.08                 Litigation                      Yes                  132          20        133      12         Highly Confidential
Bo Bradbury      2023.09.08                 Litigation                      Yes                  133          13        133      15         Highly Confidential
Bo Bradbury      2023.09.08                 Litigation                      Yes                  133          17        134       3         Highly Confidential
Bo Bradbury      2023.09.08                 Litigation                      Yes                  134           5        134      25         Highly Confidential
Bo Bradbury      2023.09.08                 Litigation                      Yes                  135           2        136       8         Highly Confidential
Bo Bradbury      2023.09.08                 Litigation                      Yes                  136          10        136      12         Highly Confidential
Bo Bradbury      2023.09.08                 Litigation                      Yes                  136          14        136      23         Highly Confidential
Bo Bradbury      2023.09.08                 Litigation                      Yes                  137          22        138      12         Highly Confidential
Bo Bradbury      2023.09.08                 Litigation                      Yes                  138          24        139       1         Highly Confidential
Bo Bradbury      2023.09.08                 Litigation                      Yes                  139           3        139      18         Highly Confidential
Bo Bradbury      2023.09.08                 Litigation                      Yes                  139          20        140       5         Highly Confidential
Bo Bradbury      2023.09.08                 Litigation                      Yes                  140          20        141      10         Highly Confidential
Bo Bradbury      2023.09.08                 Litigation                      Yes                  142           1        142      14         Highly Confidential
Bo Bradbury      2023.09.08                 Litigation                      Yes                  143           7        143      10         Highly Confidential
Bo Bradbury      2023.09.08                 Litigation                      Yes                  143          12        143      15         Highly Confidential
Bo Bradbury      2023.09.08                 Litigation                      Yes                  143          17        144       1         Highly Confidential                                144:13-18
Bo Bradbury      2023.09.08                 Litigation                      Yes                  145           9        146       3         Highly Confidential
Bo Bradbury      2023.09.08                 Litigation                      Yes                  146           5        146       8         Highly Confidential
Bo Bradbury      2023.09.08                 Litigation                      Yes                  146          10        146      10         Highly Confidential
Bo Bradbury      2023.09.08                 Litigation                      Yes                  147          22        148      17         Highly Confidential
Bo Bradbury      2023.09.08                 Litigation                      Yes                  148          19        148      22         Highly Confidential
Bo Bradbury      2023.09.08                 Litigation                      Yes                  148          24        149      11         Highly Confidential
Bo Bradbury      2023.09.08                 Litigation                      Yes                  149          13        149      22         Highly Confidential                                150:11-23
Bo Bradbury      2023.09.08                 Litigation                      Yes                  156          22        156      25         Highly Confidential              611c
Bo Bradbury      2023.09.08                 Litigation                      Yes                  157           2        157       4         Highly Confidential              611c
Bo Bradbury      2023.09.08                 Litigation                      Yes                  157           5        157      18         Highly Confidential
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                                        CID or Litigation      Video of Deposition                                                  Party Confidentiality as of                          Google Counter-
    Witness        Date of Deposition                                                  Page From Line From Page to Line to                                        Google Objections
                                           Deposition                 (Y/N)                                                                2024.07.03                                     Designations
Brian M. Bumpers      2023.09.08           Litigation                  Yes                  6           12          6      14                Public
Brian M. Bumpers      2023.09.08           Litigation                  Yes                  9            1          9       7                Public
Brian M. Bumpers      2023.09.08           Litigation                  Yes                 92            4         92      12                Public                                         91:17-92:3
Brian M. Bumpers      2023.09.08           Litigation                  Yes                 92           13         92      14                Public                     611c
Brian M. Bumpers      2023.09.08           Litigation                  Yes                 92           16         92      16                Public                     611c
Brian M. Bumpers      2023.09.08           Litigation                  Yes                 92           17         92      20                Public                     611c
Brian M. Bumpers      2023.09.08           Litigation                  Yes                 92           23         92      25                Public                     611c
Brian M. Bumpers      2023.09.08           Litigation                  Yes                 93            2         93       3                Public                     611c
Brian M. Bumpers      2023.09.08           Litigation                  Yes                 93            4         93       5                Public                     611c
Brian M. Bumpers      2023.09.08           Litigation                  Yes                 93            7         93       7                Public                     611c
Brian M. Bumpers      2023.09.08           Litigation                  Yes                 93            8         93       9                Public                     611c
Brian M. Bumpers      2023.09.08           Litigation                  Yes                 93           11         93      11                Public                     611c
Brian M. Bumpers      2023.09.08           Litigation                  Yes                 93           12         93      13                Public                     611c
Brian M. Bumpers      2023.09.08           Litigation                  Yes                 93           15         93      15                Public                     611c
Brian M. Bumpers      2023.09.08           Litigation                  Yes                 93           16         93      18                Public                     611c
Brian M. Bumpers      2023.09.08           Litigation                  Yes                 93           20         93      20                Public                     611c
Brian M. Bumpers      2023.09.08           Litigation                  Yes                 93           21         93      24                Public                     611c
Brian M. Bumpers      2023.09.08           Litigation                  Yes                 94            1         94       1                Public                     611c
Brian M. Bumpers      2023.09.08           Litigation                  Yes                 94            2         94       3                Public
Brian M. Bumpers      2023.09.08           Litigation                  Yes                 94            5         94       5                Public
Brian M. Bumpers      2023.09.08           Litigation                  Yes                 94            6         94      10                Public
Brian M. Bumpers      2023.09.08           Litigation                  Yes                 94           11         94      24                Public
Brian M. Bumpers      2023.09.08           Litigation                  Yes                 94           25         95       2                Public                     611c
Brian M. Bumpers      2023.09.08           Litigation                  Yes                 95            4         95       9                Public                     611c
Brian M. Bumpers      2023.09.08           Litigation                  Yes                 95           10         95      12                Public                     611c
Brian M. Bumpers      2023.09.08           Litigation                  Yes                 95           14         95      18                Public                     611c            95:19-21; 95:23-24
Brian M. Bumpers      2023.09.08           Litigation                  Yes                 95           14         95      18                Public                     611c          96:18-97:24; 98:6-98:19
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                                     CID or Litigation        Video of Deposition       Page      Line     Page    Line Party Confidentiality as                         Google Counter-
  Witness       Date of Deposition                                                                                                                 Google Objections
                                        Deposition                   (Y/N)              From      From      to      to       of 2024.07.03                                Designations
Andrew Casale      2023.09.26           Litigation                    Yes                 5        16        5      20           Public
Andrew Casale      2023.09.26           Litigation                    Yes                 5        22        5      24           Public
Andrew Casale      2023.09.26           Litigation                    Yes                12        10       13      13           Public
Andrew Casale      2023.09.26           Litigation                    Yes                13        16       13      23           Public
Andrew Casale      2023.09.26           Litigation                    Yes                14         2       14      8            Public
Andrew Casale      2023.09.26           Litigation                    Yes                14         9       14      16           Public
Andrew Casale      2023.09.26           Litigation                    Yes                14        17       14      25           Public
Andrew Casale      2023.09.26           Litigation                    Yes                15         3       15      15           Public
Andrew Casale      2023.09.26           Litigation                    Yes                15        16       15      23           Public
Andrew Casale      2023.09.26           Litigation                    Yes                15        24       15      25           Public
Andrew Casale      2023.09.26           Litigation                    Yes                16         2       16      6            Public
Andrew Casale      2023.09.26           Litigation                    Yes                16         7       16      13           Public
Andrew Casale      2023.09.26           Litigation                    Yes                16        16       16      25           Public
Andrew Casale      2023.09.26           Litigation                    Yes                17         2       17      11           Public
Andrew Casale      2023.09.26           Litigation                    Yes                17        12       18       9           Public
Andrew Casale      2023.09.26           Litigation                    Yes                18        10       18      25           Public
Andrew Casale      2023.09.26           Litigation                    Yes                19         2       19      10           Public
Andrew Casale      2023.09.26           Litigation                    Yes                19        13       19      25           Public
Andrew Casale      2023.09.26           Litigation                    Yes                20         2       20      25           Public
Andrew Casale      2023.09.26           Litigation                    Yes                21         2       21      25           Public
Andrew Casale      2023.09.26           Litigation                    Yes                22         2       22      25           Public
Andrew Casale      2023.09.26           Litigation                    Yes                23         2       23      11           Public
Andrew Casale      2023.09.26           Litigation                    Yes                23        12       23      25           Public
Andrew Casale      2023.09.26           Litigation                    Yes                24         2       24      25           Public
Andrew Casale      2023.09.26           Litigation                    Yes                25         2       25      3            Public
Andrew Casale      2023.09.26           Litigation                    Yes                25         4       25      18           Public
Andrew Casale      2023.09.26           Litigation                    Yes                26         3       26      25           Public
Andrew Casale      2023.09.26           Litigation                    Yes                27         2       27      14           Public
Andrew Casale      2023.09.26           Litigation                    Yes                27        15       27      25           Public
Andrew Casale      2023.09.26           Litigation                    Yes                28         2       28      8            Public
Andrew Casale      2023.09.26           Litigation                    Yes                28         9       28      17           Public
Andrew Casale      2023.09.26           Litigation                    Yes                28        19       28      25           Public                                     29:18-30:13
Andrew Casale      2023.09.26           Litigation                    Yes                29         2       29      10           Public                                     29:11-29:15
Andrew Casale      2023.09.26           Litigation                    Yes                31         6       31      7            Public
Andrew Casale      2023.09.26           Litigation                    Yes                31        10       31      25           Public
Andrew Casale      2023.09.26           Litigation                    Yes                32         2       32      4            Public
Andrew Casale      2023.09.26           Litigation                    Yes                32        16       32      24    Highly Confidential
Andrew Casale      2023.09.26           Litigation                    Yes                33         6       33      15    Highly Confidential
Andrew Casale      2023.09.26           Litigation                    Yes                33        16       33      24    Highly Confidential
Andrew Casale      2023.09.26           Litigation                    Yes                33        25       33      25    Highly Confidential
Andrew Casale      2023.09.26           Litigation                    Yes                34         2       34       8    Highly Confidential
Andrew Casale      2023.09.26           Litigation                    Yes                34        20       34      25           Public
Andrew Casale      2023.09.26           Litigation                    Yes                35         2       35      5            Public
Andrew Casale      2023.09.26           Litigation                    Yes                35         6       35      25           Public
Andrew Casale      2023.09.26           Litigation                    Yes                36         2       36      17    Highly Confidential                          36:21-37:2; 37:5-37:14
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                                                   Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                             Casale (Index 30(b)(6))


                                     CID or Litigation        Video of Deposition       Page      Line     Page    Line Party Confidentiality as                       Google Counter-
  Witness       Date of Deposition                                                                                                                 Google Objections
                                        Deposition                   (Y/N)              From      From      to      to       of 2024.07.03                              Designations
Andrew Casale      2023.09.26           Litigation                    Yes                39        18       39      19           Public
Andrew Casale      2023.09.26           Litigation                    Yes                39        22       39      24           Public
Andrew Casale      2023.09.26           Litigation                    Yes                39        25       39      25           Public
Andrew Casale      2023.09.26           Litigation                    Yes                40         2       40      10           Public
Andrew Casale      2023.09.26           Litigation                    Yes                40        13       40      18           Public
Andrew Casale      2023.09.26           Litigation                    Yes                40        19       40      22           Public
Andrew Casale      2023.09.26           Litigation                    Yes                40        25       40      25           Public
Andrew Casale      2023.09.26           Litigation                    Yes                41         2       41      3            Public
Andrew Casale      2023.09.26           Litigation                    Yes                42         6       42      9            Public
Andrew Casale      2023.09.26           Litigation                    Yes                42        12       42      17           Public
Andrew Casale      2023.09.26           Litigation                    Yes                42        21       42      21           Public
Andrew Casale      2023.09.26           Litigation                    Yes                42        22       42      25           Public
Andrew Casale      2023.09.26           Litigation                    Yes                43         2       43      19           Public                                  43:20-44:5
Andrew Casale      2023.09.26           Litigation                    Yes                45        11       45      13           Public
Andrew Casale      2023.09.26           Litigation                    Yes                45        17       45      21           Public
Andrew Casale      2023.09.26           Litigation                    Yes                50        12       50      21           Public
Andrew Casale      2023.09.26           Litigation                    Yes                50        22       50      25           Public
Andrew Casale      2023.09.26           Litigation                    Yes                51         2       51      11           Public
Andrew Casale      2023.09.26           Litigation                    Yes                52        16       52      25           Public
Andrew Casale      2023.09.26           Litigation                    Yes                53         2       53      18           Public
Andrew Casale      2023.09.26           Litigation                    Yes                53        19       53      25           Public
Andrew Casale      2023.09.26           Litigation                    Yes                54         2       54      5            Public                                  54:20-55:9
Andrew Casale      2023.09.26           Litigation                    Yes                55        14       55      16           Public
Andrew Casale      2023.09.26           Litigation                    Yes                55        18       55      21           Public
Andrew Casale      2023.09.26           Litigation                    Yes                55        24       55      25           Public
Andrew Casale      2023.09.26           Litigation                    Yes                56         2       56      7            Public
Andrew Casale      2023.09.26           Litigation                    Yes                58         4       58      7            Public                                  57:19-58:3
Andrew Casale      2023.09.26           Litigation                    Yes                58        10       58      17           Public
Andrew Casale      2023.09.26           Litigation                    Yes                58        20       58      25           Public
Andrew Casale      2023.09.26           Litigation                    Yes                59         2       59      4            Public
Andrew Casale      2023.09.26           Litigation                    Yes                61         4       61      9            Public
Andrew Casale      2023.09.26           Litigation                    Yes                61        19       61      25           Public
Andrew Casale      2023.09.26           Litigation                    Yes                62         2       62       6           Public                                  62:7-62:19
Andrew Casale      2023.09.26           Litigation                    Yes                64        10       64      22           Public                                  64:23-65:7
Andrew Casale      2023.09.26           Litigation                    Yes                65        12       65      15           Public
Andrew Casale      2023.09.26           Litigation                    Yes                65        16       65      19           Public                                  66:10-66:14
Andrew Casale      2023.09.26           Litigation                    Yes                68         4       69      8            Public
Andrew Casale      2023.09.26           Litigation                    Yes                70        19       70      25           Public
Andrew Casale      2023.09.26           Litigation                    Yes                71         2       71      17           Public
Andrew Casale      2023.09.26           Litigation                    Yes                85         4       85      15           Public                                  84:7-84:21
Andrew Casale      2023.09.26           Litigation                    Yes                94        19       94      23           Public
Andrew Casale      2023.09.26           Litigation                    Yes                95         2       95      14           Public
Andrew Casale      2023.09.26           Litigation                    Yes                95        15       95      17           Public
Andrew Casale      2023.09.26           Litigation                    Yes                95        20       95      20           Public
Andrew Casale      2023.09.26           Litigation                    Yes                95        21       95      25           Public
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                                     CID or Litigation           Video of Deposition       Page      Line     Page    Line Party Confidentiality as                        Google Counter-
  Witness       Date of Deposition                                                                                                                    Google Objections
                                        Deposition                      (Y/N)              From      From      to      to       of 2024.07.03                               Designations
Andrew Casale      2023.09.26           Litigation                       Yes                96         2       96      4            Public
Andrew Casale      2023.09.26           Litigation                       Yes                96         5       96      17           Public
Andrew Casale      2023.09.26           Litigation                       Yes                96        18       96      25           Public
Andrew Casale      2023.09.26           Litigation                       Yes                97         2       97      8            Public                                  97:9-18; 97:21
Andrew Casale      2023.09.26           Litigation                       Yes                97        22       97      25           Public
Andrew Casale      2023.09.26           Litigation                       Yes                98         2       98      10           Public
Andrew Casale      2023.09.26           Litigation                       Yes                98        11       98      23           Public                  602
Andrew Casale      2023.09.26           Litigation                       Yes                99         2       99      22           Public                  701
Andrew Casale      2023.09.26           Litigation                       Yes                99        25       99      25           Public                  701
Andrew Casale      2023.09.26           Litigation                       Yes                100        2      100      21           Public                  701
                                                                                                                                                                          102:3-102:5; 102:8-
Andrew Casale      2023.09.26            Litigation                       Yes               102        21      102     23             Public                701
                                                                                                                                                                                102:15
Andrew Casale      2023.09.26           Litigation                        Yes               103        2       103     17             Public                701
Andrew Casale      2023.09.26           Litigation                        Yes               103       18       103     21             Public                701
Andrew Casale      2023.09.26           Litigation                        Yes               103       24       103     25             Public                701
Andrew Casale      2023.09.26           Litigation                        Yes               104       2        104      9             Public
Andrew Casale      2023.09.26           Litigation                        Yes               105       18       105     25             Public
Andrew Casale      2023.09.26           Litigation                        Yes               106        4       106     25             Public                602
Andrew Casale      2023.09.26           Litigation                        Yes               107        2       107      3             Public                602
Andrew Casale      2023.09.26           Litigation                        Yes               107        4       107      6             Public                602
Andrew Casale      2023.09.26           Litigation                        Yes               107        9       107     25             Public                602
Andrew Casale      2023.09.26           Litigation                        Yes               109       9        109     12             Public                                 109:2-109:8
Andrew Casale      2023.09.26           Litigation                        Yes               109       16       109     16             Public
Andrew Casale      2023.09.26           Litigation                        Yes               109       17       109     20             Public
Andrew Casale      2023.09.26           Litigation                        Yes               109       24       109     25             Public
Andrew Casale      2023.09.26           Litigation                        Yes               110       2        110     17             Public
Andrew Casale      2023.09.26           Litigation                        Yes               111       3        111     17             Public
Andrew Casale      2023.09.26           Litigation                        Yes               111       3        111     19             Public
Andrew Casale      2023.09.26           Litigation                        Yes               111       24       111     25             Public
Andrew Casale      2023.09.26           Litigation                        Yes               112        2       112      6             Public                                 112:7-112:11
Andrew Casale      2023.09.26           Litigation                        Yes               112       12       112     14             Public
Andrew Casale      2023.09.26           Litigation                        Yes               112       18       112     25             Public
Andrew Casale      2023.09.26           Litigation                        Yes               113        2       113      5             Public                602
Andrew Casale      2023.09.26           Litigation                        Yes               113        9       113     19             Public                602
Andrew Casale      2023.09.26           Litigation                        Yes               113       20       113     23             Public
Andrew Casale      2023.09.26           Litigation                        Yes               114       2        114     13             Public
Andrew Casale      2023.09.26           Litigation                        Yes               114       14       114     17             Public
Andrew Casale      2023.09.26           Litigation                        Yes               114       18       114     25             Public                602
Andrew Casale      2023.09.26           Litigation                        Yes               115        2       115      3             Public                602
Andrew Casale      2023.09.26           Litigation                        Yes               115       6        115      7             Public
Andrew Casale      2023.09.26           Litigation                        Yes               115       18       115     21             Public                602
Andrew Casale      2023.09.26           Litigation                        Yes               115       24       115     25             Public                602
Andrew Casale      2023.09.26           Litigation                        Yes               116       2        116      5             Public
Andrew Casale      2023.09.26           Litigation                        Yes               116       22       116     25             Public
Andrew Casale      2023.09.26           Litigation                        Yes               117       2        117     25             Public
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  Witness       Date of Deposition                                                                                                                     Google Objections
                                        Deposition                      (Y/N)              From      From      to      to       of 2024.07.03                                      Designations
Andrew Casale      2023.09.26           Litigation                       Yes                118        2      118       3           Public
Andrew Casale      2023.09.26           Litigation                       Yes                118        4      118       5           Public
Andrew Casale      2023.09.26           Litigation                       Yes                118        9      118       9           Public
Andrew Casale      2023.09.26           Litigation                       Yes                119       10      119      11           Public                     602
Andrew Casale      2023.09.26           Litigation                       Yes                119       15      119      25           Public                     602                  124:8-124:16
Andrew Casale      2023.09.26           Litigation                       Yes                120        2      120       2           Public                     602
Andrew Casale      2023.09.26           Litigation                       Yes                120        3      120       5           Public                     701
Andrew Casale      2023.09.26           Litigation                       Yes                120        9      120      25           Public                     701
Andrew Casale      2023.09.26           Litigation                       Yes                121        2      121       2           Public                     701
Andrew Casale      2023.09.26           Litigation                       Yes                121        3      121       6           Public                     701
Andrew Casale      2023.09.26           Litigation                       Yes                121        9      121       9           Public                     701
Andrew Casale      2023.09.26           Litigation                       Yes                121       10      121      11           Public                     701
Andrew Casale      2023.09.26           Litigation                       Yes                121       15      121      25     Higly Confidential               701
Andrew Casale      2023.09.26           Litigation                       Yes                122        2      122       7     Higly Confidential               701
Andrew Casale      2023.09.26           Litigation                       Yes                122       16      122      25           Public
Andrew Casale      2023.09.26           Litigation                       Yes                123        2      123       8           Public
Andrew Casale      2023.09.26           Litigation                       Yes                125       18      125      25           Public
Andrew Casale      2023.09.26           Litigation                       Yes                126        2      126       6           Public
Andrew Casale      2023.09.26           Litigation                       Yes                126        7      126      23           Public                     402
Andrew Casale      2023.09.26           Litigation                       Yes                126       24      126      25           Public
Andrew Casale      2023.09.26           Litigation                       Yes                127        2      127       2           Public                  602, 701
Andrew Casale      2023.09.26           Litigation                       Yes                127        3      127       5           Public                  602, 701
                                                                                                                                                                                 134:24-135:2; 135:5-
Andrew Casale      2023.09.26            Litigation                       Yes               127        8       127     14             Public                602, 701           135:7; 139:8-10: 139:13-
                                                                                                                                                                                          14
Andrew Casale      2023.09.26           Litigation                        Yes               127       17       127     25             Public                 602, 701
Andrew Casale      2023.09.26           Litigation                        Yes               128        2       128      3             Public                 602, 701
Andrew Casale      2023.09.26           Litigation                        Yes               128        7       128      9             Public                 602, 701
Andrew Casale      2023.09.26           Litigation                        Yes               128       10       128     14             Public                 602, 701
Andrew Casale      2023.09.26           Litigation                        Yes               128       18       128     25             Public                 602, 701
Andrew Casale      2023.09.26           Litigation                        Yes               129        2       129      5             Public                 602, 701
Andrew Casale      2023.09.26           Litigation                        Yes               129       11       129     14             Public                 602, 701
                                                                                                                                                      602, 701, 802 (129:22-
Andrew Casale      2023.09.26            Litigation                       Yes               129       17       129     25             Public
                                                                                                                                                             130:18)
Andrew Casale      2023.09.26           Litigation                        Yes               130        2       130     18             Public                 602, 701
Andrew Casale      2023.09.26           Litigation                        Yes               130       19       130     22             Public                 602, 701
Andrew Casale      2023.09.26           Litigation                        Yes               130       25       130     25             Public                 602, 701
Andrew Casale      2023.09.26           Litigation                        Yes               131        2       131     13             Public                 602, 701
Andrew Casale      2023.09.26           Litigation                        Yes               131       16       131     18             Public                 602, 701
Andrew Casale      2023.09.26           Litigation                        Yes               131       19       131     21             Public
Andrew Casale      2023.09.26           Litigation                        Yes               131       24       131     25             Public
Andrew Casale      2023.09.26           Litigation                        Yes               132        2       132     16             Public
Andrew Casale      2023.09.26           Litigation                        Yes               132       17       132     19             Public                   701              134:14-15; 134:18-23
Andrew Casale      2023.09.26           Litigation                        Yes               132       22       132     25             Public                   701
Andrew Casale      2023.09.26           Litigation                        Yes               133        2       133      8             Public                   701
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  Witness       Date of Deposition                                                                                                                    Google Objections
                                        Deposition                      (Y/N)              From      From      to      to       of 2024.07.03                                   Designations
Andrew Casale      2023.09.26           Litigation                       Yes                133        9      133      17           Public            701, 802 (133:16-17)
Andrew Casale      2023.09.26           Litigation                       Yes                133       20      133      25           Public              802 (133:20-22)
Andrew Casale      2023.09.26           Litigation                       Yes                134        2      134      13           Public
Andrew Casale      2023.09.26           Litigation                       Yes                135       11      135      13           Public                    701
Andrew Casale      2023.09.26           Litigation                       Yes                135       16      135      25           Public                    701
Andrew Casale      2023.09.26           Litigation                       Yes                136        2      136      10           Public                    701
Andrew Casale      2023.09.26           Litigation                       Yes                136       11      136      21     Higly Confidential
Andrew Casale      2023.09.26           Litigation                       Yes                136       24      136      25           Public
Andrew Casale      2023.09.26           Litigation                       Yes                137        2      137      13           Public
Andrew Casale      2023.09.26           Litigation                       Yes                138        7      138       9           Public
Andrew Casale      2023.09.26           Litigation                       Yes                138       12      138      14           Public                                    138:15; 138:18-19
Andrew Casale      2023.09.26           Litigation                       Yes                138       20      138      25           Public              602 (138:24-25)
Andrew Casale      2023.09.26           Litigation                       Yes                139        2      139       3           Public                    602
Andrew Casale      2023.09.26           Litigation                       Yes                139        6      139       7           Public                    602
Andrew Casale      2023.09.26           Litigation                       Yes                142       13      142      15           Public
Andrew Casale      2023.09.26           Litigation                       Yes                142       18      142      25           Public
Andrew Casale      2023.09.26           Litigation                       Yes                143        2      143       2           Public
Andrew Casale      2023.09.26           Litigation                       Yes                144       17      144      25           Public
Andrew Casale      2023.09.26           Litigation                       Yes                145        2      145       5           Public                  602, 701
Andrew Casale      2023.09.26           Litigation                       Yes                145        6      145       8           Public                  602, 701
Andrew Casale      2023.09.26           Litigation                       Yes                145       11      145      16           Public            602, 701 (145:11-14)
Andrew Casale      2023.09.26           Litigation                       Yes                145       19      145      25           Public
Andrew Casale      2023.09.26           Litigation                       Yes                146        2      146       3           Public
Andrew Casale      2023.09.26           Litigation                       Yes                146        4      146       7           Public                  602, 701
Andrew Casale      2023.09.26           Litigation                       Yes                146        9      146      14           Public                  602, 701
Andrew Casale      2023.09.26           Litigation                       Yes                146       17      146      23           Public                  602, 701
Andrew Casale      2023.09.26           Litigation                       Yes                147        5      147       8           Public                  602, 701
Andrew Casale      2023.09.26           Litigation                       Yes                147       11      147      17           Public            602, 701 (147:11-15)
Andrew Casale      2023.09.26           Litigation                       Yes                147       20      147      25           Public                                       161:22-162:5
Andrew Casale      2023.09.26           Litigation                       Yes                148        2      148      20           Public
Andrew Casale      2023.09.26           Litigation                       Yes                148       21      148      25           Public                  602, 701
Andrew Casale      2023.09.26           Litigation                       Yes                149        2      149      6            Public             602, 701 (149:2-3)
Andrew Casale      2023.09.26           Litigation                       Yes                149        9      149      17           Public                  602, 402
Andrew Casale      2023.09.26           Litigation                       Yes                149       20      149      20           Public                  602, 402
Andrew Casale      2023.09.26           Litigation                       Yes                149       21      149      25           Public                    402
                                                                                                                                                                             254:4-254:22; 255:11-
Andrew Casale      2023.09.26            Litigation                       Yes               150        2       150      8             Public                  402
                                                                                                                                                                                    255:23
Andrew Casale      2023.09.26            Litigation                       Yes               150       11       150     25             Public                  402
Andrew Casale      2023.09.26            Litigation                       Yes               151        2       151     16             Public                  402
Andrew Casale      2023.09.26            Litigation                       Yes               152       10       152     25             Public                  402
Andrew Casale      2023.09.26            Litigation                       Yes               153        2       153      9             Public                  402
Andrew Casale      2023.09.26            Litigation                       Yes               153       22       153     24             Public                  402
Andrew Casale      2023.09.26            Litigation                       Yes               154        3       154      9             Public                  402
Andrew Casale      2023.09.26            Litigation                       Yes               154       10       154     24             Public                  402
Andrew Casale      2023.09.26            Litigation                       Yes               154       25       154     25             Public
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  Witness       Date of Deposition                                                                                                                 Google Objections
                                        Deposition                   (Y/N)              From      From      to      to       of 2024.07.03                              Designations
Andrew Casale      2023.09.26           Litigation                    Yes                155        2      155       3           Public
Andrew Casale      2023.09.26           Litigation                    Yes                155        4      155      19           Public
Andrew Casale      2023.09.26           Litigation                    Yes                155       20      155      24           Public                402, 802
Andrew Casale      2023.09.26           Litigation                    Yes                156        4      156      24           Public                402, 802
Andrew Casale      2023.09.26           Litigation                    Yes                157       10      157      13           Public
Andrew Casale      2023.09.26           Litigation                    Yes                157       17      157      25           Public
Andrew Casale      2023.09.26           Litigation                    Yes                158        2      158      15           Public
Andrew Casale      2023.09.26           Litigation                    Yes                158       16      158      19           Public                  602
Andrew Casale      2023.09.26           Litigation                    Yes                158       22      158      25           Public                  602
Andrew Casale      2023.09.26           Litigation                    Yes                159        2      159       2           Public                  602
Andrew Casale      2023.09.26           Litigation                    Yes                159        5      159      14           Public                  602             160:3-160:5
Andrew Casale      2023.09.26           Litigation                    Yes                161       11      161      14           Public                  602
Andrew Casale      2023.09.26           Litigation                    Yes                161       17      161      21           Public                  602
Andrew Casale      2023.09.26           Litigation                    Yes                165        2      165      15           Public
Andrew Casale      2023.09.26           Litigation                    Yes                165       18      165      23           Public                                 165:24-166:8
Andrew Casale      2023.09.26           Litigation                    Yes                170       20      170      21           Public                  402
Andrew Casale      2023.09.26           Litigation                    Yes                170       22      175      18           Public                  402
Andrew Casale      2023.09.26           Litigation                    Yes                175       24      175      25           Public
Andrew Casale      2023.09.26           Litigation                    Yes                176        2      176       2           Public
Andrew Casale      2023.09.26           Litigation                    Yes                176        5      176      15           Public
Andrew Casale      2023.09.26           Litigation                    Yes                176       18      176      25           Public
Andrew Casale      2023.09.26           Litigation                    Yes                177        2      177       2           Public
Andrew Casale      2023.09.26           Litigation                    Yes                177        3      177      17           Public
Andrew Casale      2023.09.26           Litigation                    Yes                177       20      177      25           Public
Andrew Casale      2023.09.26           Litigation                    Yes                178        2      178      11           Public
Andrew Casale      2023.09.26           Litigation                    Yes                178       12      178      15           Public
Andrew Casale      2023.09.26           Litigation                    Yes                178       18      178      25           Public
Andrew Casale      2023.09.26           Litigation                    Yes                179       20      179      24           Public
Andrew Casale      2023.09.26           Litigation                    Yes                180        3      180      25           Public
Andrew Casale      2023.09.26           Litigation                    Yes                181        2      181      25           Public             602 (181:24-25)
Andrew Casale      2023.09.26           Litigation                    Yes                182        4      182      11           Public                   602
Andrew Casale      2023.09.26           Litigation                    Yes                182       12      182      25           Public
Andrew Casale      2023.09.26           Litigation                    Yes                183        2      183       9           Public
Andrew Casale      2023.09.26           Litigation                    Yes                183       10      183      19           Public
Andrew Casale      2023.09.26           Litigation                    Yes                183       22      183      25           Public
Andrew Casale      2023.09.26           Litigation                    Yes                184        2      184       4           Public
Andrew Casale      2023.09.26           Litigation                    Yes                184        5      184       8           Public                  701
Andrew Casale      2023.09.26           Litigation                    Yes                184       11      184      25           Public                  701
Andrew Casale      2023.09.26           Litigation                    Yes                185        2      185      17           Public                  701
Andrew Casale      2023.09.26           Litigation                    Yes                185       18      185      25           Public
Andrew Casale      2023.09.26           Litigation                    Yes                186        2      186       5           Public
Andrew Casale      2023.09.26           Litigation                    Yes                186        6      186      15           Public             602 (186:13-15)
Andrew Casale      2023.09.26           Litigation                    Yes                186       18      186      18           Public                   602
Andrew Casale      2023.09.26           Litigation                    Yes                186       19      186      21           Public                   701
Andrew Casale      2023.09.26           Litigation                    Yes                186       24      186      25           Public                   701
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  Witness       Date of Deposition                                                                                                                    Google Objections
                                        Deposition                      (Y/N)              From      From      to      to       of 2024.07.03                                Designations
Andrew Casale      2023.09.26           Litigation                       Yes                187        2      187       8           Public                   701
Andrew Casale      2023.09.26           Litigation                       Yes                187       11      187      23           Public                   701
Andrew Casale      2023.09.26           Litigation                       Yes                188        2      188       7           Public              701 (188:2-5)
Andrew Casale      2023.09.26           Litigation                       Yes                188       10      188      18           Public
Andrew Casale      2023.09.26           Litigation                       Yes                188       21      188      25           Public
Andrew Casale      2023.09.26           Litigation                       Yes                189        2      189       6           Public
Andrew Casale      2023.09.26           Litigation                       Yes                189        7      189      15    Highly Confidential
                                                                                                                                                                           190:2-190:5; 190:8-
                                                                                                                                                                          190:20; 190:21-191:4;
Andrew Casale      2023.09.26            Litigation                       Yes               189       18       189     25       Highly Confidential
                                                                                                                                                                          198:7-198:14; 200:19-
                                                                                                                                                                          200:20; 200:23-200:24
Andrew Casale      2023.09.26            Litigation                       Yes               193       4        193     7              Public
Andrew Casale      2023.09.26            Litigation                       Yes               193       10       193     20             Public
Andrew Casale      2023.09.26            Litigation                       Yes               193       21       193     25             Public
Andrew Casale      2023.09.26            Litigation                       Yes               194       2        194     17             Public
Andrew Casale      2023.09.26            Litigation                       Yes               194       18       194     25             Public
Andrew Casale      2023.09.26            Litigation                       Yes               195       2        195     9              Public
Andrew Casale      2023.09.26            Litigation                       Yes               195       20       195     23             Public
Andrew Casale      2023.09.26            Litigation                       Yes               196       2        196     20             Public
Andrew Casale      2023.09.26            Litigation                       Yes               196       22       196     22             Public
Andrew Casale      2023.09.26            Litigation                       Yes               197       11       197     13             Public                602
Andrew Casale      2023.09.26            Litigation                       Yes               197       16       197     18             Public                602
Andrew Casale      2023.09.26            Litigation                       Yes               197       19       197     25             Public                602
Andrew Casale      2023.09.26            Litigation                       Yes               198        2       198      3             Public                602
Andrew Casale      2023.09.26            Litigation                       Yes               199       15       199     25             Public
Andrew Casale      2023.09.26            Litigation                       Yes               200       2        200     7              Public
Andrew Casale      2023.09.26            Litigation                       Yes               200        8       200     18             Public           602 (200:14-18)
                                                                                                                                                                          200:19-200:20; 200:23-
Andrew Casale      2023.09.26            Litigation                       Yes               201        7       201      9             Public              602, 701
                                                                                                                                                                                  200:24
Andrew Casale      2023.09.26           Litigation                        Yes               201       12       201     17             Public              602, 701
Andrew Casale      2023.09.26           Litigation                        Yes               209       19       209     23             Public                602
Andrew Casale      2023.09.26           Litigation                        Yes               210        4       210      9             Public                602
Andrew Casale      2023.09.26           Litigation                        Yes               210       10       210     11             Public                602
Andrew Casale      2023.09.26           Litigation                        Yes               210       14       210     22             Public                602
Andrew Casale      2023.09.26           Litigation                        Yes               210       23       210     25             Public
Andrew Casale      2023.09.26           Litigation                        Yes               211        2       211     12             Public
Andrew Casale      2023.09.26           Litigation                        Yes               211       15       211     20             Public            402, 602, 701
Andrew Casale      2023.09.26           Litigation                        Yes               211       23       212     18             Public            402, 602, 701
Andrew Casale      2023.09.26           Litigation                        Yes               212       19       212     20             Public            402, 602, 701
Andrew Casale      2023.09.26           Litigation                        Yes               212       23       212     25             Public            402, 602, 701
Andrew Casale      2023.09.26           Litigation                        Yes               213        2       213      2             Public            402, 602, 701
Andrew Casale      2023.09.26           Litigation                        Yes               213        3       213      5             Public
Andrew Casale      2023.09.26           Litigation                        Yes               213        8       213     18             Public
Andrew Casale      2023.09.26           Litigation                        Yes               213       19       213     20             Public                602
Andrew Casale      2023.09.26           Litigation                        Yes               213       23       213     25             Public                602
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  Witness       Date of Deposition                                                                                                                    Google Objections
                                        Deposition                      (Y/N)              From      From      to      to       of 2024.07.03                               Designations
Andrew Casale      2023.09.26           Litigation                       Yes                214        2      214      11           Public                  602
Andrew Casale      2023.09.26           Litigation                       Yes                214       12      214      13           Public                  602
Andrew Casale      2023.09.26           Litigation                       Yes                214       22      214      25           Public
Andrew Casale      2023.09.26           Litigation                       Yes                215        2      215      14           Public
Andrew Casale      2023.09.26           Litigation                       Yes                215       17      215      25           Public
Andrew Casale      2023.09.26           Litigation                       Yes                216        2      216      13           Public
Andrew Casale      2023.09.26           Litigation                       Yes                216       16      216      18           Public
Andrew Casale      2023.09.26           Litigation                       Yes                216       19      216      21           Public
Andrew Casale      2023.09.26           Litigation                       Yes                216       24      216      25           Public
Andrew Casale      2023.09.26           Litigation                       Yes                217        2      217      19           Public
Andrew Casale      2023.09.26           Litigation                       Yes                217       22      217      25           Public
Andrew Casale      2023.09.26           Litigation                       Yes                218        2      218       3           Public
Andrew Casale      2023.09.26           Litigation                       Yes                218       18      218      20           Public
Andrew Casale      2023.09.26           Litigation                       Yes                218       23      218      24           Public
Andrew Casale      2023.09.26           Litigation                       Yes                218       25      218      25           Public
Andrew Casale      2023.09.26           Litigation                       Yes                219        2      219       3           Public
Andrew Casale      2023.09.26           Litigation                       Yes                219        6      219      25           Public
Andrew Casale      2023.09.26           Litigation                       Yes                220        2      220       9           Public
Andrew Casale      2023.09.26           Litigation                       Yes                220       12      220      24           Public
Andrew Casale      2023.09.26           Litigation                       Yes                220       25      220      25           Public
Andrew Casale      2023.09.26           Litigation                       Yes                221        2      221      16           Public
Andrew Casale      2023.09.26           Litigation                       Yes                223        4      223      23           Public             602 (223:9-20)
Andrew Casale      2023.09.26           Litigation                       Yes                223       25      223      25           Public
Andrew Casale      2023.09.26           Litigation                       Yes                224        2      224       9           Public              602 (224:6-9)
Andrew Casale      2023.09.26           Litigation                       Yes                224       11      224      25           Public                602, 802
Andrew Casale      2023.09.26           Litigation                       Yes                225        2      225       2           Public                   602
Andrew Casale      2023.09.26           Litigation                       Yes                225        5      225      18           Public                   602
Andrew Casale      2023.09.26           Litigation                       Yes                225       21      225      25           Public
                                                                                                                                                                          226:24-227:2; 227:5-
Andrew Casale      2023.09.26            Litigation                       Yes               226        2       226     20             Public
                                                                                                                                                                                 228:2
Andrew Casale      2023.09.26           Litigation                        Yes               228       17       228     22             Public                 701
Andrew Casale      2023.09.26           Litigation                        Yes               229        3       229     11             Public                 701
Andrew Casale      2023.09.26           Litigation                        Yes               229       12       229     14             Public                 602
Andrew Casale      2023.09.26           Litigation                        Yes               229       17       229     25             Public                 602
Andrew Casale      2023.09.26           Litigation                        Yes               230        2       230      2             Public                 602
Andrew Casale      2023.09.26           Litigation                        Yes               230        3       230      7             Public            402, 602, 701
Andrew Casale      2023.09.26           Litigation                        Yes               230       10       230     16             Public            402, 602, 701
Andrew Casale      2023.09.26           Litigation                        Yes               230       17       230     17             Public            402, 602, 701
Andrew Casale      2023.09.26           Litigation                        Yes               230       18       230     21             Public              602, 701
Andrew Casale      2023.09.26           Litigation                        Yes               231        2       231      6             Public              602, 701
Andrew Casale      2023.09.26           Litigation                        Yes               231        7       231     11             Public              602, 701
Andrew Casale      2023.09.26           Litigation                        Yes               231       12       231     13             Public              602, 701
Andrew Casale      2023.09.26           Litigation                        Yes               231       16       231     16             Public              602, 701
Andrew Casale      2023.09.26           Litigation                        Yes               234       12       234     14             Public
Andrew Casale      2023.09.26           Litigation                        Yes               234       17       234     24             Public
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                                                      Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                              Casale (Index 30(b)(6))


                                     CID or Litigation           Video of Deposition       Page      Line     Page    Line Party Confidentiality as                        Google Counter-
  Witness       Date of Deposition                                                                                                                    Google Objections
                                        Deposition                      (Y/N)              From      From      to      to       of 2024.07.03                               Designations
Andrew Casale      2023.09.26           Litigation                       Yes                235        3      235      23           Public                                  235:24-236:7
Andrew Casale      2023.09.26           Litigation                       Yes                236       23      236      25           Public
Andrew Casale      2023.09.26           Litigation                       Yes                237        2      237       5           Public
Andrew Casale      2023.09.26           Litigation                       Yes                237        8      237      25           Public
Andrew Casale      2023.09.26           Litigation                       Yes                238        2      238      10           Public
Andrew Casale      2023.09.26           Litigation                       Yes                238       13      238      25           Public
Andrew Casale      2023.09.26           Litigation                       Yes                239        2      239       8           Public
Andrew Casale      2023.09.26           Litigation                       Yes                239       11      239      25           Public
Andrew Casale      2023.09.26           Litigation                       Yes                240        2      240       7           Public
Andrew Casale      2023.09.26           Litigation                       Yes                240       10      240      18           Public
Andrew Casale      2023.09.26           Litigation                       Yes                241        5      241       9           Public
Andrew Casale      2023.09.26           Litigation                       Yes                241       12      241      25           Public
Andrew Casale      2023.09.26           Litigation                       Yes                242        2      242       8           Public                602, 701
Andrew Casale      2023.09.26           Litigation                       Yes                242       11      242      25           Public                602, 701
Andrew Casale      2023.09.26           Litigation                       Yes                243        2      243      25           Public                602, 701
Andrew Casale      2023.09.26           Litigation                       Yes                244        2      244       2           Public                602, 701
Andrew Casale      2023.09.26           Litigation                       Yes                244       18      244      25           Public
Andrew Casale      2023.09.26           Litigation                       Yes                245        3      245       7           Public
                                                                                                                                                                          247:2-247:6; 247:8-
Andrew Casale      2023.09.26            Litigation                       Yes               246        7       246     25             Public
                                                                                                                                                                                247:10
Andrew Casale      2023.09.26           Litigation                        Yes               247       11       247     17             Public
Andrew Casale      2023.09.26           Litigation                        Yes               247       18       247     25             Public
Andrew Casale      2023.09.26           Litigation                        Yes               248        2       248     25             Public
Andrew Casale      2023.09.26           Litigation                        Yes               249        2       249      6             Public
Andrew Casale      2023.09.26           Litigation                        Yes               249        8       249      9             Public
Andrew Casale      2023.09.26           Litigation                        Yes               249       10       249     19             Public                                 249:20-250:8
Andrew Casale      2023.09.26           Litigation                        Yes               256        7       256     14             Public
Andrew Casale      2023.09.26           Litigation                        Yes               256       15       256     23             Public
Andrew Casale      2023.09.26           Litigation                        Yes               264       10       264     12             Public
Andrew Casale      2023.09.26           Litigation                        Yes               264       14       264     17             Public                                8:3-25; 9:2-12
Andrew Casale      2023.09.26           Litigation                        Yes               264       18       264     24             Public
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                                                   Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                                        Cox CID (Google)


                               CID or Litigation    Video of Deposition                                                Party Confidentiality as of                          Google Counter-
Witness   Date of Deposition                                              Page From Line From Page to Line to                                        Google Objections
                                  Deposition               (Y/N)                                                              2024.07.03                                     Designations
Sam Cox      2020.10.26              CID                    No                 7             8          7        12       Highly Confidential
Sam Cox      2020.10.26              CID                    No                 13           13          13       25       Highly Confidential
Sam Cox      2020.10.26              CID                    No                 14            2          14        8       Highly Confidential                                  14:8-14:22
Sam Cox      2020.10.26              CID                    No                 14            9          14       17       Highly Confidential
Sam Cox      2020.10.26              CID                    No                 14           18          14       22       Highly Confidential
Sam Cox      2020.10.26              CID                    No                 15           17          16       11       Highly Confidential
Sam Cox      2020.10.26              CID                    No                 16           12          16       21       Highly Confidential
Sam Cox      2020.10.26              CID                    No                 17            8          17       20       Highly Confidential                                  18:12-19:20
Sam Cox      2020.10.26              CID                    No                122           16         122       19       Highly Confidential
                                                                                                                                                                           125:10-20; 128:5-24;
Sam Cox      2020.10.26              CID                    No                125            2         125       9         Highly Confidential
                                                                                                                                                                         129:5-13; 129:18-129:24
Sam Cox      2020.10.26              CID                    No                203           23         204       16        Highly Confidential                                202:21-203:22
Sam Cox      2020.10.26              CID                    No                204           17         204       24        Highly Confidential
Sam Cox      2020.10.26              CID                    No                204           25         205        9        Highly Confidential
Sam Cox      2020.10.26              CID                    No                239           16         239       22        Highly Confidential
                                                                                                                                                                         65:20-66:2; 67:21-67:25;
Sam Cox      2020.10.26              CID                    No                239           25         239       25        Highly Confidential
                                                                                                                                                                               78:25-80:13
Sam Cox      2020.10.26              CID                    No                240            2         240       9         Highly Confidential
                                                                                                                                                                          241:23-242:9; 29:16 -
Sam Cox      2020.10.26              CID                    No                242           16         244       16        Highly Confidential
                                                                                                                                                                            30:24; 35:9-36:23
Sam Cox      2020.10.26              CID                    No                260            7         260        9        Highly Confidential
Sam Cox      2020.10.26              CID                    No                261           12         261       25        Highly Confidential             802
Sam Cox      2020.10.26              CID                    No                273           19         273       23        Highly Confidential
                                                                                                                                                                         29:17-30:24; 49:2-50:24;
Sam Cox      2020.10.26              CID                    No                274           20         274       25        Highly Confidential                             78:25-80:13; 117:18-
                                                                                                                                                                           118:23; 153:3-155:7
Sam Cox      2020.10.26              CID                    No                275            2         275       19        Highly Confidential
Sam Cox      2020.10.26              CID                    No                275           20         275       25        Highly Confidential
Sam Cox      2020.10.26              CID                    No                276            2         276       19        Highly Confidential                             277:6-24; 280:5-13
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                                                 Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                                  Craycroft (Google)


                                     CID or Litigation       Video of Deposition    Page     Line     Page   Line     Party Confidentiality as of                       Google Counter-
  Witness       Date of Deposition                                                                                                                  Google Objections
                                        Deposition                  (Y/N)           From     From      to     to             2024.07.03                                  Designations
Tim Craycroft      2023.08.15           Litigation                   Yes              8        9       8      12         Highly Confidential
Tim Craycroft      2023.08.15           Litigation                   Yes             14        1       14      5         Highly Confidential               106
Tim Craycroft      2023.08.15           Litigation                   Yes             14        6       14      6         Highly Confidential               106
Tim Craycroft      2023.08.15           Litigation                   Yes             23       19       23     22         Highly Confidential
Tim Craycroft      2023.08.15           Litigation                   Yes             24       13       24     17         Highly Confidential
Tim Craycroft      2023.08.15           Litigation                   Yes             24       18       25      3         Highly Confidential
Tim Craycroft      2023.08.15           Litigation                   Yes             25        4       25      6         Highly Confidential
Tim Craycroft      2023.08.15           Litigation                   Yes             28       17       29      1         Highly Confidential
Tim Craycroft      2023.08.15           Litigation                   Yes             28        2       28     16         Highly Confidential
Tim Craycroft      2023.08.15           Litigation                   Yes              28      17       28     17         Highly Confidential               402
Tim Craycroft      2023.08.15           Litigation                   Yes             28       21       29      1         Highly Confidential               402
Tim Craycroft      2023.08.15           Litigation                   Yes             35       13       36      2         Highly Confidential
Tim Craycroft      2023.08.15           Litigation                   Yes             40       14       40     17         Highly Confidential
Tim Craycroft      2023.08.15           Litigation                   Yes             41        4       41     13         Highly Confidential
Tim Craycroft      2023.08.15           Litigation                   Yes             41       25       42     10         Highly Confidential
Tim Craycroft      2023.08.15           Litigation                   Yes             45       23       47      8         Highly Confidential
Tim Craycroft      2023.08.15           Litigation                   Yes             48        7       48     21         Highly Confidential
Tim Craycroft      2023.08.15           Litigation                   Yes             49        8       49     15         Highly Confidential
Tim Craycroft      2023.08.15           Litigation                   Yes             49       17       50      5         Highly Confidential
Tim Craycroft      2023.08.15           Litigation                   Yes              50      20       50     21         Highly Confidential               602
Tim Craycroft      2023.08.15           Litigation                   Yes             50       23       51      1         Highly Confidential               602
Tim Craycroft      2023.08.15           Litigation                   Yes              51       3       51      9         Highly Confidential           602 (51:3-4)
Tim Craycroft      2023.08.15           Litigation                   Yes             51       10       52      1         Highly Confidential
Tim Craycroft      2023.08.15           Litigation                   Yes             54       18       56     15         Highly Confidential
Tim Craycroft      2023.08.15           Litigation                   Yes             58       19       59     11         Highly Confidential
Tim Craycroft      2023.08.15           Litigation                   Yes             59       14       59     24         Highly Confidential
Tim Craycroft      2023.08.15           Litigation                   Yes             59       25       60      7         Highly Confidential
Tim Craycroft      2023.08.15           Litigation                   Yes             60       10       60     13         Highly Confidential
Tim Craycroft      2023.08.15           Litigation                   Yes              63      15       63     21         Highly Confidential            602, 802
Tim Craycroft      2023.08.15           Litigation                   Yes             65        8       67     10         Highly Confidential            602, 802
Tim Craycroft      2023.08.15           Litigation                   Yes             71        2       71      4         Highly Confidential            802, 805
Tim Craycroft      2023.08.15           Litigation                   Yes             72        7       73      4         Highly Confidential              802
Tim Craycroft      2023.08.15           Litigation                   Yes             73        5       73     13         Highly Confidential              802
Tim Craycroft      2023.08.15           Litigation                   Yes              77      10       77     15         Highly Confidential            802, 805
Tim Craycroft      2023.08.15           Litigation                   Yes              77      16       77     19         Highly Confidential            802, 805
Tim Craycroft      2023.08.15           Litigation                   Yes              78      13       78     19         Highly Confidential            802, 805
Tim Craycroft      2023.08.15           Litigation                   Yes             79        2       79     13         Highly Confidential            802, 805
Tim Craycroft      2023.08.15           Litigation                   Yes             84        3       84     25         Highly Confidential
Tim Craycroft      2023.08.15           Litigation                   Yes             85        2       85     16         Highly Confidential
Tim Craycroft      2023.08.15           Litigation                   Yes             85       18       86     10         Highly Confidential
Tim Craycroft      2023.08.15           Litigation                   Yes             90        9       90     13         Highly Confidential            602, 802
Tim Craycroft      2023.08.15           Litigation                   Yes              92      15       96      1         Highly Confidential            802, 805
Tim Craycroft      2023.08.15           Litigation                   Yes             102       1      102      6         Highly Confidential            802, 805
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                                                 Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                                  Craycroft (Google)


                                     CID or Litigation       Video of Deposition    Page     Line     Page   Line     Party Confidentiality as of                       Google Counter-
  Witness       Date of Deposition                                                                                                                  Google Objections
                                        Deposition                  (Y/N)           From     From      to     to             2024.07.03                                  Designations
Tim Craycroft      2023.08.15           Litigation                   Yes             107      24      108     6          Highly Confidential
Tim Craycroft      2023.08.15           Litigation                   Yes             109       1      109     25         Highly Confidential
Tim Craycroft      2023.08.15           Litigation                   Yes             111      25      112     5          Highly Confidential
Tim Craycroft      2023.08.15           Litigation                   Yes             136       7      136     12         Highly Confidential              106              136:13-17
Tim Craycroft      2023.08.15           Litigation                   Yes             143      10      144     6          Highly Confidential
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                                                  Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                                       Creput (Equative)


                                     CID or Litigation       Video of Deposition     Page      Line     Page    Line    Party Confidentiality as of                          Google Counter-
  Witness       Date of Deposition                                                                                                                    Google Objections
                                        Deposition                  (Y/N)            From      From      to      to            2024.07.03                                     Designations
Arnaud Creput      2023.09.05           Litigation                   Yes               9        22       10       4        Highly Confidential                                  8:16-9:8
Arnaud Creput      2023.09.05           Litigation                   Yes              10         5       10      13        Highly Confidential
Arnaud Creput      2023.09.05           Litigation                   Yes              11         4       11      14        Highly Confidential
Arnaud Creput      2023.09.05           Litigation                   Yes              13         9       13      11        Highly Confidential                103
Arnaud Creput      2023.09.05           Litigation                   Yes              13        13       13      20        Highly Confidential                103
Arnaud Creput      2023.09.05           Litigation                   Yes              13        22       15      13        Highly Confidential
Arnaud Creput      2023.09.05           Litigation                   Yes              15        11       15      13        Highly Confidential           402, 602, 701
Arnaud Creput      2023.09.05           Litigation                   Yes              15        15       16      21        Highly Confidential           402, 602, 701
Arnaud Creput      2023.09.05           Litigation                   Yes              16        23       19       2        Highly Confidential           402, 602, 701
Arnaud Creput      2023.09.05           Litigation                   Yes              19        16       19      20        Highly Confidential           402, 602, 701
Arnaud Creput      2023.09.05           Litigation                   Yes              19        22       20       8        Highly Confidential           402, 602, 701
Arnaud Creput      2023.09.05           Litigation                   Yes              20        12       20      19        Highly Confidential           402, 602, 701
Arnaud Creput      2023.09.05           Litigation                   Yes              20        20       20      22        Highly Confidential           402, 602, 701
Arnaud Creput      2023.09.05           Litigation                   Yes              20        24       21       7        Highly Confidential           402, 602, 701
Arnaud Creput      2023.09.05           Litigation                   Yes              21        10       21      14        Highly Confidential           402, 602, 701
Arnaud Creput      2023.09.05           Litigation                   Yes              22         1       22       3        Highly Confidential           402, 602, 701
Arnaud Creput      2023.09.05           Litigation                   Yes              23        16       23      19        Highly Confidential           402, 602, 701
Arnaud Creput      2023.09.05           Litigation                   Yes              23        21       23      25        Highly Confidential         402, 602, 701, 802
Arnaud Creput      2023.09.05           Litigation                   Yes              24         2       24       6        Highly Confidential         402, 602, 701, 802
Arnaud Creput      2023.09.05           Litigation                   Yes              24         8       24      11        Highly Confidential         402, 602, 701, 802
Arnaud Creput      2023.09.05           Litigation                   Yes              24        13       24      16        Highly Confidential         402, 602, 701, 802
Arnaud Creput      2023.09.05           Litigation                   Yes              26        11       26      14        Highly Confidential           402, 602, 701
Arnaud Creput      2023.09.05           Litigation                   Yes              26        16       26      23        Highly Confidential           402, 602, 701
Arnaud Creput      2023.09.05           Litigation                   Yes              27         7       27       9        Highly Confidential           402, 602, 701
Arnaud Creput      2023.09.05           Litigation                   Yes              27        21       28       7        Highly Confidential           402, 602, 701
Arnaud Creput      2023.09.05           Litigation                   Yes              28         8       28      11        Highly Confidential         106, 402, 602, 701         28:12
Arnaud Creput      2023.09.05           Litigation                   Yes              28        14       29      17        Highly Confidential         106, 402, 602, 701
Arnaud Creput      2023.09.05           Litigation                   Yes              30         2       30       6        Highly Confidential           402, 602, 701
Arnaud Creput      2023.09.05           Litigation                   Yes              30         8       30      19        Highly Confidential           402, 602, 701
Arnaud Creput      2023.09.05           Litigation                   Yes              30        22       31      11        Highly Confidential           402, 602, 701
Arnaud Creput      2023.09.05           Litigation                   Yes              32         2       32       4        Highly Confidential           402, 602, 701
Arnaud Creput      2023.09.05           Litigation                   Yes              32         6       32      11        Highly Confidential           402, 602, 701
Arnaud Creput      2023.09.05           Litigation                   Yes              32        13       35       4        Highly Confidential           402, 602, 701
Arnaud Creput      2023.09.05           Litigation                   Yes              35        16       35      19        Highly Confidential        402, 602, 701, 611c
Arnaud Creput      2023.09.05           Litigation                   Yes              35        25       36      14        Highly Confidential           402, 602, 701
Arnaud Creput      2023.09.05           Litigation                   Yes              36        15       36      19        Highly Confidential           402, 602, 701
Arnaud Creput      2023.09.05           Litigation                   Yes              36        21       37       1        Highly Confidential           402, 602, 701
Arnaud Creput      2023.09.05           Litigation                   Yes              37        24       38       2        Highly Confidential        402, 602, 701, 611c
Arnaud Creput      2023.09.05           Litigation                   Yes              38         4       38      10        Highly Confidential           402, 602, 701
                                                                                                                                                      402, 602, 701, 611c,
Arnaud Creput      2023.09.05            Litigation                  Yes               38        21      38      24         Highly Confidential
                                                                                                                                                              106
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                                                  Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                                          Creput (Equative)


                                     CID or Litigation       Video of Deposition     Page      Line     Page    Line    Party Confidentiality as of                             Google Counter-
  Witness       Date of Deposition                                                                                                                     Google Objections
                                        Deposition                  (Y/N)            From      From      to      to            2024.07.03                                        Designations
                                                                                                                                                       402, 602, 701 (39:1-
Arnaud Creput      2023.09.05            Litigation                  Yes               39        1       40      4          Highly Confidential       40:4); 611c, 103 (40:2-
                                                                                                                                                                4)
Arnaud Creput      2023.09.05            Litigation                  Yes               40        19      40      21         Highly Confidential        402, 602, 701, 611c
Arnaud Creput      2023.09.05            Litigation                  Yes               40        23      41       6         Highly Confidential        402, 602, 701, 611c
                                                                                                                                                       402, 602, 701, 611c,
Arnaud Creput      2023.09.05            Litigation                  Yes               40        11      40      18         Highly Confidential
                                                                                                                                                               103
Arnaud Creput      2023.09.05            Litigation                  Yes               41        7       41      19         Highly Confidential           402, 602, 701
Arnaud Creput      2023.09.05            Litigation                  Yes               42        3       42       6         Highly Confidential           402, 602, 701
Arnaud Creput      2023.09.05            Litigation                  Yes               42        7       42      13         Highly Confidential           402, 602, 701
Arnaud Creput      2023.09.05            Litigation                  Yes               43        1       43       7         Highly Confidential           402, 602, 701
Arnaud Creput      2023.09.05            Litigation                  Yes               43        22      44      19         Highly Confidential           402, 602, 701
Arnaud Creput      2023.09.05            Litigation                  Yes               43        5       43       7         Highly Confidential           402, 602, 701
                                                                                                                                                      402, 602, 701 (44:23-
Arnaud Creput      2023.09.05            Litigation                  Yes               44        23      45      22         Highly Confidential        45:22) 611c (45:17-
                                                                                                                                                              45:22)
Arnaud Creput      2023.09.05            Litigation                  Yes               45        24      46       1         Highly Confidential        402, 602, 701, 611c
Arnaud Creput      2023.09.05            Litigation                  Yes               46         2      46       4         Highly Confidential           402, 602, 701
Arnaud Creput      2023.09.05            Litigation                  Yes               46         7      46       9         Highly Confidential           402, 602, 701
Arnaud Creput      2023.09.05            Litigation                  Yes               46        10      46      20         Highly Confidential           402, 602, 701
Arnaud Creput      2023.09.05            Litigation                  Yes               50        4       50       9         Highly Confidential
Arnaud Creput      2023.09.05            Litigation                  Yes               50        11      50      20         Highly Confidential
Arnaud Creput      2023.09.05            Litigation                  Yes               51        7       51       8         Highly Confidential                                   95:23-96:1
Arnaud Creput      2023.09.05            Litigation                  Yes               60        5       60      14         Highly Confidential          402, 602, 701
Arnaud Creput      2023.09.05            Litigation                  Yes               60        16      61       1         Highly Confidential          402, 602, 701
Arnaud Creput      2023.09.05            Litigation                  Yes               61        3       61      22         Highly Confidential          402, 602, 701          93:22-94:4, 94:6
Arnaud Creput      2023.09.05            Litigation                  Yes               62        1       62       3         Highly Confidential        402, 602, 701, 103
Arnaud Creput      2023.09.05            Litigation                  Yes               62        5       62      19         Highly Confidential        402, 602, 701, 103
Arnaud Creput      2023.09.05            Litigation                  Yes               62        20      62      22         Highly Confidential        402, 602, 701, 103
Arnaud Creput      2023.09.05            Litigation                  Yes               62        24      63       1         Highly Confidential        402, 602, 701, 103
                                                                                                                                                       402, 602, 701, 103,
Arnaud Creput      2023.09.05            Litigation                  Yes               63        2       63      7          Highly Confidential
                                                                                                                                                              611c
                                                                                                                                                       402, 602, 701, 103,
Arnaud Creput      2023.09.05            Litigation                  Yes               63        9       64      21         Highly Confidential                                 71:23-25, 72:2-3
                                                                                                                                                              611c
Arnaud Creput      2023.09.05            Litigation                  Yes              64         25      65      11         Highly Confidential
Arnaud Creput      2023.09.05            Litigation                  Yes              65         14      65      21         Highly Confidential
Arnaud Creput      2023.09.05            Litigation                  Yes              65         23      66       6         Highly Confidential
Arnaud Creput      2023.09.05            Litigation                  Yes              91         19      92       3         Highly Confidential
Arnaud Creput      2023.09.05            Litigation                  Yes              92         6       92       7         Highly Confidential
Arnaud Creput      2023.09.05            Litigation                  Yes               99        18       99     23         Highly Confidential           402, 602, 701
Arnaud Creput      2023.09.05            Litigation                  Yes              100         1      100      9         Highly Confidential           402, 602, 701
Arnaud Creput      2023.09.05            Litigation                  Yes              102        8       102     12         Highly Confidential
Arnaud Creput      2023.09.05            Litigation                  Yes              102        20      102     24         Highly Confidential
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                                                 Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                                    Creput (Equative)


                                     CID or Litigation      Video of Deposition     Page      Line     Page    Line    Party Confidentiality as of                       Google Counter-
  Witness       Date of Deposition                                                                                                                   Google Objections
                                        Deposition                 (Y/N)            From      From      to      to            2024.07.03                                  Designations
Arnaud Creput      2023.09.05           Litigation                  Yes              104        9      104      12        Highly Confidential          402, 602, 701
Arnaud Creput      2023.09.05           Litigation                  Yes              104       14      104      20        Highly Confidential          402, 602, 701
Arnaud Creput      2023.09.05           Litigation                  Yes              106       17      106      21        Highly Confidential
Arnaud Creput      2023.09.05           Litigation                  Yes              106       23      107       2        Highly Confidential
Arnaud Creput      2023.09.05           Litigation                  Yes              107       13      107      15        Highly Confidential
Arnaud Creput      2023.09.05           Litigation                  Yes              107       17      107      20        Highly Confidential
Arnaud Creput      2023.09.05           Litigation                  Yes              112        1      112       3        Highly Confidential          402, 602, 701
Arnaud Creput      2023.09.05           Litigation                  Yes              112        5      112      12        Highly Confidential          402, 602, 701
Arnaud Creput      2023.09.05           Litigation                  Yes              112       16      112      23        Highly Confidential          402, 602, 701
Arnaud Creput      2023.09.05           Litigation                  Yes              113        3      113       7        Highly Confidential               602
Arnaud Creput      2023.09.05           Litigation                  Yes              114        2      115       6        Highly Confidential          402, 602, 701
Arnaud Creput      2023.09.05           Litigation                  Yes              115        7      115      10        Highly Confidential          402, 602, 701
Arnaud Creput      2023.09.05           Litigation                  Yes              115       12      115      13        Highly Confidential          402, 602, 701
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                                                     Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                                      Dederick (TTD 30(b)(6))


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  Witness       Date of Deposition   CID or Litigation Deposition                                                                                        Google Objections
                                                                           (Y/N)           From     From to    to               2024.07.03                                           Designations
John Dederick      2023.07.28                 Litigation                    Yes              8        3    8   11           Highly Confidential
John Dederick      2023.07.28                 Litigation                    Yes             13        9   13   21           Highly Confidential
John Dederick      2023.07.28                 Litigation                    Yes              18      12   18   20           Highly Confidential
John Dederick      2023.07.28                 Litigation                    Yes              24       4   25    5           Highly Confidential                                         25:6-11
John Dederick      2023.07.28                 Litigation                    Yes              25      12   25   25           Highly Confidential
John Dederick      2023.07.28                 Litigation                    Yes             26        4   27   12           Highly Confidential              602 (27:6-8)
John Dederick      2023.07.28                 Litigation                    Yes              27      19   28   19           Highly Confidential
John Dederick      2023.07.28                 Litigation                    Yes              28      20   28   25           Highly Confidential
John Dederick      2023.07.28                 Litigation                    Yes             29        3   29   14           Highly Confidential
John Dederick      2023.07.28                 Litigation                    Yes              29      16   29   17           Highly Confidential
John Dederick      2023.07.28                 Litigation                    Yes              44      21   45   22           Highly Confidential
John Dederick      2023.07.28                 Litigation                    Yes              47      14   48   16           Highly Confidential
John Dederick      2023.07.28                 Litigation                    Yes             49        6   50    3           Highly Confidential
John Dederick      2023.07.28                 Litigation                    Yes             51        2   51   13           Highly Confidential
John Dederick      2023.07.28                 Litigation                    Yes              53      25   54   23           Highly Confidential
John Dederick      2023.07.28                 Litigation                    Yes             61        7   61   24           Highly Confidential
John Dederick      2023.07.28                 Litigation                    Yes              69      20   70   15           Highly Confidential                                    69:7-19; 70:22-71:9
John Dederick      2023.07.28                 Litigation                    Yes             88        5   89    6           Highly Confidential
John Dederick      2023.07.28                 Litigation                    Yes             105      25  106 21             Highly Confidential
John Dederick      2023.07.28                 Litigation                    Yes             115      13  117 15             Highly Confidential                                       114:25-115:4
John Dederick      2023.07.28                 Litigation                    Yes             117      16  118 16             Highly Confidential                                        118:17-21
John Dederick      2023.07.28                 Litigation                    Yes             126       5  127 20             Highly Confidential                                       125:3-126:4
John Dederick      2023.07.28                 Litigation                    Yes             130      16  130 17             Highly Confidential
John Dederick      2023.07.28                 Litigation                    Yes             130      20  134   4            Highly Confidential
John Dederick      2023.07.28                 Litigation                    Yes             134      18  134 20             Highly Confidential                  402
John Dederick      2023.07.28                 Litigation                    Yes             134      22  135    3           Highly Confidential                  402
John Dederick      2023.07.28                 Litigation                    Yes             135       4  136 11             Highly Confidential                  402
John Dederick      2023.07.28                 Litigation                    Yes             136      12  136 25             Highly Confidential                  402
John Dederick      2023.07.28                 Litigation                    Yes             137       2  137 15             Highly Confidential                  402
John Dederick      2023.07.28                 Litigation                    Yes             144      15  145 18             Highly Confidential                                       145:19-146:2
                                                                                                                                                                                  147:20-148:17; 150:2-
John Dederick      2023.07.28                 Litigation                    Yes             151      14     152    4         Highly Confidential
                                                                                                                                                                                           14
John Dederick      2023.07.28                 Litigation                    Yes             152       5     153    18        Highly Confidential
                                                                                                                                                          402, 701 (153:23-
                                                                                                                                                               155:14);
John Dederick      2023.07.28                 Litigation                    Yes             153      23     157    15        Highly Confidential
                                                                                                                                                        402, 602, 701 (157:13-
                                                                                                                                                                  15)

                                                                                                                                                        402, 602, 701 (157:17-
                                                                                                                                                               158:25);
John Dederick      2023.07.28                 Litigation                    Yes             157      17     160    13        Highly Confidential
                                                                                                                                                       402, 701 (159:2-160:8);
                                                                                                                                                       402, 602, 701 (160:9-13)
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                                                                                                                                                       402, 602, 701 (160:16-
                                                                                                                                                                 162:6);
John Dederick      2023.07.28                 Litigation                    Yes             160      16     162    8         Highly Confidential
                                                                                                                                                        402, 602, 701 (162:7-
                                                                                                                                                                 162:8)
                                                                                                                                                       402, 602, 701 (162:10-
                                                                                                                                                                  22);
John Dederick      2023.07.28                 Litigation                    Yes             162      10     163    10        Highly Confidential
                                                                                                                                                          402, 701 (162:23-
                                                                                                                                                                163:10)
John Dederick      2023.07.28                 Litigation                    Yes             163      11     163    13        Highly Confidential                402, 602
                                                                                                                                                       402, 602 (163:16-24);
                                                                                                                                                          402, 602 (163:25-
John Dederick      2023.07.28                 Litigation                    Yes             163      16     165    20        Highly Confidential
                                                                                                                                                                 165:4);
                                                                                                                                                         402, 602 (165:5-20)
                                                                                                                                                         402, 701 (166:6-9);
                                                                                                                                                       402, 701 (166:10-13);
John Dederick      2023.07.28                 Litigation                    Yes             166       6     166    16        Highly Confidential
                                                                                                                                                       402, 602, 701 (166:14-
                                                                                                                                                                   16)
                                                                                                                                                       402, 602, 701 (166:18-
                                                                                                                                                                167:10);
John Dederick      2023.07.28                 Litigation                    Yes             166      18     167    12        Highly Confidential
                                                                                                                                                          402, 602, 701, 802
                                                                                                                                                              (167:11-12)
                                                                                                                                                          402, 602, 701, 802
                                                                                                                                                           (167:14-168:16);
John Dederick      2023.07.28                 Litigation                    Yes             167      14     170    4         Highly Confidential
                                                                                                                                                       402, 701, 802 (168:17-
                                                                                                                                                                 170:4)
John Dederick      2023.07.28                 Litigation                    Yes             170      13     170    15        Highly Confidential             402, 602, 802
John Dederick      2023.07.28                 Litigation                    Yes             170      17     172     7        Highly Confidential             402, 602, 802
John Dederick      2023.07.28                 Litigation                    Yes             172      8      173     3        Highly Confidential                  402
John Dederick      2023.07.28                 Litigation                    Yes             173      4      174     4        Highly Confidential                402, 602
John Dederick      2023.07.28                 Litigation                    Yes             174      5      174     8        Highly Confidential                402, 602
John Dederick      2023.07.28                 Litigation                    Yes             174      10     174    24        Highly Confidential                402, 602
John Dederick      2023.07.28                 Litigation                    Yes             175      12     175    16        Highly Confidential                402, 602
                                                                                                                                                          402, 602 (175:19-
John Dederick      2023.07.28                 Litigation                    Yes             175      19     176    14        Highly Confidential                176:12);
                                                                                                                                                        402, 602 (176:13-14)
John Dederick      2023.07.28                 Litigation                    Yes             176      16     177    10        Highly Confidential                402, 602
John Dederick      2023.07.28                 Litigation                    Yes             177      11     177    17        Highly Confidential          402, 602, 701, 802
John Dederick      2023.07.28                 Litigation                    Yes             177      20     179    15        Highly Confidential          402, 602, 701, 802
John Dederick      2023.07.28                 Litigation                    Yes             179      19     179    23        Highly Confidential             402, 602, 802
                                                                                                                                                       402, 602, 802 (179:25-
John Dederick      2023.07.28                 Litigation                    Yes             179      25     180    22        Highly Confidential                180:19);
                                                                                                                                                           402 (180:20-22)
John Dederick      2023.07.28                 Litigation                    Yes             180      25     181    25        Highly Confidential                  402
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  Witness       Date of Deposition   CID or Litigation Deposition                                                                                        Google Objections
                                                                           (Y/N)           From     From to    to               2024.07.03                                         Designations
John Dederick      2023.07.28                 Litigation                    Yes             182       2  182 20             Highly Confidential               402, 701
John Dederick      2023.07.28                 Litigation                    Yes             184      10  184 12             Highly Confidential             402, 602, 701
John Dederick      2023.07.28                 Litigation                    Yes             184      15  185 10             Highly Confidential             402, 602, 701
John Dederick      2023.07.28                 Litigation                    Yes             187      24  188   2            Highly Confidential                  602
John Dederick      2023.07.28                 Litigation                    Yes             188       5  189    4           Highly Confidential                  602
John Dederick      2023.07.28                 Litigation                    Yes             189       5  189   7            Highly Confidential             402, 602, 701
                                                                                                                                                        402, 602, 701 (189:9-
                                                                                                                                                              190:18);
John Dederick      2023.07.28                 Litigation                    Yes             189       9     190    20        Highly Confidential
                                                                                                                                                       402, 602, 701 (190:19-
                                                                                                                                                                 20)
John Dederick      2023.07.28                 Litigation                    Yes             190      24     191    14        Highly Confidential            402, 602, 701
John Dederick      2023.07.28                 Litigation                    Yes             191      24     193     9        Highly Confidential                 602
                                                                                                                                                         402, 701 (193:16-
                                                                                                                                                              194:23);
John Dederick      2023.07.28                 Litigation                    Yes             193      10     195    2         Highly Confidential
                                                                                                                                                       402, 602, 701 (194:24-
                                                                                                                                                               195:2)
John Dederick      2023.07.28                 Litigation                    Yes             195       4     195    25        Highly Confidential            402, 602, 701
                                                                                                                                                         402, 701 (196:12-
John Dederick      2023.07.28                 Litigation                    Yes             196      12     198    18        Highly Confidential               197:7);
                                                                                                                                                       402, 701 (197:8-198:3)
                                                                                                                                                         402, 701 (199:23-
John Dederick      2023.07.28                 Litigation                    Yes             198      21     202    5         Highly Confidential               200:14)
                                                                                                                                                        802 (200:15 - 201:4)
John Dederick      2023.07.28                 Litigation                    Yes             202      22     203     8        Highly Confidential                                      202:14-19
John Dederick      2023.07.28                 Litigation                    Yes             203      12     203    12        Highly Confidential            402, 602, 701
                                                                                                                                                       402, 602, 701 (203:14)
John Dederick      2023.07.28                 Litigation                    Yes             203      14     204    6         Highly Confidential         602, 701 (203:15 -
                                                                                                                                                                204:6)
John Dederick      2023.07.28                 Litigation                    Yes             205      15     205    17        Highly Confidential            402, 602, 701
John Dederick      2023.07.28                 Litigation                    Yes             205      21     206    24        Highly Confidential            402, 602, 701
John Dederick      2023.07.28                 Litigation                    Yes             206      25     207     4        Highly Confidential            402, 602, 701
John Dederick      2023.07.28                 Litigation                    Yes             207      7      207    24        Highly Confidential            402, 602, 701
John Dederick      2023.07.28                 Litigation                    Yes             207      25     208     8        Highly Confidential                 402
John Dederick      2023.07.28                 Litigation                    Yes             209      8      209     9        Highly Confidential            402, 602, 701
                                                                                                                                                       402, 602, 701 (209:11-
                                                                                                                                                                 12);
John Dederick      2023.07.28                 Litigation                    Yes             209      11     210    11        Highly Confidential
                                                                                                                                                          402, 701 (209:13-
                                                                                                                                                               210:11)
John Dederick      2023.07.28                 Litigation                    Yes             210      12     211     9        Highly Confidential       402, 602, 701 (211:5-9)
John Dederick      2023.07.28                 Litigation                    Yes             211      11     213     4        Highly Confidential            402, 602, 701
John Dederick      2023.07.28                 Litigation                    Yes             213      5      213    21        Highly Confidential            402, 602, 701
John Dederick      2023.07.28                 Litigation                    Yes             213      22     214     2        Highly Confidential         402, 602, 611c, 701
John Dederick      2023.07.28                 Litigation                    Yes             214      7      215    14        Highly Confidential         402, 602, 611c, 701
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  Witness       Date of Deposition   CID or Litigation Deposition                                                                                        Google Objections
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John Dederick      2023.07.28                 Litigation                    Yes             215      17  215 19             Highly Confidential            402, 602, 701
John Dederick      2023.07.28                 Litigation                    Yes             215      22  216 25             Highly Confidential            402, 602, 701
John Dederick      2023.07.28                 Litigation                    Yes             217       4  217   8            Highly Confidential            402, 602, 701
                                                                                                                                                        402, 602, 701 (217:7-
John Dederick      2023.07.28                 Litigation                    Yes             217      10     219    4         Highly Confidential
                                                                                                                                                               218:21)
John Dederick      2023.07.28                 Litigation                    Yes             219      5      220     7        Highly Confidential
John Dederick      2023.07.28                 Litigation                    Yes             220      8      220    10        Highly Confidential
John Dederick      2023.07.28                 Litigation                    Yes             220      11     221    10        Highly Confidential           602 (221:8-10)
John Dederick      2023.07.28                 Litigation                    Yes             221      12     221    23        Highly Confidential                602
John Dederick      2023.07.28                 Litigation                    Yes             222       3     223     9        Highly Confidential                602
John Dederick      2023.07.28                 Litigation                    Yes             223      12     224    23        Highly Confidential          611c (224:19-23)
John Dederick      2023.07.28                 Litigation                    Yes             224      25     225    11        Highly Confidential                611c
                                                                                                                                                       611c (225:23 - 226:8)
                                                                                                                                                        602 (226:9 - 228:9)
John Dederick      2023.07.28                 Litigation                    Yes             225      23     229    2         Highly Confidential          611c (228:10-14)
                                                                                                                                                         602, 701 (228:21 -
                                                                                                                                                               229:2)
John Dederick      2023.07.28                 Litigation                    Yes             229      4      230     2        Highly Confidential              602, 701
John Dederick      2023.07.28                 Litigation                    Yes             230      3      230     8        Highly Confidential         602, 701 (230:5-8)
John Dederick      2023.07.28                 Litigation                    Yes             230      10     230    24        Highly Confidential              602, 701
John Dederick      2023.07.28                 Litigation                    Yes             231      14     231    20        Highly Confidential                611c
John Dederick      2023.07.28                 Litigation                    Yes             231      24     232    15        Highly Confidential       611c (231:24 - 232:14)
John Dederick      2023.07.28                 Litigation                    Yes             232      18     233     4        Highly Confidential
John Dederick      2023.07.28                 Litigation                    Yes             233      6      234     3        Highly Confidential
John Dederick      2023.07.28                 Litigation                    Yes             235      17     235    22        Highly Confidential                602
John Dederick      2023.07.28                 Litigation                    Yes             236       3     236    22        Highly Confidential                602
John Dederick      2023.07.28                 Litigation                    Yes             236      23     237     3        Highly Confidential
John Dederick      2023.07.28                 Litigation                    Yes             237      5      238    18        Highly Confidential
John Dederick      2023.07.28                 Litigation                    Yes             243      12     243    24        Highly Confidential
John Dederick      2023.07.28                 Litigation                    Yes             244       6     245    4         Highly Confidential       402, 602 (244:22-245:4)
John Dederick      2023.07.28                 Litigation                    Yes             245      8      246    11        Highly Confidential              402, 602
John Dederick      2023.07.28                 Litigation                    Yes             247      18     247    20        Highly Confidential
John Dederick      2023.07.28                 Litigation                    Yes             247      22     248    19        Highly Confidential
John Dederick      2023.07.28                 Litigation                    Yes             249      3      249    15        Highly Confidential
John Dederick      2023.07.28                 Litigation                    Yes             249      18     250    14        Highly Confidential
John Dederick      2023.07.28                 Litigation                    Yes             250      16     250    18        Highly Confidential                611c
John Dederick      2023.07.28                 Litigation                    Yes             250      20     251    22        Highly Confidential        611c (250:20 - 251:7)
John Dederick      2023.07.28                 Litigation                    Yes             251      23     252     2        Highly Confidential
John Dederick      2023.07.28                 Litigation                    Yes             252      4      252    20        Highly Confidential
John Dederick      2023.07.28                 Litigation                    Yes             253      5      253    10        Highly Confidential
John Dederick      2023.07.28                 Litigation                    Yes             253      11     253    17        Highly Confidential
John Dederick      2023.07.28                 Litigation                    Yes             253      19     253    25        Highly Confidential
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  Witness       Date of Deposition   CID or Litigation Deposition                                                                                       Google Objections
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John Dederick      2023.07.28                 Litigation                    Yes             254       2  254   3            Highly Confidential
John Dederick      2023.07.28                 Litigation                    Yes             254       5  254 10             Highly Confidential
John Dederick      2023.07.28                 Litigation                    Yes             254      15  254 18             Highly Confidential            402, 602, 701
John Dederick      2023.07.28                 Litigation                    Yes             254      21  255 22             Highly Confidential            402, 602, 701
John Dederick      2023.07.28                 Litigation                    Yes             255      25  256    4           Highly Confidential                 611c
John Dederick      2023.07.28                 Litigation                    Yes             256       6  257    6           Highly Confidential                 611c
John Dederick      2023.07.28                 Litigation                    Yes             257      11  257 16             Highly Confidential                 402
                                                                                                                                                         402 (257:18-21);
John Dederick      2023.07.28                 Litigation                    Yes             257      18     257    23        Highly Confidential       402, 602, 701 (257:22-
                                                                                                                                                                 23)
John Dederick      2023.07.28                 Litigation                    Yes             257      25     260    11        Highly Confidential           402, 602, 701
                                                                                                                                                         402, 701 (260:12-
                                                                                                                                                              261:14);
John Dederick      2023.07.28                 Litigation                    Yes             260      12     261    17        Highly Confidential
                                                                                                                                                       402, 602, 701 (261:15-
                                                                                                                                                                 17)
John Dederick      2023.07.28                 Litigation                    Yes             261      19     261    21        Highly Confidential           402, 602, 701
                                                                                                                                                       402, 701, 802 (261:23-
John Dederick      2023.07.28                 Litigation                    Yes             261      23     263    25        Highly Confidential              263:8);
                                                                                                                                                        402, 802 (263:9-25)
John Dederick      2023.07.28                 Litigation                    Yes             264       2     264     6        Highly Confidential             402, 611c
John Dederick      2023.07.28                 Litigation                    Yes             264       8     265    15        Highly Confidential             402, 611c
                                                                                                                                                                                307:24-308:4; 309:16-
John Dederick      2023.07.28                 Litigation                    Yes             265      16     266    21        Highly Confidential                402
                                                                                                                                                                                        310:2
John Dederick      2023.07.28                 Litigation                    Yes             267      11     268    20        Highly Confidential         611c (268:18-20)
John Dederick      2023.07.28                 Litigation                    Yes             268      23     269     3        Highly Confidential       611c (268:24 - 269:3)
John Dederick      2023.07.28                 Litigation                    Yes             269       6     269    12        Highly Confidential               611c
John Dederick      2023.07.28                 Litigation                    Yes             269      14     269    17        Highly Confidential               611c
John Dederick      2023.07.28                 Litigation                    Yes             270      10     270    12        Highly Confidential               611c
John Dederick      2023.07.28                 Litigation                    Yes             270      14     271     3        Highly Confidential
John Dederick      2023.07.28                 Litigation                    Yes             271      20     272    10        Highly Confidential
John Dederick      2023.07.28                 Litigation                    Yes             272      11     274    14        Highly Confidential
John Dederick      2023.07.28                 Litigation                    Yes             274      15     274    19        Highly Confidential              402, 602
                                                                                                                                                         402, 602 (274:21-
                                                                                                                                                              275:24);
John Dederick      2023.07.28                 Litigation                    Yes             274      21     276    3         Highly Confidential
                                                                                                                                                       402, 602, 701 (275:25-
                                                                                                                                                               276:3)
John Dederick      2023.07.28                 Litigation                    Yes             276       5     276    19        Highly Confidential           402, 602, 701
                                                                                                                                                        402 (276:20-277:3)
John Dederick      2023.07.28                 Litigation                    Yes             276      20     277    19        Highly Confidential
                                                                                                                                                        402, 802 (277:8-19)
John Dederick      2023.07.28                 Litigation                    Yes             277      21     280     3        Highly Confidential              402, 802
John Dederick      2023.07.28                 Litigation                    Yes             280      6      280    14        Highly Confidential
John Dederick      2023.07.28                 Litigation                    Yes             281       2     281     5        Highly Confidential               611c
John Dederick      2023.07.28                 Litigation                    Yes             281      7      281    14        Highly Confidential          611c (281:7-10)
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  Witness       Date of Deposition   CID or Litigation Deposition                                                                                        Google Objections
                                                                           (Y/N)           From     From to    to               2024.07.03                                         Designations
John Dederick      2023.07.28                 Litigation                    Yes             282      11  282 15             Highly Confidential              602, 611c
                                                                                                                                                           611c (282:17)
John Dederick      2023.07.28                 Litigation                    Yes             282      17     282    21        Highly Confidential
                                                                                                                                                          611c (282:18-21)
John Dederick      2023.07.28                 Litigation                    Yes             282      23     285    4         Highly Confidential       402, 802 (284:25-285:4)
John Dederick      2023.07.28                 Litigation                    Yes             285      11     285    13        Highly Confidential              402, 602
John Dederick      2023.07.28                 Litigation                    Yes             285      15     285    16        Highly Confidential              402, 602
John Dederick      2023.07.28                 Litigation                    Yes             285      17     285    19        Highly Confidential           402, 602, 802
                                                                                                                                                       402, 602, 802 (285:21-
John Dederick      2023.07.28                 Litigation                    Yes             285      21     286    12        Highly Confidential               286:8);
                                                                                                                                                        402, 602 (286:9-12)
John Dederick      2023.07.28                 Litigation                    Yes             286      15     288    13        Highly Confidential              402, 602
John Dederick      2023.07.28                 Litigation                    Yes             305      4      305    24        Highly Confidential              602, 701
John Dederick      2023.07.28                 Litigation                    Yes             318      4      319    14        Highly Confidential              602, 802
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                                         Deposition              (Y/N)                                                                   2024.07.03                                  Designations
Jerry Dischler      2022.02.03              CID                   Yes               6         6       6       7                      Highly Confidential
Jerry Dischler      2022.02.03              CID                   Yes              26        22      27      15                      Highly Confidential
Jerry Dischler      2022.02.03              CID                   Yes              28        20      29      11                      Highly Confidential
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  Witness       Date of Deposition                                                                                                                     Google Objections
                                        Deposition                (Y/N)            From       From       to   to                2024.07.03                                  Designations
John Dukellis      2021.08.11              CID                     Yes              16         20        17    1            Highly Confidential
John Dukellis      2021.08.11              CID                     Yes               29         4        29   16            Highly Confidential
John Dukellis      2021.08.11              CID                     Yes              30         12        31    2            Highly Confidential
John Dukellis      2021.08.11              CID                     Yes               41        22        42   18            Highly Confidential
John Dukellis      2021.08.11              CID                     Yes               57        10        59   19            Highly Confidential
John Dukellis      2021.08.11              CID                     Yes              161         4       161   22            Highly Confidential                             161:23-162:23
John Dukellis      2021.08.11              CID                     Yes              217        24       218   15            Highly Confidential            402, 701
John Dukellis      2021.08.11              CID                     Yes              220        14       221   10            Highly Confidential              402
John Dukellis      2021.08.11              CID                     Yes              222        11       222   21            Highly Confidential            402, 701         222:22-223:13
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                                   CID or Litigation        Video of Deposition      Page      Line     Page Line       Party Confidentiality as of                         Google Counter-
 Witness      Date of Deposition                                                                                                                      Google Objections
                                      Deposition                   (Y/N)             From      From      to   to               2024.07.03                                    Designations
Omri Farber      2023.09.18           Litigation                    Yes                7        14        8    4                 Public
Omri Farber      2023.09.18           Litigation                    Yes                11       21       12   21                 Public
Omri Farber      2023.09.18           Litigation                    Yes                12       23       13    5                 Public
Omri Farber      2023.09.18           Litigation                    Yes                13        8       13   13                 Public
Omri Farber      2023.09.18           Litigation                    Yes                13       25       14   11                 Public
Omri Farber      2023.09.18           Litigation                    Yes                16        2       16    5                 Public
Omri Farber      2023.09.18           Litigation                    Yes                16        2       16   19                 Public
Omri Farber      2023.09.18           Litigation                    Yes                16        6       16   19                 Public
Omri Farber      2023.09.18           Litigation                    Yes                16       22       17   12                 Public
Omri Farber      2023.09.18           Litigation                    Yes                17       13       17   14                 Public                     106                 17:14-20
Omri Farber      2023.09.18           Litigation                    Yes                18        2       18    7                 Public
Omri Farber      2023.09.18           Litigation                    Yes                18        9       18   10                 Public
Omri Farber      2023.09.18           Litigation                    Yes                18       11       19   20                 Public
Omri Farber      2023.09.18           Litigation                    Yes                19       21       20    5                 Public
Omri Farber      2023.09.18           Litigation                    Yes                20       18       21   11                 Public
Omri Farber      2023.09.18           Litigation                    Yes                22       14       23    3                 Public
Omri Farber      2023.09.18           Litigation                    Yes                23        7       23   21                 Public
Omri Farber      2023.09.18           Litigation                    Yes                24       23       25   12                 Public
Omri Farber      2023.09.18           Litigation                    Yes                26       19       26   22               Confidential                 402
Omri Farber      2023.09.18           Litigation                    Yes                26       23       26   25               Confidential                 402
Omri Farber      2023.09.18           Litigation                    Yes                27        1       27   25               Confidential                 402
Omri Farber      2023.09.18           Litigation                    Yes                28        1       28    4               Confidential                 402
Omri Farber      2023.09.18           Litigation                    Yes                30        3       30   25               Confidential
Omri Farber      2023.09.18           Litigation                    Yes                31        1       31   16                 Public                   802, 402
Omri Farber      2023.09.18           Litigation                    Yes                32       13       33   22                 Public                 602, 802, 402
Omri Farber      2023.09.18           Litigation                    Yes                99       18      100   19               Confidential
Omri Farber      2023.09.18           Litigation                    Yes               100       20      101   11                 Public
Omri Farber      2023.09.18           Litigation                    Yes               101       18      101   19                 Public                   402, 802
Omri Farber      2023.09.18           Litigation                    Yes               101       21      102    5               Confidential               402, 802
Omri Farber      2023.09.18           Litigation                    Yes               102        6      102    8                 Public
Omri Farber      2023.09.18           Litigation                    Yes               102       22      102   23                 Public
Omri Farber      2023.09.18           Litigation                    Yes               104       20      105   19               Confidential               402, 802
Omri Farber      2023.09.18           Litigation                    Yes               105       20      106    4                 Public                   402, 802
Omri Farber      2023.09.18           Litigation                    Yes               106        5      106   17               Confidential            602 (106:12-17)
Omri Farber      2023.09.18           Litigation                    Yes               115        3      115    5               Confidential                 611c
Omri Farber      2023.09.18           Litigation                    Yes               115        8      115    8               Confidential
Omri Farber      2023.09.18           Litigation                    Yes               115        9      115   16               Confidential
                                                                                                                                                                          114:16-114:18, 114:22-
Omri Farber      2023.09.18            Litigation                   Yes               115        17      115    20             Confidential                 106
                                                                                                                                                                            115:1; 115:21-22
Omri Farber      2023.09.18            Litigation                   Yes               118         9      118    12             Confidential                 611c
Omri Farber      2023.09.18            Litigation                   Yes               118        18      119     2             Confidential
Omri Farber      2023.09.18            Litigation                   Yes               119         3      119     6             Confidential                 106                  119:7-9
Omri Farber      2023.09.18            Litigation                   Yes               119        20      120    22             Confidential
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                                                    Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                                    Farber (Meta 30(b)(6))


                                   CID or Litigation        Video of Deposition      Page      Line     Page Line       Party Confidentiality as of                            Google Counter-
 Witness      Date of Deposition                                                                                                                       Google Objections
                                      Deposition                   (Y/N)             From      From      to   to               2024.07.03                                       Designations
Omri Farber      2023.09.18           Litigation                    Yes               120       24      121   11               Confidential
Omri Farber      2023.09.18           Litigation                    Yes               121       18      121   19               Confidential                    701
Omri Farber      2023.09.18           Litigation                    Yes               121       21      121   25               Confidential                    701
Omri Farber      2023.09.18           Litigation                    Yes               122        8      122   25               Confidential           611c, 402 (122:23-25)
Omri Farber      2023.09.18           Litigation                    Yes               123        2      123   11               Confidential                  701, 402
Omri Farber      2023.09.18           Litigation                    Yes               123       13      124    7               Confidential
Omri Farber      2023.09.18           Litigation                    Yes               130       18      130   23               Confidential                 701, 402
Omri Farber      2023.09.18           Litigation                    Yes               130       25      131    5               Confidential                 701, 402
Omri Farber      2023.09.18           Litigation                    Yes               131        6      131   20               Confidential                 701, 402
Omri Farber      2023.09.18           Litigation                    Yes               131       21      131   25               Confidential                 701, 402
Omri Farber      2023.09.18           Litigation                    Yes               134       21      136    2               Confidential            402, 701, 602, 106           136:3-4
Omri Farber      2023.09.18           Litigation                    Yes               136       20      136   25           Highly Confidential           402, 701, 602
Omri Farber      2023.09.18           Litigation                    Yes               137        1      137   14           Highly Confidential           402, 701, 602
Omri Farber      2023.09.18           Litigation                    Yes               137       16      137   22           Highly Confidential                602
Omri Farber      2023.09.18           Litigation                    Yes               137       23      137   24           Highly Confidential                602
Omri Farber      2023.09.18           Litigation                    Yes               137       25      138    7           Highly Confidential                602
Omri Farber      2023.09.18           Litigation                    Yes               138        8      138   20           Highly Confidential              106, 701
Omri Farber      2023.09.18           Litigation                    Yes               138       21      139    5           Highly Confidential              106, 701
Omri Farber      2023.09.18           Litigation                    Yes               139        6      139    9           Highly Confidential              106, 701          139:10-12, 139:15-25
Omri Farber      2023.09.18           Litigation                    Yes               140       17      140   23           Highly Confidential              106, 701
Omri Farber      2023.09.18           Litigation                    Yes               141       11      141   15           Highly Confidential
Omri Farber      2023.09.18           Litigation                    Yes               141       17      141   19           Highly Confidential
Omri Farber      2023.09.18           Litigation                    Yes               141       22      141   22           Highly Confidential
Omri Farber      2023.09.18           Litigation                    Yes               141       23      142    6           Highly Confidential
Omri Farber      2023.09.18           Litigation                    Yes               142        8      142   10           Highly Confidential                611c
Omri Farber      2023.09.18           Litigation                    Yes               142       19      143   13           Highly Confidential                602
Omri Farber      2023.09.18           Litigation                    Yes               145        4      146   15           Highly Confidential                402
Omri Farber      2023.09.18           Litigation                    Yes               147       19      147   23           Highly Confidential                602
Omri Farber      2023.09.18           Litigation                    Yes               148       10      148   20               Confidential
Omri Farber      2023.09.18           Litigation                    Yes               149       20      149   24               Confidential                                    149:5-6, 149:12-16
Omri Farber      2023.09.18           Litigation                    Yes               150        9      151    4           Highly Confidential                602
Omri Farber      2023.09.18           Litigation                    Yes               152       10      152   11           Highly Confidential              701, 402
Omri Farber      2023.09.18           Litigation                    Yes               152       13      152   15           Highly Confidential              701, 402
                                                                                                                                                                               153:14-21, 153:24-
Omri Farber      2023.09.18            Litigation                   Yes               152        17      153     2          Highly Confidential           602, 402, 701
                                                                                                                                                                                     154:4
Omri Farber      2023.09.18            Litigation                   Yes               158        5       158    18         Highly Confidential            602, 402, 701
Omri Farber      2023.09.18            Litigation                   Yes               158        19      159     3         Highly Confidential            602, 402, 701
Omri Farber      2023.09.18            Litigation                   Yes               159        4       159     6         Highly Confidential            602, 402, 701
Omri Farber      2023.09.18            Litigation                   Yes               159        7       159    20         Highly Confidential            602, 402, 701
Omri Farber      2023.09.18            Litigation                   Yes               159        22      160     6         Highly Confidential            602, 402, 701
Omri Farber      2023.09.18            Litigation                   Yes               160        9       160    12         Highly Confidential            602, 402, 701
Omri Farber      2023.09.18            Litigation                   Yes               172        8       172    11         Highly Confidential            602, 402, 701
Omri Farber      2023.09.18            Litigation                   Yes               172        14      172    25         Highly Confidential            602, 402, 701
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                                                    Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                                 Farber (Meta 30(b)(6))


                                   CID or Litigation        Video of Deposition      Page      Line     Page Line       Party Confidentiality as of                         Google Counter-
 Witness      Date of Deposition                                                                                                                      Google Objections
                                      Deposition                   (Y/N)             From      From      to   to               2024.07.03                                    Designations
Omri Farber      2023.09.18           Litigation                    Yes               173        2      173    5           Highly Confidential          602, 402, 701
Omri Farber      2023.09.18           Litigation                    Yes               173        8      173   14           Highly Confidential          602, 402, 701
Omri Farber      2023.09.18           Litigation                    Yes               173       16      174    3           Highly Confidential          602, 402, 701
Omri Farber      2023.09.18           Litigation                    Yes               180       24      181   24           Highly Confidential          602, 402, 701
Omri Farber      2023.09.18           Litigation                    Yes               181       25      183    1           Highly Confidential          602, 402, 701
Omri Farber      2023.09.18           Litigation                    Yes               183        2      183   23           Highly Confidential            701, 402
Omri Farber      2023.09.18           Litigation                    Yes               183       24      183   25           Highly Confidential            701, 402
Omri Farber      2023.09.18           Litigation                    Yes               184        2      184    5           Highly Confidential            701, 402
Omri Farber      2023.09.18           Litigation                    Yes               184       17      184   20           Highly Confidential            701, 402
Omri Farber      2023.09.18           Litigation                    Yes               184       23      184   25           Highly Confidential            701, 402
Omri Farber      2023.09.18           Litigation                    Yes               185        2      185    7           Highly Confidential            701, 402
Omri Farber      2023.09.18           Litigation                    Yes               187       23      188    3               Confidential
Omri Farber      2023.09.18           Litigation                    Yes               188        6      188   15               Confidential
Omri Farber      2023.09.18           Litigation                    Yes               188       17      188   25               Confidential
Omri Farber      2023.09.18           Litigation                    Yes               189        3      189    3               Confidential
Omri Farber      2023.09.18           Litigation                    Yes               189        5      189   11               Confidential
Omri Farber      2023.09.18           Litigation                    Yes               189       13      190    5               Confidential
Omri Farber      2023.09.18           Litigation                    Yes               190        6      190    7               Confidential
Omri Farber      2023.09.18           Litigation                    Yes               190        9      190   21               Confidential
Omri Farber      2023.09.18           Litigation                    Yes               191        2      191    4           Highly Confidential            701, 402
Omri Farber      2023.09.18           Litigation                    Yes               191        6      191    8           Highly Confidential            701, 402
Omri Farber      2023.09.18           Litigation                    Yes               196       11      196   18           Highly Confidential          602, 402, 701
Omri Farber      2023.09.18           Litigation                    Yes               196       22      196   24           Highly Confidential          602, 402, 701
Omri Farber      2023.09.18           Litigation                    Yes               197       11      197   12                 Public                 602, 402, 701
Omri Farber      2023.09.18           Litigation                    Yes               197       15      197   19           Highly Confidential          602, 402, 701       197:22-24, 198:2-4
Omri Farber      2023.09.18           Litigation                    Yes               201       24      202    1           Highly Confidential
Omri Farber      2023.09.18           Litigation                    Yes               202        2      202   10           Highly Confidential
Omri Farber      2023.09.18           Litigation                    Yes               203        8      203   14           Highly Confidential
Omri Farber      2023.09.18           Litigation                    Yes               204       12      204   17           Highly Confidential
Omri Farber      2023.09.18           Litigation                    Yes               204       21      205   18           Highly Confidential
Omri Farber      2023.09.18           Litigation                    Yes               206        6      206   10           Highly Confidential
Omri Farber      2023.09.18           Litigation                    Yes               206       13      207    2           Highly Confidential
Omri Farber      2023.09.18           Litigation                    Yes               207       15      207   24           Highly Confidential
                                                                                                                                                      901, 602, 402, 701,
Omri Farber      2023.09.18            Litigation                   Yes               208        16      209     4                Public
                                                                                                                                                             802
                                                                                                                                                      901, 602, 402, 701,
Omri Farber      2023.09.18            Litigation                   Yes               209        10      209    12                Public
                                                                                                                                                             802
                                                                                                                                                      901, 602, 402, 701,
Omri Farber      2023.09.18            Litigation                   Yes               209        14      209    15                Public
                                                                                                                                                             802
Omri Farber      2023.09.18            Litigation                   Yes               213         8      214    14             Confidential                602, 802
Omri Farber      2023.09.18            Litigation                   Yes               216        11      216    16          Highly confidential
Omri Farber      2023.09.18            Litigation                   Yes               216        19      217     3          Highly confidential
Omri Farber      2023.09.18            Litigation                   Yes               217         5      217     6          Highly confidential
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                                                    Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                                 Farber (Meta 30(b)(6))


                                   CID or Litigation        Video of Deposition      Page      Line     Page Line       Party Confidentiality as of                         Google Counter-
 Witness      Date of Deposition                                                                                                                      Google Objections
                                      Deposition                   (Y/N)             From      From      to   to               2024.07.03                                    Designations
Omri Farber      2023.09.18           Litigation                    Yes               217        9      217   16            Highly confidential           611c, 402
Omri Farber      2023.09.18           Litigation                    Yes               225       15      225   19            Highly confidential           701, 602
Omri Farber      2023.09.18           Litigation                    Yes               225       22      225   24            Highly confidential           701, 602
Omri Farber      2023.09.18           Litigation                    Yes               226        3      226    4            Highly confidential           701, 602
Omri Farber      2023.09.18           Litigation                    Yes               226        6      226    8            Highly confidential           701, 602
Omri Farber      2023.09.18           Litigation                    Yes               226       11      226   14            Highly confidential           701, 602
Omri Farber      2023.09.18           Litigation                    Yes               227       22      228    4            Highly confidential             602
Omri Farber      2023.09.18           Litigation                    Yes               228        9      228   13            Highly confidential             602
Omri Farber      2023.09.18           Litigation                    Yes               228       15      228   16                  Public                    602
Omri Farber      2023.09.18           Litigation                    Yes               228       19      229    2           Highly Confidential              602
Omri Farber      2023.09.18           Litigation                    Yes               231       16      231   18           Highly Confidential              611c
Omri Farber      2023.09.18           Litigation                    Yes               231       20      232    8           Highly Confidential
                                                                                                                                                      901, 602, 402, 701,
Omri Farber      2023.09.18            Litigation                   Yes               239        12      239    14         Highly Confidential
                                                                                                                                                             802
                                                                                                                                                      901, 602, 402, 701,
Omri Farber      2023.09.18            Litigation                   Yes               239        16      239    19         Highly Confidential
                                                                                                                                                             802
Omri Farber      2023.09.18            Litigation                   Yes               244        17      244    18         Highly Confidential               402
Omri Farber      2023.09.18            Litigation                   Yes               244        22      244    25         Highly Confidential               402
Omri Farber      2023.09.18            Litigation                   Yes               245         2      245     2         Highly Confidential               402
Omri Farber      2023.09.18            Litigation                   Yes               245         3      245     5         Highly Confidential               402
Omri Farber      2023.09.18            Litigation                   Yes               245         6      245     8         Highly Confidential               402
Omri Farber      2023.09.18            Litigation                   Yes               245        11      245    21         Highly Confidential               402
                                                                                                                                                      901, 602, 402, 701,
Omri Farber      2023.09.18            Litigation                   Yes               249        7       249    10             Confidential
                                                                                                                                                             802
                                                                                                                                                      901, 602, 402, 701,
Omri Farber      2023.09.18            Litigation                   Yes               249        15      249    23             Confidential
                                                                                                                                                             802
                                                                                                                                                      901, 602, 402, 701,
Omri Farber      2023.09.18            Litigation                   Yes               249        25      250     5             Confidential
                                                                                                                                                             802
                                                                                                                                                      901, 602, 402, 701,
Omri Farber      2023.09.18            Litigation                   Yes               250        8       250    23             Confidential
                                                                                                                                                             802
Omri Farber      2023.09.18            Litigation                   Yes               254        23      254    25             Confidential                  402
Omri Farber      2023.09.18            Litigation                   Yes               255         3      255    15             Confidential                  402
Omri Farber      2023.09.18            Litigation                   Yes               255        16      255    19             Confidential                  402
Omri Farber      2023.09.18            Litigation                   Yes               255        22      256    12             Confidential                  402
Omri Farber      2023.09.18            Litigation                   Yes               262        10      262    11             Confidential                  106               262:12-14
Omri Farber      2023.09.18            Litigation                   Yes               262        15      262    17             Confidential                  106
Omri Farber      2023.09.18            Litigation                   Yes               279        25      280     2               Public
Omri Farber      2023.09.18            Litigation                   Yes               280         5      280     9             Confidential
Omri Farber      2023.09.18            Litigation                   Yes               280        10      280    16               Public
Omri Farber      2023.09.18            Litigation                   Yes               280        19      280    24             Confidential
Omri Farber      2023.09.18            Litigation                   Yes               281         2      281     5             Confidential
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                                                   Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                                    Gentry (OpenX)


                                   CID or Litigation        Video of Deposition      Page      Line     Page Line      Party Confidentiality as of                       Google Counter-
 Witness      Date of Deposition                                                                                                                     Google Objections
                                      Deposition                   (Y/N)             From      From      to   to              2024.07.03                                  Designations
John Gentry      2023.10.26           Litigation                    Yes                8         1        8    4                Public
John Gentry      2023.10.26           Litigation                    Yes               10        18       10   24                Public
John Gentry      2023.10.26           Litigation                    Yes               10        25       11   12                Public
John Gentry      2023.10.26           Litigation                    Yes               12         3       12   19                Public
John Gentry      2023.10.26           Litigation                    Yes               12        20       13   22                Public                      701
John Gentry      2023.10.26           Litigation                    Yes               13        23       13   25                Public
John Gentry      2023.10.26           Litigation                    Yes               14         5       14    5                Public                     602
John Gentry      2023.10.26           Litigation                    Yes               15        10       15   14                Public                   602, 701
John Gentry      2023.10.26           Litigation                    Yes               15        16       16    5                Public                   602, 701
John Gentry      2023.10.26           Litigation                    Yes               16         6       16    9                Public
John Gentry      2023.10.26           Litigation                    Yes               16        12       16   20                Public                 602 (16:17-20)
John Gentry      2023.10.26           Litigation                    Yes               16        22       17    6                Public                 602 (16:22-24)
John Gentry      2023.10.26           Litigation                    Yes               17         7       17   10                Public                   602, 701
John Gentry      2023.10.26           Litigation                    Yes               17        12       17   18                Public                   602, 701
John Gentry      2023.10.26           Litigation                    Yes               17        16       17   18                Public                   602, 701
John Gentry      2023.10.26           Litigation                    Yes               17        20       17   21                Public
John Gentry      2023.10.26           Litigation                    Yes               17        23       17   25                Public                   602, 701
John Gentry      2023.10.26           Litigation                    Yes               18         2       18    6                Public                   602, 701
John Gentry      2023.10.26           Litigation                    Yes               18         8       18    9                Public                   602, 701
John Gentry      2023.10.26           Litigation                    Yes               18        11       18   19                Public                   602, 701
John Gentry      2023.10.26           Litigation                    Yes               18        21       18   23                Public                   602, 701
John Gentry      2023.10.26           Litigation                    Yes               18        25       19    3                Public                   602, 701
John Gentry      2023.10.26           Litigation                    Yes               19        24       20    2                Public
John Gentry      2023.10.26           Litigation                    Yes               20         4       20    7                Public
John Gentry      2023.10.26           Litigation                    Yes               20        19       20   21                Public
John Gentry      2023.10.26           Litigation                    Yes               21         6       21    8                Public
John Gentry      2023.10.26           Litigation                    Yes               21        10       21   16                Public                 402 (21:15-16)
John Gentry      2023.10.26           Litigation                    Yes               21        18       22   25          Highly Confidential                402
John Gentry      2023.10.26           Litigation                    Yes               23         1       23    6                Public                       402
John Gentry      2023.10.26           Litigation                    Yes               23        11       24    6                Public                       402
John Gentry      2023.10.26           Litigation                    Yes               24         8       24   10                Public                       402
John Gentry      2023.10.26           Litigation                    Yes               24        13       25   10                Public                       402
John Gentry      2023.10.26           Litigation                    Yes               25        21       25   23                Public                    402, 802
John Gentry      2023.10.26           Litigation                    Yes               25        25       26   10                Public                    402, 802
John Gentry      2023.10.26           Litigation                    Yes               26        12       26   14                Public                    402, 602
John Gentry      2023.10.26           Litigation                    Yes               26        16       26   16                Public                    402, 602
John Gentry      2023.10.26           Litigation                    Yes               26        18       26   23                Public                  402, 602, 701
John Gentry      2023.10.26           Litigation                    Yes               26        24       26   25                Public                  402, 602, 701
John Gentry      2023.10.26           Litigation                    Yes               27         2       27    3                Public                  402, 602, 701
John Gentry      2023.10.26           Litigation                    Yes               27        12       27   14                Public                    602, 701
John Gentry      2023.10.26           Litigation                    Yes               27        16       28    3                Public                    602, 701
John Gentry      2023.10.26           Litigation                    Yes               28         5       28    8                Public                    602, 701
John Gentry      2023.10.26           Litigation                    Yes               28        10       28   19                Public                    602, 701
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                                                    Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                                            Gentry (OpenX)


                                   CID or Litigation         Video of Deposition      Page      Line     Page Line      Party Confidentiality as of                              Google Counter-
 Witness      Date of Deposition                                                                                                                       Google Objections
                                      Deposition                    (Y/N)             From      From      to   to              2024.07.03                                         Designations
John Gentry      2023.10.26           Litigation                     Yes               29         9       29   11                Public
John Gentry      2023.10.26           Litigation                     Yes               29        13       29   20                Public                602, 802 (29:18-20)
John Gentry      2023.10.26           Litigation                     Yes               29        22       30   13                Public                      602, 802
John Gentry      2023.10.26           Litigation                     Yes               30        15       30   17                Public                      602, 802
                                                                                                                                                       602, 802 (30:19-23);
John Gentry      2023.10.26            Litigation                    Yes                30        19      31      2               Public
                                                                                                                                                      602, 701 (30:25-21:2)
John Gentry      2023.10.26            Litigation                    Yes                31        4       31     11               Public                     602, 701
John Gentry      2023.10.26            Litigation                    Yes                31        9       31     11               Public                     602, 701
John Gentry      2023.10.26            Litigation                    Yes                31        13      31     16               Public                     602, 701
John Gentry      2023.10.26            Litigation                    Yes                31        18      31     19               Public                     602, 701
John Gentry      2023.10.26            Litigation                    Yes                31        21      32     7                Public                     602, 701
John Gentry      2023.10.26            Litigation                    Yes                32         9      32     12               Public                 602, 611c, 701
John Gentry      2023.10.26            Litigation                    Yes                32        18      32     22               Public                 602, 611c, 701
John Gentry      2023.10.26            Litigation                    Yes                32        25      33     3                Public                     602, 701
John Gentry      2023.10.26            Litigation                    Yes                33        5       33      8               Public                     602, 701
John Gentry      2023.10.26            Litigation                    Yes                33        20      33     22               Public                     602, 701
John Gentry      2023.10.26            Litigation                    Yes                33        24      34     3                Public                     602, 701
                                                                                                                                                                                264:17-21, 264:23-
John Gentry      2023.10.26            Litigation                    Yes                34        5       34      9               Public                    602, 701           265:3, 265:6-7, 265:9-
                                                                                                                                                                                  12, 265:15-19
                                                                                                                                                                                264:17-21, 264:23-
John Gentry      2023.10.26            Litigation                    Yes                36        14      36     16               Public                    602, 701           265:3, 265:6-7, 265:9-
                                                                                                                                                                                  12, 265:15-19
John Gentry      2023.10.26            Litigation                    Yes                36        18      37     5                Public                     602, 701
John Gentry      2023.10.26            Litigation                    Yes                37        8       37      9               Public                     602, 701
John Gentry      2023.10.26            Litigation                    Yes                38        10      38     11               Public                     602, 701
John Gentry      2023.10.26            Litigation                    Yes                38        13      38     16               Public                     602, 701
John Gentry      2023.10.26            Litigation                    Yes                38        18      38     21               Public                     602, 701
John Gentry      2023.10.26            Litigation                    Yes                38        24      39     1                Public                     602, 701
John Gentry      2023.10.26            Litigation                    Yes                39        3       39      6               Public                     602, 701
John Gentry      2023.10.26            Litigation                    Yes                39        7       39      9               Public                     602, 701
John Gentry      2023.10.26            Litigation                    Yes                39        11      39     15               Public                     602, 701
John Gentry      2023.10.26            Litigation                    Yes                39        17      40     2                Public                     602, 701
John Gentry      2023.10.26            Litigation                    Yes                40        4       40      7               Public                     602, 701
John Gentry      2023.10.26            Litigation                    Yes                40        13      40     14               Public                     602, 701
John Gentry      2023.10.26            Litigation                    Yes                40        16      40     23               Public               602, 701 (40:16-21)
John Gentry      2023.10.26            Litigation                    Yes                40        25      40     25               Public
                                                                                                                                                      602 (41:6-8); 602, 701
John Gentry      2023.10.26            Litigation                    Yes                41        1       41      4               Public
                                                                                                                                                            (41:10-11)
John Gentry      2023.10.26            Litigation                    Yes                41        6       41     11               Public                     602, 701
John Gentry      2023.10.26            Litigation                    Yes                41        13      41     22               Public                     602, 701
John Gentry      2023.10.26            Litigation                    Yes                41        24      42     3                Public                     602, 701
John Gentry      2023.10.26            Litigation                    Yes                42        4       42     22               Public                     602, 701
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                                   CID or Litigation         Video of Deposition      Page      Line     Page Line      Party Confidentiality as of                            Google Counter-
 Witness      Date of Deposition                                                                                                                       Google Objections
                                      Deposition                    (Y/N)             From      From      to   to              2024.07.03                                       Designations
John Gentry      2023.10.26           Litigation                     Yes               42        24       43   6                 Public                      602, 701
John Gentry      2023.10.26           Litigation                     Yes               43        11       43   13                Public                      602, 701
John Gentry      2023.10.26           Litigation                     Yes               43        15       43   25                Public                      602, 701
John Gentry      2023.10.26           Litigation                     Yes               44        10       44   12                Public                      602, 701
John Gentry      2023.10.26           Litigation                     Yes               44        16       45   5                 Public                      602, 701
John Gentry      2023.10.26           Litigation                     Yes               45        11       45   12                Public                      602, 701
John Gentry      2023.10.26           Litigation                     Yes               45        21       45   22                Public                      602, 701
John Gentry      2023.10.26           Litigation                     Yes               45        24       46   4                 Public                      602, 701
John Gentry      2023.10.26           Litigation                     Yes               46         6       47   16                Public                602, 701 (47:13-16)
John Gentry      2023.10.26           Litigation                     Yes               47        18       47   21                Public                      602, 701
John Gentry      2023.10.26           Litigation                     Yes               47        23       47   24                Public                   403, 602, 701
John Gentry      2023.10.26           Litigation                     Yes               48         1       48   11                Public                   403, 602, 701
John Gentry      2023.10.26           Litigation                     Yes               48        13       48   25                Public                   403, 602, 701
John Gentry      2023.10.26           Litigation                     Yes               49         2       49   15                Public                   403, 602, 701
John Gentry      2023.10.26           Litigation                     Yes               49        17       49   22                Public                   403, 602, 701
John Gentry      2023.10.26           Litigation                     Yes               50         4       50    8                Public                      602, 701
John Gentry      2023.10.26           Litigation                     Yes               50        10       50   10                Public                      602, 701
John Gentry      2023.10.26           Litigation                     Yes               50        14       50   19                Public                      602, 701
John Gentry      2023.10.26           Litigation                     Yes               50        20       50   23                Public                      602, 701
John Gentry      2023.10.26           Litigation                     Yes               50        25       51   1                 Public                      602, 701
John Gentry      2023.10.26           Litigation                     Yes               51         3       51   16                Public                      602, 701
John Gentry      2023.10.26           Litigation                     Yes               52         3       52    5                Public                      602, 701
John Gentry      2023.10.26           Litigation                     Yes               52         7       52   22                Public                      602, 701
John Gentry      2023.10.26           Litigation                     Yes               52        23       53   9                 Public                      602, 701
John Gentry      2023.10.26           Litigation                     Yes               53        10       53   25                Public                      602, 701
John Gentry      2023.10.26           Litigation                     Yes               54         2       54    2                Public                      602, 701
John Gentry      2023.10.26           Litigation                     Yes               54         7       54    8                Public
John Gentry      2023.10.26           Litigation                     Yes               54        10       54   21                Public
John Gentry      2023.10.26           Litigation                     Yes               54        23       55   2                 Public                      602, 701
John Gentry      2023.10.26           Litigation                     Yes               55         4       55   18                Public                      602, 701
John Gentry      2023.10.26           Litigation                     Yes               55        20       55   21                Public                      602, 701
John Gentry      2023.10.26           Litigation                     Yes               55        23       56   1                 Public                      602, 701
John Gentry      2023.10.26           Litigation                     Yes               56        14       56   18                Public                        701
John Gentry      2023.10.26           Litigation                     Yes               56        19       56   20                Public                        701
John Gentry      2023.10.26           Litigation                     Yes               56        21       57   2                 Public                      602, 701
John Gentry      2023.10.26           Litigation                     Yes               57         4       57   24                Public                      602, 701
John Gentry      2023.10.26           Litigation                     Yes               57        25       58   11                Public                      602, 701
John Gentry      2023.10.26           Litigation                     Yes               58        13       58   16                Public                      602, 701
John Gentry      2023.10.26           Litigation                     Yes               58        18       59   2                 Public                 602, 701 (59:1-2)
                                                                                                                                                      602, 701 (59:6-9); 701
John Gentry      2023.10.26            Litigation                    Yes                59        6       59     25               Public
                                                                                                                                                          (59:11-59:25)
John Gentry      2023.10.26            Litigation                    Yes                60        1       60     6                Public                       602
John Gentry      2023.10.26            Litigation                    Yes                60        23      60     24               Public
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                                   CID or Litigation         Video of Deposition      Page      Line     Page Line      Party Confidentiality as of                         Google Counter-
 Witness      Date of Deposition                                                                                                                      Google Objections
                                      Deposition                    (Y/N)             From      From      to   to              2024.07.03                                    Designations
John Gentry      2023.10.26           Litigation                     Yes               61         1       61   12                Public
John Gentry      2023.10.26           Litigation                     Yes               61        14       61   22                Public
John Gentry      2023.10.26           Litigation                     Yes               61        24       62    8                Public
John Gentry      2023.10.26           Litigation                     Yes               62         9       62   12                Public
John Gentry      2023.10.26           Litigation                     Yes               62        15       63    3                Public
John Gentry      2023.10.26           Litigation                     Yes               63         5       63   16                Public
John Gentry      2023.10.26           Litigation                     Yes               63        17       63   20                Public
John Gentry      2023.10.26           Litigation                     Yes               63        22       64    3                Public
John Gentry      2023.10.26           Litigation                     Yes               64         5       64    7                Public
John Gentry      2023.10.26           Litigation                     Yes               64        10       64   13                Public
John Gentry      2023.10.26           Litigation                     Yes               64        15       65   16                Public
John Gentry      2023.10.26           Litigation                     Yes               65        17       65   18                Public
John Gentry      2023.10.26           Litigation                     Yes               65        20       66    8                Public
John Gentry      2023.10.26           Litigation                     Yes               68        18       68   21                Public               602, 611c, 701,103
                                                                                                                                                      602, 611c, 701, 103
John Gentry      2023.10.26            Litigation                    Yes                68        23      69      8               Public
                                                                                                                                                         (68:23-69:4)
John Gentry      2023.10.26            Litigation                    Yes                69        10      69     17               Public
John Gentry      2023.10.26            Litigation                    Yes                69        19      69     21               Public
John Gentry      2023.10.26            Litigation                    Yes                69        23      70      3               Public
John Gentry      2023.10.26            Litigation                    Yes                70        11      70     14               Public
John Gentry      2023.10.26            Litigation                    Yes                70        16      70     20               Public
John Gentry      2023.10.26            Litigation                    Yes                70        22      70     24               Public
John Gentry      2023.10.26            Litigation                    Yes                71        1       71      6               Public
John Gentry      2023.10.26            Litigation                    Yes                71        8       71     11               Public
John Gentry      2023.10.26            Litigation                    Yes                71        13      71     16               Public
John Gentry      2023.10.26            Litigation                    Yes                72        18      72     20               Public
John Gentry      2023.10.26            Litigation                    Yes                72        22      73      4               Public
John Gentry      2023.10.26            Litigation                    Yes                73        18      73     21               Public
John Gentry      2023.10.26            Litigation                    Yes                73        23      73     25               Public
John Gentry      2023.10.26            Litigation                    Yes                74        2       74      8               Public                   602, 701
John Gentry      2023.10.26            Litigation                    Yes                74        10      74     13               Public                   602, 701
John Gentry      2023.10.26            Litigation                    Yes                74        15      74     17               Public                   602, 701
John Gentry      2023.10.26            Litigation                    Yes                74        19      74     24               Public                   602, 701
John Gentry      2023.10.26            Litigation                    Yes                75        2       75      4               Public                   602, 701
John Gentry      2023.10.26            Litigation                    Yes                75        7       75     11               Public                   602, 701
John Gentry      2023.10.26            Litigation                    Yes                75        13      75     15               Public                   602, 701
John Gentry      2023.10.26            Litigation                    Yes                75        18      76     8                Public                   602, 701
John Gentry      2023.10.26            Litigation                    Yes                76        10      76     17               Public
John Gentry      2023.10.26            Litigation                    Yes                76        20      76     25               Public
John Gentry      2023.10.26            Litigation                    Yes                77        1       77     12               Public
John Gentry      2023.10.26            Litigation                    Yes                78        18      78     21               Public
John Gentry      2023.10.26            Litigation                    Yes                78        23      79     12               Public                701 (79:8-12)
John Gentry      2023.10.26            Litigation                    Yes                79        15      79     19               Public                     701
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 Witness      Date of Deposition                                                                                                                        Google Objections
                                      Deposition                    (Y/N)             From      From      to   to              2024.07.03                                          Designations
John Gentry      2023.10.26           Litigation                     Yes               81        10       81   14                Public
John Gentry      2023.10.26           Litigation                     Yes               81        17       81   20                Public
John Gentry      2023.10.26           Litigation                     Yes               81        23       82   13                Public
John Gentry      2023.10.26           Litigation                     Yes               86         7       86   12                Public
John Gentry      2023.10.26           Litigation                     Yes               86        15       86   16          Highly Confidential                                   85:25-86:1, 86:3-5
John Gentry      2023.10.26           Litigation                     Yes               87        19       87   21          Highly Confidential
John Gentry      2023.10.26           Litigation                     Yes               87        23       87   23                Public
John Gentry      2023.10.26           Litigation                     Yes               90        24       91    1                Public                                              89:19-90:3
                                                                                                                                                                                 221:23-25; 222:3-4;
                                                                                                                                                                                 222:8-9; 222:13-14;
John Gentry      2023.10.26            Litigation                    Yes                91        3       91     18               Public
                                                                                                                                                                                 222:16; 222:18-19;
                                                                                                                                                                                       222:21
John Gentry      2023.10.26            Litigation                    Yes                92         2      92      4               Public
John Gentry      2023.10.26            Litigation                    Yes                92         6      92     10               Public
John Gentry      2023.10.26            Litigation                    Yes                92        12      92     18               Public                602, 701 (92:15-18)
John Gentry      2023.10.26            Litigation                    Yes                92        20      93     7                Public                      602, 701
John Gentry      2023.10.26            Litigation                    Yes                93        9       93     14               Public                      602, 701
John Gentry      2023.10.26            Litigation                    Yes                93        16      93     16               Public                      602, 701
John Gentry      2023.10.26            Litigation                    Yes                93        18      93     21               Public
John Gentry      2023.10.26            Litigation                    Yes                93        24      94      3               Public
John Gentry      2023.10.26            Litigation                    Yes                94        4       94     6                Public
John Gentry      2023.10.26            Litigation                    Yes                94        8       94     16               Public
John Gentry      2023.10.26            Litigation                    Yes                94        17      94     19               Public                       802
John Gentry      2023.10.26            Litigation                    Yes                94        21      94     25               Public                       802
John Gentry      2023.10.26            Litigation                    Yes                95         2      95      4               Public                       602
                                                                                                                                                      602 (95:6-9); 602, 802
John Gentry      2023.10.26            Litigation                    Yes                95        6       95     12               Public
                                                                                                                                                            (95:11-12)
John Gentry      2023.10.26            Litigation                    Yes                95        14      95     19               Public                     602, 802
John Gentry      2023.10.26            Litigation                    Yes                96        21      96     24               Public                       802
John Gentry      2023.10.26            Litigation                    Yes                97        1       97      8               Public                       802
John Gentry      2023.10.26            Litigation                    Yes                97        20      97     22               Public                     602, 701
John Gentry      2023.10.26            Litigation                    Yes                97        24      98     16               Public              602, 701 (97:24 - 98:12)
John Gentry      2023.10.26            Litigation                    Yes                98        18       98    21               Public
John Gentry      2023.10.26            Litigation                    Yes                98        25       99    10               Public                       701
John Gentry      2023.10.26            Litigation                    Yes                99        11       99    24               Public                       701
John Gentry      2023.10.26            Litigation                    Yes                99        25      100    1                Public                    602, 701
John Gentry      2023.10.26            Litigation                    Yes               100        3       100    8                Public                    602, 701
John Gentry      2023.10.26            Litigation                    Yes               100        10      100    11               Public                    602, 701
John Gentry      2023.10.26            Litigation                    Yes               100        13      100    23               Public                    602, 701
John Gentry      2023.10.26            Litigation                    Yes               100        25      101    2                Public                    602, 701
John Gentry      2023.10.26            Litigation                    Yes               101        4       101    7                Public                    602, 701
John Gentry      2023.10.26            Litigation                    Yes               101         9      101    12               Public                  602, 611c, 701
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                                   CID or Litigation         Video of Deposition      Page      Line     Page Line      Party Confidentiality as of                          Google Counter-
 Witness      Date of Deposition                                                                                                                      Google Objections
                                      Deposition                    (Y/N)             From      From      to   to              2024.07.03                                     Designations
John Gentry      2023.10.26           Litigation                     Yes               101       14      101   25                Public                  602, 611c, 701
John Gentry      2023.10.26           Litigation                     Yes               102        2      102    5                Public                  602, 611c, 701
John Gentry      2023.10.26           Litigation                     Yes               102        7      102   17                Public                  602, 611c, 701
John Gentry      2023.10.26           Litigation                     Yes               103        8      103   17                Public
John Gentry      2023.10.26           Litigation                     Yes               103       18      103   23                Public                  602, 611c, 701
John Gentry      2023.10.26           Litigation                     Yes               103       25      104    1                Public                  602, 611c, 701
John Gentry      2023.10.26           Litigation                     Yes               104       12      104   15                Public                  602, 611c, 701
John Gentry      2023.10.26           Litigation                     Yes               104       18      104   22                Public                    602, 701
John Gentry      2023.10.26           Litigation                     Yes               104       24      105    3                Public                       701
John Gentry      2023.10.26           Litigation                     Yes               109        1      109    8                Public
John Gentry      2023.10.26           Litigation                     Yes               109        9      109   21                Public               402, 701 (109:20-21)
                                                                                                                                                       611c, 701 (109:23-
John Gentry      2023.10.26            Litigation                    Yes               109        23      110    19               Public
                                                                                                                                                             110:8)
John Gentry      2023.10.26            Litigation                    Yes               110        20      110    22               Public                      402
John Gentry      2023.10.26            Litigation                    Yes               110        24      111     5               Public                      402
John Gentry      2023.10.26            Litigation                    Yes               111         8      111     9               Public                      402
John Gentry      2023.10.26            Litigation                    Yes               111        11      111    18               Public                    611c, 602
John Gentry      2023.10.26            Litigation                    Yes               111        20      112    15               Public                    611c, 602
John Gentry      2023.10.26            Litigation                    Yes               113         1      113    5                Public                    602, 611c
John Gentry      2023.10.26            Litigation                    Yes               113         7      113    20               Public                    103, 602
John Gentry      2023.10.26            Litigation                    Yes               113        22      114    24               Public
John Gentry      2023.10.26            Litigation                    Yes               115         2      115     5               Public                      402
John Gentry      2023.10.26            Litigation                    Yes               115         7      115    22               Public                      402
John Gentry      2023.10.26            Litigation                    Yes               115        24      116    19               Public                      402
John Gentry      2023.10.26            Litigation                    Yes               116        21      116    21               Public                      402
John Gentry      2023.10.26            Litigation                    Yes               188        22      189     5               Public
John Gentry      2023.10.26            Litigation                    Yes               196         9      196    11               Public
John Gentry      2023.10.26            Litigation                    Yes               204        25      205     2               Public
John Gentry      2023.10.26            Litigation                    Yes               205         4      205     8               Public
John Gentry      2023.10.26            Litigation                    Yes               263        16      263    18               Public
John Gentry      2023.10.26            Litigation                    Yes               263        20      264     5               Public
John Gentry      2023.10.26            Litigation                    Yes               264         7      264    10               Public
John Gentry      2023.10.26            Litigation                    Yes               269        24      269    25               Public                   602, 701
John Gentry      2023.10.26            Litigation                    Yes               270         3      270     9               Public
John Gentry      2023.10.26            Litigation                    Yes               273         7      274    13               Public
John Gentry      2023.10.26            Litigation                    Yes               274        14      274    14               Public
John Gentry      2023.10.26            Litigation                    Yes               274        15      275    8                Public               602, 701 (275:7-8)
John Gentry      2023.10.26            Litigation                    Yes               275        14      275    18               Public                    602, 701
John Gentry      2023.10.26            Litigation                    Yes               276         3      276    5                Public                    602, 701
John Gentry      2023.10.26            Litigation                    Yes               276         8      276    11               Public                    602, 701
John Gentry      2023.10.26            Litigation                    Yes               279         7      279    14               Public
John Gentry      2023.10.26            Litigation                    Yes               279        16      279    19               Public
John Gentry      2023.10.26            Litigation                    Yes               282        21      282    25               Public
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                                   CID or Litigation        Video of Deposition      Page      Line     Page Line      Party Confidentiality as of                       Google Counter-
 Witness      Date of Deposition                                                                                                                     Google Objections
                                      Deposition                   (Y/N)             From      From      to   to              2024.07.03                                  Designations
John Gentry      2023.10.26           Litigation                    Yes               283        1      283   6                 Public                   602, 701
John Gentry      2023.10.26           Litigation                    Yes               283        8      283   23                Public                   602, 701
John Gentry      2023.10.26           Litigation                    Yes               284       16      284   17                Public                   602, 701
John Gentry      2023.10.26           Litigation                    Yes               284       19      284   25                Public                   602, 701
John Gentry      2023.10.26           Litigation                    Yes               285        1      285   15                Public                      802
John Gentry      2023.10.26           Litigation                    Yes               285       17      285   20                Public                      802
John Gentry      2023.10.26           Litigation                    Yes               285       22      285   24                Public                      802
John Gentry      2023.10.26           Litigation                    Yes               286        1      286   20                Public                   602, 701
John Gentry      2023.10.26           Litigation                    Yes               287        5      287    6                Public                 602, 701, 802
John Gentry      2023.10.26           Litigation                    Yes               287        8      287   14                Public                   602, 701
John Gentry      2023.10.26           Litigation                    Yes               299        3      299    6                Public                 602, 611c, 701
John Gentry      2023.10.26           Litigation                    Yes               299        8      299   14                Public                 602, 611c, 701
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Witness     Date of Deposition    CID or Litigation Deposition    Video of Deposition (Y/N)                                                                    Google Objections
                                                                                                From     From      to   to              2024.07.03                                    Designations
Jim Giles      2020.11.06                     CID                            No                   6        8        6   12          Highly Confidential
Jim Giles      2020.11.06                     CID                            No                  18       13       19   19          Highly Confidential
Jim Giles      2020.11.06                     CID                            No                  21        3       21   19          Highly Confidential
Jim Giles      2020.11.06                     CID                            No                  23        5       24   10          Highly Confidential
                                                                                                                                                                                    26:2-18; 27:12-28:5;
Jim Giles      2020.11.06                     CID                            No                   26       19      27      7         Highly Confidential
                                                                                                                                                                                     29:8-14; 30:19-31:3
                                                                                                                                                                                     35:20-20; 101:5-22;
Jim Giles      2020.11.06                     CID                            No                   33        5      35     19         Highly Confidential          106 (35:20)       103:4-104:14; 110:6-
                                                                                                                                                                                      111:10; 118:16-21
                                                                                                                                                                                     51:16-53:13; 54:18-
Jim Giles      2020.11.06                     CID                            No                  114       23      116     6         Highly Confidential           402; 602
                                                                                                                                                                                            55:24
                                                                                                                                                                                    134:21-135:4;139:4-
Jim Giles      2020.11.06                     CID                            No                  140       17      141    11         Highly Confidential             402
                                                                                                                                                                                              12
                                                                                                                                                                                    54:18-55:24; 148:18-
                                                                                                                                                                                   149:16; 159:11-160:4;
Jim Giles      2020.11.06                     CID                            No                  160        5      161     3         Highly Confidential
                                                                                                                                                                                   165:9-165:21; 198:11-
                                                                                                                                                                                              25
Jim Giles      2020.11.06                     CID                            No                  163       18      164     3         Highly Confidential
                                                                                                                                                                                   168:5-169:19; 171:15-
Jim Giles      2020.11.06                     CID                            No                  170       17      171    14         Highly Confidential
                                                                                                                                                                                           172:21
                                                                                                                                                                                   267:19-268:17; 269:8-
Jim Giles      2020.11.06                     CID                            No                  268       18      269     7         Highly Confidential
                                                                                                                                                                                     24; 269:25-271:13
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                                                    Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                          Glogovsky (NYTimes 30(b)(6))


                                       CID or Litigation       Video of Deposition     Page      Line    Page Line Party Confidentiality as of                             Google Counter-
   Witness        Date of Deposition                                                                                                             Google Objections
                                          Deposition                  (Y/N)            From      From     to   to         2024.07.03                                        Designations
James Glogovsky      2023.08.25           Litigation                   Yes                6       18       6   18           Public                     106
James Glogovsky      2023.08.25           Litigation                   Yes              77         2      77   18         Confidential
James Glogovsky      2023.08.25           Litigation                   Yes               78        8      78   10         Confidential                 106
James Glogovsky      2023.08.25           Litigation                   Yes               79       14      79   24         Confidential
James Glogovsky      2023.08.25           Litigation                   Yes              103       17     104    3           Public
James Glogovsky      2023.08.25           Litigation                   Yes              104        4     104   15         Confidential
James Glogovsky      2023.08.25           Litigation                   Yes              141        3     141    5         Confidential
James Glogovsky      2023.08.25           Litigation                   Yes              141        7     141    7         Confidential
James Glogovsky      2023.08.25           Litigation                   Yes              141       16     142    2         Confidential
                                                                                                                                                                        144:24-145:7; 145:9-19;
James Glogovsky      2023.08.25            Litigation                  Yes              142        3      143    21           Confidential
                                                                                                                                                                               146:5-24
James Glogovsky      2023.08.25            Litigation                  Yes              142        9      143     2           Confidential
James Glogovsky      2023.08.25            Litigation                  Yes              146       25      147    20           Confidential
James Glogovsky      2023.08.25            Litigation                  Yes              147       23      147    25           Confidential
James Glogovsky      2023.08.25            Litigation                  Yes              148        4      148     8           Confidential
James Glogovsky      2023.08.25            Litigation                  Yes              148       11      148    19           Confidential                               148:20-149:2; 149:4-10
James Glogovsky      2023.08.25            Litigation                  Yes              149       11      149    16           Confidential
James Glogovsky      2023.08.25            Litigation                  Yes              149       19      150     8           Confidential
James Glogovsky      2023.08.25            Litigation                  Yes              150        9      150    12           Confidential             602
James Glogovsky      2023.08.25            Litigation                  Yes              150       15      150    16           Confidential             602
                                                                                                                                                                        150:21-24; 150:25-151:3;
James Glogovsky      2023.08.25            Litigation                  Yes              150       17      150    19           Confidential             602
                                                                                                                                                                               151:6-15
James Glogovsky      2023.08.25            Litigation                  Yes              151       16      151    19           Confidential
James Glogovsky      2023.08.25            Litigation                  Yes              151       22      152     3           Confidential
James Glogovsky      2023.08.25            Litigation                  Yes              152        4      152     7           Confidential
James Glogovsky      2023.08.25            Litigation                  Yes              152       10      152    17           Confidential
James Glogovsky      2023.08.25            Litigation                  Yes              152       24      153     4           Confidential
James Glogovsky      2023.08.25            Litigation                  Yes              153        7      153     9           Confidential
James Glogovsky      2023.08.25            Litigation                  Yes              153       10      153    13           Confidential
James Glogovsky      2023.08.25            Litigation                  Yes              153       15      153    20           Confidential
James Glogovsky      2023.08.25            Litigation                  Yes              154        5      154    10           Confidential
James Glogovsky      2023.08.25            Litigation                  Yes              154       12      154    20           Confidential
James Glogovsky      2023.08.25            Litigation                  Yes              155       14      155    16           Confidential
James Glogovsky      2023.08.25            Litigation                  Yes              155       21      155    24           Confidential
James Glogovsky      2023.08.25            Litigation                  Yes              155       25      156     4           Confidential
James Glogovsky      2023.08.25            Litigation                  Yes              156       14      156    18           Confidential             602
James Glogovsky      2023.08.25            Litigation                  Yes              156       20      156    25           Confidential             602
James Glogovsky      2023.08.25            Litigation                  Yes              159        6      159    13           Confidential
James Glogovsky      2023.08.25            Litigation                  Yes              160       19      160    24           Confidential
James Glogovsky      2023.08.25            Litigation                  Yes              161        3      161     9           Confidential                                161:21-25; 162:3-12
James Glogovsky      2023.08.25            Litigation                  Yes              161       10      161    14           Confidential
James Glogovsky      2023.08.25            Litigation                  Yes              162       13      162    17           Confidential             602
James Glogovsky      2023.08.25            Litigation                  Yes              162       20      162    22           Confidential             602
James Glogovsky      2023.08.25            Litigation                  Yes              163       16      163    20           Confidential             602
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                                                    Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                          Glogovsky (NYTimes 30(b)(6))


                                       CID or Litigation       Video of Deposition     Page      Line    Page Line Party Confidentiality as of                             Google Counter-
   Witness        Date of Deposition                                                                                                             Google Objections
                                          Deposition                  (Y/N)            From      From     to   to         2024.07.03                                        Designations
James Glogovsky      2023.08.25           Litigation                   Yes              163       22     164    2         Confidential                 602
James Glogovsky      2023.08.25           Litigation                   Yes              164        3     164    7         Confidential                 602
James Glogovsky      2023.08.25           Litigation                   Yes              164       10     164   15         Confidential                 602
James Glogovsky      2023.08.25           Litigation                   Yes              168       18     168   21         Confidential                 802
James Glogovsky      2023.08.25           Litigation                   Yes              168       24     169    8         Confidential                 802
James Glogovsky      2023.08.25           Litigation                   Yes              169        9     169   11         Confidential                 602
James Glogovsky      2023.08.25           Litigation                   Yes              169       18     169   21         Confidential
                                                                                                                                                                        169:24-170:2; 170:4-13;
James Glogovsky      2023.08.25            Litigation                  Yes              169       23      169    23           Confidential
                                                                                                                                                                              172:10-22
James Glogovsky      2023.08.25            Litigation                  Yes              173       13      173    17           Confidential
James Glogovsky      2023.08.25            Litigation                  Yes              173       20      173    22           Confidential
James Glogovsky      2023.08.25            Litigation                  Yes              174        8      174    10           Confidential
James Glogovsky      2023.08.25            Litigation                  Yes              174       15      174    24           Confidential             602
James Glogovsky      2023.08.25            Litigation                  Yes              175        3      175     7           Confidential             602
James Glogovsky      2023.08.25            Litigation                  Yes              175       10      175    12           Confidential             602
James Glogovsky      2023.08.25            Litigation                  Yes              175       13      175    13           Confidential             602
James Glogovsky      2023.08.25            Litigation                  Yes              175       15      175    20           Confidential             602
James Glogovsky      2023.08.25            Litigation                  Yes              175       21      175    25           Confidential             602
James Glogovsky      2023.08.25            Litigation                  Yes              176        4      176    13           Confidential
James Glogovsky      2023.08.25            Litigation                  Yes              176       23      176    25           Confidential
James Glogovsky      2023.08.25            Litigation                  Yes              177        3      177     9           Confidential
James Glogovsky      2023.08.25            Litigation                  Yes              177       10      177    13           Confidential
James Glogovsky      2023.08.25            Litigation                  Yes              177       15      177    21           Confidential
James Glogovsky      2023.08.25            Litigation                  Yes              178       22      178    24           Confidential
James Glogovsky      2023.08.25            Litigation                  Yes              178       25      179     9           Confidential                              181:14-18; 181:21-182:11
James Glogovsky      2023.08.25            Litigation                  Yes              182       23      182    25           Confidential
James Glogovsky      2023.08.25            Litigation                  Yes              183        5      183    10           Confidential
James Glogovsky      2023.08.25            Litigation                  Yes              183       22      184     2           Confidential           611c, 106
James Glogovsky      2023.08.25            Litigation                  Yes              184       10      184    13           Confidential             611c
James Glogovsky      2023.08.25            Litigation                  Yes              188       19      188    22           Confidential             602
James Glogovsky      2023.08.25            Litigation                  Yes              188       25      189     8           Confidential             602
James Glogovsky      2023.08.25            Litigation                  Yes              189        9      189    13           Confidential             602
James Glogovsky      2023.08.25            Litigation                  Yes              189       16      189    18           Confidential             602
James Glogovsky      2023.08.25            Litigation                  Yes              189       19      189    21           Confidential             602
James Glogovsky      2023.08.25            Litigation                  Yes              191       16      191    19           Confidential
James Glogovsky      2023.08.25            Litigation                  Yes              191       20      191    24           Confidential
James Glogovsky      2023.08.25            Litigation                  Yes              191       25      192     5           Confidential
James Glogovsky      2023.08.25            Litigation                  Yes              192        7      192    12           Confidential
James Glogovsky      2023.08.25            Litigation                  Yes              192       13      192    18           Confidential                                193:12-15; 193:17-21
James Glogovsky      2023.08.25            Litigation                  Yes              192       21      193    11           Confidential
James Glogovsky      2023.08.25            Litigation                  Yes              196       13      196    19           Confidential
James Glogovsky      2023.08.25            Litigation                  Yes              198       22      198    25           Confidential           611c; 802
James Glogovsky      2023.08.25            Litigation                  Yes              199        7      199     9           Confidential
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                                                   Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                          Glogovsky (NYTimes 30(b)(6))


                                       CID or Litigation      Video of Deposition     Page      Line    Page Line Party Confidentiality as of                             Google Counter-
   Witness        Date of Deposition                                                                                                            Google Objections
                                          Deposition                 (Y/N)            From      From     to   to         2024.07.03                                        Designations
James Glogovsky      2023.08.25           Litigation                  Yes              199       12     199   14         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              199       15     199   18         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              199       20     200    6         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              200        7     200   10         Confidential               602, 701
James Glogovsky      2023.08.25           Litigation                  Yes              200       13     200   14         Confidential               602, 701
James Glogovsky      2023.08.25           Litigation                  Yes              201       17     201   21         Confidential               602, 701
James Glogovsky      2023.08.25           Litigation                  Yes              201       24     202    4         Confidential               602, 701
James Glogovsky      2023.08.25           Litigation                  Yes              202       19     202   23         Confidential                 611c
James Glogovsky      2023.08.25           Litigation                  Yes              203        2     203    3         Confidential               602, 611c
James Glogovsky      2023.08.25           Litigation                  Yes              203        7     203   10         Confidential               602, 611c
James Glogovsky      2023.08.25           Litigation                  Yes              203       19     204   18         Confidential                 802              204:19-22; 204:25-205:6
James Glogovsky      2023.08.25           Litigation                  Yes              205        7     205   10         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              205       19     205   20         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              205       23     205   25         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              206       24     207   11         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              211       25     212    3         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              212        5     212   17         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              213       24     214   12         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              214       13     214   15         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              214       17     214   23         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              214       24     215    7         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              216       10     216   10         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              216       11     217    5         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              221       17     221   20         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              221       23     222   12         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              223       22     223   25         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              225        6     225    7         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              225       12     225   16         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              225       17     225   24         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              225       25     226    4         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              227       20     228    4         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              228        6     228   11         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              228       16     228   20         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              228       23     229    6         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              229        7     229   17         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              229       18     230    7         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              230       23     230   25         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              231        3     231    6         Confidential                 602
James Glogovsky      2023.08.25           Litigation                  Yes              231        7     231    9         Confidential                 602
James Glogovsky      2023.08.25           Litigation                  Yes              231       12     231   20         Confidential                 602
James Glogovsky      2023.08.25           Litigation                  Yes              231       21     232    2         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              232        4     232   16         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              233       24     234    6         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              234       14     234   16         Confidential
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                                                   Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                          Glogovsky (NYTimes 30(b)(6))


                                       CID or Litigation      Video of Deposition     Page      Line    Page Line Party Confidentiality as of                             Google Counter-
   Witness        Date of Deposition                                                                                                            Google Objections
                                          Deposition                 (Y/N)            From      From     to   to         2024.07.03                                        Designations
James Glogovsky      2023.08.25           Litigation                  Yes              234       19     235    3         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              235        4     235   10         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              235       13     235   17         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              235       19     235   22         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              235       24     236    3         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              236        5     236    5         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              236        6     236    8         Confidential                 602
James Glogovsky      2023.08.25           Litigation                  Yes              236       10     236   12         Confidential                 602
James Glogovsky      2023.08.25           Litigation                  Yes              236       13     236   15         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              236       17     236   17         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              236       18     236   19         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              236       21     236   21         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              236       22     236   22         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              236       25     236   25         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              237        2     237    6         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              237        8     237   10         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              237       11     237   17         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              238        9     238   13         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              238       16     238   18         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              239       10     239   14         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              239       17     239   24         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              240        5     240    9         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              240       12     240   15         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              240       16     240   20         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              240       22     240   24         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              240       25     241    3         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              241        5     241    5         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              241        6     241    8         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              241       10     241   10         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              241       11     241   15         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              241       17     242    2         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              242       19     243    2           Public
James Glogovsky      2023.08.25           Litigation                  Yes              245       18     246   15         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              246       16     246   20         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              246       23     247    2         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              247        3     247    7         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              247       10     247   14         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              247       15     247   18         Confidential                 602
James Glogovsky      2023.08.25           Litigation                  Yes              247       21     248    2         Confidential                 602
James Glogovsky      2023.08.25           Litigation                  Yes              248        3     248   11         Confidential                 602              248:14-16; 248:19-249:4
James Glogovsky      2023.08.25           Litigation                  Yes              250       25     251   12         Confidential                                   250:13-15; 250:17-24
James Glogovsky      2023.08.25           Litigation                  Yes              251       13     251   15         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              251       17     251   23         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              251       24     252    7         Confidential
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                                                   Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                          Glogovsky (NYTimes 30(b)(6))


                                       CID or Litigation      Video of Deposition     Page      Line    Page Line Party Confidentiality as of                             Google Counter-
   Witness        Date of Deposition                                                                                                            Google Objections
                                          Deposition                 (Y/N)            From      From     to   to         2024.07.03                                        Designations
James Glogovsky      2023.08.25           Litigation                  Yes              252       22     252   24         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              253        3     253   10         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              253       11     253   14         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              253       17     253   20         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              253       21     253   23         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              254        2     254    9         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              255       10     255   13         Confidential                                       254:23-255:3
James Glogovsky      2023.08.25           Litigation                  Yes              255       16     255   21         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              255       22     255   25         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              256        2     256    4         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              256        7     256   10         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              256       11     256   20         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              256       21     256   24         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              257        4     257    6         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              257        7     257   15         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              258       11     258   14         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              258       16     258   16         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              260       23     260   25         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              261        2     261    2         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              261        3     261    7         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              261        9     261    9         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              262       13     262   15         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              262       18     262   24         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              263        4     263    6         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              263        8     263   14         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              263       15     263   19         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              264        9     264   12         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              264       14     264   22         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              264       23     265    2         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              265        4     265   12         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              266       18     267    5         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              269       13     269   16         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              269       19     269   20         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              270        5     270    9         Confidential               602, 611c
James Glogovsky      2023.08.25           Litigation                  Yes              270       12     270   20         Confidential               602, 611c
James Glogovsky      2023.08.25           Litigation                  Yes              270       22     271    7         Confidential               602, 611c
James Glogovsky      2023.08.25           Litigation                  Yes              271        8     271   11         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              271       12     271   12         Confidential
James Glogovsky      2023.08.25           Litigation                  Yes              271       13     271   17         Confidential               602, 611c
James Glogovsky      2023.08.25           Litigation                  Yes              271       19     271   20         Confidential               602, 611c
James Glogovsky      2023.08.25           Litigation                  Yes              271       21     271   22         Confidential                 602
James Glogovsky      2023.08.25           Litigation                  Yes              271       25     272    4         Confidential                 602
James Glogovsky      2023.08.25           Litigation                  Yes              272       25     273    3         Confidential                 602                     272:15-24
James Glogovsky      2023.08.25           Litigation                  Yes              273        6     273    7         Confidential                 602
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                                                    Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                          Glogovsky (NYTimes 30(b)(6))


                                       CID or Litigation       Video of Deposition     Page      Line    Page Line Party Confidentiality as of                             Google Counter-
   Witness        Date of Deposition                                                                                                             Google Objections
                                          Deposition                  (Y/N)            From      From     to   to         2024.07.03                                        Designations
James Glogovsky      2023.08.25           Litigation                   Yes              273        8     273   13         Confidential                  602
James Glogovsky      2023.08.25           Litigation                   Yes              278       24     279    2         Confidential                  602
James Glogovsky      2023.08.25           Litigation                   Yes              279        5     279    7         Confidential
                                                                                                                                                                         282:13-15; 282:17-20;
James Glogovsky      2023.08.25            Litigation                  Yes              283       16      283    18           Confidential         602, 701, 611c
                                                                                                                                                                          282:21-23; 283:2-7
James Glogovsky      2023.08.25            Litigation                  Yes              283       21      284     2           Confidential           602, 701              284:3-6, 284:9-21
James Glogovsky      2023.08.25            Litigation                  Yes              285       18      285    25           Confidential           602, 701
James Glogovsky      2023.08.25            Litigation                  Yes              295       21      295    24           Confidential
James Glogovsky      2023.08.25            Litigation                  Yes              296        3      296     3           Confidential
James Glogovsky      2023.08.25            Litigation                  Yes              296       14      296    15           Confidential
James Glogovsky      2023.08.25            Litigation                  Yes              296       19      297     3           Confidential
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                                                      Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                                         Harrison CID (Google)


                                       CID or Litigation      Video of Deposition                                                   Party Confidentiality as of                        Google Counter-
   Witness        Date of Deposition                                                  Page From Line From Page to Line to                                         Google Objections
                                          Deposition                 (Y/N)                                                                 2024.07.03                                   Designations
Donald Harrison      2021.10.19              CID                      Yes                  6            5          6        9          Highly Confidential
Donald Harrison      2021.10.19              CID                      Yes                 28             8        28        17         Highly Confidential                                  28:3-7
Donald Harrison      2021.10.19              CID                      Yes                 28            18        28        20         Highly Confidential                                28:21-29:6
Donald Harrison      2021.10.19              CID                      Yes                 29             7        29        18         Highly Confidential
Donald Harrison      2021.10.19              CID                      Yes                 37             3        37        12         Highly Confidential              602               36:21-37:2
Donald Harrison      2021.10.19              CID                      Yes                 77            11        77        20         Highly Confidential
Donald Harrison      2021.10.19              CID                      Yes                 78             5        78        14         Highly Confidential
Donald Harrison      2021.10.19              CID                      Yes                 84            13        84        17         Highly Confidential              402
Donald Harrison      2021.10.19              CID                      Yes                 84            18        85         2         Highly Confidential              402
Donald Harrison      2021.10.19              CID                      Yes                 85             3        85        4          Highly Confidential              402
Donald Harrison      2021.10.19              CID                      Yes                 232           10        232       19         Highly Confidential
Donald Harrison      2021.10.19              CID                      Yes                 232           20        232       24         Highly Confidential              402
                                                                                                                                                                                       233:14-24; 234:9-
Donald Harrison      2021.10.19              CID                       Yes                232           25        233        6          Highly Confidential             402
                                                                                                                                                                                            234:22
Donald Harrison      2021.10.19              CID                       Yes                243           22        244       10          Highly Confidential             402
Donald Harrison      2021.10.19              CID                       Yes                244           11        244       16          Highly Confidential             402
Donald Harrison      2021.10.19              CID                       Yes                244           17        244       23          Highly Confidential             402
Donald Harrison      2021.10.19              CID                       Yes                244           24        245       4           Highly Confidential             402
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                                               Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                             Helfand (Disney 30(b)(6))


                                      CID or Litigation     Video of Deposition   Page Line Page Line            Party Confidentiality as of                          Google Counter-
   Witness       Date of Deposition                                                                                                            Google Objections
                                         Deposition               (Y/N)           From From to    to                    2024.07.03                                     Designations
Jeremy Helfand      2023.09.29           Litigation                 Yes              7  19    7   23                      Public
Jeremy Helfand      2023.09.29           Litigation                 Yes             8    3    8    6                      Public
Jeremy Helfand      2023.09.29           Litigation                 Yes             9   22   10    1                      Public
Jeremy Helfand      2023.09.29           Litigation                 Yes             10   6   11    3                      Public
Jeremy Helfand      2023.09.29           Litigation                 Yes             17  10   17   12                      Public
Jeremy Helfand      2023.09.29           Litigation                 Yes             17  14   17   22                      Public
Jeremy Helfand      2023.09.29           Litigation                 Yes             17  23   18    1                      Public
Jeremy Helfand      2023.09.29           Litigation                 Yes             25  12   25   13                      Public
Jeremy Helfand      2023.09.29           Litigation                 Yes             25  14   25   21                      Public
Jeremy Helfand      2023.09.29           Litigation                 Yes             26  20   27    3                      Public
Jeremy Helfand      2023.09.29           Litigation                 Yes            27    4   27   10                      Public
Jeremy Helfand      2023.09.29           Litigation                 Yes             27  11   27   17                      Public
Jeremy Helfand      2023.09.29           Litigation                 Yes             36  13   36   17                      Public
Jeremy Helfand      2023.09.29           Litigation                 Yes             41  14   41   20                      Public
Jeremy Helfand      2023.09.29           Litigation                 Yes             44  18   44   20                      Public
Jeremy Helfand      2023.09.29           Litigation                 Yes             44  21   44   22                      Public
Jeremy Helfand      2023.09.29           Litigation                 Yes             44  23   45    1                      Public                                          47:6-47:12
Jeremy Helfand      2023.09.29           Litigation                 Yes             46  21   47    5                      Public
Jeremy Helfand      2023.09.29           Litigation                 Yes             47  13   47   16                      Public
Jeremy Helfand      2023.09.29           Litigation                 Yes            49    8   49   10                      Public
Jeremy Helfand      2023.09.29           Litigation                 Yes             50  23   51   12                      Public
Jeremy Helfand      2023.09.29           Litigation                 Yes             54  17   55    8                      Public
Jeremy Helfand      2023.09.30           Litigation                 Yes             61  10   61   11                      Public
Jeremy Helfand      2023.09.31           Litigation                 Yes             61  12   61   14                      Public
Jeremy Helfand      2023.09.32           Litigation                 Yes             61  15   61   18                      Public
Jeremy Helfand      2023.09.33           Litigation                 Yes            100  25  101   6                       Public
Jeremy Helfand      2023.09.34           Litigation                 Yes            101   8  101   11                      Public
Jeremy Helfand      2023.09.35           Litigation                 Yes            101  12  101   23                      Public                     701
Jeremy Helfand      2023.09.36           Litigation                 Yes            101  24  102   9                       Public
                                                                                                                                                                   201:22-202:12; 202:16-
                                                                                                                                                                     202:20; 203:10-11;
Jeremy Helfand      2023.09.37            Litigation                Yes             102     10     104     8         Highly Confidential
                                                                                                                                                                    203:13-203:16; 205:4-
                                                                                                                                                                        205:6; 205:8
Jeremy Helfand      2023.09.38            Litigation                Yes             104     10     104    12               Public
                                                                                                                                                                   210:25-211:7; 244:8-15;
Jeremy Helfand      2023.09.39            Litigation                Yes             113     12     114    17         Highly Confidential
                                                                                                                                                                   245:16-22; 245:25-246:2
Jeremy Helfand      2023.09.40            Litigation                Yes             116      9     116    11         Highly Confidential
Jeremy Helfand      2023.09.41            Litigation                Yes             116     13     117    8          Highly Confidential
Jeremy Helfand      2023.09.42            Litigation                Yes             119     18     120    14         Highly Confidential                                  120:15-25
Jeremy Helfand      2023.09.43            Litigation                Yes             121      1     121    3          Highly Confidential
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                                               Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                               Helfand (Disney 30(b)(6))


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   Witness       Date of Deposition                                                                                                            Google Objections
                                         Deposition               (Y/N)           From From to    to                    2024.07.03                                        Designations
                                                                                                                                                                     223:23-224:10; 235:18-
Jeremy Helfand      2023.09.44            Litigation                Yes             121      5     121    16         Highly Confidential
                                                                                                                                                                             235:25
Jeremy Helfand      2023.09.45            Litigation                Yes             121     24     122     1               Public                     602
Jeremy Helfand      2023.09.46            Litigation                Yes             122      3     122    17            Confidential
Jeremy Helfand      2023.09.47            Litigation                Yes             124     18     125     2            Confidential
Jeremy Helfand      2023.09.48            Litigation                Yes             125     14     125    25               Public
Jeremy Helfand      2023.09.49            Litigation                Yes             128     16     128    21         Highly Confidential
Jeremy Helfand      2023.09.50            Litigation                Yes             128     22     129     2               Public                                           129:3-17
Jeremy Helfand      2023.09.51            Litigation                Yes             130     19     131    16               Public                     402
Jeremy Helfand      2023.09.52            Litigation                Yes             131     17     132     2               Public                   701, 402
Jeremy Helfand      2023.09.53            Litigation                Yes             132      9     132    11               Public
Jeremy Helfand      2023.09.54            Litigation                Yes             132     13     132    13               Public
Jeremy Helfand      2023.09.55            Litigation                Yes             139     16     139    21               Public
Jeremy Helfand      2023.09.56            Litigation                Yes             145     6      145     8         Highly Confidential            602, 402
Jeremy Helfand      2023.09.57            Litigation                Yes             145     10     145    13         Highly Confidential            602, 402
Jeremy Helfand      2023.09.58            Litigation                Yes             145     14     145    16         Highly Confidential            602, 402
Jeremy Helfand      2023.09.59            Litigation                Yes             145     18     145    25         Highly Confidential            602, 402
Jeremy Helfand      2023.09.60            Litigation                Yes             146      6     146     7               Public                     611c
Jeremy Helfand      2023.09.61            Litigation                Yes             146      9     146     9               Public
Jeremy Helfand      2023.09.62            Litigation                Yes             146     12     146    13               Public
Jeremy Helfand      2023.09.63            Litigation                Yes             147      1     147     8               Public                     402
Jeremy Helfand      2023.09.64            Litigation                Yes             150     17     150    24               Public
Jeremy Helfand      2023.09.65            Litigation                Yes             153      1     153     2               Public                   402, 701
                                                                                                                                                                         216:12 - 217:3;
Jeremy Helfand      2023.09.66            Litigation                Yes             153      4     153    24               Public                   402, 701
                                                                                                                                                                         217:4 - 217:12
Jeremy Helfand      2023.09.67            Litigation                Yes             154      1     154    1                Public                    402, 701
Jeremy Helfand      2023.09.68            Litigation                Yes             154      2     154    19               Public                    402, 802
Jeremy Helfand      2023.09.69            Litigation                Yes             155      3     155    18               Public                    402, 802
                                                                                                                                                     701, 402
Jeremy Helfand      2023.09.70            Litigation                Yes             156     19     158    20               Public                                         159:22-160:9
                                                                                                                                               802 (156:19-157:13)
Jeremy Helfand      2023.09.71            Litigation                Yes             161     21     161    25               Public
Jeremy Helfand      2023.09.72            Litigation                Yes             179     20     180     9               Public
Jeremy Helfand      2023.09.73            Litigation                Yes             183     2      183    11         Highly Confidential
Jeremy Helfand      2023.09.74            Litigation                Yes             183     19     184    16               Public
Jeremy Helfand      2023.09.75            Litigation                Yes             186     13     187     1               Public
Jeremy Helfand      2023.09.76            Litigation                Yes             187      4     187     9               Public                   602, 701
Jeremy Helfand      2023.09.77            Litigation                Yes             187     11     187    17               Public                 602, 402, 701
Jeremy Helfand      2023.09.78            Litigation                Yes             187     19     187    19               Public                 602, 402, 701
Jeremy Helfand      2023.09.79            Litigation                Yes             190      9     191     4               Public
                                                                                                                                                 611c (191:11 -
Jeremy Helfand      2023.09.80            Litigation                Yes             191      6     191    13               Public
                                                                                                                                                    191:13)
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                                               Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                             Helfand (Disney 30(b)(6))


                                      CID or Litigation     Video of Deposition   Page Line Page Line            Party Confidentiality as of                          Google Counter-
   Witness       Date of Deposition                                                                                                            Google Objections
                                         Deposition               (Y/N)           From From to    to                    2024.07.03                                     Designations
Jeremy Helfand      2023.09.81           Litigation                 Yes            191  15  191   15                      Public
Jeremy Helfand      2023.09.82           Litigation                 Yes            193   2  193   15                      Public
Jeremy Helfand      2023.09.83           Litigation                 Yes            193  14  193   15                      Public
Jeremy Helfand      2023.09.84           Litigation                 Yes            193  17  194    2                      Public
Jeremy Helfand      2023.09.85           Litigation                 Yes            199   8  199   23                      Public
Jeremy Helfand      2023.09.86           Litigation                 Yes            200   5  200   23                      Public
Jeremy Helfand      2023.09.87           Litigation                 Yes            201   4  201   10                      Public
Jeremy Helfand      2023.09.88           Litigation                 Yes            210   6  210   14                Highly Confidential
Jeremy Helfand      2023.09.89           Litigation                 Yes            223  14  223   22                Highly Confidential
Jeremy Helfand      2023.09.90           Litigation                 Yes            224  11  224   20                      Public
Jeremy Helfand      2023.09.91           Litigation                 Yes            224  22  225   21                      Public
Jeremy Helfand      2023.09.92           Litigation                 Yes            226   1  226    8                      Public                                     226:13-19; 227:2-11
Jeremy Helfand      2023.09.93           Litigation                 Yes            226  10  226   12                      Public
Jeremy Helfand      2023.09.94           Litigation                 Yes            242   8  243   19                      Public                     402
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                                                  Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                                   Hochberger (MediaVine)


                                       CID or Litigation      Video of Deposition     Page     Line    Page Line       Party Confidentiality as of                            Google Counter-
   Witness        Date of Deposition                                                                                                                 Google Objections
                                          Deposition                 (Y/N)            From     From     to   to               2024.07.03                                       Designations
Eric Hochberger       2023.9.22           Litigation                  No                7       19       7   25                 Public
Eric Hochberger       2023.9.22           Litigation                  No               15       21      16    8                 Public
Eric Hochberger       2023.9.22           Litigation                  No               19       16      19   19                 Public
Eric Hochberger       2023.9.22           Litigation                  No               33        4      33   24                 Public
Eric Hochberger       2023.9.22           Litigation                  No               35       19      35   21           Highly Confidential
Eric Hochberger       2023.9.22           Litigation                  No               35       22      36    3           Highly Confidential
Eric Hochberger       2023.9.22           Litigation                  No               36        9      37    7                 Public
Eric Hochberger       2023.9.22           Litigation                  No               38       12      38   13                 Public                    402, 701
Eric Hochberger       2023.9.22           Litigation                  No               38       15      38   16                 Public                    402, 701            38:17-18; 38:20
Eric Hochberger       2023.9.22           Litigation                  No               39        1      39   10                 Public                    402, 701
Eric Hochberger       2023.9.22           Litigation                  No               40        8      40   11                 Public
Eric Hochberger       2023.9.22           Litigation                  No               41        1      41    6                 Public                       802
Eric Hochberger       2023.9.22           Litigation                  No               41        9      41   13                 Public
Eric Hochberger       2023.9.22           Litigation                  No               41       14      42    3                 Public
Eric Hochberger       2023.9.22           Litigation                  No               42        8      42   11                 Public                      802
Eric Hochberger       2023.9.22           Litigation                  No               42       12      42   17                 Public                      802
Eric Hochberger       2023.9.22           Litigation                  No               42       19      42   19                 Public                      802
Eric Hochberger       2023.9.22           Litigation                  No               42       20      43   12                 Public                      802
Eric Hochberger       2023.9.22           Litigation                  No               43       13      43   15                 Public                    802, 611c
Eric Hochberger       2023.9.22           Litigation                  No               43       17      44   12                 Public                    802, 611c
Eric Hochberger       2023.9.22           Litigation                  No               44       16      44   20                 Public                    802, 611c
Eric Hochberger       2023.9.22           Litigation                  No               44       24      44   25                 Public                    802, 611c
Eric Hochberger       2023.9.22           Litigation                  No               53       19      53   21                 Public
Eric Hochberger       2023.9.22           Litigation                  No               53       22      54    3                 Public
Eric Hochberger       2023.9.22           Litigation                  No               54        4      54   11                 Public
Eric Hochberger       2023.9.22           Litigation                  No               54       12      54   13                 Public
Eric Hochberger       2023.9.22           Litigation                  No               54       15      54   19                 Public
Eric Hochberger       2023.9.22           Litigation                  No               54       22      54   24                 Public                      402
Eric Hochberger       2023.9.22           Litigation                  No               54       25      55    2                 Public                      402
Eric Hochberger       2023.9.22           Litigation                  No               55        4      55    7                 Public                      402
Eric Hochberger       2023.9.22           Litigation                  No               55        8      55    9                 Public                    402, 802
Eric Hochberger       2023.9.22           Litigation                  No               55       15      56    1                 Public                    402, 802             56:2-6; 56:9-20
Eric Hochberger       2023.9.22           Litigation                  No               57        9      57   18                 Public
Eric Hochberger       2023.9.22           Litigation                  No               57       19      57   23                 Public                      611c
Eric Hochberger       2023.9.22           Litigation                  No               58        1      58    6                 Public                      611c
Eric Hochberger       2023.9.22           Litigation                  No               58       22      58   24                 Public
Eric Hochberger       2023.9.22           Litigation                  No               59        2      59    5                 Public                      611c
Eric Hochberger       2023.9.22           Litigation                  No               59       11      59   14                 Public                      611c
Eric Hochberger       2023.9.22           Litigation                  No               59       17      60   11                 Public                    802, 611c
Eric Hochberger       2023.9.22           Litigation                  No               60       12      60   13                 Public
Eric Hochberger       2023.9.22           Litigation                  No               60       16      60   17                 Public
Eric Hochberger       2023.9.22           Litigation                  No               64       12      64   14                 Public                     402, 611c
Eric Hochberger       2023.9.22           Litigation                  No               64       17      64   22                 Public               402, 611c (64:17-18)
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                                                  Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                                Hochberger (MediaVine)


                                       CID or Litigation      Video of Deposition     Page     Line    Page Line       Party Confidentiality as of                         Google Counter-
   Witness        Date of Deposition                                                                                                                 Google Objections
                                          Deposition                 (Y/N)            From     From     to   to               2024.07.03                                    Designations
Eric Hochberger       2023.9.22           Litigation                  No               66       25      67   15                 Public                                       67:16-67:21
Eric Hochberger       2023.9.22           Litigation                  No               68        3      68    8                 Public
Eric Hochberger       2023.9.22           Litigation                  No               68        9      68   17                 Public
Eric Hochberger       2023.9.22           Litigation                  No               76        9      76   11                 Public                     802
Eric Hochberger       2023.9.22           Litigation                  No               76       16      77    2                 Public                     802
Eric Hochberger       2023.9.22           Litigation                  No               77       21      77   22                 Public
Eric Hochberger       2023.9.22           Litigation                  No               77       24      78    3                 Public
Eric Hochberger       2023.9.22           Litigation                  No               78        4      78    9                 Public
Eric Hochberger       2023.9.22           Litigation                  No               78       17      79   10                 Public
Eric Hochberger       2023.9.22           Litigation                  No               80        6      80    9                 Public
Eric Hochberger       2023.9.22           Litigation                  No               80       10      80   17                 Public
Eric Hochberger       2023.9.22           Litigation                  No               82       13      82   16                 Public
Eric Hochberger       2023.9.22           Litigation                  No               132      21     133    6                 Public
Eric Hochberger       2023.9.22           Litigation                  No               133      12     133   20                 Public
Eric Hochberger       2023.9.22           Litigation                  No               139      12     139   19                 Public
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                                                                                                                                                                                                              Google Counter-
 Witness       Date of Deposition    CID or Litigation Deposition   Video of Deposition (Y/N)    Page From Line From Page to Line to            Party Confidentiality as of 2024.07.03   Google Objections
                                                                                                                                                                                                               Designations
Sissie Hsiao      2021.12.09                     CID                          Yes                    6            9          6         14                Highly Confidential
Sissie Hsiao      2021.12.09                     CID                          Yes                    29            8         29        24                Highly Confidential
Sissie Hsiao      2021.12.09                     CID                          Yes                    30            3         30        22                Highly Confidential
Sissie Hsiao      2021.12.09                     CID                          Yes                    44            7         45        12                Highly Confidential                                    41:10-42:18
Sissie Hsiao      2021.12.09                     CID                          Yes                    87           10         92        12                Highly Confidential
Sissie Hsiao      2021.12.09                     CID                          Yes                    92           14         92        25                Highly Confidential
Sissie Hsiao      2021.12.09                     CID                          Yes                    93            2         93         7                Highly Confidential                    602
Sissie Hsiao      2021.12.09                     CID                          Yes                    93            9         94         7                Highly Confidential                                    94:18-95:21
                                                                                                                                                                                                              105:2-7; 105:11-
Sissie Hsiao      2021.12.09                     CID                          Yes                   127            2         134       6                 Highly Confidential
                                                                                                                                                                                                                  105:25
Sissie Hsiao      2021.12.09                     CID                          Yes                   134            7         134       22                Highly Confidential
Sissie Hsiao      2021.12.09                     CID                          Yes                   139            4         140       15                Highly Confidential                                   140:16-140:19
                                                                                                                                                                                         144:23-145:7 (602)    140:16-140:19;
Sissie Hsiao      2021.12.09                     CID                          Yes                   143            8         146       5                 Highly Confidential
                                                                                                                                                                                           145:8-17 (602)       157:9-159:11
Sissie Hsiao      2021.12.09                     CID                          Yes                   151           9          153       17                Highly Confidential
Sissie Hsiao      2021.12.09                     CID                          Yes                   153           5          153       13                Highly Confidential
Sissie Hsiao      2021.12.09                     CID                          Yes                   153           19         156        6                Highly Confidential                                   157:9-159:11
Sissie Hsiao      2021.12.09                     CID                          Yes                   167           19         169        6                Highly Confidential
Sissie Hsiao      2021.12.09                     CID                          Yes                   169           23         172       21                Highly Confidential               169:3-6 (106)
Sissie Hsiao      2021.12.09                     CID                          Yes                   204            2         212       15                Highly Confidential               204:1-5 (106)
Sissie Hsiao      2021.12.09                     CID                          Yes                   212           18         213        7                Highly Confidential
Sissie Hsiao      2021.12.09                     CID                          Yes                   213           10         214       15                Highly Confidential
                                                                                                                                                                                                               217:16-217:23;
Sissie Hsiao      2021.12.09                     CID                          Yes                   222            4         222       16                Highly Confidential
                                                                                                                                                                                                                221:16-222:3
Sissie Hsiao      2021.12.09                     CID                          Yes                   271            3         271       16                Highly Confidential                    402
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                                                  Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                                      Jayaram CID (Google)


                                      CID or Litigation       Video of Deposition      Page     Line     Page    Line     Party Confidentiality as of                           Google Counter-
   Witness       Date of Deposition                                                                                                                     Google Objections
                                         Deposition                  (Y/N)             From     From      to      to             2024.07.03                                      Designations
Nirmal Jayaram      2021.09.17              CID                       Yes                18      18       19       5         Highly Confidential
Nirmal Jayaram      2021.09.17              CID                       Yes                19      17       20       4         Highly Confidential
Nirmal Jayaram      2021.09.17              CID                       Yes                20      14       20      24         Highly Confidential
Nirmal Jayaram      2021.09.17              CID                       Yes                20      25       21      12         Highly Confidential
Nirmal Jayaram      2021.09.17              CID                       Yes                21      17       21      24         Highly Confidential
Nirmal Jayaram      2021.09.17              CID                       Yes                22      17       23      19         Highly Confidential
Nirmal Jayaram      2021.09.17              CID                       Yes                28       8       28      12         Highly Confidential
Nirmal Jayaram      2021.09.17              CID                       Yes                29       2       29      17         Highly Confidential
Nirmal Jayaram      2021.09.17              CID                       Yes                31       3       31       7         Highly Confidential
Nirmal Jayaram      2021.09.17              CID                       Yes                31      18       32      13         Highly Confidential
Nirmal Jayaram      2021.09.17              CID                       Yes                41       6       41      15         Highly Confidential
Nirmal Jayaram      2021.09.17              CID                       Yes                94       4       94      20         Highly Confidential
Nirmal Jayaram      2021.09.17              CID                       Yes               115      12      115      22         Highly Confidential          106 (115:17-22)
Nirmal Jayaram      2021.09.17              CID                       Yes               115      25      117       8         Highly Confidential        106 (115:25 - 116:3)
Nirmal Jayaram      2021.09.17              CID                       Yes               118      23      119       9         Highly Confidential
Nirmal Jayaram      2021.09.17              CID                       Yes               120       5      123      14         Highly Confidential          106 (120:10-14)
Nirmal Jayaram      2021.09.17              CID                       Yes               171      24      172      15         Highly Confidential                402
Nirmal Jayaram      2021.09.17              CID                       Yes               191      13      192      18         Highly Confidential                                    191:6-12
Nirmal Jayaram      2021.09.17              CID                       Yes               215       2      216       3         Highly Confidential
Nirmal Jayaram      2021.09.17              CID                       Yes               233       4      233      11         Highly Confidential
Nirmal Jayaram      2021.09.17              CID                       Yes               236      10      237       5         Highly Confidential                402
Nirmal Jayaram      2021.09.17              CID                       Yes               267       8      268      11         Highly Confidential                402
Nirmal Jayaram      2021.09.17              CID                       Yes               273      23      274      13         Highly Confidential                402
Nirmal Jayaram      2021.09.17              CID                       Yes               274      14      275      25         Highly Confidential                402
Nirmal Jayaram      2021.09.17              CID                       Yes               276      16      277       5         Highly Confidential                402
Nirmal Jayaram      2021.09.17              CID                       Yes               278      10      279      13         Highly Confidential                402
Nirmal Jayaram      2021.09.17              CID                       Yes               362      15      364      11         Highly Confidential
Nirmal Jayaram      2021.09.17              CID                       Yes               364      14      364      16         Highly Confidential
Nirmal Jayaram      2021.09.17              CID                       Yes               369      14      369      21         Highly Confidential
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                                                                                                                                                                                                     Google Counter-
   Witness       Date of Deposition   CID or Litigation Deposition   Video of Deposition (Y/N) Page From Line From Page to Line to Party Confidentiality as of 2024.07.03    Google Objections
                                                                                                                                                                                                      Designations
Nirmal Jayaram      2023.11.14                 Litigation                        Yes                  10           2         10       13                  Confidential
                                                                                                                                                                             106, 402 (22:20-23:1)
Nirmal Jayaram      2023.11.14                 Litigation                        Yes                  22           20        24        2               Highly Confidential     402 (23:2-23:22)        22:19; 24:4-8
                                                                                                                                                                               106, 402 (24:1-2)
Nirmal Jayaram      2023.11.14                 Litigation                        Yes                  24            9        24       15               Highly Confidential            402
Nirmal Jayaram      2023.11.14                 Litigation                        Yes                  25           17        26       14               Highly Confidential            402
Nirmal Jayaram      2023.11.14                 Litigation                        Yes                  29           17        30       11               Highly Confidential            402
Nirmal Jayaram      2023.11.14                 Litigation                        Yes                  30           13        30       21               Highly Confidential            402
Nirmal Jayaram      2023.11.14                 Litigation                        Yes                  35           22        36       2                   Confidential               30b6
Nirmal Jayaram      2023.11.14                 Litigation                        Yes                  36            4        36       14                  Confidential               30b6
Nirmal Jayaram      2023.11.14                 Litigation                        Yes                  36           16        37        3                  Confidential               30b6
Nirmal Jayaram      2023.11.14                 Litigation                        Yes                  38           13        38       16                  Confidential               30b6
Nirmal Jayaram      2023.11.14                 Litigation                        Yes                  38           19        39        2                  Confidential               30b6
Nirmal Jayaram      2023.11.14                 Litigation                        Yes                  39            4        39        6                  Confidential               30b6
Nirmal Jayaram      2023.11.14                 Litigation                        Yes                  39            8        39       10                  Confidential               30b6
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   Witness        Date of Deposition                                                                                     Party Confidentiality as of 2024.07.03   Google Objections
                                          Deposition                 (Y/N)            From      From      to     to                                                                     Designations
Beanneaser John      2023.09.08           Litigation                  Yes               7        12        8     22                Highly Confidential
Beanneaser John      2023.09.08           Litigation                  Yes               9        13        9     18                Highly Confidential
Beanneaser John      2023.09.08           Litigation                  Yes               10        4       10     22                Highly Confidential
Beanneaser John      2023.09.08           Litigation                  Yes               70       25       71      5                Highly Confidential                602, 701
Beanneaser John      2023.09.08           Litigation                  Yes               71        8       71     14                Highly Confidential                602, 701
Beanneaser John      2023.09.08           Litigation                  Yes              155       17      156     18                Highly Confidential                  802
Beanneaser John      2023.09.08           Litigation                  Yes              156       19      157     11                Highly Confidential
Beanneaser John      2023.09.08           Litigation                  Yes              157       21      158      5                Highly Confidential
Beanneaser John      2023.09.08           Litigation                  Yes              158       25      161      9                Highly Confidential            402, 602, 701, 802
Beanneaser John      2023.09.08           Litigation                  Yes              158        6      158     24                Highly Confidential                   802
Beanneaser John      2023.09.08           Litigation                  Yes              161       12      161     16                Highly Confidential              602, 611c, 701
Beanneaser John      2023.09.08           Litigation                  Yes              161       18      162      7                Highly Confidential              602, 611c, 701
Beanneaser John      2023.09.08           Litigation                  Yes              162       20      162     23                Highly Confidential                   602
Beanneaser John      2023.09.08           Litigation                  Yes              162       25      163     17                Highly Confidential                   602
Beanneaser John      2023.09.08           Litigation                  Yes              162       11      162     19                Highly Confidential                   602
Beanneaser John      2023.09.08           Litigation                  Yes              163       18      164      9                Highly Confidential                   602
Beanneaser John      2023.09.08           Litigation                  Yes              165        6      165      9                Highly Confidential                602, 611c
Beanneaser John      2023.09.08           Litigation                  Yes              165       11      165     22                Highly Confidential              602, 611c, 701
Beanneaser John      2023.09.08           Litigation                  Yes              165       24      166      3                Highly Confidential              602, 611c, 701
Beanneaser John      2023.09.08           Litigation                  Yes              166        4      166     15                Highly Confidential              106, 602, 701          166:16-18
Beanneaser John      2023.09.08           Litigation                  Yes              166        8      166     15                Highly Confidential              106, 602, 701
Beanneaser John      2023.09.08           Litigation                  Yes              167       13      167     16                Highly Confidential              602, 611c, 701
Beanneaser John      2023.09.08           Litigation                  Yes              167       18      167     21                Highly Confidential              602, 611c, 701
Beanneaser John      2023.09.08           Litigation                  Yes              167       23      167     25                Highly Confidential              602, 611c, 701
Beanneaser John      2023.09.08           Litigation                  Yes              168        2      168     23                Highly Confidential              402, 602, 802
Beanneaser John      2023.09.08           Litigation                  Yes              168       24      169     10                Highly Confidential                   602
Beanneaser John      2023.09.08           Litigation                  Yes              169       11      170     24                Highly Confidential              602, 701, 802
Beanneaser John      2023.09.08           Litigation                  Yes              171        4      171     22                Highly Confidential                 602, 701
Beanneaser John      2023.09.08           Litigation                  Yes              172        3      172     25                Highly Confidential              602, 701, 802
Beanneaser John      2023.09.08           Litigation                  Yes              172       15      172     21                Highly Confidential              602, 701, 802
Beanneaser John      2023.09.08           Litigation                  Yes              172       22      172     25                Highly Confidential              602, 701, 802
Beanneaser John      2023.09.08           Litigation                  Yes              173        2      173     18                Highly Confidential              602, 701, 802
Beanneaser John      2023.09.08           Litigation                  Yes              173       21      175     12                Highly Confidential                 602, 701
Beanneaser John      2023.09.08           Litigation                  Yes              174       10      174     17                Highly Confidential                 602, 701
Beanneaser John      2023.09.08           Litigation                  Yes              174       18      174     23                Highly Confidential                 602, 701
Beanneaser John      2023.09.08           Litigation                  Yes              175       13      175     25                Highly Confidential                 602, 701             236:2-22
Beanneaser John      2023.09.08           Litigation                  Yes              175       25      176     23                Highly Confidential                 602, 701          176:24-177:17
Beanneaser John      2023.09.08           Litigation                  Yes              177       18      177     20                Highly Confidential                 602, 701            177:21-25
Beanneaser John      2023.09.08           Litigation                  Yes              178        2      178     16                Highly Confidential              602, 611c, 701
Beanneaser John      2023.09.08           Litigation                  Yes              178       18      178     25                Highly Confidential              602, 611c, 701
Beanneaser John      2023.09.08           Litigation                  Yes              179        3      179     13                Highly Confidential              602, 611c, 701
Beanneaser John      2023.09.08           Litigation                  Yes              179       20      180     24                Highly Confidential                 602, 701
Beanneaser John      2023.09.08           Litigation                  Yes              179       24      180     24                Highly Confidential                 602, 701
Beanneaser John      2023.09.08           Litigation                  Yes              180       25      181     16                Highly Confidential                 602, 701
Beanneaser John      2023.09.08           Litigation                  Yes              181       17      181     20                Highly Confidential              602, 701, 802
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                                          Deposition                  (Y/N)            From      From      to     to                                                                        Designations
                                                                                                                                                                                           182:4-9, 182:11-
Beanneaser John      2023.09.08            Litigation                  Yes              181        22      182     3                Highly Confidential               602, 701, 802
                                                                                                                                                                                                183:6
Beanneaser John      2023.09.08            Litigation                  Yes              183        13      184      5               Highly Confidential                  602, 701
Beanneaser John      2023.09.08            Litigation                  Yes              184        17      185      4               Highly Confidential                  602, 701
Beanneaser John      2023.09.08            Litigation                  Yes              184        23      185      7               Highly Confidential            402, 602, 611c, 701
Beanneaser John      2023.09.08            Litigation                  Yes              185         9      185     13               Highly Confidential            402, 602, 611c, 701
                                                                                                                                                                   402, 602, 611c, 701,
Beanneaser John      2023.09.08            Litigation                  Yes              185        15      186     5                Highly Confidential
                                                                                                                                                                           802
                                                                                                                                                                   402, 602, 611c, 701,
Beanneaser John      2023.09.08            Litigation                  Yes              186         7      186     13               Highly Confidential
                                                                                                                                                                           802
Beanneaser John      2023.09.08            Litigation                  Yes              189         5      189     21               Highly Confidential               402, 602, 701
Beanneaser John      2023.09.08            Litigation                  Yes              189        22      189     24               Highly Confidential             402, 602, 701, 802
Beanneaser John      2023.09.08            Litigation                  Yes              190         2      190      3               Highly Confidential             402, 602, 701, 802         190:7-11
Beanneaser John      2023.09.08            Litigation                  Yes              192         3      193      8               Highly Confidential               402, 602, 701
                                                                                                                                                                                          195:10-20, 196:7-11,
Beanneaser John      2023.09.08            Litigation                  Yes              196        12      196     16               Highly Confidential                 402, 602           196:17-20, 196:23-
                                                                                                                                                                                                   25
Beanneaser John      2023.09.08            Litigation                  Yes              207         3      207      9               Highly Confidential                    802
Beanneaser John      2023.09.08            Litigation                  Yes              208        18      208     23               Highly Confidential                    802
Beanneaser John      2023.09.08            Litigation                  Yes              209        17      210     17               Highly Confidential
Beanneaser John      2023.09.08            Litigation                  Yes              210        23      211     10               Highly Confidential
Beanneaser John      2023.09.08            Litigation                  Yes              211        11      211     14               Highly Confidential
Beanneaser John      2023.09.08            Litigation                  Yes              211        15      211     19               Highly Confidential                 701, 802
Beanneaser John      2023.09.08            Litigation                  Yes              212         2      213     19               Highly Confidential            602, 611c, 701, 802
Beanneaser John      2023.09.08            Litigation                  Yes              213        20      214     16               Highly Confidential                 602, 701
Beanneaser John      2023.09.08            Litigation                  Yes              214        17      214     18               Highly Confidential                 602, 701
Beanneaser John      2023.09.08            Litigation                  Yes              214        20      215      5               Highly Confidential                 602, 701
Beanneaser John      2023.09.08            Litigation                  Yes              215         6      215     20               Highly Confidential                 602, 701
Beanneaser John      2023.09.08            Litigation                  Yes              215        21      216      9               Highly Confidential                 602, 701
Beanneaser John      2023.09.08            Litigation                  Yes              216        12      216     24               Highly Confidential                 602, 701
Beanneaser John      2023.09.08            Litigation                  Yes              217         2      217      9               Highly Confidential              106, 602, 701
Beanneaser John      2023.09.08            Litigation                  Yes              224        23      225      2               Highly Confidential                 602, 701
Beanneaser John      2023.09.08            Litigation                  Yes              228         3      228      6               Highly Confidential                 602, 701
Beanneaser John      2023.09.08            Litigation                  Yes              228        10      229      8               Highly Confidential                 602, 701
Beanneaser John      2023.09.08            Litigation                  Yes              229         9      230     13               Highly Confidential                 602, 701
Beanneaser John      2023.09.08            Litigation                  Yes              231        23      232     17               Highly Confidential            402, 602, 701, 802
Beanneaser John      2023.09.08            Litigation                  Yes              232        22      233      5               Highly Confidential            402, 602, 701, 802
Beanneaser John      2023.09.08            Litigation                  Yes              233        18      234      3               Highly Confidential              402, 602, 701
Beanneaser John      2023.09.08            Litigation                  Yes              234        11      234     22               Highly Confidential              402, 602, 701
Beanneaser John      2023.09.08            Litigation                  Yes              234        23      234     25               Highly Confidential              402, 602, 701
Beanneaser John      2023.09.08            Litigation                  Yes              235         4      235     10               Highly Confidential              402, 602, 701
Beanneaser John      2023.09.08            Litigation                  Yes              238        16      238     19               Highly Confidential              402, 602, 701
Beanneaser John      2023.09.08            Litigation                  Yes              238        13      238     14               Highly Confidential              402, 602, 701
Beanneaser John      2023.09.08            Litigation                  Yes              238        23      239     10               Highly Confidential              402, 602, 701
Beanneaser John      2023.09.08            Litigation                  Yes              241        13      241     19               Highly Confidential
Beanneaser John      2023.09.08            Litigation                  Yes              241        20      241     24               Highly Confidential               402, 602, 701
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   Witness        Date of Deposition                                                                                      Party Confidentiality as of 2024.07.03   Google Objections
                                          Deposition                  (Y/N)            From      From      to     to                                                                      Designations
Beanneaser John      2023.09.08           Litigation                   Yes              242        2      242     21                Highly Confidential              402, 602, 701
Beanneaser John      2023.09.08           Litigation                   Yes              242       23      243      2                Highly Confidential              402, 602, 701
                                                                                                                                                                                           245:12-246:6,
Beanneaser John      2023.09.08            Litigation                  Yes              243         3      243     23               Highly Confidential              402, 602, 701
                                                                                                                                                                                           252:13-253:17
Beanneaser John      2023.09.08            Litigation                  Yes              248        12      248     16               Highly Confidential                602, 701
Beanneaser John      2023.09.08            Litigation                  Yes              255         7      255     12               Highly Confidential                402, 611c
Beanneaser John      2023.09.08            Litigation                  Yes              255        13      255     17               Highly Confidential                402, 611c
Beanneaser John      2023.09.08            Litigation                  Yes              303        10      303     14               Highly Confidential
                                                                                                                                                                                         303:19-20, 303:22-
Beanneaser John      2023.09.08            Litigation                  Yes              303        17      303     18               Highly Confidential
                                                                                                                                                                                                 24
Beanneaser John      2023.09.08            Litigation                  Yes              309         6      309      8               Highly Confidential                  602, 701
Beanneaser John      2023.09.08            Litigation                  Yes              309        10      309     19               Highly Confidential                  602, 701            309:20-23
Beanneaser John      2023.09.08            Litigation                  Yes              309        24      310      4               Highly Confidential                    402
Beanneaser John      2023.09.08            Litigation                  Yes              311        19      312     10               Highly Confidential                    402
Beanneaser John      2023.09.08            Litigation                  Yes              313        23      314     12               Highly Confidential                 611b, 802
Beanneaser John      2023.09.08            Litigation                  Yes              314        17      314     19               Highly Confidential                 611b, 802
Beanneaser John      2023.09.08            Litigation                  Yes              314        25      315     17               Highly Confidential                 611b, 802
Beanneaser John      2023.09.08            Litigation                  Yes              315        18      315     21               Highly Confidential                 611b, 802
Beanneaser John      2023.09.08            Litigation                  Yes              316        13      316     19               Highly Confidential                 611b, 802
Beanneaser John      2023.09.08            Litigation                  Yes              316        20      316     21               Highly Confidential            602, 611b, 701, 802
Beanneaser John      2023.09.08            Litigation                  Yes              316        24      318      3               Highly Confidential            602, 611b, 701, 802
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                                                                                                                                                                                                             Google Counter-
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                                                                                                                                                                                                              Designations
Woojin Kim      2021.03.30                     CID                           No                    4             9          4        11                 Highly Confidential
Woojin Kim      2021.03.30                     CID                           No                    13            2          14        5                 Highly Confidential
                                                                                                                                                                                                            17:11-17:24; 50:4-
Woojin Kim      2021.03.30                     CID                           No                    15           23          17        2                 Highly Confidential
                                                                                                                                                                                                                  50:22
Woojin Kim      2021.03.30                     CID                           No                    21           12          22       4                  Highly Confidential
Woojin Kim      2021.03.30                     CID                           No                    22            8          22       23                 Highly Confidential
Woojin Kim      2021.03.30                     CID                           No                    23            6          23        9                 Highly Confidential                                    23:14-23:17
Woojin Kim      2021.03.30                     CID                           No                    23           25          24        5                 Highly Confidential                                    23:18-23:24
                                                                                                                                                                                                             40:5-41:18, 46:3-
Woojin Kim      2021.03.30                     CID                           No                    42           18          43       20                 Highly Confidential
                                                                                                                                                                                                                   46:14
                                                                                                                                                                                                            47:6-47:16; 47:20 -
Woojin Kim      2021.03.30                     CID                           No                    47           17          47       19                 Highly Confidential
                                                                                                                                                                                                                   48:13
Woojin Kim      2021.03.30                     CID                           No                    48           14          48       19                 Highly Confidential
                                                                                                                                                                                                            61:10-62:12; 64:7-
Woojin Kim      2021.03.30                     CID                           No                    62           13          62       22                 Highly Confidential
                                                                                                                                                                                                                  64:15
Woojin Kim      2021.03.30                     CID                           No                    68           21          69       10                 Highly Confidential                                    69:16-69:23
Woojin Kim      2021.03.30                     CID                           No                    70           22          71       12                 Highly Confidential                                    71:20-72:10
Woojin Kim      2021.03.30                     CID                           No                    81           22          81       23                 Highly Confidential
Woojin Kim      2021.03.30                     CID                           No                    81           24          82        6                 Highly Confidential                                    82:12-82:20
Woojin Kim      2021.03.30                     CID                           No                    82           21          83       14                 Highly Confidential                                    83:21-84:7
Woojin Kim      2021.03.30                     CID                           No                    83           15          83       20                 Highly Confidential
Woojin Kim      2021.03.30                     CID                           No                    84           8           84       20                 Highly Confidential
                                                                                                                                                                                                            86:11-87:8; 87:23-
Woojin Kim      2021.03.30                     CID                           No                    87            9          87       22                 Highly Confidential                                 88:3; 88:10-89:10;
                                                                                                                                                                                                               89:15-90:11
Woojin Kim      2021.03.30                     CID                           No                    97           20          98       8                  Highly Confidential
Woojin Kim      2021.03.30                     CID                           No                    98           17          98       21                 Highly Confidential                                    98:15-98:16
Woojin Kim      2021.03.30                     CID                           No                    98           22          98       24                 Highly Confidential                                     99:8-99:13
                                                                                                                                                                                                           101:19-102:3; 104:12 -
Woojin Kim      2021.03.30                     CID                           No                    104           4         104       11                 Highly Confidential
                                                                                                                                                                                                           104:22; 105:4-105:10
Woojin Kim      2021.03.30                     CID                           No                    105          11         105       14                 Highly Confidential
Woojin Kim      2021.03.30                     CID                           No                    106           7         106       18                 Highly Confidential                                    105:4-105:10
Woojin Kim      2021.03.30                     CID                           No                    107           3         107       12                 Highly Confidential
Woojin Kim      2021.03.30                     CID                           No                    107          22         108        8                 Highly Confidential
Woojin Kim      2021.03.30                     CID                           No                    108           9         108       18                 Highly Confidential                                   108:19-108:25
Woojin Kim      2021.03.30                     CID                           No                    109          22         110        5                 Highly Confidential
Woojin Kim      2021.03.30                     CID                           No                    110          22         111        5                 Highly Confidential
Woojin Kim      2021.03.30                     CID                           No                    111           6         111        8                 Highly Confidential
Woojin Kim      2021.03.30                     CID                           No                    111          19         113       21                 Highly Confidential                                    113:22-114:5
Woojin Kim      2021.03.30                     CID                           No                    123          15         123       25                 Highly Confidential
Woojin Kim      2021.03.30                     CID                           No                    124           6         124        9                 Highly Confidential
Woojin Kim      2021.03.30                     CID                           No                    124          17         124       19                 Highly Confidential                                    124:20-125:4
Woojin Kim      2021.03.30                     CID                           No                    129          24         130        8                 Highly Confidential
Woojin Kim      2021.03.30                     CID                           No                    130           9         130       11                 Highly Confidential
Woojin Kim      2021.03.30                     CID                           No                    130          12         130       25                 Highly Confidential
Woojin Kim      2021.03.30                     CID                           No                    131           2         131        5                 Highly Confidential                                    131:6-131:20
Woojin Kim      2021.03.30                     CID                           No                    132           4         132       14                 Highly Confidential
Woojin Kim      2021.03.30                     CID                           No                    132          15         133       16                 Highly Confidential
Woojin Kim      2021.03.30                     CID                           No                    133          17         133       21                 Highly Confidential
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                                                                                                                                                                                                              Designations
                                                                                                                                                                                                           131:6-131:20; 135:2-
Woojin Kim      2021.03.30                     CID                           No                    134           2         134       14                 Highly Confidential
                                                                                                                                                                                                                  137:24
Woojin Kim      2021.03.30                     CID                           No                    134          15         134       25                 Highly Confidential                                   135:2-137:24
Woojin Kim      2021.03.30                     CID                           No                    141          12         141       15                 Highly Confidential
Woojin Kim      2021.03.30                     CID                           No                    142          14         142       23                 Highly Confidential                                   142:12-142:13
Woojin Kim      2021.03.30                     CID                           No                    145          23         146       13                 Highly Confidential
Woojin Kim      2021.03.30                     CID                           No                    146          14         146       24                 Highly Confidential
Woojin Kim      2021.03.30                     CID                           No                    147          12         147       22                 Highly Confidential
Woojin Kim      2021.03.30                     CID                           No                    148           5         148       11                 Highly Confidential
Woojin Kim      2021.03.30                     CID                           No                    149          10         149       25                 Highly Confidential                                   148:21-149:9
Woojin Kim      2021.03.30                     CID                           No                    150           4         150       10                 Highly Confidential                                   150:11-151:6
                                                                                                                                                                                                           157:22-158:4, 158:5-
Woojin Kim      2021.03.30                     CID                           No                    157          11         157       16                 Highly Confidential
                                                                                                                                                                                                                 158:24
Woojin Kim      2021.03.30                     CID                           No                    157          17         157       21                 Highly Confidential
Woojin Kim      2021.03.30                     CID                           No                    164          24         165       24                 Highly Confidential
Woojin Kim      2021.03.30                     CID                           No                    193          15         193       18                 Highly Confidential                                   193:3 - 193:14
Woojin Kim      2021.03.30                     CID                           No                    193          19         193       25                 Highly Confidential
Woojin Kim      2021.03.30                     CID                           No                    194           2         194        9                 Highly Confidential                  402
Woojin Kim      2021.03.30                     CID                           No                    194          10         194       16                 Highly Confidential                  402
Woojin Kim      2021.03.30                     CID                           No                    202           6         202       17                 Highly Confidential                                  202:18 - 202:20
                                                                                                                                                                                                           238:9-238:25; 241:10-
Woojin Kim      2021.03.30                     CID                           No                    236          17         238        2                 Highly Confidential
                                                                                                                                                                                                           241:20; 243:5-243:15
Woojin Kim      2021.03.30                     CID                           No                    248           3         248        9                 Highly Confidential                  103
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                                     CID or Litigation        Video of Deposition    Page     Line    Page Line        Party Confidentiality as of                           Google Counter-
  Witness       Date of Deposition                                                                                                                   Google Objections
                                        Deposition                   (Y/N)           From     From     to   to                2024.07.03                                      Designations
Nitish Korula      2023.11.14           Litigation                    Yes              6       21       7    2                Confidential
Nitish Korula      2023.11.14           Litigation                    Yes              8        5       8   12                Confidential
Nitish Korula      2023.11.14           Litigation                    Yes             11       11      11   19                Confidential
Nitish Korula      2023.11.14           Litigation                    Yes             11       20      12   11                Confidential
Nitish Korula      2023.11.14           Litigation                    Yes             12       12      13   14                Confidential
Nitish Korula      2023.11.14           Litigation                    Yes             13       20      14   15                Confidential                 106                     13:19
Nitish Korula      2023.11.14           Litigation                    Yes             33       18      34    5            Highly Confidential
Nitish Korula      2023.11.14           Litigation                    Yes             35       13      37    6            Highly Confidential              106                  53:2-53:10
Nitish Korula      2023.11.14           Litigation                    Yes             37        8      37   11                  Public
Nitish Korula      2023.11.14           Litigation                    Yes             37       13      37   15                  Public
Nitish Korula      2023.11.14            Litigation                   Yes              40       15     40     22           Highly Confidential                           39:10-11; 39:13-22; 40:2-5
Nitish Korula      2023.11.14            Litigation                   Yes              47       7      47      9           Highly Confidential
Nitish Korula      2023.11.14            Litigation                   Yes              47       19     47     22           Highly Confidential
Nitish Korula      2023.11.14            Litigation                   Yes              48        1     48     16           Highly Confidential
Nitish Korula      2023.11.14            Litigation                   Yes              50       14     50     21           Highly Confidential                                  50:5-50:13
Nitish Korula      2023.11.14            Litigation                   Yes              56       10     56     18           Highly Confidential        106 (56:10-11)
Nitish Korula      2023.11.14            Litigation                   Yes              57       10     57     14           Highly Confidential                                   57:5-57:9
Nitish Korula      2023.11.14            Litigation                   Yes              58       9      59      8           Highly Confidential
Nitish Korula      2023.11.14            Litigation                   Yes              59       10     60      1              Confidential                                       60:2-60:6
Nitish Korula      2023.11.14            Litigation                   Yes              60       12     60     13           Highly Confidential
Nitish Korula      2023.11.14            Litigation                   Yes              60       15     61      3           Highly Confidential
Nitish Korula      2023.11.14            Litigation                   Yes              61       5      61      8           Highly Confidential
Nitish Korula      2023.11.14            Litigation                   Yes              61       7      61      8           Highly Confidential
Nitish Korula      2023.11.14            Litigation                   Yes              61       10     62     10           Highly Confidential
Nitish Korula      2023.11.14            Litigation                   Yes              67       17     67     22           Highly Confidential                                   68:3-68:6
Nitish Korula      2023.11.14            Litigation                   Yes              71       16     72      6           Highly Confidential                            41:14-43:17; 72:7-72:14
                                                                                                                                                                         73:11-14; 73:16-18; 75:1-
Nitish Korula      2023.11.14            Litigation                   Yes              73       3      73     10           Highly Confidential             802
                                                                                                                                                                                2; 75:4-11
Nitish Korula      2023.11.14            Litigation                   Yes             83        22     84     18           Highly Confidential
Nitish Korula      2023.11.14            Litigation                   Yes             95         3     95     17           Highly Confidential
Nitish Korula      2023.11.14            Litigation                   Yes             96        3      96     12           Highly Confidential                             96:13-15; 93:17-97:2
Nitish Korula      2023.11.14            Litigation                   Yes             101       11     101    12              Confidential                 802                100:16-101:10
Nitish Korula      2023.11.14            Litigation                   Yes             101       14     101    17              Confidential                 802
Nitish Korula      2023.11.14            Litigation                   Yes             101       19     102     6              Confidential                 802
Nitish Korula      2023.11.14            Litigation                   Yes             102        8     102     9              Confidential                 802
Nitish Korula      2023.11.14            Litigation                   Yes             102       11     102    12              Confidential
                                                                                                                                                                         100:16-101:10; 102:19-20;
Nitish Korula      2023.11.14            Litigation                   Yes             102       14     102    18               Confidential
                                                                                                                                                                               102:22-103:2
Nitish Korula      2023.11.14            Litigation                   Yes             104       15     105     4              Confidential                                     104:19-105:4
Nitish Korula      2023.11.14            Litigation                   Yes             107       11     107    12           Highly Confidential
Nitish Korula      2023.11.14            Litigation                   Yes             107       14     107    17           Highly Confidential                            107:18-19; 107:21-108:2
Nitish Korula      2023.11.14            Litigation                   Yes             118       16     119     4           Highly Confidential
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                                                                       Video of Deposition                                                                                                       Google Counter-
  Witness      Date of Deposition   CID or Litigation Deposition                               Page From Line From Page to Line to Party Confidentiality as of 2024.07.03   Google Objections
                                                                              (Y/N)                                                                                                               Designations
Luke Lambert      2023.08.29                 Litigation                        Yes                  7            5          7        6               Highly Confidential
                                                                                                                                                                                                 20:6-13; 23:12-19;
Luke Lambert      2023.08.29                 Litigation                        Yes                  18          12         18       14               Highly Confidential
                                                                                                                                                                                                      24:10-25
Luke Lambert      2023.08.29                 Litigation                        Yes                  18          17         18       21               Highly Confidential
Luke Lambert      2023.08.29                 Litigation                        Yes                  19          16         20        5               Highly Confidential
Luke Lambert      2023.08.29                 Litigation                        Yes                  20          14         20       25               Highly Confidential
Luke Lambert      2023.08.29                 Litigation                        Yes                  21           2         22       14               Highly Confidential
Luke Lambert      2023.08.29                 Litigation                        Yes                  22          16         22       19               Highly Confidential
Luke Lambert      2023.08.29                 Litigation                        Yes                  22          21         22       21               Highly Confidential
Luke Lambert      2023.08.29                 Litigation                        Yes                  28          20         29       19               Highly Confidential                             27:7-28:3
Luke Lambert      2023.08.29                 Litigation                        Yes                  29          21         33        3               Highly Confidential                              33:7-24
                                                                                                                                                                                                 50:7-8; 50:10-20;
Luke Lambert      2023.08.29                 Litigation                        Yes                  49          24         50        3               Highly Confidential
                                                                                                                                                                                                     50:18-20
Luke Lambert      2023.08.29                 Litigation                        Yes                  51          20         51       25               Highly Confidential
Luke Lambert      2023.08.29                 Litigation                        Yes                  52           2         52        5               Highly Confidential
Luke Lambert      2023.08.29                 Litigation                        Yes                  55           3         55        6               Highly Confidential                            53:3-5; 53:7
Luke Lambert      2023.08.29                 Litigation                        Yes                  55           8         55        9               Highly Confidential
Luke Lambert      2023.08.29                 Litigation                        Yes                  55          10         55       19               Highly Confidential
Luke Lambert      2023.08.29                 Litigation                        Yes                  55          20         55       25               Highly Confidential
Luke Lambert      2023.08.29                 Litigation                        Yes                  56           2         56       25               Highly Confidential
Luke Lambert      2023.08.29                 Litigation                        Yes                  57           2         57       12               Highly Confidential
Luke Lambert      2023.08.29                 Litigation                        Yes                  57          14         57       22               Highly Confidential
Luke Lambert      2023.08.29                 Litigation                        Yes                  57          24         57       25               Highly Confidential
Luke Lambert      2023.08.29                 Litigation                        Yes                  58           2         58        6               Highly Confidential
Luke Lambert      2023.08.29                 Litigation                        Yes                  59           3         59       25               Highly Confidential
Luke Lambert      2023.08.29                 Litigation                        Yes                  60           2         60        9               Highly Confidential
Luke Lambert      2023.08.29                 Litigation                        Yes                  60          17         60       25               Highly Confidential
Luke Lambert      2023.08.29                 Litigation                        Yes                  61           4         61        8               Highly Confidential
Luke Lambert      2023.08.29                 Litigation                        Yes                  61          10         61       25               Highly Confidential
                                                                                                                                                                                                 62:5; 62:7-8; 62:9-
Luke Lambert      2023.08.29                 Litigation                        Yes                  62           3         62        4               Highly Confidential
                                                                                                                                                                                                    14; 62:16-19
                                                                                                                                                                              106 (82:6-10)
Luke Lambert      2023.08.29                 Litigation                        Yes                  82           6         82       25               Highly Confidential     106 (82:11-14)
                                                                                                                                                                             106 (82:15-25)
Luke Lambert      2023.08.29                 Litigation                        Yes                  83           2         83        5               Highly Confidential       106 (83:2-5)
                                                                                                                                                                                                102:3-13; 109:18-21;
                                                                                                                                                                                                 113:11-16; 113:19-
Luke Lambert      2023.08.29                 Litigation                        Yes                 114          18        114       22               Highly Confidential                        20; 113:23-25; 114:3-
                                                                                                                                                                                                5; 114:10-12; 114:14-
                                                                                                                                                                                                         17
Luke Lambert      2023.08.29                 Litigation                        Yes                 114          24        115        8               Highly Confidential
Luke Lambert      2023.08.29                 Litigation                        Yes                 115           9        115       11               Highly Confidential
Luke Lambert      2023.08.29                 Litigation                        Yes                 115          13        115       16               Highly Confidential
                                                                                                                                                                                                115:20-23; 115:25;
Luke Lambert      2023.08.29                 Litigation                        Yes                 115          18        115       19               Highly Confidential                        116:5-8 116:10-13;
                                                                                                                                                                                                      116:15
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                                                                       Video of Deposition                                                                                                       Google Counter-
  Witness      Date of Deposition   CID or Litigation Deposition                               Page From Line From Page to Line to Party Confidentiality as of 2024.07.03   Google Objections
                                                                              (Y/N)                                                                                                                Designations
                                                                                                                                                                                                66:2-21; 243:12-15;
Luke Lambert      2023.08.29                 Litigation                        Yes                 243          19        243       24               Highly Confidential
                                                                                                                                                                                                     244:21-24
Luke Lambert      2023.08.29                 Litigation                        Yes                 249          20        249       25               Highly Confidential
Luke Lambert      2023.08.29                 Litigation                        Yes                 250           2        250        3               Highly Confidential
Luke Lambert      2023.08.29                 Litigation                        Yes                 250           5        250       25               Highly Confidential
Luke Lambert      2023.08.29                 Litigation                        Yes                 251           2        251       20               Highly Confidential
Luke Lambert      2023.08.29                 Litigation                        Yes                 251          22        251       25               Highly Confidential
Luke Lambert      2023.08.29                 Litigation                        Yes                 252           2        252       20               Highly Confidential                            252:21-25
Luke Lambert      2023.08.29                 Litigation                        Yes                 253           4        253        6               Highly Confidential
Luke Lambert      2023.08.29                 Litigation                        Yes                 253           8        253       25               Highly Confidential      106 (253:25)
Luke Lambert      2023.08.29                 Litigation                        Yes                 259          23        260        2               Highly Confidential
Luke Lambert      2023.08.29                 Litigation                        Yes                 260           4        261       16               Highly Confidential
Luke Lambert      2023.08.29                 Litigation                        Yes                 261          18        261       18               Highly Confidential
Luke Lambert      2023.08.29                 Litigation                        Yes                 262           5        262        6               Highly Confidential
Luke Lambert      2023.08.29                 Litigation                        Yes                 262           8        262        8               Highly Confidential
Luke Lambert      2023.08.29                 Litigation                        Yes                 262          16        262       20               Highly Confidential
Luke Lambert      2023.08.29                 Litigation                        Yes                 262          21        263       12               Highly Confidential
Luke Lambert      2023.08.29                 Litigation                        Yes                 263          14        263       15               Highly Confidential
Luke Lambert      2023.08.29                 Litigation                        Yes                 263          19        264        4               Highly Confidential
Luke Lambert      2023.08.29                 Litigation                        Yes                 264           6        264        9               Highly Confidential
                                                                                                                                                                                                224:20-224; 224:25-
Luke Lambert      2023.08.29                 Litigation                        Yes                                                                                                                225:2; 225:3-4;
                                                                                                                                                                                                     2225:5-6
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                                    CID or Litigation     Video of Deposition    Page Line Page Line           Party Confidentiality as of                       Google Counter-
  Witness      Date of Deposition                                                                                                            Google Objections
                                       Deposition                (Y/N)           From From to    to                   2024.07.03                                  Designations
Chris LaSala      2020.10.20              CID                     No              10    6   10   11               Highly Confidential
Chris LaSala      2020.10.20              CID                     No              15   17   15   22               Highly Confidential
Chris LaSala      2020.10.20              CID                     No              21    3   21   25               Highly Confidential
Chris LaSala      2020.10.20              CID                     No              22    2   22    4               Highly Confidential
Chris LaSala      2020.10.20              CID                     No              22    5   22   19               Highly Confidential
Chris LaSala      2020.10.20              CID                     No              22   16   22   19               Highly Confidential
Chris LaSala      2020.10.20              CID                     No              22   20   22   25               Highly Confidential
Chris LaSala      2020.10.20              CID                     No              23    2   23    4               Highly Confidential
Chris LaSala      2020.10.20              CID                     No              24   11   24   25               Highly Confidential
Chris LaSala      2020.10.20              CID                     No              25    2   25   25               Highly Confidential
Chris LaSala      2020.10.20              CID                     No              26    2   26   25               Highly Confidential
Chris LaSala      2020.10.20              CID                     No              27    2   27   11               Highly Confidential
Chris LaSala      2020.10.20              CID                     No              28   17   28   25               Highly Confidential
Chris LaSala      2020.10.20              CID                     No              29    2   29   15               Highly Confidential
Chris LaSala      2020.10.20              CID                     No              29   16   29   25               Highly Confidential
Chris LaSala      2020.10.20              CID                     No              30    2   30   15               Highly Confidential
Chris LaSala      2020.10.20              CID                     No              43   19   43   25               Highly Confidential
Chris LaSala      2020.10.20              CID                     No              44    2   44   25               Highly Confidential
Chris LaSala      2020.10.20              CID                     No              45    2   45   15               Highly Confidential
Chris LaSala      2020.10.20              CID                     No              49   18   49   25               Highly Confidential
Chris LaSala      2020.10.20              CID                     No              50    2   50    3               Highly Confidential
Chris LaSala      2020.10.20              CID                     No              50   24   50   25               Highly Confidential
Chris LaSala      2020.10.20              CID                     No              51    2   51   12               Highly Confidential
Chris LaSala      2020.10.20              CID                     No              57    9   57   15               Highly Confidential
Chris LaSala      2020.10.20              CID                     No              57   16   57   25               Highly Confidential
Chris LaSala      2020.10.20              CID                     No              58    2   58    8               Highly Confidential
Chris LaSala      2020.10.20              CID                     No              58    9   58   19               Highly Confidential
Chris LaSala      2020.10.20              CID                     No              60   16   60   25               Highly Confidential
Chris LaSala      2020.10.20              CID                     No              67   24   67   25               Highly Confidential
Chris LaSala      2020.10.20              CID                     No              68    2   68   23               Highly Confidential
Chris LaSala      2020.10.20              CID                     No              68   24   68   25               Highly Confidential
Chris LaSala      2020.10.20              CID                     No              69    2   69   18               Highly Confidential
Chris LaSala      2020.10.20              CID                     No              72    5   72   24               Highly Confidential
Chris LaSala      2020.10.20              CID                     No              73   17   73   24               Highly Confidential                                 73:25
Chris LaSala      2020.10.20              CID                     No              74    2   74    8               Highly Confidential
Chris LaSala      2020.10.20              CID                     No              74   25   74   25               Highly Confidential
Chris LaSala      2020.10.20              CID                     No              75    2   75   10               Highly Confidential
Chris LaSala      2020.10.20              CID                     No              76    4   76   25               Highly Confidential
Chris LaSala      2020.10.20              CID                     No              77    2   77   25               Highly Confidential
Chris LaSala      2020.10.20              CID                     No              78    2   78   25               Highly Confidential
Chris LaSala      2020.10.20              CID                     No              79    2   79   12               Highly Confidential
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  Witness      Date of Deposition                                                                                                            Google Objections
                                       Deposition                (Y/N)           From From to    to                   2024.07.03                                   Designations
Chris LaSala      2020.10.20              CID                     No               79  22   79   25               Highly Confidential
Chris LaSala      2020.10.20              CID                     No               80   2   80   18               Highly Confidential
Chris LaSala      2020.10.20              CID                     No               85   6   86   21               Highly Confidential                                 86:22-25
Chris LaSala      2020.10.20              CID                     No               88   6   88   25               Highly Confidential
Chris LaSala      2020.10.20              CID                     No               89   2   89    2               Highly Confidential
Chris LaSala      2020.10.20              CID                     No               89  10   89   21               Highly Confidential
Chris LaSala      2020.10.20              CID                     No               91  13   91   18               Highly Confidential
Chris LaSala      2020.10.20              CID                     No               92  15   92   25               Highly Confidential
Chris LaSala      2020.10.20              CID                     No               93   2   93    7               Highly Confidential
Chris LaSala      2020.10.20              CID                     No               94  13   94   25               Highly Confidential
Chris LaSala      2020.10.20              CID                     No               95   2   95    9               Highly Confidential
Chris LaSala      2020.10.20              CID                     No              134  13  134   25               Highly Confidential
Chris LaSala      2020.10.20              CID                     No              135   2  135    7               Highly Confidential
Chris LaSala      2020.10.20              CID                     No              141  18  141   25               Highly Confidential
Chris LaSala      2020.10.20              CID                     No              142   2  142   16               Highly Confidential
Chris LaSala      2020.10.20              CID                     No              142  17  142   24               Highly Confidential
Chris LaSala      2020.10.20              CID                     No              148  16  148   25               Highly Confidential
Chris LaSala      2020.10.20              CID                     No              149   2  149    2               Highly Confidential
Chris LaSala      2020.10.20              CID                     No              152   9  152   19               Highly Confidential
Chris LaSala      2020.10.20              CID                     No              153   4  153   12               Highly Confidential                               153:13-154:8
Chris LaSala      2020.10.20              CID                     No              162  17  162   25               Highly Confidential
Chris LaSala      2020.10.20              CID                     No              163   2  163    3               Highly Confidential                            159:6-16; 160:14-21
Chris LaSala      2020.10.20              CID                     No              164   8  164   17               Highly Confidential                               163:20-164:7
Chris LaSala      2020.10.20              CID                     No              222   9  222   19               Highly Confidential
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                                    CID or Litigation         Video of Deposition      Page      Line     Page    Line      Party Confidentiality as of                         Google Counter-
  Witness      Date of Deposition                                                                                                                         Google Objections
                                       Deposition                    (Y/N)             From      From      to      to              2024.07.03                                    Designations
Chris LaSala      2023.08.16           Litigation                     No                 6         7        6       9              Confidential
Chris LaSala      2023.08.16           Litigation                     No                13        25       14      21              Confidential
Chris LaSala      2023.08.16           Litigation                     No                40        16       40      24              Confidential                 701
Chris LaSala      2023.08.16           Litigation                     No                46        13       47       4          Highly Confidential              106                47:6-49:5
Chris LaSala      2023.08.16           Litigation                     No                49         6       49      19              Confidential
Chris LaSala      2023.08.16           Litigation                     No                49        21       49      22              Confidential
Chris LaSala      2023.08.16           Litigation                     No                49        23       50      13              Confidential
Chris LaSala      2023.08.16           Litigation                     No                50        15       50      17              Confidential
Chris LaSala      2023.08.16           Litigation                     No                51        11       51      11              Confidential
Chris LaSala      2023.08.16           Litigation                     No                51        13       51      22              Confidential
Chris LaSala      2023.08.16           Litigation                     No                52         7       52      17              Confidential
Chris LaSala      2023.08.16           Litigation                     No                56        25       57      2               Confidential
Chris LaSala      2023.08.16           Litigation                     No                57         4       57      14          Highly Confidential
Chris LaSala      2023.08.16           Litigation                     No                57        16       57      18          Highly Confidential
Chris LaSala      2023.08.16           Litigation                     No                68        21       69      22              Confidential
Chris LaSala      2023.08.16           Litigation                     No                69        24       70      3               Confidential
Chris LaSala      2023.08.16           Litigation                     No                70         5       70       9          Highly Confidential
Chris LaSala      2023.08.16           Litigation                     No                77        16       77      16              Confidential
Chris LaSala      2023.08.16           Litigation                     No                77        18       78      21              Confidential
Chris LaSala      2023.08.16           Litigation                     No                81         6       81      19              Confidential
Chris LaSala      2023.08.16           Litigation                     No                91        16       92      6               Confidential
Chris LaSala      2023.08.16           Litigation                     No                92         8       92      23              Confidential
Chris LaSala      2023.08.16           Litigation                     No                92        25       92      25              Confidential
Chris LaSala      2023.08.16           Litigation                     No                93         2       93      13              Confidential
Chris LaSala      2023.08.16           Litigation                     No                93        17       94      13              Confidential
                                                                                                                                                                                 213:16-214:9;
Chris LaSala      2023.08.16            Litigation                    No                96         12      96      14               Confidential
                                                                                                                                                                                 216:19-217:12
Chris LaSala      2023.08.16            Litigation                    No                96         16      96      23               Confidential              802, 701
                                                                                                                                                                                 102:6-102:17;
Chris LaSala      2023.08.16            Litigation                    No                102        18      102     24               Confidential
                                                                                                                                                                                 103:18-104:17
Chris LaSala      2023.08.16            Litigation                    No                109        24      111      9           Highly Confidential
Chris LaSala      2023.08.16            Litigation                    No                112        18      112     24              Confidential
Chris LaSala      2023.08.16            Litigation                    No                113         4      113      6              Confidential                                   114:4-115:12
Chris LaSala      2023.08.16            Litigation                    No                160        23      161      8              Confidential
                                                                                                                                                                                 162:22-162:24;
Chris LaSala      2023.08.16            Litigation                    No                162        5       162     11               Confidential
                                                                                                                                                                                  163:2-163:5
Chris LaSala      2023.08.16            Litigation                    No                164        11      164     13               Confidential
Chris LaSala      2023.08.16            Litigation                    No                164        15      164     25               Confidential
Chris LaSala      2023.08.16            Litigation                    No                168        24      169     11               Confidential
                                                                                                                                                                                 187:16-188:22;
Chris LaSala      2023.08.16            Litigation                    No                186        10      187      7           Highly Confidential
                                                                                                                                                                                 205:10-205:19
Chris LaSala      2023.08.16            Litigation                    No                187        9       187     15           Highly Confidential
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                                    CID or Litigation         Video of Deposition      Page      Line     Page    Line      Party Confidentiality as of                         Google Counter-
  Witness      Date of Deposition                                                                                                                         Google Objections
                                       Deposition                    (Y/N)             From      From      to      to              2024.07.03                                    Designations
                                                                                                                                                                                 201:5-202:10;
Chris LaSala      2023.08.16            Litigation                    No                202        17      204      8           Highly Confidential             106
                                                                                                                                                                                 310:19-312:23
Chris LaSala      2023.08.16            Litigation                    No                206        13      206     25           Highly Confidential
Chris LaSala      2023.08.16            Litigation                    No                209         8      209     14           Highly Confidential
                                                                                                                                                                                135:9-13; 139:15-
Chris LaSala      2023.08.16            Litigation                    No                222        25      225     24           Highly Confidential
                                                                                                                                                                                     136:14
Chris LaSala      2023.08.16            Litigation                    No                235        10      235     20           Highly Confidential
Chris LaSala      2023.08.16            Litigation                    No                236         2      236      3           Highly Confidential
Chris LaSala      2023.08.16            Litigation                    No                236         6      236     23           Highly Confidential
Chris LaSala      2023.08.16            Litigation                    No                237         2      238     14           Highly Confidential
Chris LaSala      2023.08.16            Litigation                    No                283         6      283     17              Confidential                                   281:20-283:5
Chris LaSala      2023.08.16            Litigation                    No                283        19      284      2              Confidential
Chris LaSala      2023.08.16            Litigation                    No                297        20      298      8           Highly Confidential                              296:14-296:19
Chris LaSala      2023.08.16            Litigation                    No                298        10      298     10           Highly Confidential
Chris LaSala      2023.08.16            Litigation                    No                299        11      299     13           Highly Confidential
Chris LaSala      2023.08.16            Litigation                    No                299        16      299     20           Highly Confidential
Chris LaSala      2023.08.16            Litigation                    No                299        21      302     16           Highly Confidential
Chris LaSala      2023.08.16            Litigation                    No                302        18      303      8              Confidential
Chris LaSala      2023.08.16            Litigation                    No                303        10      303     22              Confidential
Chris LaSala      2023.08.16            Litigation                    No                303        24      305     11              Confidential
Chris LaSala      2023.08.16            Litigation                    No                305        14      306      2           Highly Confidential
Chris LaSala      2023.08.16            Litigation                    No                306        25      307     24           Highly Confidential           106, 802            315:5-316:16
Chris LaSala      2023.08.16            Litigation                    No                335        18      336      7              Confidential
Chris LaSala      2023.08.16            Litigation                    No                338        10      338     17              Confidential
Chris LaSala      2023.08.16            Litigation                    No                339        23      340      7              Confidential                                  190:18-191:18
Chris LaSala      2023.08.16            Litigation                    No                347        17      348      6              Confidential
Chris LaSala      2023.08.16            Litigation                    No                360         3      361     10           Highly Confidential
Chris LaSala      2023.08.16            Litigation                    No                383        22      385      3           Highly Confidential           106, 802
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                                    CID or Litigation    Video of Deposition   Page      Line    Page Line     Party Confidentiality as of                              Google Counter-
  Witness      Date of Deposition                                                                                                            Google Objections
                                       Deposition               (Y/N)          From      From     to   to             2024.07.03                                         Designations
Chris LaSala      2023.08.17           Litigation                Yes            430        8     430 16               Confidential                  602
Chris LaSala      2023.08.17           Litigation                Yes            430       18     430 20               Confidential                  602
Chris LaSala      2023.08.17           Litigation                Yes            430       23     431 17               Confidential                  602
Chris LaSala      2023.08.17           Litigation                Yes            459        6     459 12           Highly Confidential
Chris LaSala      2023.08.17           Litigation                Yes            459       14     459 19           Highly Confidential         106 (459:18-19)
Chris LaSala      2023.08.17           Litigation                Yes            474        8     474 11           Highly Confidential                               438:20-22; 438:24-439:14
Chris LaSala      2023.08.17           Litigation                Yes            482       25     483   3              Confidential                  602
Chris LaSala      2023.08.17           Litigation                Yes            483        5     483   8              Confidential                  602
Chris LaSala      2023.08.17           Litigation                Yes            549       15     549 17               Confidential                  802
Chris LaSala      2023.08.17           Litigation                Yes            549       20     549 23               Confidential                  802
Chris LaSala      2023.08.17            Litigation               Yes             643       12     644    13            Confidential                                627:15-628:18; 628:20-629:6
Chris LaSala      2023.08.17            Litigation               Yes             644       15     645     9            Confidential
Chris LaSala      2023.08.17            Litigation               Yes             645       10     645    15            Confidential
Chris LaSala      2023.08.17            Litigation               Yes             645       18     646     6            Confidential
Chris LaSala      2023.08.17            Litigation               Yes             651       16     651    22            Confidential
Chris LaSala      2023.08.17            Litigation               Yes             651       24     652    21            Confidential          602, 701 (652:3-21)
Chris LaSala      2023.08.17            Litigation               Yes             652       24     653    19            Confidential           602, 701 (652:24)
Chris LaSala      2023.08.17            Litigation               Yes             653       21     653    25            Confidential
Chris LaSala      2023.08.17            Litigation               Yes             654       3      654     6            Confidential
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                                                    Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                                      Levitte CID (Google)



                                      CID or Litigation      Video of                                                     Party Confidentiality as of                          Google Counter-
   Witness       Date of Deposition                                        Page From Line From Page to Line to                                          Google Objections
                                         Deposition       Deposition (Y/N)                                                       2024.07.03                                     Designations
                                                                                                                                                                                   6:8-10
George Levitte      2021.08.10              CID                Yes              16            13         16       18         Highly Confidential
                                                                                                                                                                                 16:19-17:7
George Levitte      2021.08.10              CID                Yes              17            21         18       21         Highly Confidential
George Levitte      2021.08.10              CID                Yes              19            8          19       13         Highly Confidential
George Levitte      2021.08.10              CID                Yes              19            21         21        3         Highly Confidential
George Levitte      2021.08.10              CID                Yes              21            16         21       19         Highly Confidential
George Levitte      2021.08.10              CID                Yes              25            4          26       11         Highly Confidential                                 23:20-25:3
George Levitte      2021.08.10              CID                Yes              26            12         26       17         Highly Confidential
George Levitte      2021.08.10              CID                Yes              29            6          29       15         Highly Confidential
George Levitte      2021.08.10              CID                Yes              42            12         42       24         Highly Confidential
George Levitte      2021.08.10              CID                Yes              51            7          51       20         Highly Confidential
George Levitte      2021.08.10              CID                Yes              52            12         52       23         Highly Confidential
George Levitte      2021.08.10              CID                Yes              52            24         53        3         Highly Confidential
George Levitte      2021.08.10              CID                Yes              53            14         54       10         Highly Confidential                                   53:7-13
                                                                                                                                                                                 56:21-57:12
George Levitte      2021.08.10              CID                Yes              57            13         58        8         Highly Confidential
                                                                                                                                                                                   58:9-25
                                                                                                                                                                                  61:17-62:5
George Levitte      2021.08.10              CID                Yes              61            3          61       16         Highly Confidential
                                                                                                                                                                                  62:15-63:4
George Levitte      2021.08.10              CID                Yes              63            8          65        5          Highly Confidential                                  65:6-16
                                                                                                                                                                                 65:17-66:10
George Levitte      2021.08.10              CID                Yes              66            11         66       23         Highly Confidential
                                                                                                                                                                                 66:24-67:10
George Levitte      2021.08.10              CID                Yes              67            11         67       24         Highly Confidential
George Levitte      2021.08.10              CID                Yes              73            7          74       23         Highly Confidential                                 74:24-75:19
George Levitte      2021.08.10              CID                Yes              85            16         86        1         Highly Confidential                                 84:17-85:15
                                                                                                                                                                                    86:2-6
George Levitte      2021.08.10              CID                Yes              86            7          86       22         Highly Confidential
                                                                                                                                                                                 86:23-89:6
                                                                                                                                                                                  124:19-21
                                                                                                                                                                                124:23-125:2
George Levitte      2021.08.10              CID                Yes              123           23        124       18         Highly Confidential
                                                                                                                                                                                   125:7-24
                                                                                                                                                                                127:24-129:5
George Levitte      2021.08.10              CID                Yes              135           3         135       16         Highly Confidential
George Levitte      2021.08.10              CID                Yes              164           23        165       18         Highly Confidential                                  166:1-15
George Levitte      2021.08.10              CID                Yes              199           23        200       15         Highly Confidential                                  199:17-22
George Levitte      2021.08.10              CID                Yes              201           7         201       25         Highly Confidential
George Levitte      2021.08.10              CID                Yes              218           20        219        8         Highly Confidential        602 (218:20 - 219:3)      218:9-19
George Levitte      2021.08.10              CID                Yes              230           13        230       21         Highly Confidential                                230:22-231:9
                                                                                                                                                                                   233:24
George Levitte      2021.08.10              CID                Yes              235           16        237        2         Highly Confidential                                234:6-235:15
                                                                                                                                                                                237:8-238:14
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                                                       Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                                  Lipkovitz CID (Google)


                                       CID or Litigation      Video of Deposition     Page       Line     Page Line      Party Confidentiality as of                            Google Counter-
   Witness        Date of Deposition                                                                                                                    Google Objections
                                          Deposition                 (Y/N)            From       From      to   to              2024.07.03                                       Designations
Eisar Lipkovitz      2021.03.31              CID                      No                 4         9        4     14         Highly Confidential

Eisar Lipkovitz      2021.03.31              CID                      No                13         11      16     17         Highly Confidential

Eisar Lipkovitz      2021.03.31              CID                      No                13         11      16     17         Highly Confidential

Eisar Lipkovitz      2021.03.31              CID                      No                24         19      25     15         Highly Confidential

Eisar Lipkovitz      2021.03.31              CID                      No                24         19      25     15         Highly Confidential

Eisar Lipkovitz      2021.03.31              CID                      No                26         25      27      8         Highly Confidential

Eisar Lipkovitz      2021.03.31              CID                      No                30         17      32      5         Highly Confidential

Eisar Lipkovitz      2021.03.31              CID                      No                32         21      33     10         Highly Confidential

Eisar Lipkovitz      2021.03.31              CID                      No                37         11      39      7         Highly Confidential          602 (38:12-15)

Eisar Lipkovitz      2021.03.31              CID                      No                43         8       44      7         Highly Confidential

Eisar Lipkovitz      2021.03.31              CID                      No                45         3       45     14         Highly Confidential

Eisar Lipkovitz      2021.03.31              CID                      No                52         15      54      3         Highly Confidential
                                                                                                                                                                                 62:25 – 63:22
Eisar Lipkovitz      2021.03.31              CID                      No                54         5       55      3         Highly Confidential

Eisar Lipkovitz      2021.03.31              CID                      No                57         16      58     11         Highly Confidential

Eisar Lipkovitz      2021.03.31              CID                      No                57         16      58     11         Highly Confidential

                                                                                                                                                                                 74:22 - 75:12
                                                                                                                                                       602 (64:12-64:21); 602
Eisar Lipkovitz      2021.03.31              CID                      No                63         23      65     11         Highly Confidential                                  76:9 - 76:13
                                                                                                                                                           (64:22-65:11)

Eisar Lipkovitz      2021.03.31              CID                      No                69         18      70      9         Highly Confidential

Eisar Lipkovitz      2021.03.31              CID                      No                70         11      70     11         Highly Confidential

Eisar Lipkovitz      2021.03.31              CID                      No                74         10      74     21         Highly Confidential

Eisar Lipkovitz      2021.03.31              CID                      No                76         18      78      8         Highly Confidential

Eisar Lipkovitz      2021.03.31              CID                      No                76         18      78      8         Highly Confidential
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                                                       Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                                    Lipkovitz CID (Google)


                                       CID or Litigation      Video of Deposition     Page       Line     Page Line      Party Confidentiality as of                              Google Counter-
   Witness        Date of Deposition                                                                                                                     Google Objections
                                          Deposition                 (Y/N)            From       From      to   to              2024.07.03                                         Designations
Eisar Lipkovitz      2021.03.31              CID                      No                78         9       79     25         Highly Confidential

                                                                                                                                                                                     98:5 - 98:6
                                                                                                                                                                                    98:8 - 98:14
Eisar Lipkovitz      2021.03.31              CID                      No                78         9       79     25         Highly Confidential
                                                                                                                                                                                    98:15 - 99:7


Eisar Lipkovitz      2021.03.31              CID                      No                82         25      83     22         Highly Confidential

Eisar Lipkovitz      2021.03.31              CID                      No                82         25      83     22         Highly Confidential

Eisar Lipkovitz      2021.03.31              CID                      No                85         10      85     11         Highly Confidential
                                                                                                                                                                                   95:15 - 96:11
Eisar Lipkovitz      2021.03.31              CID                      No                85         13      85     18         Highly Confidential           602 (85:17-18)

Eisar Lipkovitz      2021.03.31              CID                      No                85         20      86      5         Highly Confidential                 602
                                                                                                                                                        106 (87:14-88:5); 106
Eisar Lipkovitz      2021.03.31              CID                      No                86         11      91     17         Highly Confidential
                                                                                                                                                             (88:6-90:2)
Eisar Lipkovitz      2021.03.31              CID                      No                91         19      92      2         Highly Confidential

Eisar Lipkovitz      2021.03.31              CID                      No                92         4       93     15         Highly Confidential         602, 701 (93:14-15)

Eisar Lipkovitz      2021.03.31              CID                      No                93         17      93     20         Highly Confidential                 602
                                                                                                                                                        602 (93:22-94:3); 602
Eisar Lipkovitz      2021.03.31              CID                      No                93         22      94      6         Highly Confidential
                                                                                                                                                              (94:4-6)
Eisar Lipkovitz      2021.03.31              CID                      No                94         8       94     19         Highly Confidential                 602

Eisar Lipkovitz      2021.03.31              CID                      No                100        13      100    15         Highly Confidential                 602

                                                                                                                                                         602 (100:17-18); 602
                                                                                                                                                           (100:19-21); 602
Eisar Lipkovitz      2021.03.31              CID                      No                100        17      101     5         Highly Confidential
                                                                                                                                                       (100:22-25); 602 (101:2-
                                                                                                                                                                  5)

Eisar Lipkovitz      2021.03.31              CID                      No                106        21      106    22         Highly Confidential                 602

Eisar Lipkovitz      2021.03.31              CID                      No                106        24      107     6         Highly Confidential                 602

Eisar Lipkovitz      2021.03.31              CID                      No                114        11      114    12         Highly Confidential                 602
                                                                                                                                                                                  126:10 - 126:10
Eisar Lipkovitz      2021.03.31              CID                      No                114        14      114    25         Highly Confidential                 602
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                                                       Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                                      Lipkovitz CID (Google)


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   Witness        Date of Deposition                                                                                                                     Google Objections
                                          Deposition                 (Y/N)            From       From      to   to              2024.07.03                                           Designations
                                                                                                                                                                                   116:18-19; 116:21-
Eisar Lipkovitz      2021.03.31              CID                      No                117        21      117    22         Highly Confidential
                                                                                                                                                                                        117:20
Eisar Lipkovitz      2021.03.31              CID                      No                117        24      120     4         Highly Confidential

Eisar Lipkovitz      2021.03.31              CID                      No                123        4       124    11         Highly Confidential            602 (124:11)

                                                                                                                                                         602 (124:11); 602
                                                                                                                                                       (124:13-14); 602, 802
Eisar Lipkovitz      2021.03.31              CID                      No                124        13      124    24         Highly Confidential
                                                                                                                                                          (124:15-21); 602
                                                                                                                                                            (124:22-24)
                                                                                                                                                         602 (125:2-5); 402
Eisar Lipkovitz      2021.03.31              CID                      No                125        2       125    12         Highly Confidential
                                                                                                                                                             (125:6-10)
                                                                                                                                                                                 126:10; 132:23 - 135:12
Eisar Lipkovitz      2021.03.31              CID                      No                125        14      126     8         Highly Confidential                106

Eisar Lipkovitz      2021.03.31              CID                      No                126        11      126    13         Highly Confidential                602

Eisar Lipkovitz      2021.03.31              CID                      No                126        15      126    18         Highly Confidential                602

Eisar Lipkovitz      2021.03.31              CID                      No                129        3       129     5         Highly Confidential

Eisar Lipkovitz      2021.03.31              CID                      No                129        7       129    21         Highly Confidential

Eisar Lipkovitz      2021.03.31              CID                      No                132        11      132    14         Highly Confidential                                     132:17-135:12

Eisar Lipkovitz      2021.03.31              CID                      No                132        16      132    16         Highly Confidential

Eisar Lipkovitz      2021.03.31              CID                      No                135        19      135    21         Highly Confidential

Eisar Lipkovitz      2021.03.31              CID                      No                135        23      136     7         Highly Confidential

Eisar Lipkovitz      2021.03.31              CID                      No                136        8       136    12         Highly Confidential          602 (136:11-12)

Eisar Lipkovitz      2021.03.31              CID                      No                136        14      136    17         Highly Confidential          602 (136:14-15)

Eisar Lipkovitz      2021.03.31              CID                      No                136        18      136    21         Highly Confidential                802

                                                                                                                                                        802 (136:23-24); 802
                                                                                                                                                         (136:25-137:6); 802
Eisar Lipkovitz      2021.03.31              CID                      No                136        23      137    18         Highly Confidential
                                                                                                                                                       (137:7-9); 802 (137:10-
                                                                                                                                                                 15)

Eisar Lipkovitz      2021.03.31              CID                      No                137        20      138     3         Highly Confidential
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                                                       Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                                       Lipkovitz CID (Google)


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   Witness        Date of Deposition                                                                                                                     Google Objections
                                          Deposition                 (Y/N)            From       From      to   to              2024.07.03                                            Designations
Eisar Lipkovitz      2021.03.31              CID                      No                138        5       138     7         Highly Confidential

Eisar Lipkovitz      2021.03.31              CID                      No                141        21      141    23         Highly Confidential              602, 701

Eisar Lipkovitz      2021.03.31              CID                      No                141        25      142     5         Highly Confidential              602, 701

Eisar Lipkovitz      2021.03.31              CID                      No                142        7       142     7         Highly Confidential              602, 701

Eisar Lipkovitz      2021.03.31              CID                      No                142        13      143     6         Highly Confidential

Eisar Lipkovitz      2021.03.31              CID                      No                143        7       143     8         Highly Confidential

Eisar Lipkovitz      2021.03.31              CID                      No                143        10      143    23         Highly Confidential

Eisar Lipkovitz      2021.03.31              CID                      No                154        18      154    24         Highly Confidential

Eisar Lipkovitz      2021.03.31              CID                      No                164        5       164     7         Highly Confidential              602, 701
                                                                                                                                                        602, 701 (164:9-11);
Eisar Lipkovitz      2021.03.31              CID                      No                164        9       164    13         Highly Confidential
                                                                                                                                                        602, 701 (164:12-13)
                                                                                                                                                       602, 701 (164:15); 602,
Eisar Lipkovitz      2021.03.31              CID                      No                164        15      164    17         Highly Confidential
                                                                                                                                                          701 (164:16-17)
Eisar Lipkovitz      2021.03.31              CID                      No                164        19      164    19         Highly Confidential

Eisar Lipkovitz      2021.03.31              CID                      No                166        2       166     5         Highly Confidential                 106

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                                                                                                                                                                                  332:15; 332:17 - 332:24
Eisar Lipkovitz      2021.03.31              CID                      No                166        9       166    22         Highly Confidential                 106


Eisar Lipkovitz      2021.03.31              CID                      No                179        17      179    21         Highly Confidential              106, 802

                                                                                                                                                          106, 802 (179:23-
Eisar Lipkovitz      2021.03.31              CID                      No                179        23      180     7         Highly Confidential       180:5); 106, 802 (180:6-
                                                                                                                                                                  7)

Eisar Lipkovitz      2021.03.31              CID                      No                180        9       180    10         Highly Confidential              106, 802

                                                                                                                                                                                      208:9 - 208:10;
                                                                                                                                                                                     208:12 - 209:12;
Eisar Lipkovitz      2021.03.31              CID                      No                200        7       200     9         Highly Confidential
                                                                                                                                                                                      209:19 - 211:9


Eisar Lipkovitz      2021.03.31              CID                      No                200        11      200    14         Highly Confidential
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                                                       Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                                     Lipkovitz CID (Google)


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   Witness        Date of Deposition                                                                                                                     Google Objections
                                          Deposition                 (Y/N)            From       From      to   to              2024.07.03                                         Designations
Eisar Lipkovitz      2021.03.31              CID                      No                201        17      202    14         Highly Confidential

Eisar Lipkovitz      2021.03.31              CID                      No                204        5       204     7         Highly Confidential

Eisar Lipkovitz      2021.03.31              CID                      No                204        9       204    12         Highly Confidential

Eisar Lipkovitz      2021.03.31              CID                      No                204        14      204    15         Highly Confidential

Eisar Lipkovitz      2021.03.31              CID                      No                207        12      207    20         Highly Confidential

Eisar Lipkovitz      2021.03.31              CID                      No                207        12      207    20         Highly Confidential

Eisar Lipkovitz      2021.03.31              CID                      No                211        10      211    11         Highly Confidential                 602
                                                                                                                                                        602 (211:13-17); 602
Eisar Lipkovitz      2021.03.31              CID                      No                211        13      211    20         Highly Confidential
                                                                                                                                                            (211:18-20)
Eisar Lipkovitz      2021.03.31              CID                      No                211        21      211    22         Highly Confidential                 602

                                                                                                                                                          602 (211:24); 602
                                                                                                                                                         (211:25-212:6); 602
Eisar Lipkovitz      2021.03.31              CID                      No                211        24      212    17         Highly Confidential
                                                                                                                                                       (212:7-9); 602 (212:10-
                                                                                                                                                                 17)

Eisar Lipkovitz      2021.03.31              CID                      No                219        13      220     9         Highly Confidential         106 (219:13-220:2)

Eisar Lipkovitz      2021.03.31              CID                      No                220        10      220    13         Highly Confidential                 106

                                                                                                                                                         106 (220:15-20); 106
                                                                                                                                                         (220:21-221:2); 602
Eisar Lipkovitz      2021.03.31              CID                      No                220        15      221    19         Highly Confidential
                                                                                                                                                       (221:3-10); 602 (221:11-
                                                                                                                                                         17); 602 (221:18-19)

                                                                                                                                                                                  221:22-23; 221:25-
Eisar Lipkovitz      2021.03.31              CID                      No                221        21      221    21         Highly Confidential                 106
                                                                                                                                                                                  222:10; 222:12 - 19
Eisar Lipkovitz      2021.03.31              CID                      No                225        9       225    13         Highly Confidential                 802

Eisar Lipkovitz      2021.03.31              CID                      No                225        15      225    24         Highly Confidential                 802
                                                                                                                                                       602 (226:25-227:3); 602
Eisar Lipkovitz      2021.03.31              CID                      No                226        25      227     6         Highly Confidential
                                                                                                                                                              (227:4-6)
                                                                                                                                                       602 (227:8); 602 (227:9-
Eisar Lipkovitz      2021.03.31              CID                      No                227        8       227    11         Highly Confidential
                                                                                                                                                                 11)
                                                                                                                                                          602 (227:13); 602
Eisar Lipkovitz      2021.03.31              CID                      No                227        13      227    18         Highly Confidential
                                                                                                                                                             (227:14-18)
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                                                       Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                                    Lipkovitz CID (Google)


                                       CID or Litigation      Video of Deposition     Page       Line     Page Line      Party Confidentiality as of                              Google Counter-
   Witness        Date of Deposition                                                                                                                     Google Objections
                                          Deposition                 (Y/N)            From       From      to   to              2024.07.03                                         Designations
                                                                                                                                                        602 (227:20-21); 602
Eisar Lipkovitz      2021.03.31              CID                      No                227        20      227    24         Highly Confidential
                                                                                                                                                            (227:22-24)
Eisar Lipkovitz      2021.03.31              CID                      No                228        1       228     2         Highly Confidential                 602

                                                                                                                                                         106 (228:9-11); 106
                                                                                                                                                          (228:12-19); 106
Eisar Lipkovitz      2021.03.31              CID                      No                228        9       229    22         Highly Confidential
                                                                                                                                                        (228:20-229:19); 106
                                                                                                                                                             (229:20-22)

Eisar Lipkovitz      2021.03.31              CID                      No                236        18      236    20         Highly Confidential                 106

                                                                                                                                                       106 (236:22-237:2); 106
                                                                                                                                                        (237:3-7); 106 (237:8-
Eisar Lipkovitz      2021.03.31              CID                      No                236        22      238     7         Highly Confidential
                                                                                                                                                       23); 106 (237:24-238:4);
                                                                                                                                                             106 (238:5-7)

Eisar Lipkovitz      2021.03.31              CID                      No                238        9       238    13         Highly Confidential              602, 701
                                                                                                                                                        602, 701 (238:15-16);
Eisar Lipkovitz      2021.03.31              CID                      No                238        15      238    21         Highly Confidential
                                                                                                                                                        602, 701 (238:17-21)
                                                                                                                                                          602, 701 (238:23-
Eisar Lipkovitz      2021.03.31              CID                      No                238        23      239    20         Highly Confidential          239:17); 602, 701
                                                                                                                                                             (239:18-20)
                                                                                                                                                        602, 701 (239:22-25);
Eisar Lipkovitz      2021.03.31              CID                      No                239        22      240     4         Highly Confidential
                                                                                                                                                         602, 701 (240:2-4)
                                                                                                                                                        602, 701 (240:6); 602,
Eisar Lipkovitz      2021.03.31              CID                      No                240        6       240     8         Highly Confidential
                                                                                                                                                            701 (240:7-8)
Eisar Lipkovitz      2021.03.31              CID                      No                240        10      240    12         Highly Confidential              602, 701

Eisar Lipkovitz      2021.03.31              CID                      No                240        14      240    16         Highly Confidential              602, 701
                                                                                                                                                        602, 701 (240:18-19);
Eisar Lipkovitz      2021.03.31              CID                      No                240        18      240    23         Highly Confidential
                                                                                                                                                        602, 701 (240:20-23)
Eisar Lipkovitz      2021.03.31              CID                      No                240        25      240    25         Highly Confidential              602, 701

                                                                                                                                                                                  245:11 - 245:12;
Eisar Lipkovitz      2021.03.31              CID                      No                241        3       241     5         Highly Confidential              602, 701            245:16 - 246:21

                                                                                                                                                        602, 701 (241:8-10);
Eisar Lipkovitz      2021.03.31              CID                      No                241        8       241    12         Highly Confidential
                                                                                                                                                        602, 701 (241:11-12)
Eisar Lipkovitz      2021.03.31              CID                      No                241        14      241    18         Highly Confidential        602, 701 (241:14-16)

Eisar Lipkovitz      2021.03.31              CID                      No                243        6       243     7         Highly Confidential
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   Witness        Date of Deposition                                                                                                                     Google Objections
                                          Deposition                 (Y/N)            From       From      to   to              2024.07.03                                         Designations
Eisar Lipkovitz      2021.03.31              CID                      No                243        9       243    12         Highly Confidential           602 (243:11-12)
                                                                                                                                                        602 (243:14-16); 602
Eisar Lipkovitz      2021.03.31              CID                      No                243        14      243    18         Highly Confidential
                                                                                                                                                            (243:17-18)
Eisar Lipkovitz      2021.03.31              CID                      No                243        20      244     5         Highly Confidential                 602
                                                                                                                                                                                  245:11-12; 254:16-
Eisar Lipkovitz      2021.03.31              CID                      No                244        14      245    10         Highly Confidential                 106
                                                                                                                                                                                       246:21
Eisar Lipkovitz      2021.03.31              CID                      No                246        25      247     2         Highly Confidential

Eisar Lipkovitz      2021.03.31              CID                      No                247        4       248     2         Highly Confidential
                                                                                                                                                        106 (249:17- 249:24);
Eisar Lipkovitz      2021.03.31              CID                      No                249        19      252    14         Highly Confidential
                                                                                                                                                         106 (249:25-252:14)
Eisar Lipkovitz      2021.03.31              CID                      No                252        16      253     6         Highly Confidential

Eisar Lipkovitz      2021.03.31              CID                      No                253        8       253    12         Highly Confidential

Eisar Lipkovitz      2021.03.31              CID                      No                253        14      253    17         Highly Confidential

Eisar Lipkovitz      2021.03.31              CID                      No                253        19      253    19         Highly Confidential

Eisar Lipkovitz      2021.03.31              CID                      No                253        25      254    11         Highly Confidential        106 (253:25-254:10)

Eisar Lipkovitz      2021.03.31              CID                      No                254        14      254    14         Highly Confidential
                                                                                                                                                       106 (254:21-255:6); 106
Eisar Lipkovitz      2021.03.31              CID                      No                254        21      255    24         Highly Confidential
                                                                                                                                                              255:7-24)
                                                                                                                                                         106, 602 (258:18 –
Eisar Lipkovitz      2021.03.31              CID                      No                258        18      259     5         Highly Confidential       259:2); 106, 602 (259:3-
                                                                                                                                                                 5)

Eisar Lipkovitz      2021.03.31              CID                      No                259        7       259    12         Highly Confidential
                                                                                                                                                        106 (293:11-15); 106
Eisar Lipkovitz      2021.03.31              CID                      No                293        6       293    19         Highly Confidential
                                                                                                                                                             (293:16-19)
                                                                                                                                                          106 (293:21); 106
Eisar Lipkovitz      2021.03.31              CID                      No                293        21      293    25         Highly Confidential
                                                                                                                                                             (293:22-25)
                                                                                                                                                       106 (294:3-5); 106 (294:
Eisar Lipkovitz      2021.03.31              CID                      No                294        3       294    15         Highly Confidential       6-12); 106, 602 (294:13-
                                                                                                                                                                 15)

Eisar Lipkovitz      2021.03.31              CID                      No                294        17      294    18         Highly Confidential              106, 602
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   Witness        Date of Deposition                                                                                                                     Google Objections
                                          Deposition                 (Y/N)            From       From      to   to              2024.07.03                                          Designations
Eisar Lipkovitz      2021.03.31              CID                      No                295        4       295    10         Highly Confidential            106 (295:4-8)

Eisar Lipkovitz      2021.03.31              CID                      No                295        12      296     8         Highly Confidential

Eisar Lipkovitz      2021.03.31              CID                      No                298        16      298    18         Highly Confidential                602
                                                                                                                                                       602 (298:16-299:5); 602
Eisar Lipkovitz      2021.03.31              CID                      No                298        20      299     7         Highly Confidential
                                                                                                                                                              (299:6-7)
Eisar Lipkovitz      2021.03.31              CID                      No                299        9       299    15         Highly Confidential                602
                                                                                                                                                        106, 602 (304:5-11);
Eisar Lipkovitz      2021.03.31              CID                      No                304        5       304    13         Highly Confidential
                                                                                                                                                        106, 602 (304:12-13)
                                                                                                                                                         106, 602 (304:15-
Eisar Lipkovitz      2021.03.31              CID                      No                304        15      305    15         Highly Confidential          305:9); 106, 602
                                                                                                                                                            (305:10-15)

Eisar Lipkovitz      2021.03.31              CID                      No                305        17      306     3         Highly Confidential              106, 602
                                                                                                                                                        106, 602 (306:6-11);
Eisar Lipkovitz      2021.03.31              CID                      No                306        6       306    13         Highly Confidential
                                                                                                                                                        106, 602 (306:12-13)
Eisar Lipkovitz      2021.03.31              CID                      No                306        15      306    19         Highly Confidential              106, 602

Eisar Lipkovitz      2021.03.31              CID                      No                309        5       309    24         Highly Confidential              106, 602

Eisar Lipkovitz      2021.03.31              CID                      No                310        3       310     5         Highly Confidential            106, 402, 602

Eisar Lipkovitz      2021.03.31              CID                      No                310        7       310     7         Highly Confidential              106, 602

                                                                                                                                                       106, 602 (310:8-312:5);
Eisar Lipkovitz      2021.03.31              CID                      No                310        8       313    16         Highly Confidential
                                                                                                                                                       106, 602 (312:7-313:13)

Eisar Lipkovitz      2021.03.31              CID                      No                313        18      314     3         Highly Confidential

Eisar Lipkovitz      2021.03.31              CID                      No                314        5       314     8         Highly Confidential

Eisar Lipkovitz      2021.03.31              CID                      No                315        3       316     3         Highly Confidential

Eisar Lipkovitz      2021.03.31              CID                      No                316        6       316     6         Highly Confidential
                                                                                                                                                                                 317:10-317:12; 317:15-
Eisar Lipkovitz      2021.03.31              CID                      No                316        7       317     8         Highly Confidential
                                                                                                                                                                                 317:17; 317:19-318:11
Eisar Lipkovitz      2021.03.31              CID                      No                318        17      318    24         Highly Confidential                106
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   Witness        Date of Deposition                                                                                                                   Google Objections
                                          Deposition                 (Y/N)            From       From      to   to              2024.07.03                                     Designations
Eisar Lipkovitz      2021.03.31              CID                      No                319        2       319    20         Highly Confidential             106

Eisar Lipkovitz      2021.03.31              CID                      No                320        5       320    12         Highly Confidential

Eisar Lipkovitz      2021.03.31              CID                      No                320        14      321     3         Highly Confidential
                                                                                                                                                                           332:13 - 332:15; 332:17 -
Eisar Lipkovitz      2021.03.31              CID                      No                336        14      336    15         Highly Confidential
                                                                                                                                                                                    332:24
Eisar Lipkovitz      2021.03.31              CID                      No                336        17      336    24         Highly Confidential
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                                                         Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                                      Lipkovitz Day 1 (Google)


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   Witness        Date of Deposition                                                                                                                         Google Objections
                                           Deposition                  (Y/N)            From      From      to   to                2024.07.03                                             Designations
Eisar Lipkovitz      2023.11.09             Litigation                   Yes              12        12      12     20              Confidential

Eisar Lipkovitz      2023.11.09             Litigation                   Yes              22        8       22     14              Confidential

Eisar Lipkovitz      2023.11.09             Litigation                   Yes              26        25      27      9                 Public

Eisar Lipkovitz      2023.11.09             Litigation                   Yes              27        11      27     19              Confidential

Eisar Lipkovitz      2023.11.09             Litigation                   Yes              27        21      28      3                 Public

Eisar Lipkovitz      2023.11.09             Litigation                   Yes              32        9       33     25           Highly Confidential            701 (33:23-25)
                                                                                                                                                          701 (34:2-7); 701 (34:8-
Eisar Lipkovitz      2023.11.09             Litigation                   Yes              34        2       34     14           Highly Confidential
                                                                                                                                                                    14)
Eisar Lipkovitz      2023.11.09             Litigation                   Yes              36        1       36     22              Confidential
                                                                                                                                                          602, 701 (39:10-15); 602,
Eisar Lipkovitz      2023.11.09             Litigation                   Yes              37        10      40     10           Highly Confidential
                                                                                                                                                               701 (39:16-25)
Eisar Lipkovitz      2023.11.09             Litigation                   Yes              40        12      41      8           Highly Confidential

Eisar Lipkovitz      2023.11.09             Litigation                   Yes              41        10      42     15           Highly Confidential             602 (42:15)
                                                                                                                                                            602 (42:17-21); 602
Eisar Lipkovitz      2023.11.09             Litigation                   Yes              42        17      43      2           Highly Confidential
                                                                                                                                                               (42:22-43:2)
Eisar Lipkovitz      2023.11.09             Litigation                   Yes              43        4       43     21           Highly Confidential            602 (43:4-12)

Eisar Lipkovitz      2023.11.09             Litigation                   Yes              45        13      45     15           Highly Confidential               602, 701
                                                                                                                                                           602, 701 (45:17-46:1);
Eisar Lipkovitz      2023.11.09             Litigation                   Yes              45        17      46      4           Highly Confidential
                                                                                                                                                             602, 701 (46:2-4)
                                                                                                                                                          602, 701 (46:6); 602, 701
Eisar Lipkovitz      2023.11.09             Litigation                   Yes              46        6       46     11                 Public
                                                                                                                                                                 (46:7-11)
Eisar Lipkovitz      2023.11.09             Litigation                   Yes              50        10      50     11           Highly Confidential

Eisar Lipkovitz      2023.11.09             Litigation                   Yes              50        10      50     22           Highly Confidential

Eisar Lipkovitz      2023.11.09             Litigation                   Yes              50        13      50     22           Highly Confidential

Eisar Lipkovitz      2023.11.09             Litigation                   Yes              60        8       60     11           Highly Confidential

Eisar Lipkovitz      2023.11.09             Litigation                   Yes              60        13      60     16           Highly Confidential            402 (60:14-16)

Eisar Lipkovitz      2023.11.09             Litigation                   Yes              60        18      60     20           Highly Confidential               106, 402                 60:21-60:25
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                                           Deposition                  (Y/N)            From      From      to   to                2024.07.03                                              Designations
Eisar Lipkovitz      2023.11.09             Litigation                   Yes              64        1       64      3           Highly Confidential               602, 701

Eisar Lipkovitz      2023.11.09             Litigation                   Yes              64        5       64      9           Highly Confidential               602, 701

Eisar Lipkovitz      2023.11.09             Litigation                   Yes              66        9       66     13           Highly Confidential                 602

Eisar Lipkovitz      2023.11.09             Litigation                   Yes              85        14      87      2           Highly Confidential

Eisar Lipkovitz      2023.11.09             Litigation                   Yes              89        25      90      6           Highly Confidential                                           89:12-24
                                                                                                                                                           602, 701 (91:7-9); 602,
Eisar Lipkovitz      2023.11.09             Litigation                   Yes              90        20      91     17           Highly Confidential
                                                                                                                                                               701 (91:10-17)
Eisar Lipkovitz      2023.11.09             Litigation                   Yes              98        18      98     23           Highly Confidential                 402

Eisar Lipkovitz      2023.11.09             Litigation                   Yes              98        25      99     17           Highly Confidential                 402

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             102        15      104     8           Highly Confidential

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             106        1       106    21           Highly Confidential

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             111        8       111    12           Highly Confidential               602, 701

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             111        14      112     8           Highly Confidential               602, 701

                                                                                                                                                            402, 602, 701 (122:22-
                                                                                                                                                             123:8); 402, 602, 701
                                                                                                                                                          (123:9-13); 402, 602, 701
Eisar Lipkovitz      2023.11.09             Litigation                   Yes             122        22      124     6           Highly Confidential                                          122:17-21
                                                                                                                                                            (123:14-18); 402, 602,
                                                                                                                                                            701 (123:19-21); 402,
                                                                                                                                                           602, 701 (123:22-124:6)

                                                                                                                                                           402, 701 (125:7-126:2);
                                                                                                                                                          402, 701, 802 (126:3-10);
                                                                                                                                                            402, 701, 802 (126:11-
Eisar Lipkovitz      2023.11.09             Litigation                   Yes             125        3       127    14           Highly Confidential
                                                                                                                                                           24); 402, 701 (126:25 –
                                                                                                                                                           127:2); 402, 701 (127:3-
                                                                                                                                                          11); 401, 701 (127:12-14)

                                                                                                                                                          602 (129:3-5); 602 (129:6-
Eisar Lipkovitz      2023.11.09             Litigation                   Yes             129        3       129    10           Highly Confidential
                                                                                                                                                                     10)
Eisar Lipkovitz      2023.11.09             Litigation                   Yes             129        16      129    18           Highly Confidential               602, 701
                                                                                                                                                           602, 701 (129:20); 602,
Eisar Lipkovitz      2023.11.09             Litigation                   Yes             129        20      130     6           Highly Confidential
                                                                                                                                                             701 (129:21-130:6)
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                                           Deposition                  (Y/N)            From      From      to   to                2024.07.03                                             Designations
Eisar Lipkovitz      2023.11.09             Litigation                   Yes             135        14      136     3           Highly Confidential                                         135:11-13

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             136        22      136    25           Highly Confidential

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             137        2       137     6           Highly Confidential

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             137        7       138     1           Highly Confidential

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             137        14      138     1           Highly Confidential

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             138        2       138     9           Highly Confidential

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             138        8       138     9           Highly Confidential                 602
                                                                                                                                                             602 (138:11); 602
Eisar Lipkovitz      2023.11.09             Litigation                   Yes             138        11      138    14           Highly Confidential
                                                                                                                                                               (138:12-14)
Eisar Lipkovitz      2023.11.09             Litigation                   Yes             138        16      138    19           Highly Confidential             602 (138:16)

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             138        21      139     3           Highly Confidential

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             139        5       139     5           Highly Confidential                                        139:6-141:23

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             141        24      142     1           Highly Confidential

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             142        3       142     9           Highly Confidential

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             142        11      142    21           Highly Confidential

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             142        22      142    24           Highly Confidential

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             143        1       143     2           Highly Confidential

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             143        15      143    18                 Public

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             144        12      144    16                 Public
                                                                                                                                                            402 (148:13-16); 402
Eisar Lipkovitz      2023.11.09             Litigation                   Yes             148        13      149    10              Confidential
                                                                                                                                                              (148:17-149:10)

                                                                                                                                                            402 (149:11-17); 402
                                                                                                                                                          (149:18-20); 402 (149:21-
Eisar Lipkovitz      2023.11.09             Litigation                   Yes             149        11      150    18              Confidential            22); 402 (149:23-150:2);
                                                                                                                                                             402 (150:3-13); 402
                                                                                                                                                                 (150:14-18)
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   Witness        Date of Deposition                                                                                                                         Google Objections
                                           Deposition                  (Y/N)            From      From      to   to                2024.07.03                                              Designations
                                                                                                                                                          402 (152:6-8); 402 (152:9-
Eisar Lipkovitz      2023.11.09             Litigation                   Yes             152        6       152    23           Highly Confidential
                                                                                                                                                                     23)
Eisar Lipkovitz      2023.11.09             Litigation                   Yes             152        25      153    22           Highly Confidential                 402

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             154        14      154    18           Highly Confidential                 402
                                                                                                                                                             402 (154:21); 402
Eisar Lipkovitz      2023.11.09             Litigation                   Yes             154        20      155     4           Highly Confidential        (154:22-24); 402, 602
                                                                                                                                                              (154:25-155:4)
Eisar Lipkovitz      2023.11.09             Litigation                   Yes             155        5       155     7           Highly Confidential               402, 602

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             155        9       155    15           Highly Confidential               402, 602

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             156        1       156     3           Highly Confidential               402, 602

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             156        5       156    14           Highly Confidential               402, 602
                                                                                                                                                            402, 602 (156:18-22);
Eisar Lipkovitz      2023.11.09             Litigation                   Yes             156        18      157     2           Highly Confidential
                                                                                                                                                           402, 602 (156:23-157:2)
                                                                                                                                                          402, 602 (157:3-22); 402,
Eisar Lipkovitz      2023.11.09             Litigation                   Yes             157        3       158    12           Highly Confidential       602 (157:23-8); 402, 602
                                                                                                                                                                  (158:9-12)
Eisar Lipkovitz      2023.11.09             Litigation                   Yes             158        13      158    25           Highly Confidential                 402

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             159        2       159     9           Highly Confidential                 402

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             159        10      159    12           Highly Confidential                 402

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             159        14      159    14           Highly Confidential                 402

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             160        6       160     9           Highly Confidential               402, 602                  159:15-160:5

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             160        11      160    13           Highly Confidential               402, 602

                                                                                                                                                            402, 602 (160:15-24);
Eisar Lipkovitz      2023.11.09             Litigation                   Yes             160        15      161    16           Highly Confidential
                                                                                                                                                          402, 602 (160:25-161:16)

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             162        15      162    20                 Public

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             162        22      163     5           Highly Confidential

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             163        7       164     4           Highly Confidential            602 (164:3-4)
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   Witness        Date of Deposition                                                                                                                         Google Objections
                                           Deposition                  (Y/N)            From      From      to   to                2024.07.03                                              Designations
                                                                                                                                                          602 (164:6-8); 602 (164:9-
Eisar Lipkovitz      2023.11.09             Litigation                   Yes             164        6       164    15           Highly Confidential       11); 602 (164:12-13); 602
                                                                                                                                                                 (164:14-15)

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             164        17      165    15           Highly Confidential           602 (164:17-18);

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             165        16      165    17           Highly Confidential                 402
                                                                                                                                                          402, 602 (168:3-6); 402,
Eisar Lipkovitz      2023.11.09             Litigation                   Yes             168        3       168    18           Highly Confidential
                                                                                                                                                               602 (168:7-18)
Eisar Lipkovitz      2023.11.09             Litigation                   Yes             168        22      168    24           Highly Confidential                 402
                                                                                                                                                          402 (169:1); 402 (169:2-
Eisar Lipkovitz      2023.11.09             Litigation                   Yes             169        1       169     4           Highly Confidential
                                                                                                                                                                     4)
                                                                                                                                                            402 (169:6-9); 402
Eisar Lipkovitz      2023.11.09             Litigation                   Yes             169        6       169    13           Highly Confidential
                                                                                                                                                                (169:10-13)
Eisar Lipkovitz      2023.11.09             Litigation                   Yes             169        15      170     3           Highly Confidential                 402

                                                                                                                                                            402 (171:14-17); 402
Eisar Lipkovitz      2023.11.09             Litigation                   Yes             171        14      172    23           Highly Confidential       (171:18-16); 402 (172:17-
                                                                                                                                                            20); 402 (172:21-23)

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             172        24      173     8           Highly Confidential               106, 402

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             173        23      174     1           Highly Confidential               402, 602
                                                                                                                                                          402, 602 (174:3-6); 402,
Eisar Lipkovitz      2023.11.09             Litigation                   Yes             174        3       174    13           Highly Confidential        602 (174:7-8); 402, 602
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                                                                                                                                                            402, 602 (174:16-19);
Eisar Lipkovitz      2023.11.09             Litigation                   Yes             174        16      174    22           Highly Confidential
                                                                                                                                                            402, 602 (174:20-22)
                                                                                                                                                          402, 602 (174:24-175:4);
Eisar Lipkovitz      2023.11.09             Litigation                   Yes             174        24      175    10           Highly Confidential       402, 602 (175:5-7); 402,
                                                                                                                                                               602 (175:8-10)
Eisar Lipkovitz      2023.11.09             Litigation                   Yes             175        12      175    18           Highly Confidential                 402
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Eisar Lipkovitz      2023.11.09             Litigation                   Yes             175        24      178    20           Highly Confidential
                                                                                                                                                            (177:7-9); 402 (177:10-
                                                                                                                                                          14); 402 (177:15-17); 402
                                                                                                                                                              (177:18-178:1); 402
                                                                                                                                                           (178:2-12); 402 (178:13-
                                                                                                                                                          15); 402 (178:16-17); 402
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                                                                                                                                                          (179:6-10); 402 (179:11-
Eisar Lipkovitz      2023.11.09             Litigation                   Yes             178        22      181     1           Highly Confidential         180:15); 402 (180:16-
                                                                                                                                                          20); 402 (180:21-24); 402
                                                                                                                                                                (180:25-181:1)
                                                                                                                                                             402 (181:3-18); 402
Eisar Lipkovitz      2023.11.09             Litigation                   Yes             181        3       181    21           Highly Confidential
                                                                                                                                                                  (181:19-21)
                                                                                                                                                          402 (181:23-182:10); 402
Eisar Lipkovitz      2023.11.09             Litigation                   Yes             181        23      182    12           Highly Confidential
                                                                                                                                                                  (182:11-12)
                                                                                                                                                            402 (182:14-15); 402,
Eisar Lipkovitz      2023.11.09             Litigation                   Yes             182        14      182    17           Highly Confidential
                                                                                                                                                               602 (182:16-17)
                                                                                                                                                            402, 602 (182:19-20);
Eisar Lipkovitz      2023.11.09             Litigation                   Yes             182        19      183    11           Highly Confidential       402, 602 (182:21-183:5);
                                                                                                                                                             402, 602 (183:6-11);

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             183        13      183    19           Highly Confidential             402, 602, 701

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             184        1       184     5           Highly Confidential             402, 602, 701

                                                                                                                                                          402, 602, 701 (184:7-21);
                                                                                                                                                           402 (184:22-185:4); 402
                                                                                                                                                            (185:5-8); 402 (185:9-
Eisar Lipkovitz      2023.11.09             Litigation                   Yes             184        7       186    24           Highly Confidential       11); 402 (185:12-186:10);
                                                                                                                                                             402 (186:11-13); 402
                                                                                                                                                          (186:14-21); 402 (186:22-
                                                                                                                                                                     24)

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             194        22      194    25           Highly Confidential

                                                                                                                                                          602 (195:3-5); 602 (195:6-
Eisar Lipkovitz      2023.11.09             Litigation                   Yes             195        2       196    11           Highly Confidential        9); 602 (195:10-196:7);
                                                                                                                                                          402, 602, 701 (196:8-11)
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Eisar Lipkovitz      2023.11.09             Litigation                   Yes             196        13      196    15           Highly Confidential            402, 602, 701               196:16-196:19

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             198        5       199     7           Highly Confidential               602, 701

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             212        3       212     8           Highly Confidential                                         211:6-212:2

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             212        10      212    10           Highly Confidential

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             212        12      212    12           Highly Confidential

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             212        13      212    15           Highly Confidential

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             212        17      212    17           Highly Confidential

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             212        18      212    19           Highly Confidential

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             212        21      212    21           Highly Confidential

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             213        13      213    15           Highly Confidential

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             213        17      213    17           Highly Confidential

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             213        18      213    25           Highly Confidential                 602

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             213        18      214     2           Highly Confidential

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             214        1       214     2           Highly Confidential                 602
                                                                                                                                                          602 (214:4-6); 602 (214:7-
Eisar Lipkovitz      2023.11.09             Litigation                   Yes             214        4       214     9           Highly Confidential
                                                                                                                                                                     9)
Eisar Lipkovitz      2023.11.09             Litigation                   Yes             214        11      214    19           Highly Confidential           602 (214:11-17)

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             214        18      214    19           Highly Confidential                 602
                                                                                                                                                            602 (214:21-25); 602
Eisar Lipkovitz      2023.11.09             Litigation                   Yes             214        21      215     4           Highly Confidential
                                                                                                                                                                  (215:1-4)
Eisar Lipkovitz      2023.11.09             Litigation                   Yes             215        19      216    17           Highly Confidential           602 (216:14-17)                 215:5-18

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             215        19      216    18           Highly Confidential

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             216        19      217    13           Highly Confidential           602 (216:19-24)

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             220        12      220    16           Highly Confidential
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                                                                                                                                                          602 (224:4-7); 602 (222:8-
Eisar Lipkovitz      2023.11.09             Litigation                   Yes             222        4       222    17           Highly Confidential
                                                                                                                                                             9); 602 (222:10-17)

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             226        24      227     1           Highly Confidential                  802

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             227        3       227     4           Highly Confidential                  802

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             227        5       227    18           Highly Confidential           602 (227:14-18)

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             235        4       235     9              Confidential

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             237        6       237    16           Highly Confidential                                        237:17-238:15

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             244        9       245     2           Highly Confidential

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             245        15      245    16           Highly Confidential

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             245        17      245    20                 Public

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             245        21      246    19           Highly Confidential

                                                                                                                                                             602 (246:20-25); 602
                                                                                                                                                           (247:1-3); 602 (247:4-8);
Eisar Lipkovitz      2023.11.09             Litigation                   Yes             246        20      247    14           Highly Confidential
                                                                                                                                                              602 (247:9-12); 602
                                                                                                                                                                  (247:13-14)
                                                                                                                                                               602 (247:16); 602
                                                                                                                                                          (247:17-23); 602 (247:24-
                                                                                                                                                            248:1); 602 (248:2-8);
Eisar Lipkovitz      2023.11.09             Litigation                   Yes             247        16      248    20           Highly Confidential
                                                                                                                                                              602 (248:9-15); 602
                                                                                                                                                          (248:16-18); 602 (248:19-
                                                                                                                                                                      20)
                                                                                                                                                           602 (248:22-249:9); 402,
Eisar Lipkovitz      2023.11.09             Litigation                   Yes             248        22      249    16           Highly Confidential
                                                                                                                                                                701 (249:10-16)
Eisar Lipkovitz      2023.11.09             Litigation                   Yes             252        5       252     8           Highly Confidential               402, 602

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             252        10      254     3           Highly Confidential       401, 602 (252:10-253:23)

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             254        5       254    20           Highly Confidential

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             254        21      255     1                 Public              402, 602 (254:23-255:1)
                                                                                                                                                          402, 602 (255:4-22); 402,
Eisar Lipkovitz      2023.11.09             Litigation                   Yes             255        4       255    20           Highly Confidential
                                                                                                                                                               602 (255:12-20)
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                                           Deposition                  (Y/N)            From      From      to   to                2024.07.03                                             Designations
Eisar Lipkovitz      2023.11.09             Litigation                   Yes             255        23      255    24                 Public                      402, 602

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             256        2       256     5                 Public                      402, 602
                                                                                                                                                          602 (256:8-16); 402, 602
Eisar Lipkovitz      2023.11.09             Litigation                   Yes             256        8       256    17           Highly Confidential
                                                                                                                                                                  (256:17)
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                                                                                                                                                          402, 602 (257:6-10); 402,
Eisar Lipkovitz      2023.11.09             Litigation                   Yes             256        19      257    21           Highly Confidential
                                                                                                                                                            602 (257:11-18); 402,
                                                                                                                                                               602 (257:19-21)
                                                                                                                                                           402, 602 (257:23); 402,
Eisar Lipkovitz      2023.11.09             Litigation                   Yes             257        23      257    25           Highly Confidential
                                                                                                                                                               602 (257:24-25)
Eisar Lipkovitz      2023.11.09             Litigation                   Yes             258        3       258    19           Highly Confidential         402, 602 (258:3-15)

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             258        21      258    21           Highly Confidential

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             265        7       267    25           Highly Confidential         402, 602 (267:1-25)

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             268        6       269     2           Highly Confidential

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             269        4       270    11           Highly Confidential

                                                                                                                                                             106 (279:15-19); 106
                                                                                                                                                          (279:20-22); 106 (279:23-
Eisar Lipkovitz      2023.11.09             Litigation                   Yes             279        15      280     7           Highly Confidential
                                                                                                                                                             280:2); 106 (280:3-6);
                                                                                                                                                                  602 (280:7)
                                                                                                                                                              602 (280:9-10); 602
Eisar Lipkovitz      2023.11.09             Litigation                   Yes             280        9       281    21           Highly Confidential
                                                                                                                                                                  (280:11-15)
                                                                                                                                                             106 (280:18-20); 106
                                                                                                                                                           (280:21-25); 106 (281:1-
Eisar Lipkovitz      2023.11.09             Litigation                   Yes             280        18      281    21           Highly Confidential
                                                                                                                                                           9); 106 (281:10-18); 106
                                                                                                                                                                  (181:19-21)
                                                                                                                                                           106 (286:24-287:4); 106
                                                                                                                                                            (287:5-17); 106 (288:3-
                                                                                                                                                           7); 602, 701 (288:8-15);
Eisar Lipkovitz      2023.11.09             Litigation                   Yes             286        24      289    18           Highly Confidential
                                                                                                                                                             402, 701 (288:16-25);
                                                                                                                                                          402, 701 (289:1-11); 402,
                                                                                                                                                                701 (289:12-18)

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             295        7       296    12                 Public

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             296        17      297    15           Highly Confidential

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             297        4       297    15           Highly Confidential
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Eisar Lipkovitz      2023.11.09             Litigation                   Yes             299        2       299    14           Highly Confidential
                                                                                                                                                                                      299:1
Eisar Lipkovitz      2023.11.09             Litigation                   Yes             299        25      300     3           Highly Confidential           602, 701              299:15-23

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             300        5       300    20           Highly Confidential           602, 701

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             302        4       302    18              Confidential                 701

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             303        2       303    19           Highly Confidential        802 (303:16-19)

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             303        21      303    24           Highly Confidential             802

Eisar Lipkovitz      2023.11.09             Litigation                   Yes             305        14      305    20           Highly Confidential             602                305:21-306:4
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Eisar Lipkovitz      2023.11.10                 Litigation                        Yes                  328      10      329    5            Highly Confidential
Eisar Lipkovitz      2023.11.10                 Litigation                        Yes                  329       8      329   13            Highly Confidential
Eisar Lipkovitz      2023.11.10                 Litigation                        Yes                  331      18      331   20                  Public
Eisar Lipkovitz      2023.11.10                 Litigation                        Yes                  331      22      332    9                  Public
Eisar Lipkovitz      2023.11.10                 Litigation                        Yes                  333       2      333   13                  Public
Eisar Lipkovitz      2023.11.10                 Litigation                        Yes                  339      23      340   17                  Public
Eisar Lipkovitz      2023.11.10                 Litigation                        Yes                  342      11      342   18                  Public
Eisar Lipkovitz      2023.11.10                 Litigation                        Yes                  342      20      343    4                  Public
Eisar Lipkovitz      2023.11.10                 Litigation                        Yes                  344      15      344   25            Highly Confidential
Eisar Lipkovitz      2023.11.10                 Litigation                        Yes                  345       2      345    6                  Public
Eisar Lipkovitz      2023.11.10                 Litigation                        Yes                  363      20      363   21                  Public
Eisar Lipkovitz      2023.11.10                 Litigation                        Yes                  363      23      364    5                  Public
Eisar Lipkovitz      2023.11.10                 Litigation                        Yes                  364       7      364   11                  Public
Eisar Lipkovitz      2023.11.10                 Litigation                        Yes                  364      13      364   20                  Public
Eisar Lipkovitz      2023.11.10                 Litigation                        Yes                  365       1      365    3                  Public
Eisar Lipkovitz      2023.11.10                 Litigation                        Yes                  365       5      365   21                  Public
Eisar Lipkovitz      2023.11.10                 Litigation                        Yes                  368       7      368   13                  Public
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Max Loubser      2021.04.21              CID                   No               4       13        4   15          Highly Confidential
Max Loubser      2021.04.21              CID                   No               17      10       17   17          Highly Confidential
Max Loubser      2021.04.21              CID                   No               17      18       17   22          Highly Confidential
Max Loubser      2021.04.21              CID                   No               18       8       18   13          Highly Confidential
Max Loubser      2021.04.21              CID                   No               18      14       18   18          Highly Confidential
Max Loubser      2021.04.21              CID                   No               52       9       52   16          Highly Confidential
Max Loubser      2021.04.21              CID                   No               53       9       54   6           Highly Confidential
Max Loubser      2021.04.21              CID                   No               60      21       61   2           Highly Confidential              402
Max Loubser      2021.04.21              CID                   No               61      17       62   13          Highly Confidential              402
Max Loubser      2021.04.21              CID                   No               62      14       63   3           Highly Confidential              402
Max Loubser      2021.04.21              CID                   No               79      25       80   17          Highly Confidential              402
Max Loubser      2021.04.21              CID                   No               83       7       83   16          Highly Confidential              402               83:17-84:11
Max Loubser      2021.04.21              CID                   No               95       2       95   10          Highly Confidential
Max Loubser      2021.04.21              CID                   No              102      21      103   10          Highly Confidential              402
Max Loubser      2021.04.21              CID                   No              125      10      125   17          Highly Confidential                                124:4-125:9
Max Loubser      2021.04.21              CID                   No              126       8      127   7           Highly Confidential            402; 602
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Max Loubser      2021.04.21              CID                    No             127       11     127     22         Highly Confidential
                                                                                                                                                                        127:10
Max Loubser      2021.04.21              CID                    No             131        5     131     16         Highly Confidential
Max Loubser      2021.04.21              CID                    No             131        5     131     16         Highly Confidential
Max Loubser      2021.04.21              CID                    No             141        4     141     12         Highly Confidential
Max Loubser      2021.04.21              CID                    No             141        4     141     12         Highly Confidential
Max Loubser      2021.04.21              CID                    No             143       18     146     11         Highly Confidential                               146:12-146:17
Max Loubser      2021.04.21              CID                    No             146       23     147     24         Highly Confidential             106               147:25-148:11
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Max Loubser      2021.04.21              CID                    No             153       18     154     12         Highly Confidential
                                                                                                                                                                        153:17
Max Loubser      2021.04.21              CID                    No             155        2     155     13         Highly Confidential                              154:13 - 154:25
Max Loubser      2021.04.21              CID                    No             155       25     158     16         Highly Confidential
Max Loubser      2021.04.21              CID                    No             155       25     158     16         Highly Confidential
Max Loubser      2021.04.21              CID                    No             160       17     161     20         Highly Confidential             402              159:20-160:16
Max Loubser      2021.04.21              CID                    No             162        3     162     13         Highly Confidential                              162:14-163:15
Max Loubser      2021.04.21              CID                    No             164        8     164     12         Highly Confidential                              164:18 - 167:2
Max Loubser      2021.04.21              CID                    No             164        8     164     12         Highly Confidential                              164:18 - 167:2
Max Loubser      2021.04.21              CID                    No             167        3     168     3          Highly Confidential
Max Loubser      2021.04.21              CID                    No             169       16     170     21         Highly Confidential                              170:22-172:16
Max Loubser      2021.04.21              CID                    No             169       16     170     21         Highly Confidential                              170:22 -172:16
Max Loubser      2021.04.21              CID                    No             176       10     177     8          Highly Confidential
Max Loubser      2021.04.21              CID                    No             181       17     182     6          Highly Confidential
Max Loubser      2021.04.21              CID                    No             182        7     182     15         Highly Confidential
Max Loubser      2021.04.21              CID                    No             182       16     182     19         Highly Confidential
Max Loubser      2021.04.21              CID                    No             182       20     183     9          Highly Confidential
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Max Loubser      2021.04.21              CID                   No              183      10      184   3           Highly Confidential
Max Loubser      2021.04.21              CID                   No              184      20      185   9           Highly Confidential
Max Loubser      2021.04.21              CID                   No              185      10      185   19          Highly Confidential
                                                                                                                                                                   186:22 - 187:12,
Max Loubser      2021.04.21              CID                    No             185       20     186     21         Highly Confidential
                                                                                                                                                                    187:13 - 188:4
Max Loubser      2021.04.21              CID                    No             194       14     195     11         Highly Confidential                              196:11 - 197:9
                                                                                                                                                                 199:14, 201:7; 202:6 -
Max Loubser      2021.04.21              CID                    No             201       17     202     5          Highly Confidential             602
                                                                                                                                                                        203:18
Max Loubser      2021.04.21              CID                    No             208        8     210     6          Highly Confidential                               210:7-210:24
Max Loubser      2021.04.21              CID                    No             213        5     213     23         Highly Confidential                               213:24-214:4
Max Loubser      2021.04.21              CID                    No             214        5     214     11         Highly Confidential
Max Loubser      2021.04.21              CID                    No             214       17     214     25         Highly Confidential
Max Loubser      2021.04.21              CID                    No             215        2     215     10         Highly Confidential
Max Loubser      2021.04.21              CID                    No             217        7     218     10         Highly Confidential
Max Loubser      2021.04.21              CID                    No             219       11     219     20         Highly Confidential
Max Loubser      2021.04.21              CID                    No             224        5     224     16         Highly Confidential             602
Max Loubser      2021.04.21              CID                    No             235       14     236     11         Highly Confidential
Max Loubser      2021.04.21              CID                    No             236       12     236     20         Highly Confidential
Max Loubser      2021.04.21              CID                    No             236       21     237     15         Highly Confidential
Max Loubser      2021.04.21              CID                    No             237       16     237     18         Highly Confidential             602
Max Loubser      2021.04.21              CID                    No             237       21     238     6          Highly Confidential             602
Max Loubser      2021.04.21              CID                    No             242       22     242     25         Highly Confidential
Max Loubser      2021.04.21              CID                    No             243        5     243     12         Highly Confidential           602, 701
Max Loubser      2021.04.21              CID                    No             243       21     244     7          Highly Confidential           602, 701
Max Loubser      2021.04.21              CID                    No             208        8     210     6          Highly Confidential
Max Loubser      2021.04.21              CID                    No             213        5     213     23         Highly Confidential
Max Loubser      2021.04.21              CID                    No             214        5     214     11         Highly Confidential
Max Loubser      2021.04.21              CID                    No             214       17     214     25         Highly Confidential
Max Loubser      2021.04.21              CID                    No             215        2     215     10         Highly Confidential
Max Loubser      2021.04.21              CID                    No             217        7     218     10         Highly Confidential
Max Loubser      2021.04.21              CID                    No             217        7     218     10         Highly Confidential
Max Loubser      2021.04.21              CID                    No             219       11     219     20         Highly Confidential
Max Loubser      2021.04.21              CID                    No             219       11     219     20         Highly Confidential
Max Loubser      2021.04.21              CID                    No             224        5     224     16         Highly Confidential
Max Loubser      2021.04.21              CID                    No             235       14     236     11         Highly Confidential
Max Loubser      2021.04.21              CID                    No             236       12     236     20         Highly Confidential
Max Loubser      2021.04.21              CID                    No             236       21     237     15         Highly Confidential
Max Loubser      2021.04.21              CID                    No             237       16     237     18         Highly Confidential
Max Loubser      2021.04.21              CID                    No             237       21     238     6          Highly Confidential
Max Loubser      2021.04.21              CID                    No             242       22     242     25         Highly Confidential
Max Loubser      2021.04.21              CID                    No             243        5     243     12         Highly Confidential
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                                              Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                           Loubser CID (Google)


                                   CID or Litigation       Video of          Page     Line     Page Line      Party Confidentiality as of                       Google Counter-
  Witness     Date of Deposition                                                                                                            Google Objections
                                      Deposition        Deposition (Y/N)     From     From      to   to              2024.07.03                                  Designations
Max Loubser      2021.04.21              CID                  No              243      21      244   7           Highly Confidential
Max Loubser      2021.04.21              CID                  No              243      21      244   7           Highly Confidential
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                                                 Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                         Minkin (News Corp 30(b)(6))


                                       CID or Litigation     Video of Deposition    Page      Line    Page Line Party Confidentiality as of                            Google Counter-
   Witness        Date of Deposition                                                                                                          Google Objections
                                          Deposition                (Y/N)           From      From     to   to         2024.07.03                                       Designations
David A. Minkin      2023.09.22           Litigation                 Yes             12        11      12   13           Public
David A. Minkin      2023.09.22           Litigation                 Yes             13         6      13    7           Public
David A. Minkin      2023.09.22           Litigation                 Yes             13         8      13   10           Public
David A. Minkin      2023.09.22           Litigation                 Yes             13        11      13   13           Public
David A. Minkin      2023.09.22           Litigation                 Yes             13        14      13   18           Public
David A. Minkin      2023.09.22           Litigation                 Yes             14        18      15    3           Public
David A. Minkin      2023.09.22           Litigation                 Yes             29        19      29   23           Public
David A. Minkin      2023.09.22           Litigation                 Yes             47         2      47    7           Public                                             47:8-17
David A. Minkin      2023.09.22           Litigation                 Yes             59        24      60   12           Public
David A. Minkin      2023.09.22           Litigation                 Yes             67        19      67   20           Public
David A. Minkin      2023.09.22           Litigation                 Yes             67        22      67   23           Public
David A. Minkin      2023.09.22           Litigation                 Yes             67        24      68   10           Public
David A. Minkin      2023.09.22           Litigation                 Yes             68        20      69   15           Public
David A. Minkin      2023.09.22           Litigation                 Yes             69        11      69   15     Highly Confidential
David A. Minkin      2023.09.22           Litigation                 Yes             69        20      69   25     Highly Confidential
David A. Minkin      2023.09.22           Litigation                 Yes             70        10      70   13     Highly Confidential
David A. Minkin      2023.09.22           Litigation                 Yes             70        15      70   18     Highly Confidential
David A. Minkin      2023.09.22           Litigation                 Yes             70        19      70   20     Highly Confidential
David A. Minkin      2023.09.22           Litigation                 Yes             72        10      72   13           Public
                                                                                                                                                                     72:18 - 73:7; 73:9-25;
                                                                                                                                                                      74:3-4; 74:25 - 75:6;
David A. Minkin      2023.09.22            Litigation                Yes              72        14     72     17       Highly Confidential
                                                                                                                                                                       75:9-13; 75:15-25;
                                                                                                                                                                       76:16-77:3; 77:5-9
David A. Minkin      2023.09.22            Litigation                Yes              78        19     78     21              Public             402, 602, 701            77:23-78:11
David A. Minkin      2023.09.22            Litigation                Yes              79         3     79     11              Public             402, 602, 701
David A. Minkin      2023.09.22            Litigation                Yes              79        12     79     14              Public               402, 602
                                                                                                                                                                     79:20-23; 79:25; 95:9-
David A. Minkin      2023.09.22            Litigation                Yes              79        16     79     19              Public               402, 602
                                                                                                                                                                               16
David A. Minkin      2023.09.22            Litigation                Yes             100         6     100    19       Highly Confidential                               100:20-101:4
David A. Minkin      2023.09.22            Litigation                Yes             101        20     102     3             Public
David A. Minkin      2023.09.22            Litigation                Yes             125        13     125    19       Highly Confidential
David A. Minkin      2023.09.22            Litigation                Yes             125        23     125    25       Highly Confidential
David A. Minkin      2023.09.22            Litigation                Yes             126         3     126     6       Highly Confidential
David A. Minkin      2023.09.22            Litigation                Yes             126         7     126     8       Highly Confidential
David A. Minkin      2023.09.22            Litigation                Yes             126         9     126    12       Highly Confidential
David A. Minkin      2023.09.22            Litigation                Yes             186        18     186    20             Public
David A. Minkin      2023.09.22            Litigation                Yes             186        25     187     3             Public                602, 701
David A. Minkin      2023.09.22            Litigation                Yes             187        5      187     5             Public                602, 701
David A. Minkin      2023.09.22            Litigation                Yes             187         6     187    10       Highly Confidential
                                                                                                                                               602, 701 (189:3-5;
David A. Minkin      2023.09.22            Litigation                Yes             187        11     191    14       Highly Confidential
                                                                                                                                              189:7-8; 189:15-18)
David A. Minkin      2023.09.22            Litigation                Yes             188        4      188    11       Highly Confidential
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                                                 Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                         Minkin (News Corp 30(b)(6))


                                       CID or Litigation     Video of Deposition    Page      Line    Page Line Party Confidentiality as of                            Google Counter-
   Witness        Date of Deposition                                                                                                          Google Objections
                                          Deposition                (Y/N)           From      From     to   to         2024.07.03                                       Designations
David A. Minkin      2023.09.22           Litigation                 Yes             188       12     188 14             Public
                                                                                                                                               602 (188:15-16;
David A. Minkin      2023.09.22            Litigation                Yes             188        15     188    18              Public
                                                                                                                                                   188:18)
David A. Minkin      2023.09.22            Litigation                Yes             188        19     189     2             Public
David A. Minkin      2023.09.22            Litigation                Yes             189        19     189    22             Public               602, 701
David A. Minkin      2023.09.22            Litigation                Yes             189        23     190     4       Highly Confidential        602, 701
David A. Minkin      2023.09.22            Litigation                Yes             190        15     190    20       Highly Confidential
David A. Minkin      2023.09.22            Litigation                Yes             190        21     190    24       Highly Confidential
David A. Minkin      2023.09.22            Litigation                Yes             190        25     191     7       Highly Confidential
David A. Minkin      2023.09.22            Litigation                Yes             191        15     191    19       Highly Confidential
David A. Minkin      2023.09.22            Litigation                Yes             191        20     191    23       Highly Confidential
David A. Minkin      2023.09.22            Litigation                Yes             191        24     192     4       Highly Confidential
David A. Minkin      2023.09.22            Litigation                Yes             192         5     192     7       Highly Confidential
David A. Minkin      2023.09.22            Litigation                Yes             192         8     192    10       Highly Confidential
David A. Minkin      2023.09.22            Litigation                Yes             192        11     192    15       Highly Confidential
David A. Minkin      2023.09.22            Litigation                Yes             193        18     193    21       Highly Confidential          802
David A. Minkin      2023.09.22            Litigation                Yes             193        22     193    24       Highly Confidential          802
David A. Minkin      2023.09.22            Litigation                Yes             193        25     194     3       Highly Confidential          802
David A. Minkin      2023.09.22            Litigation                Yes             194         4     194    12       Highly Confidential          802
David A. Minkin      2023.09.22            Litigation                Yes             194        13     194    17       Highly Confidential
David A. Minkin      2023.09.22            Litigation                Yes             194        18     194    22       Highly Confidential          611c
David A. Minkin      2023.09.22            Litigation                Yes             194        23     194    25       Highly Confidential          611c
David A. Minkin      2023.09.22            Litigation                Yes             195         2     195     4       Highly Confidential          611c
David A. Minkin      2023.09.22            Litigation                Yes             195         5     195    10       Highly Confidential
David A. Minkin      2023.09.22            Litigation                Yes             196        3      196     6             Public                                      195:20-196:2
David A. Minkin      2023.09.22            Litigation                Yes             196        8      196    14             Public                 602
David A. Minkin      2023.09.22            Litigation                Yes             196        19     196    22       Highly Confidential        602, 701
David A. Minkin      2023.09.22            Litigation                Yes             196        19     198     7       Highly Confidential
David A. Minkin      2023.09.22            Litigation                Yes             196        24     197     5       Highly Confidential        602, 701
David A. Minkin      2023.09.22            Litigation                Yes             197         6     197    13       Highly Confidential          602
David A. Minkin      2023.09.22            Litigation                Yes             197        14     198     7       Highly Confidential          602
David A. Minkin      2023.09.22            Litigation                Yes             198        15     198    17             Public
David A. Minkin      2023.09.22            Litigation                Yes             198        18     198    20             Public               602, 701
David A. Minkin      2023.09.22            Litigation                Yes             198        22     198    22             Public               602, 701
David A. Minkin      2023.09.22            Litigation                Yes             198        23     199     2             Public               602, 701
David A. Minkin      2023.09.22            Litigation                Yes             199        10     199    12             Public               602, 701
David A. Minkin      2023.09.22            Litigation                Yes             199        14     199    14             Public               602, 701
David A. Minkin      2023.09.22            Litigation                Yes             199        15     199    20             Public               602, 701
David A. Minkin      2023.09.22            Litigation                Yes             201        19     201    24             Public
David A. Minkin      2023.09.22            Litigation                Yes             201        25     202     5             Public               602, 701
David A. Minkin      2023.09.22            Litigation                Yes             202         9     202    11             Public
David A. Minkin      2023.09.22            Litigation                Yes             202        12     202    14             Public               602, 701
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                                                Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                         Minkin (News Corp 30(b)(6))


                                       CID or Litigation    Video of Deposition    Page      Line    Page Line Party Confidentiality as of                            Google Counter-
   Witness        Date of Deposition                                                                                                         Google Objections
                                          Deposition               (Y/N)           From      From     to   to         2024.07.03                                       Designations
David A. Minkin      2023.09.22           Litigation                Yes             202       16     202 17             Public                   602, 701
David A. Minkin      2023.09.22           Litigation                Yes             202       18     202 20             Public                   602, 701
David A. Minkin      2023.09.22           Litigation                Yes             202       22     202 24             Public                   602, 701
David A. Minkin      2023.09.22           Litigation                Yes             203        6     203   8            Public                     602
David A. Minkin      2023.09.22           Litigation                Yes             203       10     203 11             Public                     602
David A. Minkin      2023.09.22           Litigation                Yes             205        4     205   6      Highly Confidential              611c
David A. Minkin      2023.09.22           Litigation                Yes             205        8     205   8      Highly Confidential              611c
David A. Minkin      2023.09.22           Litigation                Yes             205        9     205 12       Highly Confidential
David A. Minkin      2023.09.22           Litigation                Yes             205       13     205 15       Highly Confidential
David A. Minkin      2023.09.22           Litigation                Yes             205       21     205 23             Public                 602, 611c, 701
David A. Minkin      2023.09.22           Litigation                Yes             205       25     206    9           Public                 602, 611c, 701
David A. Minkin      2023.09.22           Litigation                Yes             206       10     206 16       Highly Confidential
David A. Minkin      2023.09.22           Litigation                Yes             206       19     206 21             Public                   602, 701
David A. Minkin      2023.09.22           Litigation                Yes             206       23     207 11       Highly Confidential            602, 701
David A. Minkin      2023.09.22           Litigation                Yes             207       12     207 16       Highly Confidential          602, 611c, 701
David A. Minkin      2023.09.22           Litigation                Yes             207       17     207 23       Highly Confidential               602
David A. Minkin      2023.09.22           Litigation                Yes             209       17     209 19             Public
David A. Minkin      2023.09.22           Litigation                Yes             209       21     209 23             Public
David A. Minkin      2023.09.22           Litigation                Yes             209       24     210 16             Public
David A. Minkin      2023.09.22           Litigation                Yes             210       17     210 19             Public                      602
David A. Minkin      2023.09.22           Litigation                Yes             210       21     211    2           Public                      602
David A. Minkin      2023.09.22           Litigation                Yes             211        3     211    5           Public                      602
David A. Minkin      2023.09.22           Litigation                Yes             211        6     211   9            Public                 602 (211:7-9)
David A. Minkin      2023.09.22           Litigation                Yes             211       10     211 13             Public
David A. Minkin      2023.09.22           Litigation                Yes             211       14     211 20             Public
David A. Minkin      2023.09.22           Litigation                Yes             211       21     211 24             Public                     611c
David A. Minkin      2023.09.22           Litigation                Yes             212        2     212   6            Public
David A. Minkin      2023.09.22           Litigation                Yes             212        7     212   9            Public
David A. Minkin      2023.09.22           Litigation                Yes             212       10     212 12             Public
David A. Minkin      2023.09.22           Litigation                Yes             212       16     212 21             Public                      602
David A. Minkin      2023.09.22           Litigation                Yes             212       22     213    2           Public
David A. Minkin      2023.09.22           Litigation                Yes             213        3     213 10             Public
David A. Minkin      2023.09.22           Litigation                Yes             213       11     213 21       Highly Confidential               802
David A. Minkin      2023.09.22           Litigation                Yes             213       25     214    2     Highly Confidential
David A. Minkin      2023.09.22           Litigation                Yes             214        3     214    6     Highly Confidential
David A. Minkin      2023.09.22           Litigation                Yes             214        7     214    9     Highly Confidential
David A. Minkin      2023.09.22           Litigation                Yes             214       10     214 12       Highly Confidential
David A. Minkin      2023.09.22           Litigation                Yes             214       13     214 19       Highly Confidential               802
David A. Minkin      2023.09.22           Litigation                Yes             214       20     214 22       Highly Confidential               802
David A. Minkin      2023.09.22           Litigation                Yes             214       23     215    5     Highly Confidential               802
David A. Minkin      2023.09.22           Litigation                Yes             215        6     215    7     Highly Confidential
David A. Minkin      2023.09.22           Litigation                Yes             215        8     215 10             Public                      802
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                                                 Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                        Minkin (News Corp 30(b)(6))


                                       CID or Litigation     Video of Deposition    Page      Line    Page Line Party Confidentiality as of                           Google Counter-
   Witness        Date of Deposition                                                                                                          Google Objections
                                          Deposition                (Y/N)           From      From     to   to         2024.07.03                                      Designations
David A. Minkin      2023.09.22           Litigation                 Yes             215       17     215 21             Public
David A. Minkin      2023.09.22           Litigation                 Yes             215       22     215 25             Public
David A. Minkin      2023.09.22           Litigation                 Yes             216       10     216 12             Public                     802
David A. Minkin      2023.09.22           Litigation                 Yes             216       14     216 15             Public                     802
David A. Minkin      2023.09.22           Litigation                 Yes             216       16     216 17             Public                     602
David A. Minkin      2023.09.22           Litigation                 Yes             216       19     216 19             Public                     602
David A. Minkin      2023.09.22           Litigation                 Yes             217        7     217   9      Highly Confidential              802
David A. Minkin      2023.09.22           Litigation                 Yes             217       10     217 11       Highly Confidential              802
David A. Minkin      2023.09.22           Litigation                 Yes             217       20     217 24       Highly Confidential            701, 802

                                                                                                                                                                      219:17-21; 220:5-7;
David A. Minkin      2023.09.22            Litigation                Yes             217        25     218    23       Highly Confidential      402, 602, 701          220:9; 220:12-24;
                                                                                                                                                                    221:2-11; 222:15-223:5

David A. Minkin      2023.09.22            Litigation                Yes             223        18     223    21              Public
David A. Minkin      2023.09.22            Litigation                Yes             223        22     224     3              Public
                                                                                                                                                                     224:8-10: 224:15-19;
David A. Minkin      2023.09.22            Litigation                Yes             224        4      224    7               Public
                                                                                                                                                                      224:20-24; 225:2-4
David A. Minkin      2023.09.22            Litigation                Yes             225         5     225    14             Public
David A. Minkin      2023.09.22            Litigation                Yes             225        15     225    17             Public
David A. Minkin      2023.09.22            Litigation                Yes             225        21     225    22             Public
David A. Minkin      2023.09.22            Litigation                Yes             225        23     225    24             Public
David A. Minkin      2023.09.22            Litigation                Yes             226        3      226     4             Public
David A. Minkin      2023.09.22            Litigation                Yes             226        11     226    13             Public
David A. Minkin      2023.09.22            Litigation                Yes             226        15     226    15       Highly Confidential                           226:16-22; 227:8-17
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                                                Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                                          Mohan CID (Google)



                                  CID or Litigation       Video of Deposition                                                 Party Confidentiality as of                       Google Counter-
 Witness     Date of Deposition                                                  Page From Line From Page to Line to                                        Google Objections
                                     Deposition                  (Y/N)                                                               2024.07.03                                  Designations
Neal Mohan      2020.11.19              CID                       Yes                 11          14         11       21         Highly Confidential
Neal Mohan      2020.11.19              CID                       Yes                 15          18         20       22         Highly Confidential
Neal Mohan      2020.11.19              CID                       Yes                 28          16         28       23         Highly Confidential
Neal Mohan      2020.11.19              CID                       Yes                 94           3         94       16         Highly Confidential
Neal Mohan      2020.11.19              CID                       Yes                 95           7         95       18         Highly Confidential
Neal Mohan      2020.11.19              CID                       Yes                115          17        116       25         Highly Confidential            402, 602
Neal Mohan      2020.11.19              CID                       Yes                142           2        146       19         Highly Confidential
Neal Mohan      2020.11.19              CID                       Yes                146          20        147       12         Highly Confidential
Neal Mohan      2020.11.19              CID                       Yes                149          16        150        8         Highly Confidential
Neal Mohan      2020.11.19              CID                       Yes                150           9        151        1         Highly Confidential
Neal Mohan      2020.11.19              CID                       Yes                151           2        151       10         Highly Confidential
Neal Mohan      2020.11.19              CID                       Yes                201          23        202        5         Highly Confidential
Neal Mohan      2020.11.19              CID                       Yes                209           9        209       17         Highly Confidential
Neal Mohan      2020.11.19              CID                       Yes                246          20        247        5         Highly Confidential              402
Neal Mohan      2020.11.19              CID                       Yes                259          16        260        1         Highly Confidential              402            260:2-261:14
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                                                             Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                                         Mohan (Google)


                                                                  Video of Deposition                                                  Party Confidentiality as of                       Google Counter-
 Witness     Date of Deposition   CID or Litigation Deposition                           Page From Line From Page to Line to                                         Google Objections
                                                                         (Y/N)                                                                2024.07.03                                  Designations
Neal Mohan      2023.10.30                 Litigation                     Yes                 11          19         11       23              Confidential
Neal Mohan      2023.10.30                 Litigation                     Yes                 45          24         47       5               Confidential
Neal Mohan      2023.10.30                 Litigation                     Yes                 47           8         47       19              Confidential
Neal Mohan      2023.10.30                 Litigation                     Yes                 51          19         51       24                Public
Neal Mohan      2023.10.30                 Litigation                     Yes                 52           4         52       12                Public
Neal Mohan      2023.10.30                 Litigation                     Yes                 66           9         66       10              Confidential
Neal Mohan      2023.10.30                 Litigation                     Yes                 66          13         67       22              Confidential
Neal Mohan      2023.10.30                 Litigation                     Yes                 92          21         92       23          Highly Confidential            402, 403
Neal Mohan      2023.10.30                 Litigation                     Yes                 93           2         93        6          Highly Confidential            402, 403
Neal Mohan      2023.10.30                 Litigation                     Yes                 93           9         93       11          Highly Confidential            402, 403
Neal Mohan      2023.10.30                 Litigation                     Yes                 94          18         94       19          Highly Confidential            402, 403
Neal Mohan      2023.10.30                 Litigation                     Yes                 94          22         95        7          Highly Confidential            402, 403
Neal Mohan      2023.10.30                 Litigation                     Yes                 95          10         95       11          Highly Confidential            402, 403
Neal Mohan      2023.10.30                 Litigation                     Yes                100          16        100       18          Highly Confidential            402, 403
Neal Mohan      2023.10.30                 Litigation                     Yes                100          21        101       11          Highly Confidential            402, 403
Neal Mohan      2023.10.30                 Litigation                     Yes                101          14        101       20          Highly Confidential            402, 403
Neal Mohan      2023.10.30                 Litigation                     Yes                101          23        102        4          Highly Confidential            402, 403
Neal Mohan      2023.10.30                 Litigation                     Yes                102           7        102       14          Highly Confidential            402, 403
Neal Mohan      2023.10.30                 Litigation                     Yes                102          17        102       24          Highly Confidential            402, 403
Neal Mohan      2023.10.30                 Litigation                     Yes                103           3        103        7          Highly Confidential            402, 403
Neal Mohan      2023.10.30                 Litigation                     Yes                103          10        103       11          Highly Confidential            402, 403
Neal Mohan      2023.10.30                 Litigation                     Yes                119           1        119        3                Public
Neal Mohan      2023.10.30                 Litigation                     Yes                119           6        119       12                Public
Neal Mohan      2023.10.30                 Litigation                     Yes                119          15        120        9                Public
Neal Mohan      2023.10.30                 Litigation                     Yes                120          12        120       18                Public
Neal Mohan      2023.10.30                 Litigation                     Yes                120          19        121       10                Public
Neal Mohan      2023.10.30                 Litigation                     Yes                121          13        121       18                Public
Neal Mohan      2023.10.30                 Litigation                     Yes                121          21        122        4                Public
Neal Mohan      2023.10.30                 Litigation                     Yes                122           7        122       15                Public
Neal Mohan      2023.10.30                 Litigation                     Yes                122          18        124        1                Public
Neal Mohan      2023.10.30                 Litigation                     Yes                124           4        124       13                Public
Neal Mohan      2023.10.30                 Litigation                     Yes                124          16        124       23                Public
Neal Mohan      2023.10.30                 Litigation                     Yes                125           2        125        3                Public
Neal Mohan      2023.10.30                 Litigation                     Yes                163          21        164       10                Public
Neal Mohan      2023.10.30                 Litigation                     Yes                164          13        164       17                Public
Neal Mohan      2023.10.30                 Litigation                     Yes                412           4        412        4                Public
Neal Mohan      2023.10.30                 Litigation                     Yes                412           5        412       7               Confidential
Neal Mohan      2023.10.30                 Litigation                     Yes                412          10        413       8               Confidential
Neal Mohan      2023.10.30                 Litigation                     Yes                417           1        417       5               Confidential
Neal Mohan      2023.10.30                 Litigation                     Yes                417           8        417       23              Confidential
Neal Mohan      2023.10.30                 Litigation                     Yes                439          19        442        3              Confidential               402, 602
Neal Mohan      2023.10.30                 Litigation                     Yes                442           6        443        2              Confidential               402, 602
Neal Mohan      2023.10.30                 Litigation                     Yes                443           5        445        7              Confidential               402, 602
Neal Mohan      2023.10.30                 Litigation                     Yes                445          10        446        9              Confidential               402, 602
Neal Mohan      2023.10.30                 Litigation                     Yes                446          10        447        1                Public                   402, 106            447:2-5
Neal Mohan      2023.10.30                 Litigation                     Yes                479          18        480       13          Highly Confidential
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                                                             Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                                         Mohan (Google)


                                                                  Video of Deposition                                                  Party Confidentiality as of                       Google Counter-
 Witness     Date of Deposition   CID or Litigation Deposition                           Page From Line From Page to Line to                                         Google Objections
                                                                         (Y/N)                                                                2024.07.03                                  Designations
Neal Mohan      2023.10.30                 Litigation                     Yes                489           5        489        8              Confidential                 602
Neal Mohan      2023.10.30                 Litigation                     Yes                489          11        489       21              Confidential                 602
Neal Mohan      2023.10.30                 Litigation                     Yes                489          22        490        7                Public
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                                                Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                                  O'Kelley (Xandr)


                                      CID or Litigation     Video of Deposition     Page      Line    Page   Line Party Confidentiality as                         Google Counter-
   Witness       Date of Deposition                                                                                                          Google Objections
                                         Deposition               (Y/N)             From      From     to     to       of 2024.07.03                                Designations
Brian O'Kelley      2023.09.29           Litigation                 Yes              11         4      11      6           Public
Brian O'Kelley      2023.09.29           Litigation                 Yes              13        18      14     15           Public
Brian O'Kelley      2023.09.29           Litigation                 Yes              22         8      22     24           Public
Brian O'Kelley      2023.09.29           Litigation                 Yes              28        17      28     19           Public
Brian O'Kelley      2023.09.29           Litigation                 Yes              28        22      29      5           Public
Brian O'Kelley      2023.09.29           Litigation                 Yes              29         8      30      8           Public
Brian O'Kelley      2023.09.29           Litigation                 Yes              31         1      32      7           Public
Brian O'Kelley      2023.09.29           Litigation                 Yes              34         8      34     10           Public                                     32:8-32:10
Brian O'Kelley      2023.09.29           Litigation                 Yes              34        14      35      9           Public
Brian O'Kelley      2023.09.29           Litigation                 Yes              37         8      37     15           Public
Brian O'Kelley      2023.09.29           Litigation                 Yes              40        12      42      9           Public
Brian O'Kelley      2023.09.29           Litigation                 Yes              52        11      52     14           Public
Brian O'Kelley      2023.09.29           Litigation                 Yes              52        17      55     13           Public
Brian O'Kelley      2023.09.29           Litigation                 Yes              64         9      64     11           Public
Brian O'Kelley      2023.09.29           Litigation                 Yes              64        15      65      6           Public                                    205:18-205:22
Brian O'Kelley      2023.09.29           Litigation                 Yes              69        11      69     18           Public
Brian O'Kelley      2023.09.29           Litigation                 Yes              69        21      71      9           Public
Brian O'Kelley      2023.09.29           Litigation                 Yes              72        13      72     16           Public
                                                                                                                                                                 273:12-273:15; 273:18-
                                                                                                                                                                 273:18; 273:20-273:24;
Brian O'Kelley      2023.09.29            Litigation                Yes               72       20      74     15             Public                               296:4-296:13; 298:3-
                                                                                                                                                                 298:10; 298:13-299:17;
                                                                                                                                                                      299:24-300:9
Brian O'Kelley      2023.09.29            Litigation                Yes               74       17      74     19             Public            701, 602, 611c
Brian O'Kelley      2023.09.29            Litigation                Yes               74       22      75     21             Public            701, 602, 611c         306:6-307:9
Brian O'Kelley      2023.09.29            Litigation                Yes               75       23      76     1              Public
Brian O'Kelley      2023.09.29            Litigation                Yes               76        5      76     6              Public
Brian O'Kelley      2023.09.29            Litigation                Yes               76        9      77     8              Public
Brian O'Kelley      2023.09.29            Litigation                Yes               77       10      77     14             Public
Brian O'Kelley      2023.09.29            Litigation                Yes               77       17      79     14             Public
Brian O'Kelley      2023.09.29            Litigation                Yes               79       15      79     21             Public
Brian O'Kelley      2023.09.29            Litigation                Yes               83       20      84     6              Public
Brian O'Kelley      2023.09.29            Litigation                Yes               85       18      86     2              Public              602; 701
Brian O'Kelley      2023.09.29            Litigation                Yes               86        3      86     5              Public
Brian O'Kelley      2023.09.29            Litigation                Yes               86        6      86     8              Public
Brian O'Kelley      2023.09.29            Litigation                Yes               86       11      86     18             Public
Brian O'Kelley      2023.09.29            Litigation                Yes               86       20      86     23             Public              602; 701
Brian O'Kelley      2023.09.29            Litigation                Yes               87        3      88     17             Public              602; 701
Brian O'Kelley      2023.09.29            Litigation                Yes               88       18      90     6              Public
Brian O'Kelley      2023.09.29            Litigation                Yes               90        9      90     11             Public            602; 701; 611c
Brian O'Kelley      2023.09.29            Litigation                Yes               90       14      90     22             Public            602; 701; 611c
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                                                Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                                  O'Kelley (Xandr)


                                      CID or Litigation     Video of Deposition     Page      Line    Page   Line Party Confidentiality as                         Google Counter-
   Witness       Date of Deposition                                                                                                          Google Objections
                                         Deposition               (Y/N)             From      From     to     to       of 2024.07.03                                Designations
Brian O'Kelley      2023.09.29           Litigation                 Yes              91         9      91     13           Public
Brian O'Kelley      2023.09.29           Litigation                 Yes               91       16      91     20           Public                                93:5-93:9; 93:12-93:14
Brian O'Kelley      2023.09.29           Litigation                 Yes               93       23      94      2           Public                602, 701
Brian O'Kelley      2023.09.29           Litigation                 Yes              94         5      95     18           Public                602, 701
Brian O'Kelley      2023.09.29           Litigation                 Yes               95       20      98      6           Public                602, 701
Brian O'Kelley      2023.09.29           Litigation                 Yes              98         7      98     11           Public                602, 701
Brian O'Kelley      2023.09.29           Litigation                 Yes               98       14      99      4           Public                602, 701
Brian O'Kelley      2023.09.29           Litigation                 Yes              99         6      99      7           Public
Brian O'Kelley      2023.09.29           Litigation                 Yes               99       10      99     11           Public
Brian O'Kelley      2023.09.29           Litigation                 Yes              100        9     100     12           Public
Brian O'Kelley      2023.09.29           Litigation                 Yes              100       13     100     17           Public
Brian O'Kelley      2023.09.29           Litigation                 Yes              100       20     101     10           Public
Brian O'Kelley      2023.09.29           Litigation                 Yes              101       12     101     13           Public                602; 701
Brian O'Kelley      2023.09.29           Litigation                 Yes              101       16     101     16           Public                602; 701
Brian O'Kelley      2023.09.29           Litigation                 Yes              101       18     101     22           Public                611c, 701
                                                                                                                                                                 103:8-103:9; 103:12-
Brian O'Kelley      2023.09.29            Litigation                Yes               102       1     103      6             Public              611c, 701
                                                                                                                                                                        104:3
Brian O'Kelley      2023.09.29            Litigation                Yes               105       9     105     11             Public              602; 701
Brian O'Kelley      2023.09.29            Litigation                Yes               105      14     106     12             Public              602; 701
Brian O'Kelley      2023.09.29            Litigation                Yes               107       4     107      8             Public            602; 701; 611c
Brian O'Kelley      2023.09.29            Litigation                Yes               107      13     107     15             Public            602; 701; 611c
Brian O'Kelley      2023.09.29            Litigation                Yes               107      18     107     18             Public            602; 701; 611c
Brian O'Kelley      2023.09.29            Litigation                Yes               107      20     108     17             Public              602; 701
Brian O'Kelley      2023.09.29            Litigation                Yes               108      18     108     20             Public            602; 701; 611c
Brian O'Kelley      2023.09.29            Litigation                Yes               108      23     109      2             Public            602; 701; 611c
Brian O'Kelley      2023.09.29            Litigation                Yes               109       4     109     14             Public              602; 701            270:3-5; 270:8
Brian O'Kelley      2023.09.29            Litigation                Yes               109      18     109     21             Public            602; 701; 611c
Brian O'Kelley      2023.09.29            Litigation                Yes               109      23     110     10             Public            602; 701; 611c
Brian O'Kelley      2023.09.29            Litigation                Yes               110      12     110     16             Public
Brian O'Kelley      2023.09.29            Litigation                Yes               110      17     110     20             Public
Brian O'Kelley      2023.09.29            Litigation                Yes               110      23     111     5              Public
Brian O'Kelley      2023.09.29            Litigation                Yes               111       7     111     9              Public              602; 701
Brian O'Kelley      2023.09.29            Litigation                Yes               111      12     112     17             Public              602; 701
Brian O'Kelley      2023.09.29            Litigation                Yes               112      19     114      2             Public              701, 602
Brian O'Kelley      2023.09.29            Litigation                Yes               114       3     114      5             Public              701, 602
Brian O'Kelley      2023.09.29            Litigation                Yes               114       8     114     11             Public              701, 602
Brian O'Kelley      2023.09.29            Litigation                Yes               114      13     114     13             Public              701, 602
Brian O'Kelley      2023.09.29            Litigation                Yes               114      17     116      8             Public              701, 602
Brian O'Kelley      2023.09.29            Litigation                Yes               116      10     116     13             Public              701, 602
Brian O'Kelley      2023.09.29            Litigation                Yes               116      16     118      8             Public            701, 602, 802
Brian O'Kelley      2023.09.29            Litigation                Yes               118       9     118     10             Public                 802
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                                                Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                                    O'Kelley (Xandr)


                                      CID or Litigation     Video of Deposition     Page      Line    Page   Line Party Confidentiality as                           Google Counter-
   Witness       Date of Deposition                                                                                                          Google Objections
                                         Deposition               (Y/N)             From      From     to     to       of 2024.07.03                                  Designations
Brian O'Kelley      2023.09.29           Litigation                 Yes              118       13     118     20           Public                   802
Brian O'Kelley      2023.09.29           Litigation                 Yes              119       10     119     11           Public                701, 602
Brian O'Kelley      2023.09.29           Litigation                 Yes              119       14     119     18           Public              701, 602, 802
Brian O'Kelley      2023.09.29           Litigation                 Yes              119       20     121      1           Public                701, 802
Brian O'Kelley      2023.09.29           Litigation                 Yes              121        2     121      3           Public                701, 602
                                                                                                                                                                     296:4-13; 298:3-10;
                                                                                                                                                                   298:13-299:10; 299:12-
Brian O'Kelley      2023.09.29            Litigation                Yes               121       6     122      1             Public              701, 602
                                                                                                                                                                  17; 299:24-300:9; 306:6-
                                                                                                                                                                            307:9
Brian O'Kelley      2023.09.29            Litigation                Yes               122       3     122      7             Public               701, 602
Brian O'Kelley      2023.09.29            Litigation                Yes               122      10     122     18             Public               701, 602
Brian O'Kelley      2023.09.29            Litigation                Yes               122      20     122     23             Public               701, 602
Brian O'Kelley      2023.09.29            Litigation                Yes               123       2     123      4             Public               701, 602
Brian O'Kelley      2023.09.29            Litigation                Yes               123       6     123     21             Public               701, 602
Brian O'Kelley      2023.09.29            Litigation                Yes               123      22     123     22             Public               701, 602
Brian O'Kelley      2023.09.29            Litigation                Yes               124       1     125     11             Public               701, 602
Brian O'Kelley      2023.09.29            Litigation                Yes               125      13     126     19             Public               701, 802
Brian O'Kelley      2023.09.29            Litigation                Yes               126      20     126     21             Public               701, 602
Brian O'Kelley      2023.09.29            Litigation                Yes               126      24     128      8             Public               701, 602
Brian O'Kelley      2023.09.29            Litigation                Yes               131       5     131      6             Public            701, 602, 802
Brian O'Kelley      2023.09.29            Litigation                Yes               131       9     133     13             Public            701, 602, 802
Brian O'Kelley      2023.09.29            Litigation                Yes               133      15     133     16             Public          701, 602, 103, 802
Brian O'Kelley      2023.09.29            Litigation                Yes               133      19     135      4             Public          701, 602, 103, 802
Brian O'Kelley      2023.09.29            Litigation                Yes               136      19     136     22             Public
Brian O'Kelley      2023.09.29            Litigation                Yes               137       1     138      3             Public            602, 701, 802
Brian O'Kelley      2023.09.29            Litigation                Yes               139       8     139     11             Public
Brian O'Kelley      2023.09.29            Litigation                Yes               139      14     140      2             Public              602, 701
Brian O'Kelley      2023.09.29            Litigation                Yes               140       4     140     6              Public
Brian O'Kelley      2023.09.29            Litigation                Yes               140      10     140     10             Public
Brian O'Kelley      2023.09.29            Litigation                Yes               140      13     140     14             Public
Brian O'Kelley      2023.09.29            Litigation                Yes               140      16     142     1              Public
Brian O'Kelley      2023.09.29            Litigation                Yes               143      22     144      4             Public            103, 602, 701
Brian O'Kelley      2023.09.29            Litigation                Yes               144       8     144     15             Public              602, 701
Brian O'Kelley      2023.09.29            Litigation                Yes               145      19     146      1             Public            602, 701, 611c
Brian O'Kelley      2023.09.29            Litigation                Yes               146       4     146      6             Public              602, 701
Brian O'Kelley      2023.09.29            Litigation                Yes               146       8     146      8             Public              602, 701
Brian O'Kelley      2023.09.29            Litigation                Yes               146      11     151      4             Public              602, 701
Brian O'Kelley      2023.09.29            Litigation                Yes                         6     151     7              Public              602, 701
Brian O'Kelley      2023.09.29            Litigation                Yes               151      10     152     15             Public            602, 701, 611c
Brian O'Kelley      2023.09.29            Litigation                Yes               152      16     152     18             Public              602, 701
Brian O'Kelley      2023.09.29            Litigation                Yes               152      22     153      6             Public              602, 701
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                                                Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                                  O'Kelley (Xandr)


                                      CID or Litigation     Video of Deposition     Page      Line    Page   Line Party Confidentiality as                         Google Counter-
   Witness       Date of Deposition                                                                                                          Google Objections
                                         Deposition               (Y/N)             From      From     to     to       of 2024.07.03                                Designations
Brian O'Kelley      2023.09.29           Litigation                 Yes              153        8     153     24           Public                  701
Brian O'Kelley      2023.09.29           Litigation                 Yes              154        1     154      2           Public                602, 701
Brian O'Kelley      2023.09.29           Litigation                 Yes              154        5     155      1           Public                602, 701
Brian O'Kelley      2023.09.29           Litigation                 Yes              155        3     155     6            Public                  602
Brian O'Kelley      2023.09.29           Litigation                 Yes              155        9     155     12           Public                  602
Brian O'Kelley      2023.09.29           Litigation                 Yes              155       14     155     17           Public                  602
Brian O'Kelley      2023.09.29           Litigation                 Yes              155       20     155     21           Public                  602
Brian O'Kelley      2023.09.29           Litigation                 Yes              155       23     156      4           Public                602, 701
Brian O'Kelley      2023.09.29           Litigation                 Yes              156        8     157     16           Public                602, 701
                                                                                                                                                                 273:12-273:15; 273:18-
Brian O'Kelley      2023.09.29            Litigation                 Yes              159       3     160     17             Public              602, 701
                                                                                                                                                                 273:18; 273:20-273:24
Brian O'Kelley      2023.09.29            Litigation                Yes               161      6      161     8              Public
Brian O'Kelley      2023.09.29            Litigation                Yes               161      11     161     11             Public
                                                                                                                                                                 161:20-161:22; 162:1-
Brian O'Kelley      2023.09.29            Litigation                Yes               161      13     161     19             Public                               162:2; 162:4-162:6;
                                                                                                                                                                    162:10-162:24
Brian O'Kelley      2023.09.29            Litigation                Yes               163       9     163     11             Public              602, 701
Brian O'Kelley      2023.09.29            Litigation                Yes               163      14     163     14             Public              602, 701
Brian O'Kelley      2023.09.29            Litigation                Yes               163      17     165     11             Public              602, 701
Brian O'Kelley      2023.09.29            Litigation                Yes               165      21     166     11             Public
                                                                                                                                                                  167:7-167:9; 167:12-
Brian O'Kelley      2023.09.29            Litigation                Yes               167      19     167     21             Public                802
                                                                                                                                                                         167:17
Brian O'Kelley      2023.09.29            Litigation                Yes               167      24     168     20             Public                802
Brian O'Kelley      2023.09.29            Litigation                Yes               169      20     169     22             Public
Brian O'Kelley      2023.09.29            Litigation                Yes               170       1     170     18             Public
Brian O'Kelley      2023.09.29            Litigation                Yes               170      20     170     22             Public
Brian O'Kelley      2023.09.29            Litigation                Yes               171      1      171     1              Public
Brian O'Kelley      2023.09.29            Litigation                Yes               172      13     173      2             Public                611c
Brian O'Kelley      2023.09.29            Litigation                Yes               173       6     174     12             Public
Brian O'Kelley      2023.09.29            Litigation                Yes               175      18     175     21             Public
Brian O'Kelley      2023.09.29            Litigation                Yes               176      1      176     1              Public
Brian O'Kelley      2023.09.29            Litigation                Yes               176       4     176     13             Public
Brian O'Kelley      2023.09.29            Litigation                Yes               176      15     176     20             Public              611c, 602
Brian O'Kelley      2023.09.29            Litigation                Yes               176      23     177      9             Public                602
Brian O'Kelley      2023.09.29            Litigation                Yes               177      11     177     14             Public              602, 701
Brian O'Kelley      2023.09.29            Litigation                Yes               177      17     179      7             Public              602, 701
Brian O'Kelley      2023.09.29            Litigation                Yes               180      21     180     24             Public
Brian O'Kelley      2023.09.29            Litigation                Yes               181       3     181     21             Public
Brian O'Kelley      2023.09.29            Litigation                Yes               181      23     182      1             Public              611c, 701
Brian O'Kelley      2023.09.29            Litigation                Yes               182       4     182     16             Public                701
Brian O'Kelley      2023.09.29            Litigation                Yes               182      18     182     19             Public              602, 701
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                                                Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                                     O'Kelley (Xandr)


                                      CID or Litigation     Video of Deposition     Page      Line    Page   Line Party Confidentiality as                            Google Counter-
   Witness       Date of Deposition                                                                                                          Google Objections
                                         Deposition               (Y/N)             From      From     to     to       of 2024.07.03                                   Designations
Brian O'Kelley      2023.09.29           Litigation                 Yes              182       22     183     2            Public                   701
Brian O'Kelley      2023.09.29           Litigation                 Yes              183        4     183      5           Public                 602, 701
Brian O'Kelley      2023.09.29           Litigation                 Yes              183        8     183     21           Public                 602, 701

                                                                                                                                             802, 701 (189:7-17)
Brian O'Kelley      2023.09.29            Litigation                Yes               189       7     190     10             Public          602, 701 (189:17-23)
                                                                                                                                             602 (189:24-190:10)

Brian O'Kelley      2023.09.29            Litigation                Yes               190      11     190     14             Public
Brian O'Kelley      2023.09.29            Litigation                Yes               190      17     192     21             Public               802, 805
Brian O'Kelley      2023.09.29            Litigation                Yes               249      12     249     16             Public
Brian O'Kelley      2023.09.29            Litigation                Yes               249      19     250      6             Public                                     250:8-251:11
Brian O'Kelley      2023.09.29            Litigation                Yes               333      16     334     12             Public
                                                                                                                                                                    216:10-216:14; 216:18-
                                                                                                                                                                      216:23; 217:3-217:5
                                                                                                                                                                      227:5-227:8; 227:11-
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                                                                                                                                                                     230:18-231:2; 231:10-
                                                                                                                                                                             231:19
                                                                                                                                                                     236:8-236:10; 236:23-
                                                                                                                                                                      236:24; 238:6-238:9;
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                                                                                                                                                                             239:18
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                                    CID or Litigation        Video of          Page      Line    Page Line      Party Confidentiality as of                             Google Counter-
  Witness      Date of Deposition                                                                                                              Google Objections
                                       Deposition         Deposition (Y/N)     From      From     to   to              2024.07.03                                        Designations
Aparna Pappu      2023.08.11           Litigation               Yes              4        13       4   15              Confidential
Aparna Pappu      2023.08.11           Litigation               Yes             11        11      11   19              Confidential
Aparna Pappu      2023.08.11           Litigation               Yes             18         6      18   17                Public
Aparna Pappu      2023.08.11           Litigation               Yes             22        12      22   23              Confidential                                         22:24-23:7
Aparna Pappu      2023.08.11           Litigation               Yes             23        19      24   23              Confidential
Aparna Pappu      2023.08.11           Litigation               Yes             28         2      28   23              Confidential
Aparna Pappu      2023.08.11           Litigation               Yes             28        24      29    8              Confidential
Aparna Pappu      2023.08.11           Litigation               Yes             29        11      30   11              Confidential
Aparna Pappu      2023.08.11           Litigation               Yes             36         3      38   20              Confidential                 402, 403
                                                                                                                                                                       38:21-39:16; 39:23-
Aparna Pappu      2023.08.11            Litigation              Yes             39        17       39     22           Confidential
                                                                                                                                                                              40:25
Aparna Pappu      2023.08.11            Litigation              Yes             44        15       45     6            Confidential                                   43:5-44:14; 45:7-46:4
                                                                                                                                              602 (60:18-19; 60:22-
Aparna Pappu      2023.08.11            Litigation              Yes             58        10       61     22        Highly Confidential                                      51:7-19
                                                                                                                                                      61:6)
Aparna Pappu      2023.08.11            Litigation              Yes              86       24       88     5            Confidential                                            86:14-23
                                                                                                                                                                        88:6; 88:9-11; 88:23;
Aparna Pappu      2023.08.11            Litigation              Yes              88       17       88     22              Public
                                                                                                                                                                                89:2-3
                                                                                                                                                                          108:4-5; 108:8-9;
Aparna Pappu      2023.08.11            Litigation              Yes             108       10      108     16              Public                      602
                                                                                                                                                                              108:17-25
                                                                                                                                                                          112:8-19; 112:22-
Aparna Pappu      2023.08.11            Litigation              Yes             111       22      112     7            Confidential
                                                                                                                                                                                113:11
Aparna Pappu      2023.08.11            Litigation              Yes             113       12      113     16           Confidential                                    115:4-6; 115:9-116:10
                                                                                                                                                602 (117:10-12;         118:6-7; 118:10-17;
Aparna Pappu      2023.08.11            Litigation              Yes             116       17      118     5            Confidential
                                                                                                                                                  117:13-18)                119:3-120:7
                                                                                                                                                                         45:7-46:4; 124:7-9;
                                                                                                                                                                       124:20-125:3; 128:7-
Aparna Pappu      2023.08.11            Litigation              Yes             123       20      124     6            Confidential                   602              22; 129:8-21; 130:25-
                                                                                                                                                                      132:2; 133:8-15; 134:5-
                                                                                                                                                                                  22
Aparna Pappu      2023.08.11            Litigation              Yes             137       21      139     8         Highly Confidential
Aparna Pappu      2023.08.11            Litigation              Yes             183        6      183      9           Confidential                                          182:6-5
Aparna Pappu      2023.08.11            Litigation              Yes             194        8      194     20        Highly Confidential
Aparna Pappu      2023.08.11            Litigation              Yes             195       20      196     2            Confidential
                                                                                                                                                                      196:23-197:7; 197:12-
Aparna Pappu      2023.08.11            Litigation              Yes             196       12      196     22        Highly Confidential
                                                                                                                                                                               23
Aparna Pappu      2023.08.11            Litigation              Yes             201       10      202     6         Highly Confidential
                                                                                                                                               602 (203:22-204:2;
Aparna Pappu      2023.08.11            Litigation              Yes             202        9      204     10           Confidential
                                                                                                                                                    204:3-6)
Aparna Pappu      2023.08.11            Litigation              Yes             213        8      214     25        Highly Confidential               402                   215:2-14
Aparna Pappu      2023.08.11            Litigation              Yes             227        2      228     19        Highly Confidential                                    226:17-22
                                                                                                                                                                        230:11-20; 233:4-
Aparna Pappu      2023.08.11            Litigation              Yes             230       21      230     25        Highly Confidential
                                                                                                                                                                             234:20
Aparna Pappu      2023.08.11            Litigation              Yes             237        2      237     7         Highly Confidential                                     236:9-25
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                                    CID or Litigation        Video of          Page      Line    Page Line      Party Confidentiality as of                            Google Counter-
  Witness      Date of Deposition                                                                                                             Google Objections
                                       Deposition         Deposition (Y/N)     From      From     to   to              2024.07.03                                        Designations
                                                                                                                                                                      243:11-21; 243:24-
Aparna Pappu      2023.08.11            Litigation              Yes             241       14      243     10           Confidential             602 (242:14-19)
                                                                                                                                                                             244:3
                                                                                                                                              602 (246:24-247:5;     244:24-246:2; 247:12-
Aparna Pappu      2023.08.11            Litigation              Yes             246       24      247     11           Confidential
                                                                                                                                                  247:6-11)                   19

                                                                                                                                                     602, 701
                                                                                                                                               (251:5-8; 251:9-11;
Aparna Pappu      2023.08.11            Litigation              Yes             249       24      252     16           Confidential            251:12-19; 251:20-        253:5-255:7
                                                                                                                                                24; 501:25-252:5;
                                                                                                                                              252:6-12; 252:13-16)

Aparna Pappu      2023.08.11            Litigation              Yes             255       22      256      9        Highly Confidential
Aparna Pappu      2023.08.11            Litigation              Yes             255       22      256     14        Highly Confidential
Aparna Pappu      2023.08.11            Litigation              Yes             256       12      256     14        Highly Confidential
Aparna Pappu      2023.08.11            Litigation              Yes             275       22      275     24              Public
Aparna Pappu      2023.08.11            Litigation              Yes             275       22      276     25           Confidential
Aparna Pappu      2023.08.11            Litigation              Yes             276        3      276     25              Public
Aparna Pappu      2023.08.11            Litigation              Yes             290        4      290     25        Highly Confidential               402
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                                             Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                              Pappu Reopen (Google)


                                    CID or Litigation    Video of Deposition     Page     Line     Page   Line Party Confidentiality as of                          Google Counter-
  Witness      Date of Deposition                                                                                                            Google Objections
                                       Deposition               (Y/N)            From     From      to     to         2024.07.03                                      Designations
                                                                                                                                                     402         23:19-24:3, 25:19-26:3,
Aparna Pappu      2023.11.02            Litigation               Yes               23        8      23     18            Confidential
                                                                                                                                              106 (23:8-23:18)        26:13-26:25
                                                                                                                                               402 (35:8-36:4)
Aparna Pappu      2023.11.02            Litigation               Yes               35        2      36     23            Confidential                            37:2-37:9, 37:10-37:12
                                                                                                                                              802 (35:8-35:13)
Aparna Pappu      2023.11.02            Litigation               Yes               55       24      56     13            Confidential
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                                                                   Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                                              Parsons (Criteo 30(b)(6))



                                                                                                                                                                                                             Google Counter-
  Witness      Date of Deposition   CID or Litigation Deposition    Video of Deposition (Y/N)    Page From Line From Page to Line to            Party Confidentiality as of 2024.07.03   Google Objections
                                                                                                                                                                                                              Designations
Todd Parsons      2023.09.08                 Litigation                        Yes                     9            7           9       11                   Highly Confidential
Todd Parsons      2023.09.08                 Litigation                        Yes                     9           12           9       15                   Highly Confidential
Todd Parsons      2023.09.08                 Litigation                        Yes                     9           16           9       19                   Highly Confidential
Todd Parsons      2023.09.08                 Litigation                        Yes                    15            8          15       11                   Highly Confidential
Todd Parsons      2023.09.08                 Litigation                        Yes                    15           12          15       14                   Highly Confidential
Todd Parsons      2023.09.08                 Litigation                        Yes                    54            5          54       14                   Highly Confidential
Todd Parsons      2023.09.08                 Litigation                        Yes                    54           15          54       21                   Highly Confidential                                54:22-55:3
Todd Parsons      2023.09.08                 Litigation                        Yes                   153           14         153       16                   Highly Confidential
Todd Parsons      2023.09.08                 Litigation                        Yes                   153           17         153       25                   Highly Confidential                                 154:2-11
Todd Parsons      2023.09.08                 Litigation                        Yes                   157           18         157       21                   Highly Confidential
Todd Parsons      2023.09.08                 Litigation                        Yes                   158           17         159       2                    Highly Confidential
Todd Parsons      2023.09.08                 Litigation                        Yes                   159            3         159       11                   Highly Confidential
Todd Parsons      2023.09.08                 Litigation                        Yes                   159           16         159       20                   Highly Confidential                               159:21-160:21
Todd Parsons      2023.09.08                 Litigation                        Yes                   160           22         161       11                   Highly Confidential
Todd Parsons      2023.09.08                 Litigation                        Yes                   161           19         161       21                   Highly Confidential                                 161:12-18
Todd Parsons      2023.09.08                 Litigation                        Yes                   162           14         162       23                   Highly Confidential
Todd Parsons      2023.09.08                 Litigation                        Yes                   162           24         163        8                   Highly Confidential                             163:23-24, 164:2
Todd Parsons      2023.09.08                 Litigation                        Yes                   170           13         170       19                   Highly Confidential
Todd Parsons      2023.09.08                 Litigation                        Yes                   170           20         170       23                   Highly Confidential
Todd Parsons      2023.09.08                 Litigation                        Yes                   170           24         171       3                    Highly Confidential
Todd Parsons      2023.09.08                 Litigation                        Yes                   171            9         171       12                   Highly Confidential
Todd Parsons      2023.09.08                 Litigation                        Yes                   171           13         171       16                   Highly Confidential
Todd Parsons      2023.09.08                 Litigation                        Yes                   172            7         172       11                   Highly Confidential
Todd Parsons      2023.09.08                 Litigation                        Yes                   173            4         173        8                   Highly Confidential
Todd Parsons      2023.09.08                 Litigation                        Yes                   173            9         173       14                   Highly Confidential
                                                                                                                                                                                                             175:15-21, 175:21-
Todd Parsons      2023.09.08                 Litigation                        Yes                   175           22         175       24                   Highly Confidential
                                                                                                                                                                                                                176:3, 176:5
Todd Parsons      2023.09.08                 Litigation                        Yes                   176            6         176        8                   Highly Confidential
Todd Parsons      2023.09.08                 Litigation                        Yes                   176            9         176       12                   Highly Confidential                             176:13-14, 176:16
Todd Parsons      2023.09.08                 Litigation                        Yes                   178            8         178       10                   Highly Confidential               611c
Todd Parsons      2023.09.08                 Litigation                        Yes                   178           13         178       15                   Highly Confidential               611c
Todd Parsons      2023.09.08                 Litigation                        Yes                   179           10         179       14                   Highly Confidential               611c
Todd Parsons      2023.09.08                 Litigation                        Yes                   179           16         179       17                   Highly Confidential               611c
Todd Parsons      2023.09.08                 Litigation                        Yes                   179           18         179       20                   Highly Confidential
Todd Parsons      2023.09.08                 Litigation                        Yes                   190           19         190       21                   Highly Confidential               611c
Todd Parsons      2023.09.08                 Litigation                        Yes                   190           23         191        5                   Highly Confidential               611c              191:6-12
Todd Parsons      2023.09.08                 Litigation                        Yes                   191           23         192        2                   Highly Confidential               611c
Todd Parsons      2023.09.08                 Litigation                        Yes                   192            4         192        4                   Highly Confidential               611c
Todd Parsons      2023.09.08                 Litigation                        Yes                   192            6         192       11                   Highly Confidential
Todd Parsons      2023.09.08                 Litigation                        Yes                   192           12         192       15                   Highly Confidential
Todd Parsons      2023.09.08                 Litigation                        Yes                   192           20         193        5                   Highly Confidential                                 193:6-15
Todd Parsons      2023.09.08                 Litigation                        Yes                   194           16         194       23                   Highly Confidential
Todd Parsons      2023.09.08                 Litigation                        Yes                   194           24         195       13                   Highly Confidential               802
                                                                                                                                                                                                             196:15-17, 196:19-
Todd Parsons      2023.09.08                 Litigation                        Yes                   195           24         196       14                   Highly Confidential               802
                                                                                                                                                                                                                     20
Todd Parsons      2023.09.08                 Litigation                        Yes                   196           21         196       24                   Highly Confidential               802
Todd Parsons      2023.09.08                 Litigation                        Yes                   197            5         199       21                   Highly Confidential               802
Todd Parsons      2023.09.08                 Litigation                        Yes                   199           12         199       18                   Highly Confidential
Todd Parsons      2023.09.08                 Litigation                        Yes                   199           19         199       21                   Highly Confidential
Todd Parsons      2023.09.08                 Litigation                        Yes                   201           12         201       15                   Highly Confidential                                 202:5-11
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                                                                                                                                                                                                              Google Counter-
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                                                                                                                                                                                                               Designations
                                                                                                                                                                                                             203:17-21, 203:25-
Todd Parsons      2023.09.08                 Litigation                        Yes                   203           22         203       24                   Highly Confidential
                                                                                                                                                                                                                   204:3
Todd Parsons      2023.09.08                 Litigation                        Yes                   204           4          204       6                    Highly Confidential
                                                                                                                                                                                                                204:25-205:3,
Todd Parsons      2023.09.08                 Litigation                        Yes                   204           7          204       11                   Highly Confidential                             205:6, 205:8, 205:10-
                                                                                                                                                                                                                      12
                                                                                                                                                                                                               207:12, 207:17,
Todd Parsons      2023.09.08                 Litigation                        Yes                   207           9          207       11                   Highly Confidential
                                                                                                                                                                                                                  207:18-23
Todd Parsons      2023.09.08                 Litigation                        Yes                   207           24         208       2                    Highly Confidential
Todd Parsons      2023.09.08                 Litigation                        Yes                   208           22         208       24                   Highly Confidential             602, 701             208:18-21
Todd Parsons      2023.09.08                 Litigation                        Yes                   208           22         208       24                   Highly Confidential             602, 701
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                                    CID or Litigation       Video of Deposition                                                 Party Confidentiality as of                          Google Counter-
 Witness      Date of Deposition                                                  Page From     Line From Page to Line to                                     Google Objections
                                       Deposition                  (Y/N)                                                               2024.07.03                                     Designations
Ryan Pauley      2023.08.23            Litigation                   Yes                 3           25           4        4              Public
Ryan Pauley      2023.08.23            Litigation                   Yes                 6           25           7       14              Public
Ryan Pauley      2023.08.23            Litigation                   Yes                 8            2           8       19              Public
Ryan Pauley      2023.08.23            Litigation                   Yes                 8           22           8       25              Public
Ryan Pauley      2023.08.23            Litigation                   Yes                 9            2           9       18              Public
Ryan Pauley      2023.08.23            Litigation                   Yes                 9           24          10        4        Highly Confidential
Ryan Pauley      2023.08.23            Litigation                   Yes                10           11          10       13              Public                      602
Ryan Pauley      2023.08.23            Litigation                   Yes                10           11          10       17        Highly Confidential          602 (10:16-17)
Ryan Pauley      2023.08.23            Litigation                   Yes                10           16          10       17        Highly Confidential               602
Ryan Pauley      2023.08.23            Litigation                   Yes                10           18          11        2              Public
Ryan Pauley      2023.08.23            Litigation                   Yes                11           10          11       12              Public                       602
Ryan Pauley      2023.08.23            Litigation                   Yes                11           15          11       21              Public                       602
Ryan Pauley      2023.08.23            Litigation                   Yes                11           24          12        7              Public                       602
Ryan Pauley      2023.08.23            Litigation                   Yes                12            8          12       15              Public
Ryan Pauley      2023.08.23            Litigation                   Yes                12           19          12       20              Public
Ryan Pauley      2023.08.23            Litigation                   Yes                12           21          12       24              Public                      602
Ryan Pauley      2023.08.23            Litigation                   Yes                13           3           13       5               Public                    602, 701
Ryan Pauley      2023.08.23            Litigation                   Yes                13            6          13       10              Public
Ryan Pauley      2023.08.23            Litigation                   Yes                13           11          13       18              Public                    602, 701
Ryan Pauley      2023.08.23            Litigation                   Yes                13           19          13       24              Public                      602
Ryan Pauley      2023.08.23            Litigation                   Yes                13           25          14        3              Public                      602
Ryan Pauley      2023.08.23            Litigation                   Yes                14           6           14       8               Public                      602
Ryan Pauley      2023.08.23            Litigation                   Yes                14            9          14       12              Public
Ryan Pauley      2023.08.23            Litigation                   Yes                14           13          14       17              Public                       602
                                                                                                                                                              602, 701 (14:20-25);
Ryan Pauley      2023.08.23             Litigation                  Yes                14           20          15       13                Public
                                                                                                                                                                 602 (15:2-13)
Ryan Pauley      2023.08.23             Litigation                  Yes                15           20          15       22               Public                    602, 701
Ryan Pauley      2023.08.23             Litigation                  Yes                15           25          16        3               Public                    602, 701
Ryan Pauley      2023.08.23             Litigation                  Yes                16           24          17        3               Public                      611c
Ryan Pauley      2023.08.23             Litigation                  Yes                17           6           17       9                Public                   611c, 602
Ryan Pauley      2023.08.23             Litigation                  Yes                17           10          17       22               Public                      402
Ryan Pauley      2023.08.23             Litigation                  Yes                17           23          17       25         Highly Confidential             402, 602
Ryan Pauley      2023.08.23             Litigation                  Yes                18            4          18       15         Highly Confidential             402, 602
Ryan Pauley      2023.08.23             Litigation                  Yes                19           2           19       3                Public
Ryan Pauley      2023.08.23             Litigation                  Yes                19            6          19        8            Confidential
Ryan Pauley      2023.08.23             Litigation                  Yes                19           18          20        5               Public
Ryan Pauley      2023.08.23             Litigation                  Yes                19           24          20        5               Public
Ryan Pauley      2023.08.23             Litigation                  Yes                21           3           21       7                Public                      602
Ryan Pauley      2023.08.23             Litigation                  Yes                21           10          21       13               Public                      602
Ryan Pauley      2023.08.23             Litigation                  Yes                21           14          21       16               Public
Ryan Pauley      2023.08.23             Litigation                  Yes                21           19          22        2         Highly Confidential        602 (21:21-22:2)
Ryan Pauley      2023.08.23             Litigation                  Yes                22           3           22       5                Public
Ryan Pauley      2023.08.23             Litigation                  Yes                22            8          22       11               Public
Ryan Pauley      2023.08.23             Litigation                  Yes                22           14          22       17               Public
Ryan Pauley      2023.08.23             Litigation                  Yes                23           17          23       20               Public
Ryan Pauley      2023.08.23             Litigation                  Yes                23           23          24        2               Public
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 Witness      Date of Deposition                                                  Page From     Line From Page to Line to                                      Google Objections
                                       Deposition                  (Y/N)                                                               2024.07.03                                       Designations
Ryan Pauley      2023.08.23            Litigation                   Yes                25           15          25       23              Public                        602
Ryan Pauley      2023.08.23            Litigation                   Yes                26           22          27        4              Public
Ryan Pauley      2023.08.23            Litigation                   Yes                27           5           27       8               Public
Ryan Pauley      2023.08.23            Litigation                   Yes                27           11          27       17              Public
Ryan Pauley      2023.08.23            Litigation                   Yes                27           18          27       24              Public
Ryan Pauley      2023.08.23            Litigation                   Yes                28           3           28       8               Public
Ryan Pauley      2023.08.23            Litigation                   Yes                28           17          28       18              Public                       602
Ryan Pauley      2023.08.23            Litigation                   Yes                28           21          28       24              Public                       602
Ryan Pauley      2023.08.23            Litigation                   Yes                29           13          29       15              Public                     602, 701
Ryan Pauley      2023.08.23            Litigation                   Yes                29           18          29       25              Public                     602, 701
Ryan Pauley      2023.08.23            Litigation                   Yes                30           14          30       16              Public                     402, 602
Ryan Pauley      2023.08.23            Litigation                   Yes                30           19          30       23              Public                     402, 602
Ryan Pauley      2023.08.23            Litigation                   Yes                31           3           31       5               Public                       602
Ryan Pauley      2023.08.23            Litigation                   Yes                31            8          31       10              Public                       602
Ryan Pauley      2023.08.23            Litigation                   Yes                31           11          31       17              Public
Ryan Pauley      2023.08.23            Litigation                   Yes                31           20          31       24              Public
Ryan Pauley      2023.08.23            Litigation                   Yes                32            3          32       11            Confidential
Ryan Pauley      2023.08.23            Litigation                   Yes                33           12          33       21              Public
Ryan Pauley      2023.08.23            Litigation                   Yes                33           22          34        8              Public
Ryan Pauley      2023.08.23            Litigation                   Yes                34            9          34       21              Public
Ryan Pauley      2023.08.23            Litigation                   Yes                34           22          35        7              Public
Ryan Pauley      2023.08.23            Litigation                   Yes                35            8          35       11              Public
Ryan Pauley      2023.08.23            Litigation                   Yes                35           12          35       14              Public
Ryan Pauley      2023.08.23            Litigation                   Yes                35           21          36        8              Public
Ryan Pauley      2023.08.23            Litigation                   Yes                36           19          36       22              Public
Ryan Pauley      2023.08.23            Litigation                   Yes                36           25          37       13              Public
Ryan Pauley      2023.08.23            Litigation                   Yes                38            3          38       14              Public                  602 (38:10-14)
Ryan Pauley      2023.08.23            Litigation                   Yes                38           17          38       21              Public                       602
Ryan Pauley      2023.08.23            Litigation                   Yes                38           22          39        4              Public                       602
Ryan Pauley      2023.08.23            Litigation                   Yes                39            7          39       11              Public                       602
Ryan Pauley      2023.08.23            Litigation                   Yes                39           14          39       17              Public
Ryan Pauley      2023.08.23            Litigation                   Yes                39           20          40        3              Public               602, 611c (39:23-40:3)
Ryan Pauley      2023.08.23            Litigation                   Yes                40            6          40        6              Public                     602, 611c
Ryan Pauley      2023.08.23            Litigation                   Yes                40           11          40       23              Public                     602, 611c
Ryan Pauley      2023.08.23            Litigation                   Yes                40           24          41       10              Public                        602
Ryan Pauley      2023.08.23            Litigation                   Yes                41           25          42        4              Public                      602, 701
                                                                                                                                                                602, 701 (42:7-9);
Ryan Pauley      2023.08.23             Litigation                  Yes                42            7          42       12                Public
                                                                                                                                                               602, 701 (42:10-12)
Ryan Pauley      2023.08.23             Litigation                  Yes                42           15          42       21                Public                    602, 701
Ryan Pauley      2023.08.23             Litigation                  Yes                43           14          43       17                Public                   602, 611c
Ryan Pauley      2023.08.23             Litigation                  Yes                43           20          43       24                Public                   602, 611c
Ryan Pauley      2023.08.23             Litigation                  Yes                45           2           45       5                 Public                    602, 701
Ryan Pauley      2023.08.23             Litigation                  Yes                45           8           45       9                 Public                    602, 701
Ryan Pauley      2023.08.23             Litigation                  Yes                49           23          50        8                Public                  402 (50:5-8)
Ryan Pauley      2023.08.23             Litigation                  Yes                50           11          50       20                Public                      402
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 Witness      Date of Deposition                                                  Page From     Line From Page to Line to                                        Google Objections
                                       Deposition                  (Y/N)                                                               2024.07.03                                          Designations
                                                                                                                                                              402, 602 (52:11-14); 402,
Ryan Pauley      2023.08.23             Litigation                  Yes                52            7          52       25                Public
                                                                                                                                                                   602 (52:17-25)
Ryan Pauley      2023.08.23             Litigation                  Yes                53            4          53       16               Public                      402, 602
Ryan Pauley      2023.08.23             Litigation                  Yes                53           19          54        2               Public                      402, 602
Ryan Pauley      2023.08.23             Litigation                  Yes                54            3          54       11               Public                         602
Ryan Pauley      2023.08.23             Litigation                  Yes                54           14          54       17               Public                         602
Ryan Pauley      2023.08.23             Litigation                  Yes                54           18          54       20               Public                         602
Ryan Pauley      2023.08.23             Litigation                  Yes                54           23          55        3               Public                         602
Ryan Pauley      2023.08.23             Litigation                  Yes                55            6          55       10               Public                         602
Ryan Pauley      2023.08.23             Litigation                  Yes                56           5           56       9                Public                        611c
Ryan Pauley      2023.08.23             Litigation                  Yes                57           3           57       6                Public                      402, 602
Ryan Pauley      2023.08.23             Litigation                  Yes                57            9          57       13               Public                      402, 602
Ryan Pauley      2023.08.23             Litigation                  Yes                59           4           59       7                Public
Ryan Pauley      2023.08.23             Litigation                  Yes                59           12          59       18               Public
Ryan Pauley      2023.08.23             Litigation                  Yes                59           19          59       22               Public
Ryan Pauley      2023.08.23             Litigation                  Yes                59           25          60        5               Public
Ryan Pauley      2023.08.23             Litigation                  Yes                60            6          60       18               Public
Ryan Pauley      2023.08.23             Litigation                  Yes                60           19          61        3               Public
Ryan Pauley      2023.08.23             Litigation                  Yes                61            4          61       14         Highly Confidential
Ryan Pauley      2023.08.23             Litigation                  Yes                61           15          62       11               Public                  602 (61:15-23)
Ryan Pauley      2023.08.23             Litigation                  Yes                62           12          62       17               Public                       611c
Ryan Pauley      2023.08.23             Litigation                  Yes                62           20          62       20               Public                       611c
Ryan Pauley      2023.08.23             Litigation                  Yes                62           21          62       22               Public                       403
Ryan Pauley      2023.08.23             Litigation                  Yes                62           23          63        7               Public                       403
Ryan Pauley      2023.08.23             Litigation                  Yes                63            8          63       24               Public                       602
                                                                                                                                                                 602 (63:25-64:6);
Ryan Pauley      2023.08.23             Litigation                  Yes                63           25          64       12                Public
                                                                                                                                                                  611c (64:7-12)
Ryan Pauley      2023.08.23             Litigation                  Yes                64           13          64       21                Public                      602
Ryan Pauley      2023.08.23             Litigation                  Yes                65           3           65       7                 Public
Ryan Pauley      2023.08.23             Litigation                  Yes                65           15          65       19                Public                     602, 611c
Ryan Pauley      2023.08.23             Litigation                  Yes                65           22          65       24                Public                     602, 611c
Ryan Pauley      2023.08.23             Litigation                  Yes                65           25          66        6                Public                        602
Ryan Pauley      2023.08.23             Litigation                  Yes                66            9          66       24                Public                        602
Ryan Pauley      2023.08.23             Litigation                  Yes                66           25          67        3                Public                   402, 602, 701
                                                                                                                                                                402, 602, 701 (67:6);
Ryan Pauley      2023.08.23             Litigation                  Yes                67            6          67       12                Public
                                                                                                                                                               402, 602, 701 (67:7-12)
                                                                                                                                                                   602 (68:11-15)
Ryan Pauley      2023.08.23             Litigation                  Yes                67           13          68       18         Highly Confidential
                                                                                                                                                              402, 602, 701 (68:16-18)
                                                                                                                                                                402, 602, 701 (68:21 -
Ryan Pauley      2023.08.23             Litigation                  Yes                68           21          69       11                Public                       69:6);
                                                                                                                                                                 602, 611c (69:7-11)
                                                                                                                                                                602, 611c (69:14-16)
Ryan Pauley      2023.08.23             Litigation                  Yes                69           14          69       25                Public
                                                                                                                                                                   602 (69:17-25)
Ryan Pauley      2023.08.23             Litigation                  Yes                70           2           70       18         Highly Confidential             602 (70:8-18)
Ryan Pauley      2023.08.23             Litigation                  Yes                70           19          70       23               Public                602, 611c (70:19-23)
Ryan Pauley      2023.08.23             Litigation                  Yes                71           2           71       12               Public                         602
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                                    CID or Litigation       Video of Deposition                                                 Party Confidentiality as of                         Google Counter-
 Witness      Date of Deposition                                                  Page From     Line From Page to Line to                                     Google Objections
                                       Deposition                  (Y/N)                                                               2024.07.03                                    Designations
Ryan Pauley      2023.08.23            Litigation                   Yes                71           15          71       22              Public                      602
Ryan Pauley      2023.08.23            Litigation                   Yes                72            2          72       10              Public
Ryan Pauley      2023.08.23            Litigation                   Yes                72           18          72       21              Public
Ryan Pauley      2023.08.23            Litigation                   Yes                72           24          73        8              Public                  602 (73:4-8)
Ryan Pauley      2023.08.23            Litigation                   Yes                73           10          73       25        Highly Confidential          602 (73:10-14)
Ryan Pauley      2023.08.23            Litigation                   Yes                74           16          74       22              Public
Ryan Pauley      2023.08.23            Litigation                   Yes                74           25          75        7              Public
Ryan Pauley      2023.08.23            Litigation                   Yes                75           20          75       23              Public
Ryan Pauley      2023.08.23            Litigation                   Yes                76           2           76       5               Public
Ryan Pauley      2023.08.23            Litigation                   Yes                76           13          76       15              Public                      602
Ryan Pauley      2023.08.23            Litigation                   Yes                76           18          77        5              Public                      602
Ryan Pauley      2023.08.23            Litigation                   Yes                77            8          77       13              Public                      602
Ryan Pauley      2023.08.23            Litigation                   Yes                77           19          77       23              Public                      602
Ryan Pauley      2023.08.23            Litigation                   Yes                78            2          78       11              Public                      602
Ryan Pauley      2023.08.23            Litigation                   Yes                79           3           79       4               Public
Ryan Pauley      2023.08.23            Litigation                   Yes                79            7          79       15              Public
Ryan Pauley      2023.08.23            Litigation                   Yes                80           8           80       9               Public
Ryan Pauley      2023.08.23            Litigation                   Yes                80           12          80       15              Public
                                                                                                                                                               611c (80:20-21)
Ryan Pauley      2023.08.23             Litigation                  Yes                80           18          81        2                Public
                                                                                                                                                              611c (80:23 - 81:2)
Ryan Pauley      2023.08.23             Litigation                  Yes                81            5          81       10               Public                     611c           81:11-14; 81:17-19
Ryan Pauley      2023.08.23             Litigation                  Yes                81           20          81       23               Public
Ryan Pauley      2023.08.23             Litigation                  Yes                82           2           82       3                Public
Ryan Pauley      2023.08.23             Litigation                  Yes                82           12          82       19               Public
Ryan Pauley      2023.08.23             Litigation                  Yes                83           17          83       22         Highly Confidential              611c
Ryan Pauley      2023.08.23             Litigation                  Yes                83           25          84        4               Public
Ryan Pauley      2023.08.23             Litigation                  Yes                84           21          84       24               Public                402, 602, 611c
Ryan Pauley      2023.08.23             Litigation                  Yes                85            3          85       11               Public                402, 602, 611c
Ryan Pauley      2023.08.23             Litigation                  Yes                85           14          85       18               Public                402, 602, 611c
Ryan Pauley      2023.08.23             Litigation                  Yes                86           17          86       20               Public
Ryan Pauley      2023.08.23             Litigation                  Yes                86           23          87        5               Public
Ryan Pauley      2023.08.23             Litigation                  Yes                87            6          87       13               Public                602 (87:11-13)
Ryan Pauley      2023.08.23             Litigation                  Yes                87           16          87       21               Public                 602 (87:16)
Ryan Pauley      2023.08.23             Litigation                  Yes                87           22          87       23               Public                     602
Ryan Pauley      2023.08.23             Litigation                  Yes                88            2          88       10               Public                     602
Ryan Pauley      2023.08.23             Litigation                  Yes                88           13          88       19               Public                     602
Ryan Pauley      2023.08.23             Litigation                  Yes                91           22          91       25               Public
Ryan Pauley      2023.08.23             Litigation                  Yes                92            4          92       10               Public
Ryan Pauley      2023.08.23             Litigation                  Yes                94           22          95        3               Public                     403
Ryan Pauley      2023.08.23             Litigation                  Yes                95           6           95       9                Public                     403
Ryan Pauley      2023.08.23             Litigation                  Yes                95           16          95       18               Public                     602
                                                                                                                                                               602 (95:21-22);
Ryan Pauley      2023.08.23             Litigation                  Yes                95           21          96       12                Public
                                                                                                                                                              602 (95:23-96:12)
Ryan Pauley      2023.08.23             Litigation                  Yes                96           13          96       22                Public                    602
Ryan Pauley      2023.08.23             Litigation                  Yes                97           10          97       13                Public                   611c
Ryan Pauley      2023.08.23             Litigation                  Yes                97           16          97       17                Public                   611c
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                                    CID or Litigation       Video of Deposition                                                 Party Confidentiality as of                          Google Counter-
 Witness      Date of Deposition                                                  Page From     Line From Page to Line to                                     Google Objections
                                       Deposition                  (Y/N)                                                               2024.07.03                                     Designations
Ryan Pauley      2023.08.23            Litigation                   Yes               100           22         101        2              Public
Ryan Pauley      2023.08.23            Litigation                   Yes               101           22         102        4        Highly Confidential                602
Ryan Pauley      2023.08.23            Litigation                   Yes               102            5         102        8        Highly Confidential                602
Ryan Pauley      2023.08.23            Litigation                   Yes               102           23         103        5              Public
Ryan Pauley      2023.08.23            Litigation                   Yes               103            6         103        9              Public
Ryan Pauley      2023.08.23            Litigation                   Yes               103           18         103       19              Public                       602
Ryan Pauley      2023.08.23            Litigation                   Yes               103           22         103       22              Public                       602
Ryan Pauley      2023.08.23            Litigation                   Yes               103           23         104        6        Highly Confidential
Ryan Pauley      2023.08.23            Litigation                   Yes               105           22         106        7        Highly Confidential
Ryan Pauley      2023.08.23            Litigation                   Yes               106           14         106       18        Highly Confidential               602
Ryan Pauley      2023.08.23            Litigation                   Yes               106           19         106       24              Public                    602, 611c
Ryan Pauley      2023.08.23            Litigation                   Yes               107            3         107       10              Public                    602, 611c
Ryan Pauley      2023.08.23            Litigation                   Yes               107           11         107       14              Public                      602
Ryan Pauley      2023.08.23            Litigation                   Yes               107           17         107       20              Public                      602
Ryan Pauley      2023.08.23            Litigation                   Yes               109            7         109        8              Public                      602
Ryan Pauley      2023.08.23            Litigation                   Yes               109           11         109       16              Public                      602
Ryan Pauley      2023.08.23            Litigation                   Yes               109           19         110        9              Public                      602
Ryan Pauley      2023.08.23            Litigation                   Yes               110           14         110       16              Public
Ryan Pauley      2023.08.23            Litigation                   Yes               110           19         110       21              Public
Ryan Pauley      2023.08.23            Litigation                   Yes               110           22         110       24              Public                     611c
Ryan Pauley      2023.08.23            Litigation                   Yes               111            5         111       18              Public                 611c (111:5-9)
Ryan Pauley      2023.08.23            Litigation                   Yes               111           19         111       21              Public                     611c
Ryan Pauley      2023.08.23            Litigation                   Yes               111           24         112        4              Public                 611c (111:24)
Ryan Pauley      2023.08.23            Litigation                   Yes               114           17         114       19              Public                   602, 611c
Ryan Pauley      2023.08.23            Litigation                   Yes               114           22         115        8              Public                   602, 611c
Ryan Pauley      2023.08.23            Litigation                   Yes               115           11         115       17              Public                   602, 611c
Ryan Pauley      2023.08.23            Litigation                   Yes               117           12         117       17              Public                   602, 611c
Ryan Pauley      2023.08.23            Litigation                   Yes               118           11         118       14              Public                     611c
Ryan Pauley      2023.08.23            Litigation                   Yes               118           17         118       17              Public                     611c
Ryan Pauley      2023.08.23            Litigation                   Yes               120            6         120        9              Public                      602
Ryan Pauley      2023.08.23            Litigation                   Yes               120           12         120       18              Public                      602
Ryan Pauley      2023.08.23            Litigation                   Yes               120           21         121        2              Public                      602
Ryan Pauley      2023.08.23            Litigation                   Yes               127           20         128       14              Public
Ryan Pauley      2023.08.23            Litigation                   Yes               185           21         185       25            Confidential
Ryan Pauley      2023.08.23            Litigation                   Yes               186           15         186       17            Confidential
Ryan Pauley      2023.08.23            Litigation                   Yes               191           20         192        2              Public                                       192:3-193:9
Ryan Pauley      2023.08.23            Litigation                   Yes               212            3         212       12              Public                                       211:15-212:2
Ryan Pauley      2023.08.23            Litigation                   Yes               212           15         212       24              Public
Ryan Pauley      2023.08.23            Litigation                   Yes               226            7         226       10              Public                    602, 611c
Ryan Pauley      2023.08.23            Litigation                   Yes               226           13         226       16              Public                    602, 611c
Ryan Pauley      2023.08.23            Litigation                   Yes               226           24         227        3              Public                    602, 611c
                                                                                                                                                              602, 611c (227:6-7);
Ryan Pauley      2023.08.23             Litigation                  Yes               227            6         227       10                Public
                                                                                                                                                                602 (227:8-10)
Ryan Pauley      2023.08.23             Litigation                  Yes               228           13         228       16                Public
Ryan Pauley      2023.08.23             Litigation                  Yes               232           21         233       2                 Public                     602
Ryan Pauley      2023.08.23             Litigation                  Yes               233            3         233        9                Public                     602
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                                    CID or Litigation       Video of Deposition                                                 Party Confidentiality as of                              Google Counter-
 Witness      Date of Deposition                                                  Page From     Line From Page to Line to                                       Google Objections
                                       Deposition                  (Y/N)                                                               2024.07.03                                         Designations
Ryan Pauley      2023.08.23            Litigation                   Yes               233           10         233       19              Public
Ryan Pauley      2023.08.23            Litigation                   Yes               233           21         234       20              Public                   602 (234:6-10)
Ryan Pauley      2023.08.23            Litigation                   Yes               234           23         234       23              Public
Ryan Pauley      2023.08.23            Litigation                   Yes               234           24         235       9               Public
Ryan Pauley      2023.08.23            Litigation                   Yes               235           10         235       14              Public                        602
Ryan Pauley      2023.08.23            Litigation                   Yes               235           17         235       25              Public                    602 (235:17)
Ryan Pauley      2023.08.23            Litigation                   Yes               236            2         236       5               Public
Ryan Pauley      2023.08.23            Litigation                   Yes               236           12         236       16              Public                        611c
Ryan Pauley      2023.08.23            Litigation                   Yes               236           19         236       19              Public                        611c
Ryan Pauley      2023.08.23            Litigation                   Yes               236           20         236       24              Public                        602
Ryan Pauley      2023.08.23            Litigation                   Yes               237            3         237        8              Public                        602
                                                                                                                                                                    602 (237:11);
Ryan Pauley      2023.08.23             Litigation                  Yes               237           11         238        6                Public
                                                                                                                                                              602, 611c (237:24-238:6)
Ryan Pauley      2023.08.23             Litigation                  Yes               238            9         238       13                Public                    602, 611c
Ryan Pauley      2023.08.23             Litigation                  Yes               238           14         238       23                Public              602, 611c (238:19-23)
                                                                                                                                                                 602, 611c (239:2);
Ryan Pauley      2023.08.23             Litigation                  Yes               239            2         239        8                Public
                                                                                                                                                                602, 611c (239:3-8)
Ryan Pauley      2023.08.23             Litigation                  Yes               239           11         239       25               Public                     602, 611c            255:20-256:6
Ryan Pauley      2023.08.23             Litigation                  Yes               240           17         240       20               Public
Ryan Pauley      2023.08.23             Litigation                  Yes               240           21         241       6          Highly Confidential
Ryan Pauley      2023.08.23             Litigation                  Yes               243           18         243       22               Public
Ryan Pauley      2023.08.23             Litigation                  Yes               245            2         245        5            Confidential                    611c
Ryan Pauley      2023.08.23             Litigation                  Yes               245            8         245       12            Confidential                    611c
Ryan Pauley      2023.08.23             Litigation                  Yes               245           17         246       9                Public                 611c (245:17-23)
Ryan Pauley      2023.08.23             Litigation                  Yes               246           10         246       14               Public
Ryan Pauley      2023.08.23             Litigation                  Yes               246           17         246       18               Public
Ryan Pauley      2023.08.23             Litigation                  Yes               250            3         250        7               Public                       611c
                                                                                                                                                                 611c (250:10-17)
Ryan Pauley      2023.08.23             Litigation                  Yes               250           10         251       16                Public
                                                                                                                                                                 611c (251:11-16)
Ryan Pauley      2023.08.23             Litigation                  Yes               251           19         251       19                Public                      611c
Ryan Pauley      2023.08.23             Litigation                  Yes               251           20         251       24                Public                      611c
                                                                                                                                                                   611c (252:3);
Ryan Pauley      2023.08.23             Litigation                  Yes               252            1         252        9                Public
                                                                                                                                                                602, 611c (252:4-9)
Ryan Pauley      2023.08.23             Litigation                  Yes               252           12         252       17                Public               602, 611c (252:12)
Ryan Pauley      2023.08.23             Litigation                  Yes               252           18         253       22                Public                 402 (253:3-22)
Ryan Pauley      2023.08.23             Litigation                  Yes               253           25         253       25                Public                       402
Ryan Pauley      2023.08.23             Litigation                  Yes               257           9          257       12                Public                       602
Ryan Pauley      2023.08.23             Litigation                  Yes               257           15         257       15                Public                       602
Ryan Pauley      2023.08.23             Litigation                  Yes               257           22         257       25                Public                       602
                                                                                                                                                                  602 (258:4-19);
Ryan Pauley      2023.08.23             Litigation                  Yes               258            4         258       23                Public
                                                                                                                                                                 602 (258:20-23)
Ryan Pauley      2023.08.23             Litigation                  Yes               259            2         259        2                Public                       602
Ryan Pauley      2023.08.23             Litigation                  Yes               259            5         259        8                Public                       602
                                                                                                                                                                   602 (259:11);
Ryan Pauley      2023.08.23             Litigation                  Yes               259           11         259       16                Public
                                                                                                                                                                 602 (259:12-16)
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                                    CID or Litigation        Video of Deposition      Page      Line      Page   Line     Party Confidentiality as of                            Google Counter-
  Witness      Date of Deposition                                                                                                                       Google Objections
                                       Deposition                   (Y/N)             From      From       to     to             2024.07.03                                       Designations
Bryan Rowley      2021.07.27              CID                        Yes                8         8         8     24         Highly Confidential
Bryan Rowley      2021.07.27              CID                        Yes               19        14        19     18         Highly Confidential              106                  19:19 - 19:19
Bryan Rowley      2021.07.27              CID                        Yes               20         7        21      6         Highly Confidential                                    23:22 - 24:5
Bryan Rowley      2021.07.27              CID                        Yes               21         7        21      9         Highly Confidential
Bryan Rowley      2021.07.27              CID                        Yes               22         3        22     10         Highly Confidential              106                 22:11 - 22:15
Bryan Rowley      2021.07.27              CID                        Yes               25         7        25     20         Highly Confidential                             24:24-25:6; 25:21-26:10
Bryan Rowley      2021.07.27              CID                        Yes               26        25        27      8         Highly Confidential
Bryan Rowley      2021.07.27              CID                        Yes               27         9        27     12         Highly Confidential
Bryan Rowley      2021.07.27              CID                        Yes               27        14        28      3         Highly Confidential
Bryan Rowley      2021.07.27              CID                        Yes               28         4        28      9         Highly Confidential
Bryan Rowley      2021.07.27              CID                        Yes               28        10        28     25         Highly Confidential
Bryan Rowley      2021.07.27              CID                        Yes               29         9        30      7         Highly Confidential
Bryan Rowley      2021.07.27              CID                        Yes               30        10        30     15         Highly Confidential
Bryan Rowley      2021.07.27              CID                        Yes               31        10        32     10         Highly Confidential                                   32:11 - 32:20
Bryan Rowley      2021.07.27              CID                        Yes               32        21        32     24         Highly Confidential
Bryan Rowley      2021.07.27              CID                        Yes               33        12        33     22         Highly Confidential
Bryan Rowley      2021.07.27              CID                        Yes               33        23        33     25         Highly Confidential
Bryan Rowley      2021.07.27              CID                        Yes               39         8        39     25         Highly Confidential
Bryan Rowley      2021.07.27              CID                        Yes               40        24        41      9         Highly Confidential              106            40:9-40:23; 41:10-41:16
Bryan Rowley      2021.07.27              CID                        Yes               41        17        41     22         Highly Confidential
Bryan Rowley      2021.07.27              CID                        Yes               41        23        43     13         Highly Confidential              106            43:14-43:16; 43:17-43:24
Bryan Rowley      2021.07.27              CID                        Yes               46        13        48      7         Highly Confidential
Bryan Rowley      2021.07.27              CID                        Yes               55         9        55     17         Highly Confidential                               55:5-55:8; 55:18-56:4
Bryan Rowley      2021.07.27              CID                        Yes               64        22        65      8         Highly Confidential
Bryan Rowley      2021.07.27              CID                        Yes               75        19        76     12         Highly Confidential              106            76:14-76:17; 76:18-76:24
Bryan Rowley      2021.07.27              CID                        Yes               76        25        77      7         Highly Confidential
Bryan Rowley      2021.07.27              CID                        Yes               77         8        77      8         Highly Confidential
Bryan Rowley      2021.07.27              CID                        Yes               77          9       77     24          Highly Confidential                           77:25 - 78:15; 78:24 - 79:11
Bryan Rowley      2021.07.27              CID                        Yes               80         18       80     23          Highly Confidential
Bryan Rowley      2021.07.27              CID                        Yes               81         14       81     22          Highly Confidential                                   80:24 - 81:8
Bryan Rowley      2021.07.27              CID                        Yes               82          4       82     12          Highly Confidential             106                   81:23 - 82:9
                                                                                                                                                                             83:8-83:15; 85:7 - 85:17,
Bryan Rowley      2021.07.27              CID                        Yes               82         13       83      7          Highly Confidential
                                                                                                                                                                                    86:24 - 87:6
Bryan Rowley      2021.07.27              CID                        Yes               87         14       88      3          Highly Confidential                                    88:4-88:12
Bryan Rowley      2021.07.27              CID                        Yes               88         19       89      2          Highly Confidential                           89:3 - 89:10; 89:15 - 89:22
Bryan Rowley      2021.07.27              CID                        Yes               90         25       91     23          Highly Confidential                             85:7-85:17; 91:24-92:4
Bryan Rowley      2021.07.27              CID                        Yes               92          9       92     17          Highly Confidential                                  92:18 - 92:23
Bryan Rowley      2021.07.27              CID                        Yes               94          5       94     10          Highly Confidential                                   93:16 - 94:4
Bryan Rowley      2021.07.27              CID                        Yes               94         20       95      6          Highly Confidential                             96:14 - 96:21; 95:7-14
Bryan Rowley      2021.07.27              CID                        Yes               99          7       99     11          Highly Confidential                                  99:12 - 99:16
Bryan Rowley      2021.07.27              CID                        Yes               99         23      100      5          Highly Confidential
Bryan Rowley      2021.07.27              CID                        Yes               100        16      100     22          Highly Confidential                                 100:12 - 100:15
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  Witness      Date of Deposition                                                                                                                       Google Objections
                                       Deposition                   (Y/N)             From      From       to     to             2024.07.03                                     Designations
                                                                                                                                                                             101:24-102:4; 102:5-
Bryan Rowley      2021.07.27              CID                        Yes               101         7      101     13          Highly Confidential
                                                                                                                                                                                   102:18
Bryan Rowley      2021.07.27              CID                        Yes               105         2      105     10          Highly Confidential
Bryan Rowley      2021.07.27              CID                        Yes               105        22      106      2          Highly Confidential                               105:16-105:21
Bryan Rowley      2021.07.27              CID                        Yes               108        18      109      3          Highly Confidential
Bryan Rowley      2021.07.27              CID                        Yes               111        24      112     16          Highly Confidential                               111:20-111:23
Bryan Rowley      2021.07.27              CID                        Yes               112        24      113     20          Highly Confidential                               112:17-112:19
Bryan Rowley      2021.07.27              CID                        Yes               119         6      119     16          Highly Confidential
                                                                                                                                                                            121:16-121:19; 123:13-
Bryan Rowley      2021.07.27              CID                        Yes               125        21      126     12          Highly Confidential             106
                                                                                                                                                                                    123:19
Bryan Rowley      2021.07.27              CID                        Yes               127         9      127     24          Highly Confidential
Bryan Rowley      2021.07.27              CID                        Yes               129        11      129     24          Highly Confidential
Bryan Rowley      2021.07.27              CID                        Yes               132        16      133      5          Highly Confidential             602
                                                                                                                                                                            138:5-138:11; 138:12-
Bryan Rowley      2021.07.27              CID                        Yes               137        11      138      4          Highly Confidential                           138:23; 138:24-139:19;
                                                                                                                                                                                 139:24-140:3
Bryan Rowley      2021.07.27              CID                        Yes               140         4      140     11          Highly Confidential
Bryan Rowley      2021.07.27              CID                        Yes               141        17      143      2          Highly Confidential
                                                                                                                                                                             147:5-147:7; 147:24-
Bryan Rowley      2021.07.27              CID                        Yes               146        14      147      4          Highly Confidential             602
                                                                                                                                                                                    148:22
                                                                                                                                                                            165:18-165:24; 166:6-
Bryan Rowley      2021.07.27              CID                        Yes               166        10      166     25          Highly Confidential
                                                                                                                                                                                    166:9
Bryan Rowley      2021.07.27              CID                        Yes               167         2      167      7          Highly Confidential
Bryan Rowley      2021.07.27              CID                        Yes               169         5      169     10          Highly Confidential
Bryan Rowley      2021.07.27              CID                        Yes               169        11      169     19          Highly Confidential             602
Bryan Rowley      2021.07.27              CID                        Yes               179        15      179     24          Highly Confidential
Bryan Rowley      2021.07.27              CID                        Yes               202         7      202     13          Highly Confidential
Bryan Rowley      2021.07.27              CID                        Yes               203         8      203      9          Highly Confidential
Bryan Rowley      2021.07.27              CID                        Yes               203         8      203     24          Highly Confidential
Bryan Rowley      2021.07.27              CID                        Yes               203        13      203     24          Highly Confidential
Bryan Rowley      2021.07.27              CID                        Yes               204         9      204     11          Highly Confidential
Bryan Rowley      2021.07.27              CID                        Yes               218        22      219     17          Highly Confidential
Bryan Rowley      2021.07.27              CID                        Yes               227        11      228     20          Highly Confidential                               227:6 - 227:10
Bryan Rowley      2021.07.27              CID                        Yes               229         3      229     18          Highly Confidential
Bryan Rowley      2021.07.27              CID                        Yes               234         2      235      3          Highly Confidential
Bryan Rowley      2021.07.27              CID                        Yes               235        10      235     25          Highly Confidential                               235:4 - 235:9
                                                                                                                                                                            225:25-226:21; 236:9-
Bryan Rowley      2021.07.27              CID                        Yes               236        19      238      5          Highly Confidential
                                                                                                                                                                                   236:18
Bryan Rowley      2021.07.27              CID                        Yes               238        12      238     20          Highly Confidential                               238:21-239:8
Bryan Rowley      2021.07.27              CID                        Yes               248        15      248     23          Highly Confidential
Bryan Rowley      2021.07.27              CID                        Yes               251         6      252      3          Highly Confidential
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                                        CID or Litigation       Video of Deposition      Page     Line    Page Line       Party Confidentiality as of                            Google Counter-
    Witness        Date of Deposition                                                                                                                   Google Objections
                                           Deposition                  (Y/N)             From     From     to   to               2024.07.03                                       Designations
Susan Schiekofer      2023.09.26           Litigation                   Yes                9       11       9   20                 Public
Susan Schiekofer      2023.09.26           Litigation                   Yes               13        4      13   21                 Public
Susan Schiekofer      2023.09.26           Litigation                   Yes               13       22      14   12                 Public
Susan Schiekofer      2023.09.26           Litigation                   Yes               15       17      17   13                 Public
Susan Schiekofer      2023.09.26           Litigation                   Yes               17       16      19   18                 Public
Susan Schiekofer      2023.09.26           Litigation                   Yes               19       19      19   22                 Public
Susan Schiekofer      2023.09.26           Litigation                   Yes               19       23      19   24                 Public
Susan Schiekofer      2023.09.26           Litigation                   Yes               20        1      20   10                 Public
Susan Schiekofer      2023.09.26           Litigation                   Yes               20       12      20   15               Confidential
Susan Schiekofer      2023.09.26           Litigation                   Yes               22        5      22   10               Confidential
Susan Schiekofer      2023.09.26           Litigation                   Yes               22       13      22   14               Confidential
Susan Schiekofer      2023.09.26           Litigation                   Yes               22       20      22   20               Confidential
Susan Schiekofer      2023.09.26           Litigation                   Yes               22       22      22   24               Confidential
Susan Schiekofer      2023.09.26           Litigation                   Yes               23        1      23    1               Confidential
Susan Schiekofer      2023.09.26           Litigation                   Yes               23        3      23    4               Confidential
Susan Schiekofer      2023.09.26           Litigation                   Yes               23        6      23    6               Confidential
Susan Schiekofer      2023.09.26           Litigation                   Yes               23        8      23   11               Confidential
Susan Schiekofer      2023.09.26           Litigation                   Yes               24        1      25    6               Confidential
Susan Schiekofer      2023.09.26           Litigation                   Yes               25       15      25   17               Confidential
Susan Schiekofer      2023.09.26           Litigation                   Yes               25       19      27   22               Confidential
Susan Schiekofer      2023.09.26           Litigation                   Yes               27       24      28    2               Confidential
Susan Schiekofer      2023.09.26           Litigation                   Yes               28        4      28    5               Confidential
Susan Schiekofer      2023.09.26           Litigation                   Yes               28        7      28   17               Confidential
Susan Schiekofer      2023.09.26           Litigation                   Yes               28       24      29    1                 Public
Susan Schiekofer      2023.09.26           Litigation                   Yes               29        3      30   11                 Public
Susan Schiekofer      2023.09.26           Litigation                   Yes               30       13      31    6               Confidential
Susan Schiekofer      2023.09.26           Litigation                   Yes               32        3      32    5                 Public
Susan Schiekofer      2023.09.26           Litigation                   Yes               32       12      32   23                 Public
Susan Schiekofer      2023.09.26           Litigation                   Yes               33        4      35   19           Highly Confidential
Susan Schiekofer      2023.09.26           Litigation                   Yes               33        4      37    2           Highly Confidential
Susan Schiekofer      2023.09.26           Litigation                   Yes               37        3      38   23           Highly Confidential                               44:7-44:9; 44:13-44:16
Susan Schiekofer      2023.09.26           Litigation                   Yes               38       24      39    3                 Public
Susan Schiekofer      2023.09.26           Litigation                   Yes               39       10      40    6                 Public
Susan Schiekofer      2023.09.26           Litigation                   Yes               40        8      41   17           Highly Confidential
Susan Schiekofer      2023.09.26           Litigation                   Yes               41       18      41   20                 Public
Susan Schiekofer      2023.09.26           Litigation                   Yes               42        1      43    1                 Public
Susan Schiekofer      2023.09.26           Litigation                   Yes               43        3      43    5               Confidential
Susan Schiekofer      2023.09.26           Litigation                   Yes               43        9      43   18               Confidential
Susan Schiekofer      2023.09.26           Litigation                   Yes               48        3      48    6           Highly Confidential
Susan Schiekofer      2023.09.26           Litigation                   Yes               48        8      48    8           Highly Confidential
Susan Schiekofer      2023.09.26           Litigation                   Yes               48       10      48   17           Highly Confidential
Susan Schiekofer      2023.09.26           Litigation                   Yes               50        6      50    9           Highly Confidential
Susan Schiekofer      2023.09.26           Litigation                   Yes               50       11      50   11           Highly Confidential
Susan Schiekofer      2023.09.26           Litigation                   Yes               50       13      50   16           Highly Confidential
Susan Schiekofer      2023.09.26           Litigation                   Yes               50       18      51   17           Highly Confidential                                    53:16-53:23
Susan Schiekofer      2023.09.26           Litigation                   Yes               52       12      52   15                 Public                     611c
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    Witness        Date of Deposition                                                                                                                         Google Objections
                                           Deposition                     (Y/N)             From     From     to   to               2024.07.03                                              Designations
Susan Schiekofer      2023.09.26           Litigation                      Yes               52       19      53   14                 Public                         611c
Susan Schiekofer      2023.09.26           Litigation                      Yes               57       12      57   25           Highly Confidential                                          56:19-57:11
                                                                                                                                                                                        61:24-62:8; 62:13-63:4;
Susan Schiekofer      2023.09.26            Litigation                     Yes                63       6       63     24               Public                        106
                                                                                                                                                                                              63:25-64:8
Susan Schiekofer      2023.09.26            Litigation                     Yes                64       9       64     11              Public
Susan Schiekofer      2023.09.26            Litigation                     Yes                64       13      64     23              Public
Susan Schiekofer      2023.09.26            Litigation                     Yes                64       25      65      1              Public
Susan Schiekofer      2023.09.26            Litigation                     Yes                65        5      65     13              Public                                            65:15-65:19; 65:23-66:1
Susan Schiekofer      2023.09.26            Litigation                     Yes                66       3       66     7               Public
Susan Schiekofer      2023.09.26            Litigation                     Yes                66       11      66     14              Public
Susan Schiekofer      2023.09.26            Litigation                     Yes                66       16      67     12              Public
Susan Schiekofer      2023.09.26            Litigation                     Yes                67       13      67     16              Public
Susan Schiekofer      2023.09.26            Litigation                     Yes                67       20      67     22              Public
Susan Schiekofer      2023.09.26            Litigation                     Yes                68       14      68     18              Public
Susan Schiekofer      2023.09.26            Litigation                     Yes                68       20      68     21              Public
Susan Schiekofer      2023.09.26            Litigation                     Yes                69        7      69     10              Public                                               68:23; 68:25-69:2
Susan Schiekofer      2023.09.26            Litigation                     Yes                69       12      70      4              Public
Susan Schiekofer      2023.09.26            Litigation                     Yes                70       6       70     16              Public
Susan Schiekofer      2023.09.26            Litigation                     Yes                70       17      71     16              Public
Susan Schiekofer      2023.09.26            Litigation                     Yes                74       20      74     23        Highly Confidential
Susan Schiekofer      2023.09.26            Litigation                     Yes                76       24      77      1        Highly Confidential                                            75:4-75:6
Susan Schiekofer      2023.09.26            Litigation                     Yes                77        6      77     10        Highly Confidential
Susan Schiekofer      2023.09.26            Litigation                     Yes                80        7      80     10              Public                      611c, 701
Susan Schiekofer      2023.09.26            Litigation                     Yes                80       14      80     16              Public                      611c, 701
Susan Schiekofer      2023.09.26            Litigation                     Yes                80       18      80     20              Public
Susan Schiekofer      2023.09.26            Litigation                     Yes                80       22      81      1              Public
Susan Schiekofer      2023.09.26            Litigation                     Yes                81       22      83      8           Confidential                                            81:6-8; 81:12-17
Susan Schiekofer      2023.09.26            Litigation                     Yes                83        9      83     12           Confidential                   611c, 402
Susan Schiekofer      2023.09.26            Litigation                     Yes                83       14      83     14           Confidential                   611c, 402              83:16-17; 83:19-84:13
Susan Schiekofer      2023.09.26            Litigation                     Yes                84       15      85     17           Confidential
Susan Schiekofer      2023.09.26            Litigation                     Yes                86       2       86     22              Public
Susan Schiekofer      2023.09.26            Litigation                     Yes                86       24      87      5              Public
Susan Schiekofer      2023.09.26            Litigation                     Yes                87       6       87     25              Public                 611c, 402, 602, 802
                                                                                                                                                           611c, 402, 602, 802 (88:1-
Susan Schiekofer      2023.09.26            Litigation                     Yes                88       1       89     25            Confidential                      14)                       90:1-10
                                                                                                                                                               106 (89:6-89:25)
Susan Schiekofer      2023.09.26            Litigation                     Yes                90       11      90     16            Confidential             611c, 402, 602, 802
Susan Schiekofer      2023.09.26            Litigation                     Yes                90       22      90     23            Confidential             611c, 402, 602, 802
                                                                                                                                                                                        91:8-9; 91:11-14; 91:16-
                                                                                                                                                                                        18; 91:20; 92:20-92:22;
Susan Schiekofer      2023.09.26            Litigation                     Yes                90       25      91     5             Confidential             611c, 402, 602, 802
                                                                                                                                                                                        97:4-97:8; 97:12-97:17;
                                                                                                                                                                                           97:19-97:22; 98:1
Susan Schiekofer      2023.09.26            Litigation                     Yes                99       15      99     20               Public
Susan Schiekofer      2023.09.26            Litigation                     Yes                99       22      99     22               Public
Susan Schiekofer      2023.09.26            Litigation                     Yes                99       24     100     4                Public
Susan Schiekofer      2023.09.26            Litigation                     Yes               100       5      100     9                Public
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    Witness        Date of Deposition                                                                                                                   Google Objections
                                           Deposition                  (Y/N)             From     From     to   to               2024.07.03                                         Designations
Susan Schiekofer      2023.09.26           Litigation                   Yes               100      11     100   11                 Public
Susan Schiekofer      2023.09.26           Litigation                   Yes               100      13     100   14                 Public
Susan Schiekofer      2023.09.26           Litigation                   Yes               100      15     100   17                 Public
Susan Schiekofer      2023.09.26           Litigation                   Yes               100      19     100   23                 Public
Susan Schiekofer      2023.09.26           Litigation                   Yes               100      25     101    4                 Public
Susan Schiekofer      2023.09.26           Litigation                   Yes               101       6     101    6                 Public
Susan Schiekofer      2023.09.26           Litigation                   Yes               101       8     101   12                 Public
Susan Schiekofer      2023.09.26           Litigation                   Yes               101      13     101   16                 Public
Susan Schiekofer      2023.09.26           Litigation                   Yes               101      18     101   25                 Public
Susan Schiekofer      2023.09.26           Litigation                   Yes               102       2     102    4                 Public
Susan Schiekofer      2023.09.26           Litigation                   Yes               102       6     102    7                 Public
Susan Schiekofer      2023.09.26           Litigation                   Yes               102       9     102   13                 Public
Susan Schiekofer      2023.09.26           Litigation                   Yes               102      17     102   18                 Public
Susan Schiekofer      2023.09.26           Litigation                   Yes               102      20     102   21                 Public
Susan Schiekofer      2023.09.26           Litigation                   Yes               102      23     102   24                 Public
Susan Schiekofer      2023.09.26           Litigation                   Yes               103       2     103   17                 Public
Susan Schiekofer      2023.09.26           Litigation                   Yes               103      25     104    3                 Public                                            103:18-103:21
Susan Schiekofer      2023.09.26           Litigation                   Yes               104       5     104    5                 Public
Susan Schiekofer      2023.09.26           Litigation                   Yes               104       7     104    8                 Public
Susan Schiekofer      2023.09.26           Litigation                   Yes               104      10     104   16                 Public
Susan Schiekofer      2023.09.26           Litigation                   Yes               105      11     105   19                 Public
Susan Schiekofer      2023.09.26           Litigation                   Yes               105      21     106    2                 Public                 602, 402, 701
Susan Schiekofer      2023.09.26           Litigation                   Yes               106       6     106    8                 Public                 602, 402, 701                106:10-21
Susan Schiekofer      2023.09.26           Litigation                   Yes               106      22     107    5                 Public                 602, 402, 701
Susan Schiekofer      2023.09.26           Litigation                   Yes               107       9     107   10                 Public                 602, 402, 701
Susan Schiekofer      2023.09.26           Litigation                   Yes               107      12     107   17                 Public                 602, 402, 701
Susan Schiekofer      2023.09.26           Litigation                   Yes               107      18     107   24                 Public               611c, 602, 402, 701
Susan Schiekofer      2023.09.26           Litigation                   Yes               108       3     108    4                 Public               611c, 602, 402, 701
Susan Schiekofer      2023.09.26           Litigation                   Yes               123      14     124    6           Highly Confidential
Susan Schiekofer      2023.09.26           Litigation                   Yes               125       3     125    6                 Public
Susan Schiekofer      2023.09.26           Litigation                   Yes               125       8     125   10                 Public
Susan Schiekofer      2023.09.26           Litigation                   Yes               125      20     125   22                 Public
Susan Schiekofer      2023.09.26           Litigation                   Yes               126       1     126    8                 Public                                       126:10-12; 126:16-127:1
Susan Schiekofer      2023.09.26           Litigation                   Yes               127       3     127    4                 Public
Susan Schiekofer      2023.09.26           Litigation                   Yes               127       6     127   12                 Public
Susan Schiekofer      2023.09.26           Litigation                   Yes               154      25     155    4           Highly Confidential
Susan Schiekofer      2023.09.26           Litigation                   Yes               155       9     155   16           Highly Confidential
Susan Schiekofer      2023.09.26           Litigation                   Yes               161      10     161   13           Highly Confidential
Susan Schiekofer      2023.09.26           Litigation                   Yes                                                  Highly Confidential                                     151:10-151:25
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     Witness          Date of Deposition                                                                                                                Google Objections
                                              Deposition                 (Y/N)           From      From      to     to           2024.07.03                                    Designations
Michael Shaughnessy      2023.08.09           Litigation                  Yes              4         9       4      11             Public
Michael Shaughnessy      2023.08.09           Litigation                  Yes              6        21        6     25             Public
Michael Shaughnessy      2023.08.09           Litigation                  Yes              7         2        7      6             Public
Michael Shaughnessy      2023.08.09           Litigation                  Yes              7         9        8      2             Public
Michael Shaughnessy      2023.08.09           Litigation                  Yes              8         3        8      5             Public
Michael Shaughnessy      2023.08.09           Litigation                  Yes              8         9        9     14           Confidential
Michael Shaughnessy      2023.08.09           Litigation                  Yes              9        15        9     17             Public
Michael Shaughnessy      2023.08.09           Litigation                  Yes              9        18        9     25             Public
Michael Shaughnessy      2023.08.09           Litigation                  Yes             11         8       11     25             Public
Michael Shaughnessy      2023.08.09           Litigation                  Yes             12         8       13      3       Highly Confidential
Michael Shaughnessy      2023.08.09           Litigation                  Yes             13        18       13     20       Highly Confidential               402
Michael Shaughnessy      2023.08.09           Litigation                  Yes             13        22       13     22       Highly Confidential               402
Michael Shaughnessy      2023.08.09           Litigation                  Yes             14        16       14     22       Highly Confidential               402
Michael Shaughnessy      2023.08.09           Litigation                  Yes             14        23       15      2             Public                 402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes             15         3       15      7             Public
Michael Shaughnessy      2023.08.09           Litigation                  Yes             15        13       15     24             Public                 402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes             15        17       15     24             Public
Michael Shaughnessy      2023.08.09           Litigation                  Yes             15        25       16      3             Public
Michael Shaughnessy      2023.08.09           Litigation                  Yes             16        12       16     24             Public                 402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes             16        25       17      4             Public
Michael Shaughnessy      2023.08.09           Litigation                  Yes             17         5       17     10             Public                 402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes             17        11       17     14             Public
Michael Shaughnessy      2023.08.09           Litigation                  Yes             17        15       17     25             Public               611c, 402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes             17        19       17     25             Public
Michael Shaughnessy      2023.08.09           Litigation                  Yes             18         6       18      9             Public               611c, 402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes             18        11       18     15             Public               611c, 402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes             18        16       19      7             Public                 402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes             19         8       19     10             Public                 402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes             19        11       19     14             Public                 402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes             19        15       19     17             Public               802, 402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes             19        19       19     24             Public               802, 402, 602, 701
                                                                                                                                                                              28:5-19; 30:15-17;
Michael Shaughnessy      2023.08.09           Litigation                  Yes              19        25      20      5               Public             611c, 802, 402, 701
                                                                                                                                                                                    30:19
Michael Shaughnessy      2023.08.09           Litigation                  Yes              20         6      20     12               Public             611c, 802, 402, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes              20        13      20     20               Public               402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes              21         7      21     10               Public             611c, 402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes              21        12      21     14               Public             611c, 402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes              21        15      21     15               Public               402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes              21        17      21     18               Public               402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes              21        19      21     23               Public               402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes              21        24      22      3               Public               402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes              22         5      22      6               Public               402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes              22         7      22     13               Public               402, 602, 701
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     Witness          Date of Deposition                                                                                                                Google Objections
                                              Deposition                 (Y/N)           From      From      to     to           2024.07.03                                      Designations
Michael Shaughnessy      2023.08.09           Litigation                  Yes             22        14       22     16             Public                 402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes             22        18       22     21             Public                 402, 602, 701            22:22-23:4
Michael Shaughnessy      2023.08.09           Litigation                  Yes             23         5       23      8             Public
Michael Shaughnessy      2023.08.09           Litigation                  Yes             23         9       23     10             Public               611c, 402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes             23        12       23     19             Public               611c, 402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes             23        20       23     23             Public               611c, 402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes             23        25       24     7              Public               611c, 402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes             24        12       24     13             Public               611c, 402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes             24        15       24     17             Public               611c, 402, 602, 701        24:18-25:4
Michael Shaughnessy      2023.08.09           Litigation                  Yes             25         5       25      8             Public                 402, 602, 701
                                                                                                                                                                              32:2-4; 32:6-11; 33:4-
Michael Shaughnessy      2023.08.09           Litigation                  Yes              25        10      25     11               Public               402, 602, 701        6; 33:8-9; 33:10-12;
                                                                                                                                                                                     33:14-18
Michael Shaughnessy      2023.08.09           Litigation                  Yes              25        14      25     20               Public               402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes              33        19      33     21               Public
Michael Shaughnessy      2023.08.09           Litigation                  Yes              33        22      33     25               Public               402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes              34         2      34      4               Public
Michael Shaughnessy      2023.08.09           Litigation                  Yes              34         5      34      7               Public                    602
Michael Shaughnessy      2023.08.09           Litigation                  Yes              34         9      34     17               Public                    602
Michael Shaughnessy      2023.08.09           Litigation                  Yes              34        22      34     24               Public               402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes              35         2      35      2               Public               402, 602, 701              35:3-10
Michael Shaughnessy      2023.08.09           Litigation                  Yes              35        16      35     19               Public                 402, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes              35        21      36      2               Public                 402, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes              36         3      36      5               Public                 402, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes              36         7      36     10               Public                 402, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes              36        11      36     20               Public                 402, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes              37        13      37     15               Public               611c, 402, 701
                                                                                                                                                                                38:17-20; 38:23-
Michael Shaughnessy      2023.08.09           Litigation                  Yes              37        18      37     24               Public               611c, 402, 701
                                                                                                                                                                                     39:10
Michael Shaughnessy      2023.08.09           Litigation                  Yes              39        17      39     19               Public               611c, 402, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes              39        21      40      3               Public               611c, 402, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes              40         4      40      7               Public               611c, 402, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes              40         9      40     12               Public               611c, 402, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes              41        7       41     19               Public
Michael Shaughnessy      2023.08.09           Litigation                  Yes              41        20      41     21               Public               402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes              41        23      42      5               Public               402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes              42         6      42      8               Public               402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes              42         9      43      2               Public               402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes              43         3      43      6               Public             611c, 402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes              43        11      43     16               Public               402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes              43        17      43     20               Public             611c, 402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes              43        23      43     23               Public             611c, 402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes              43        24      44     2                Public             611c, 402, 602, 701
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     Witness          Date of Deposition                                                                                                                Google Objections
                                              Deposition                 (Y/N)           From      From      to     to           2024.07.03                                      Designations
Michael Shaughnessy      2023.08.09           Litigation                  Yes             44         4       44      5             Public               611c, 402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes             44         6       44     10             Public
                                                                                                                                                                               44:11-17; 44:19-22;
Michael Shaughnessy      2023.08.09            Litigation                 Yes              45        11      45     13               Public                                    44:24-45:10; 45:20-
                                                                                                                                                                                   46:4; 46:6
Michael Shaughnessy      2023.08.09           Litigation                  Yes              45        15      45     16               Public
Michael Shaughnessy      2023.08.09           Litigation                  Yes              45        17      45     19               Public
Michael Shaughnessy      2023.08.09           Litigation                  Yes              46        19      46     24               Public                     602
Michael Shaughnessy      2023.08.09           Litigation                  Yes              46        25      47      3               Public                     602
Michael Shaughnessy      2023.08.09           Litigation                  Yes              47         4      47      6               Public                     602
Michael Shaughnessy      2023.08.09           Litigation                  Yes              47         7      47      9               Public                     602            47:10-11; 47:13-14
Michael Shaughnessy      2023.08.09           Litigation                  Yes              48         6      48     10               Public                402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes              48        11      48     13               Public
Michael Shaughnessy      2023.08.09           Litigation                  Yes              48        14      48     16               Public             611c, 402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes              48        18      48     19               Public             611c, 402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes              48        20      48     25               Public                402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes              49         2      49      9               Public                402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes              49        10      49     18               Public                402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes              49        19      49     22               Public                402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes              49        24      50      2               Public                402, 602, 701
                                                                                                                                                        611c, 402, 602, 701,
Michael Shaughnessy      2023.08.09            Litigation                 Yes              50        9       50     12               Public
                                                                                                                                                                802
                                                                                                                                                        611c, 402, 602, 701,
Michael Shaughnessy      2023.08.09            Litigation                 Yes              50        20      50     25               Public
                                                                                                                                                                802
Michael Shaughnessy      2023.08.09            Litigation                 Yes              51        2       51      8               Public
                                                                                                                                                        611c, 402, 602, 701,
Michael Shaughnessy      2023.08.09            Litigation                 Yes              51        9       51     12               Public
                                                                                                                                                                802
                                                                                                                                                        611c, 402, 602, 701,
Michael Shaughnessy      2023.08.09            Litigation                 Yes              51        14      51     17               Public
                                                                                                                                                                802
                                                                                                                                                        611c, 402, 602, 701,
Michael Shaughnessy      2023.08.09            Litigation                 Yes              51        18      51     21               Public
                                                                                                                                                                802
Michael Shaughnessy      2023.08.09            Litigation                 Yes              51        23      52      7               Public             611c, 402, 602, 701 53:18-55:2; 55:4-56:2
Michael Shaughnessy      2023.08.09           Litigation                  Yes              52        8       52     15               Public
Michael Shaughnessy      2023.08.09           Litigation                  Yes              52        16      52     19               Public             611c, 402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes              52        21      52     21               Public             611c, 402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes              52        22      53     17               Public               402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes              56        15      56     18               Public                  402, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes              56        19      56     24               Public               402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes              56        25      57      4               Public               402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes              57         5      57      8               Public               402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes              57         9      57     15               Public               402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes              57        16      57     22               Public               402, 602, 701
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     Witness          Date of Deposition                                                                                                                Google Objections
                                              Deposition                 (Y/N)           From      From      to     to           2024.07.03                                     Designations
Michael Shaughnessy      2023.08.09           Litigation                  Yes             57        23       57     25             Public               611c, 402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes             58         3       58      4             Public               611c, 402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes             60         3       60     5              Public                 402, 602, 701          59:22-24; 60:2
Michael Shaughnessy      2023.08.09           Litigation                  Yes             60         6       60      9             Public                 402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes             60        10       60     13             Public                 402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes             60        14       60     17             Public
Michael Shaughnessy      2023.08.09           Litigation                  Yes             61         7       61     11             Public                 402, 602, 701       60:18-20; 60:22-61:6
Michael Shaughnessy      2023.08.09           Litigation                  Yes             61        12       61     14             Public
Michael Shaughnessy      2023.08.09           Litigation                  Yes             61        15       61     17             Public                 402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes             61        19       61     19             Public                 402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes             61        20       61     24             Public
Michael Shaughnessy      2023.08.09           Litigation                  Yes             61        25       62     4              Public               802, 402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes             62         6       62     14             Public               802, 402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes             62        22       62     24             Public               611c, 402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes             63         2       63     2              Public               611c, 402, 602, 701   62:15-17; 62:19-21
Michael Shaughnessy      2023.08.09           Litigation                  Yes             63         3       63      4             Public
Michael Shaughnessy      2023.08.09           Litigation                  Yes             63         5       63      9             Public                 402, 602, 701
                                                                                                                                                                              64:16-22; 65:11-14;
Michael Shaughnessy      2023.08.09            Litigation                 Yes              63        11      63     11               Public               402, 602, 701
                                                                                                                                                                                     65:16
Michael Shaughnessy      2023.08.09            Litigation                 Yes              63        24      64      2               Public                     602
Michael Shaughnessy      2023.08.09            Litigation                 Yes              64         3      64      9               Public                     602
Michael Shaughnessy      2023.08.09            Litigation                 Yes              65        25      66     4                Public             402, 602, 701, 802
Michael Shaughnessy      2023.08.09            Litigation                 Yes              66         6      66     6                Public             402, 602, 701, 802     68:23-69:3; 69:5-8
Michael Shaughnessy      2023.08.09            Litigation                 Yes              66         7      66      7               Public             402, 602, 701, 802
Michael Shaughnessy      2023.08.09            Litigation                 Yes              66         9      66     22               Public             402, 602, 701, 802
Michael Shaughnessy      2023.08.09            Litigation                 Yes              66        23      67     2                Public             402, 602, 701, 802
Michael Shaughnessy      2023.08.09            Litigation                 Yes              67         3      67      8               Public             402, 602, 701, 802
Michael Shaughnessy      2023.08.09            Litigation                 Yes              67         9      67     12               Public             402, 602, 701, 802
Michael Shaughnessy      2023.08.09            Litigation                 Yes              67        14      67     14               Public             402, 602, 701, 802
Michael Shaughnessy      2023.08.09            Litigation                 Yes              67        15      68     5                Public             402, 602, 701, 802
Michael Shaughnessy      2023.08.09            Litigation                 Yes              68         6      68      9               Public             402, 602, 701, 802
Michael Shaughnessy      2023.08.09            Litigation                 Yes              68        11      68     16               Public             402, 602, 701, 802
Michael Shaughnessy      2023.08.09            Litigation                 Yes              68        17      68     20               Public             402, 602, 701, 802
Michael Shaughnessy      2023.08.09            Litigation                 Yes              70        19      70     21               Public             611c, 402, 602, 701
Michael Shaughnessy      2023.08.09            Litigation                 Yes              70        23      70     24               Public             611c, 402, 602, 701
Michael Shaughnessy      2023.08.09            Litigation                 Yes              70        25      71      4               Public               402, 602, 701
Michael Shaughnessy      2023.08.09            Litigation                 Yes              71         5      71      6               Public               402, 602, 701
Michael Shaughnessy      2023.08.09            Litigation                 Yes              71         8      71     12               Public               402, 602, 701
Michael Shaughnessy      2023.08.09            Litigation                 Yes              71        15      71     17               Public             611c, 402, 602, 701
Michael Shaughnessy      2023.08.09            Litigation                 Yes              71        19      71     20               Public             611c, 402, 602, 701
Michael Shaughnessy      2023.08.09            Litigation                 Yes              71        21      71     25               Public               402, 602, 701
Michael Shaughnessy      2023.08.09            Litigation                 Yes              72         2      73      3               Public               402, 602, 701
Michael Shaughnessy      2023.08.09            Litigation                 Yes              73         4      73      6               Public               402, 602, 701
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     Witness          Date of Deposition                                                                                                                Google Objections
                                              Deposition                 (Y/N)           From      From      to     to           2024.07.03                                     Designations
Michael Shaughnessy      2023.08.09           Litigation                  Yes             73         8       73      9             Public                 402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes             74         8       74     20             Public                 402, 602, 701         73:23-24; 74:2-7
Michael Shaughnessy      2023.08.09           Litigation                  Yes             74        21       75      7             Public                 402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes             75         8       75     13             Public                 402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes             75        14       75     18             Public                 402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes             76        15       76     18             Public               611c, 402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes             76        21       76     24             Public               611c, 402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes             76        25       77      3             Public                 402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes             77         5       77     23             Public                 402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes             78        15       78     19             Public                 402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes             78        20       79     25             Public                 402, 602, 701        80:9-12; 80:14-21
Michael Shaughnessy      2023.08.09           Litigation                  Yes             80        22       80     25             Public
Michael Shaughnessy      2023.08.09           Litigation                  Yes             81         2       81      8             Public                 402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes             81         9       81     10             Public               611c, 402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes             81        12       81     14             Public               611c, 402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes             81        15       81     16             Public               611c, 402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes             81        18       81     18             Public               611c, 402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes             81        25       82     2              Public               611c, 402, 602, 701
                                                                                                                                                                                85:7-8; 85:10-13;
Michael Shaughnessy      2023.08.09           Litigation                  Yes              82        4       82     13               Public             611c, 402, 602, 701
                                                                                                                                                                              85:15-18; 85:20-86:9
Michael Shaughnessy      2023.08.09           Litigation                  Yes              82        14      82     15              Public                402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes              82        17      82     17              Public                402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes              82        18      83     10              Public                402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes              86        14      86     21              Public
Michael Shaughnessy      2023.08.09           Litigation                  Yes              87         3      87      9              Public                402, 602, 701             87:10-18
Michael Shaughnessy      2023.08.09           Litigation                  Yes              87        19      88     14            Confidential          611c, 402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes              88        15      88     18              Public              611c, 402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes              88        19      89      2              Public
Michael Shaughnessy      2023.08.09           Litigation                  Yes              89         3      89      5              Public              611c, 402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes              89         7      89      9              Public              611c, 402, 602, 701    89:10-13; 89:15-16
Michael Shaughnessy      2023.08.09           Litigation                  Yes              89        17      90      3              Public                402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes              90         4      90     11              Public                402, 602, 701             90:12-22
                                                                                                                                                                              92:5-93:15; 94:13-18;
Michael Shaughnessy      2023.08.09            Litigation                 Yes              93        22      94      7               Public
                                                                                                                                                                                    94:20-23
Michael Shaughnessy      2023.08.09           Litigation                  Yes              97        10      97     11               Public             611c, 402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes              97        13      97     23               Public             611c, 402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes             110         2     110     4                Public             611c, 402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes             110        6      110     10               Public             611c, 402, 602, 701         109:8-25
                                                                                                                                                                               111:17-24; 112:22-
Michael Shaughnessy      2023.08.09           Litigation                  Yes             110        11     110     24               Public               402, 602, 701
                                                                                                                                                                                  25; 113:3-8
Michael Shaughnessy      2023.08.09            Litigation                 Yes             125        24     126      3               Public
                                                                                                                                                                               126:8-12; 126:20-
Michael Shaughnessy      2023.08.09            Litigation                 Yes             126        4      126      7               Public
                                                                                                                                                                                     127:2
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     Witness          Date of Deposition                                                                                                                Google Objections
                                              Deposition                 (Y/N)           From      From      to     to           2024.07.03                                   Designations
Michael Shaughnessy      2023.08.09           Litigation                  Yes             174       11      174     13             Public                      402
Michael Shaughnessy      2023.08.09           Litigation                  Yes             174       14      174     21             Public                      402
Michael Shaughnessy      2023.08.09           Litigation                  Yes             174       22      174     24             Public                 402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes             174       25      175      3             Public                 402, 602, 701
Michael Shaughnessy      2023.08.09           Litigation                  Yes             175        4      175      6             Public                 402, 602, 701
                                                                                                                                                                              117:9-23; 118:12-
                                                                                                                                                                            119:9; 121:15-122:2;
Michael Shaughnessy      2023.08.09           Litigation                  Yes                                                                                                122:17-19; 122:21-
                                                                                                                                                                            24; 123:13-22; 124:6-
                                                                                                                                                                                    125:5
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  Witness       Date of Deposition                                                                                                                  Google Objections
                                        Deposition                 (Y/N)           From      From     to   to                2024.07.03                                  Designations
Scott Sheffer      2021.07.20              CID                      Yes              7         5       7    8            Highly Confidential
Scott Sheffer      2021.07.20              CID                      Yes              35       10      36   20            Highly Confidential
Scott Sheffer      2021.07.20              CID                      Yes             63         2      65    4            Highly Confidential
Scott Sheffer      2021.07.20              CID                      Yes              76       14      77   23            Highly Confidential
Scott Sheffer      2021.07.20              CID                      Yes              79       19      81   22            Highly Confidential
Scott Sheffer      2021.07.20              CID                      Yes              84       23      86   19            Highly Confidential
Scott Sheffer      2021.07.20              CID                      Yes             88         8      89   15            Highly Confidential
Scott Sheffer      2021.07.20              CID                      Yes             94         3      98   25            Highly Confidential
Scott Sheffer      2021.07.20              CID                      Yes             100       15     104   23            Highly Confidential
Scott Sheffer      2021.07.20              CID                      Yes             113        2     113   22            Highly Confidential
Scott Sheffer      2021.07.20              CID                      Yes             123        3     123   16            Highly Confidential
Scott Sheffer      2021.07.20              CID                      Yes             126       17     127    8            Highly Confidential
Scott Sheffer      2021.07.20              CID                      Yes             135       17     138   19            Highly Confidential
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  Witness       Date of Deposition                                                                                                                Google Objections
                                        Deposition                (Y/N)             From     From     to   to              2024.07.03                                     Designations
Payam Shodjai      2020.11.10              CID                     No                 5        8      5    10          Highly Confidential
Payam Shodjai      2020.11.10              CID                      No               18       14      18     18         Highly Confidential                           46:14-46:20; 47:7-47:18
Payam Shodjai      2020.11.10              CID                      No               18       23      19      8         Highly Confidential
Payam Shodjai      2020.11.10              CID                      No               19       19      19     24         Highly Confidential
Payam Shodjai      2020.11.10              CID                      No               23       19      24      3         Highly Confidential
Payam Shodjai      2020.11.10              CID                      No               24        5       24     6         Highly Confidential
Payam Shodjai      2020.11.10              CID                      No               24        8       24    10         Highly Confidential
Payam Shodjai      2020.11.10              CID                      No               28        4       28     7         Highly Confidential
Payam Shodjai      2020.11.10              CID                      No                49       1       49     4         Highly Confidential                                 49:17-50:3
Payam Shodjai      2020.11.10              CID                      No               49        7       49     9         Highly Confidential
Payam Shodjai      2020.11.10              CID                      No                49      10       49    13         Highly Confidential
Payam Shodjai      2020.11.10              CID                      No               50        4       50     6         Highly Confidential
Payam Shodjai      2020.11.10              CID                      No                50      14       50    16         Highly Confidential
Payam Shodjai      2020.11.10              CID                      No                50      17       50    19         Highly Confidential
Payam Shodjai      2020.11.10              CID                      No                51      12       51    13         Highly Confidential
Payam Shodjai      2020.11.10              CID                      No                51      14       51    15         Highly Confidential
Payam Shodjai      2020.11.10              CID                      No               51       16       51    20         Highly Confidential                                 51:21-52:2
Payam Shodjai      2020.11.10              CID                      No                52       4       52    10         Highly Confidential                           50:22-51:10; 53:9-54:4
Payam Shodjai      2020.11.10              CID                      No               52       11       52    13         Highly Confidential
Payam Shodjai      2020.11.10              CID                      No                66       6       66     8         Highly Confidential                                 66:9-66:16
Payam Shodjai      2020.11.10              CID                      No               66       21       66    23         Highly Confidential                                 66:24-67:5
Payam Shodjai      2020.11.10              CID                      No               68        9       68    13         Highly Confidential
Payam Shodjai      2020.11.10              CID                      No               79        3       79     8         Highly Confidential
Payam Shodjai      2020.11.10              CID                      No               86       21      87      8         Highly Confidential
Payam Shodjai      2020.11.10              CID                      No               91       19       92     3         Highly Confidential                                 92:4-92:21
Payam Shodjai      2020.11.10              CID                      No               102      17      103     2         Highly Confidential             402                97:16-98:14
Payam Shodjai      2020.11.10              CID                      No               103       3      103     7         Highly Confidential             402
Payam Shodjai      2020.11.10              CID                      No               104       8      104    15         Highly Confidential             402
Payam Shodjai      2020.11.10              CID                      No               104      25      105     2         Highly Confidential             402
Payam Shodjai      2020.11.10              CID                      No               106       5      106     7         Highly Confidential             402
Payam Shodjai      2020.11.10              CID                      No               106       8      106    10         Highly Confidential             402               106:11-106:18
Payam Shodjai      2020.11.10              CID                      No               108      10      108    15         Highly Confidential             402                107:19-108:9
Payam Shodjai      2020.11.10              CID                      No               141      21      142     9         Highly Confidential             402               140:21-141:20
Payam Shodjai      2020.11.10              CID                      No               142      10      142    19         Highly Confidential             402
Payam Shodjai      2020.11.10              CID                      No               169      10      169    14         Highly Confidential                               169:21-169:22
Payam Shodjai      2020.11.10              CID                      No               169      23      169    25         Highly Confidential
Payam Shodjai      2020.11.10              CID                      No               170       1      170     3         Highly Confidential                               170:16-161:11
Payam Shodjai      2020.11.10              CID                      No               181       7      181    11         Highly Confidential
Payam Shodjai      2020.11.10              CID                      No               181      12      181    13         Highly Confidential
Payam Shodjai      2020.11.10              CID                      No               181      14      181    21         Highly Confidential             402
Payam Shodjai      2020.11.10              CID                      No               181      22      181    24         Highly Confidential             402
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                                     CID or Litigation     Video of Deposition      Page     Line    Page Line      Party Confidentiality as of                         Google Counter-
  Witness       Date of Deposition                                                                                                                Google Objections
                                        Deposition                (Y/N)             From     From     to   to              2024.07.03                                     Designations
                                                                                                                                                                      182:7-182:11; 182:18-
Payam Shodjai      2020.11.10              CID                      No               182      13      182    17         Highly Confidential             402
                                                                                                                                                                       183:1, 183:5-183:6
Payam Shodjai      2020.11.10              CID                      No               183       2      183     4         Highly Confidential           402, 602
Payam Shodjai      2020.11.10              CID                      No               183       7      183    13         Highly Confidential                              183:18-183:19
Payam Shodjai      2020.11.10              CID                      No               183      20      183    22         Highly Confidential
Payam Shodjai      2020.11.10              CID                      No               183      23      183    24         Highly Confidential
Payam Shodjai      2020.11.10              CID                      No               183      25      184     1         Highly Confidential                               184:7-184:19
Payam Shodjai      2020.11.10              CID                      No               184      23      185    3          Highly Confidential
                                                                                                                                                                      185:11-186:11; 187:8-
Payam Shodjai      2020.11.10              CID                      No               185       7      185    10         Highly Confidential
                                                                                                                                                                      187:13; 187:23-188:20
                                                                                                                                                                      218:16-218:21; 223:7-
Payam Shodjai      2020.11.10              CID                      No               224      15      224    20         Highly Confidential           106, 402
                                                                                                                                                                        19; 223:20-224:4
Payam Shodjai      2020.11.10              CID                      No               224      21      225    2          Highly Confidential           106, 402
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                                                  Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                                    Sinaniyev (Google)


                                      CID or Litigation      Video of Deposition     Page     Line     Page   Line    Party Confidentiality as of                        Google Counter-
   Witness       Date of Deposition                                                                                                                 Google Objections
                                         Deposition                 (Y/N)            From     From      to     to            2024.07.03                                   Designations
Vlad Sinaniyev      2023.11.16           Litigation                  Yes               7        9       7      14              Public
Vlad Sinaniyev      2023.11.16           Litigation                  Yes              10        8       10     23            Confidential
Vlad Sinaniyev      2023.11.16           Litigation                  Yes              10       24       11     13            Confidential
                                                                                                                                                                           118:19-119:21
Vlad Sinaniyev      2023.11.16            Litigation                  Yes             123       11     123     13            Confidential
                                                                                                                                                                           122:15-123:10
Vlad Sinaniyev      2023.11.16            Litigation                  Yes             123       16     124     2             Confidential
Vlad Sinaniyev      2023.11.16            Litigation                  Yes             124       22     124     25            Confidential                                     124:3-9
Vlad Sinaniyev      2023.11.16            Litigation                  Yes             125       4      125     11            Confidential
Vlad Sinaniyev      2023.11.16            Litigation                  Yes             125       12     125     19         Highly Confidential
Vlad Sinaniyev      2023.11.16            Litigation                  Yes             128       3      128     5          Highly Confidential
Vlad Sinaniyev      2023.11.16            Litigation                  Yes             128       8      128     15         Highly Confidential
Vlad Sinaniyev      2023.11.16            Litigation                  Yes             129       23     130     5          Highly Confidential                           129:13-18; 129:21-22
Vlad Sinaniyev      2023.11.16            Litigation                  Yes             130        6     130     12         Highly Confidential                                130:13-20
Vlad Sinaniyev      2023.11.16            Litigation                  Yes             211       21     212     2          Highly Confidential
Vlad Sinaniyev      2023.11.16            Litigation                  Yes             212       20     212     25         Highly Confidential             602                213:1-13
Vlad Sinaniyev      2023.11.16            Litigation                  Yes             213       14     213     19         Highly Confidential                           213:20-22; 214:9-13
                                                                                                                                                                         214:9-13; 109:16-
Vlad Sinaniyev      2023.11.16            Litigation                  Yes             214        1     214      8         Highly Confidential
                                                                                                                                                                              112:15
Vlad Sinaniyev      2023.11.16            Litigation                  Yes             223        1     223     7          Highly Confidential             602
Vlad Sinaniyev      2023.11.16            Litigation                  Yes             223        8     223     14         Highly Confidential             602              223:23-224:25
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                                          Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                            Soroca (Magnite)



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  Witness     Date of Deposition                                                                                                    Google Objections
                                      Deposition                (Y/N)           From     From to    to    as of 2024.07.03                                 Designations
Adam Soroca      2023.08.31            Litigation                Yes              7       21      8      1           Public
Adam Soroca      2023.08.31            Litigation                Yes             11       20      12     5           Public
Adam Soroca      2023.08.31            Litigation                Yes             12        6      12    18           Public
Adam Soroca      2023.08.31            Litigation                Yes             13       19      14    12           Public
Adam Soroca      2023.08.31            Litigation                Yes             18        9      18    10           Public             602, 701
Adam Soroca      2023.08.31            Litigation                Yes             18       12      18    12           Public           602, 701, 802
Adam Soroca      2023.08.31            Litigation                Yes             19        1      19     3           Public           402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             19        6      19     6           Public           402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             19        7      19     8           Public           402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             19        9      19    12           Public           402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             19       18      19    19           Public           402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             19       21      19    21           Public           402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             20        7      20     9           Public           402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             20       11      20    11           Public           402, 602, 701          179:9-13
Adam Soroca      2023.08.31            Litigation                Yes             20       12      20    13           Public           402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             20       15      20    16           Public           402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             20       17      21     2           Public           402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             21        5      21     7           Public           402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             21        9      21     9           Public           402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             21       10      21    11           Public           402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             21       13      21    13           Public           402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             21       15      21    17           Public           402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             21       19      21    21           Public
Adam Soroca      2023.08.31            Litigation                Yes             21       22      22    11           Public           402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             22       18      22    18           Public           402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             22       20      22    22           Public           402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             23        1      23     3           Public         402, 602, 701, 611c
Adam Soroca      2023.08.31            Litigation                Yes             23        5      23     5           Public           402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             23       14      23    16           Public           402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             23       18      23    18           Public           402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             23       19      23    21           Public           402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             24        1      24     2           Public           402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             24       10      24    12           Public           402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             24       18      26     4           Public          611c (24:18-20)
Adam Soroca      2023.08.31            Litigation                Yes             25        7      25     9           Public
Adam Soroca      2023.08.31            Litigation                Yes             25       11      25    11           Public
Adam Soroca      2023.08.31            Litigation                Yes             25       13      25    19           Public         402, 602, 701, 802
Adam Soroca      2023.08.31            Litigation                Yes             25       21      25    21           Public         402, 602, 701, 802
Adam Soroca      2023.08.31            Litigation                Yes             25       22      26     1           Public         402, 602, 701, 802
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                                   CID or Litigation     Video of Deposition    Page     Line Page Line Party Confidentiality                               Google Counter-
  Witness     Date of Deposition                                                                                                    Google Objections
                                      Deposition                (Y/N)           From     From to    to    as of 2024.07.03                                   Designations
Adam Soroca      2023.08.31            Litigation                Yes             26        3      26     4           Public          402, 602, 701, 802
Adam Soroca      2023.08.31            Litigation                Yes             26       21      27    5            Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             27        7      27    7            Public            402, 602, 701         110:12-110:21
Adam Soroca      2023.08.31            Litigation                Yes             27        8      27     9           Public          402, 602, 701, 802
Adam Soroca      2023.08.31            Litigation                Yes             27       11      27    12           Public          402, 602, 701, 802
Adam Soroca      2023.08.31            Litigation                Yes             27       18      27    20           Public          402, 602, 701, 802
                                                                                                                                     402, 602, 701, 802
                                                                                                                                      (27:18 - 27:20);
Adam Soroca      2023.08.31            Litigation                Yes             27       18      28    15           Public
                                                                                                                                    402, 602, 611c, 701,
                                                                                                                                      (27:18 - 28:15)
Adam Soroca      2023.08.31            Litigation                Yes             27       22      27    22           Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             28        1      28     2           Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             28        4      28     5           Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             28        6      28     8           Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             28       10      28    12           Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             28       13      28    13           Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             28       15      28    15           Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             28       16      28    18           Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             28       20      29     5           Public          402, 602, 701, 802
Adam Soroca      2023.08.31            Litigation                Yes             29        7      29     9           Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             29       11      29    16           Public          402, 602, 701, 802
Adam Soroca      2023.08.31            Litigation                Yes             31        9      31    10           Public               602, 701
Adam Soroca      2023.08.31            Litigation                Yes             31       12      31    17           Public            602, 701, 802
Adam Soroca      2023.08.31            Litigation                Yes             31       18      31    18           Public         402, 602, 611c, 701
                                                                                                                                                           30:11-30:13, 30:15-
Adam Soroca      2023.08.31            Litigation                Yes             31       20      31    20           Public         402, 602, 611c, 701
                                                                                                                                                            30:20, 30:22-31:8
Adam Soroca      2023.08.31            Litigation                Yes             31       21      31    22           Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             32        2      32     7           Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             32        8      32     9           Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             32       11      32    12           Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             32       13      32    13           Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             32       15      32    15           Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             32       16      32    16           Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             32       18      32    20           Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             32       21      33     1           Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             33        3      33     6           Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             33        7      33    10           Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             33       12      33    12           Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             33       13      33    14           Public            402, 602, 701
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                                          Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                                   Soroca (Magnite)



                                   CID or Litigation     Video of Deposition    Page     Line Page Line Party Confidentiality                                   Google Counter-
  Witness     Date of Deposition                                                                                                     Google Objections
                                      Deposition                (Y/N)           From     From to    to    as of 2024.07.03                                       Designations

Adam Soroca      2023.08.31            Litigation                Yes             33       16      33    17           Public         402, 403, 602, 701, 802
Adam Soroca      2023.08.31            Litigation                Yes             33       18      33    20           Public           402, 602, 701, 802
Adam Soroca      2023.08.31            Litigation                Yes             33       22      33    22           Public           402, 602, 701, 802
Adam Soroca      2023.08.31            Litigation                Yes             34        1      34     3           Public             402, 701, 802
Adam Soroca      2023.08.31            Litigation                Yes             34        4      34     6           Public           402, 602, 701, 802
Adam Soroca      2023.08.31            Litigation                Yes             34        8      34     8           Public             402, 701, 802
Adam Soroca      2023.08.31            Litigation                Yes             34        9      34    14           Public           402, 602, 701, 802
Adam Soroca      2023.08.31            Litigation                Yes             34       15      34    15           Public             402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             34       17      34    20           Public             402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             35        8      35    11           Public           402, 602, 701, 802
                                                                                                                                                              107:19-107:21; 108:1-
                                                                                                                                                                108:1; 108:2-108:5;
                                                                                                                                                               108:7-108:8; 108:9-
Adam Soroca      2023.08.31            Litigation                Yes             35       13      35    16           Public           402, 602, 701, 802
                                                                                                                                                              108:12; 108:14-108:16;
                                                                                                                                                               110:1-110:5; 110:8-
                                                                                                                                                                       110:8
Adam Soroca      2023.08.31            Litigation                Yes             36        5      36     6           Public           402, 602, 701, 802
Adam Soroca      2023.08.31            Litigation                Yes             36        8      36     9           Public           402, 602, 701, 802
Adam Soroca      2023.08.31            Litigation                Yes             36       10      36    11           Public             402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             36       13      36    15           Public           402, 602, 701, 802
Adam Soroca      2023.08.31            Litigation                Yes             36       22      37     1           Public           402, 602, 701, 802
Adam Soroca      2023.08.31            Litigation                Yes             37        3      37    13           Public           402, 602, 701, 802
Adam Soroca      2023.08.31            Litigation                Yes             37       14      37    18           Public           402, 602, 701, 802
Adam Soroca      2023.08.31            Litigation                Yes             37       20      37    20           Public           402, 602, 701, 802
Adam Soroca      2023.08.31            Litigation                Yes             37       21      38     5           Public             402, 701, 802
Adam Soroca      2023.08.31            Litigation                Yes             38       19      38    21           Public             402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             39        1      39     2           Public           402, 602, 701, 802
Adam Soroca      2023.08.31            Litigation                Yes             39        3      39     4           Public           402, 602, 701, 802
Adam Soroca      2023.08.31            Litigation                Yes             39        6      39     7           Public             402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             39        8      39     8           Public             402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             39       10      39    10           Public             402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             39       11      39    20           Public             402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             40       10      40    11           Public               402, 602
Adam Soroca      2023.08.31            Litigation                Yes             40       13      40    16           Public               402, 602
Adam Soroca      2023.08.31            Litigation                Yes             40       17      41     6           Public             402, 602, 802
Adam Soroca      2023.08.31            Litigation                Yes             41        7      41     7           Public             402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             41        9      41     9           Public             402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             41       10      41    15           Public             611c, 701, 802
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  Witness     Date of Deposition                                                                                                    Google Objections
                                      Deposition                (Y/N)           From     From to    to    as of 2024.07.03                                  Designations
Adam Soroca      2023.08.31            Litigation                Yes             41       17      42    6            Public          402, 602, 701, 802
                                                                                                                                    402, 602, 611c, 701,
Adam Soroca      2023.08.31            Litigation                Yes             42        7      42    9            Public
                                                                                                                                            802
Adam Soroca      2023.08.31            Litigation                Yes             42       11      42    11           Public         402, 602, 611c, 701     182:12-182:22
Adam Soroca      2023.08.31            Litigation                Yes             43       22      44     5           Public                 802
Adam Soroca      2023.08.31            Litigation                Yes             44        9      44    14           Public                 802
Adam Soroca      2023.08.31            Litigation                Yes             44       15      45     5           Public             802 (45:2-5)
Adam Soroca      2023.08.31            Litigation                Yes             45        6      45    14           Public            402, 802, 805
Adam Soroca      2023.08.31            Litigation                Yes             45       15      45    15           Public          402, 602, 802, 805
Adam Soroca      2023.08.31            Litigation                Yes             45       17      45    21           Public          402, 602, 802, 805
Adam Soroca      2023.08.31            Litigation                Yes             45       22      46    17           Public            402, 802, 805
Adam Soroca      2023.08.31            Litigation                Yes             46       18      46    20           Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             46       22      47     6           Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             47        7      47     8           Public            402, 602, 701
                                                                                                                                                             174:22-175:1;
                                                                                                                                                            175:10-175:12;
Adam Soroca      2023.08.31            Litigation                Yes             47        9      47    9            Public         402, 602, 611c, 701
                                                                                                                                                             175:20-177:4;
                                                                                                                                                            177:17-178:20
Adam Soroca      2023.08.31            Litigation                Yes             47       15      47    17           Public           402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             47       18      47    19           Public         402, 602, 611c, 701
Adam Soroca      2023.08.31            Litigation                Yes             47       21      47    22           Public         402, 602, 611c, 701
Adam Soroca      2023.08.31            Litigation                Yes             48        1      48     2           Public           402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             48        4      48     4           Public           402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             48        5      48    13           Public           402, 701, 802
Adam Soroca      2023.08.31            Litigation                Yes             48       14      48    15           Public           402, 701, 802
Adam Soroca      2023.08.31            Litigation                Yes             48       17      48    19           Public         402, 602, 701, 802
Adam Soroca      2023.08.31            Litigation                Yes             49        1      49     4           Public         402, 602, 701, 802
Adam Soroca      2023.08.31            Litigation                Yes             49        6      49    10           Public         402, 602, 701, 802
Adam Soroca      2023.08.31            Litigation                Yes             49       11      49    12           Public         402, 602, 701, 802
Adam Soroca      2023.08.31            Litigation                Yes             49       14      49    14           Public         402, 602, 701, 802
Adam Soroca      2023.08.31            Litigation                Yes             49       15      49    18           Public           402, 701, 802
Adam Soroca      2023.08.31            Litigation                Yes             49       20      50     6           Public           402, 701, 802         113:17-113:22
Adam Soroca      2023.08.31            Litigation                Yes             53        7      53     8           Public           402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             53       10      53    22           Public           402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             54        1      54     2           Public           402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             54        4      54     7           Public           402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             54        8      54    11           Public           402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             54       12      54    14           Public           402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             54       16      54    19           Public           402, 602, 701
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  Witness     Date of Deposition                                                                                                    Google Objections
                                      Deposition                (Y/N)           From     From to    to    as of 2024.07.03                                 Designations
Adam Soroca      2023.08.31            Litigation                Yes             58        6      58     7          Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             58        9      58    11          Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             58       21      58    22          Public               402, 602
Adam Soroca      2023.08.31            Litigation                Yes             59        2      59     6          Public                 602
Adam Soroca      2023.08.31            Litigation                Yes             60       11      60    16    Highly Confidential          402
Adam Soroca      2023.08.31            Litigation                Yes             60       17      60    20          Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             60       22      61     1          Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             61        2      61     8          Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             62        4      62     5          Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             62        7      62    10          Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             62       11      62    13          Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             62       14      62    14          Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             62       16      62    18          Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             62       19      62    20          Public          402, 602, 701, 802
Adam Soroca      2023.08.31            Litigation                Yes             62       22      62    22          Public          402, 602, 701, 802
Adam Soroca      2023.08.31            Litigation                Yes             63       11      63    12          Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             63       14      63    14          Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             63       15      63    20          Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             63       21      64     1          Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             64        3      64     6          Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             64        7      64     8          Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             64       10      64    11          Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             64       20      65     1          Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             65        3      65     3          Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             65        4      65    14          Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             65       15      65    18          Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             65       20      66     2          Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             66        3      66     5          Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             66       22      67     2          Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             67        4      67     7          Public            402, 602, 701         67:8-67:10
Adam Soroca      2023.08.31            Litigation                Yes             67       19      67    21          Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             68        1      68     2          Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             68        6      58     8          Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             68       10      68    13          Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             69        1      69     3          Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             69        5      69     5          Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             69        6      69    12          Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             70       13      70    15          Public          402, 602, 611c, 701
Adam Soroca      2023.08.31            Litigation                Yes             70       17      70    17          Public            402, 602, 701
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                                          Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                            Soroca (Magnite)



                                   CID or Litigation     Video of Deposition    Page     Line Page Line Party Confidentiality                             Google Counter-
  Witness     Date of Deposition                                                                                                    Google Objections
                                      Deposition                (Y/N)           From     From to    to    as of 2024.07.03                                 Designations
Adam Soroca      2023.08.31            Litigation                Yes             70       18      70    20           Public         402, 602, 611c, 701
Adam Soroca      2023.08.31            Litigation                Yes             70       22      71     2           Public           402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             71        3      71     4           Public           402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             71        6      71     6           Public           402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             71        7      71     8           Public           402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             71       10      71    10           Public           402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             71       17      71    19           Public           402, 701, 802
Adam Soroca      2023.08.31            Litigation                Yes             71       20      72     1           Public           402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             72        2      72     3           Public           402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             72        5      72     7           Public           402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             72        8      72    10           Public           402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             72       12      72    14           Public           402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             73        9      73    10           Public                402
Adam Soroca      2023.08.31            Litigation                Yes             73       12      73    13           Public                402
Adam Soroca      2023.08.31            Litigation                Yes             73       14      73    15           Public                402
Adam Soroca      2023.08.31            Litigation                Yes             73       16      73    16           Public                402
Adam Soroca      2023.08.31            Litigation                Yes             73       18      73    21           Public                402
Adam Soroca      2023.08.31            Litigation                Yes             73       22      74     1           Public           402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             74        3      74     9           Public           402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             74       22      75     2           Public           402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             75        4      75     4           Public           402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             75        5      75    12           Public           402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             75       18      75    20           Public              402, 602
Adam Soroca      2023.08.31            Litigation                Yes             75       22      76     2           Public           402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             76        3      76     3           Public           402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             76        5      76     5           Public           402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             76        6      76     7           Public           402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             76        9      76     9           Public           402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             76       10      76    22           Public           402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             77       15      77    16           Public           402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             77       18      77    20           Public           402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             77       21      77    21           Public           402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             78        1      78     7           Public           402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             78        8      78     9           Public           402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             78       11      78    11           Public              402, 701
Adam Soroca      2023.08.31            Litigation                Yes             78       12      78    13           Public           402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             78       15      79     5           Public           402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             79        6      79     8           Public           402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             79       10      79    12           Public           402, 602, 701
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                                          Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                              Soroca (Magnite)



                                   CID or Litigation     Video of Deposition    Page     Line Page Line Party Confidentiality                               Google Counter-
  Witness     Date of Deposition                                                                                                    Google Objections
                                      Deposition                (Y/N)           From     From to    to    as of 2024.07.03                                   Designations
Adam Soroca      2023.08.31            Litigation                Yes             80        7     80     17           Public
Adam Soroca      2023.08.31            Litigation                Yes             80       18     80     19           Public              402, 701
Adam Soroca      2023.08.31            Litigation                Yes             80       21      81     5           Public             602, 701, 802
Adam Soroca      2023.08.31            Litigation                Yes             81        6     81      7           Public                 402
Adam Soroca      2023.08.31            Litigation                Yes             81        9      81    13           Public            402, 602, 802
Adam Soroca      2023.08.31            Litigation                Yes             81       14     81     18           Public                 402
Adam Soroca      2023.08.31            Litigation                Yes             81       19     81     20           Public                 402
Adam Soroca      2023.08.31            Litigation                Yes             81       22     81     22           Public                 402
Adam Soroca      2023.08.31            Litigation                Yes             82        1     82      4           Public                 402
Adam Soroca      2023.08.31            Litigation                Yes             82        5     82      7           Public                 402
Adam Soroca      2023.08.31            Litigation                Yes             82        9     82      9           Public                 402
Adam Soroca      2023.08.31            Litigation                Yes             82       10     82     17           Public                 402
Adam Soroca      2023.08.31            Litigation                Yes             83        2      83     3           Public               402, 701
Adam Soroca      2023.08.31            Litigation                Yes             83        5      83     8           Public               402, 701
Adam Soroca      2023.08.31            Litigation                Yes             83        9     83      9           Public                 402
Adam Soroca      2023.08.31            Litigation                Yes             83       11     83     12           Public                 402
Adam Soroca      2023.08.31            Litigation                Yes             103      16     103    21           Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             103      22     104     2           Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             104       4     104     4           Public            402, 602, 701
                                                                                                                                                           104: 9-10; 104:12;
Adam Soroca      2023.08.31            Litigation                Yes             104       5     104    8            Public            402, 602, 701
                                                                                                                                                                105:8-10
Adam Soroca      2023.08.31            Litigation                Yes             162      11     162    16           Public
Adam Soroca      2023.08.31            Litigation                Yes             162      17     162    17           Public                 701
Adam Soroca      2023.08.31            Litigation                Yes             162      19     162    19           Public                                   162:20-163:2
Adam Soroca      2023.08.31            Litigation                Yes             174      20     175    12           Public            402, 802, 602
Adam Soroca      2023.08.31            Litigation                Yes             175      13     175    14           Public            402, 602, 802
Adam Soroca      2023.08.31            Litigation                Yes             175      18     175    19           Public            402, 602, 802
Adam Soroca      2023.08.31            Litigation                Yes             175      20     176    13           Public            402, 602, 802
Adam Soroca      2023.08.31            Litigation                Yes             186      10     186    16           Public
Adam Soroca      2023.08.31            Litigation                Yes             186      18     186    19           Public            402, 602, 701
                                                                                                                                                           98:17-98:18; 98:20-
Adam Soroca      2023.08.31            Litigation                Yes             186      21     187    1            Public            402, 602, 701
                                                                                                                                                                  98:21
Adam Soroca      2023.08.31            Litigation                Yes             187       2     187    17          Public             402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             187      18     187    19          Public             402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             187      21     187    22          Public             402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             188       1     188     2          Public          402, 602, 611c, 701,
Adam Soroca      2023.08.31            Litigation                Yes             188       4     188     4          Public             402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             190       5     191    12    Highly Confidential
Adam Soroca      2023.08.31            Litigation                Yes             190      13     190    15    Highly Confidential
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                                          Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                          Soroca (Magnite)



                                   CID or Litigation     Video of Deposition    Page     Line Page Line Party Confidentiality                           Google Counter-
  Witness     Date of Deposition                                                                                                    Google Objections
                                      Deposition                (Y/N)           From     From to    to    as of 2024.07.03                               Designations
Adam Soroca      2023.08.31            Litigation                Yes             190      17     190    17          Public
Adam Soroca      2023.08.31            Litigation                Yes             190      18     190    19    Highly Confidential     402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             190      21     190    22          Public              402, 602,
Adam Soroca      2023.08.31            Litigation                Yes             191       1     191     3    Highly Confidential       402, 602,
Adam Soroca      2023.08.31            Litigation                Yes             191       5     191     5          Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             191       6     191     9    Highly Confidential     402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             191      11     191    12          Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             191      19     192     2          Public               402, 403
Adam Soroca      2023.08.31            Litigation                Yes             194       5     194     8          Public              402, 611c
Adam Soroca      2023.08.31            Litigation                Yes             194      10     194    10          Public               402, 403        135:18-141:4
Adam Soroca      2023.08.31            Litigation                Yes             194      11     194    12    Highly Confidential       402, 611c
Adam Soroca      2023.08.31            Litigation                Yes             194      14     194    16    Highly Confidential          402
Adam Soroca      2023.08.31            Litigation                Yes             195       2     195     3          Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             195       5     195     5          Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             195       6     195     6          Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             195       8     195     9          Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             195      10     195    11          Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             195      13     195    13          Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             195      14     195    16          Public            402, 602, 701
Adam Soroca      2023.08.31            Litigation                Yes             195      18     195    19          Public            402, 602, 701
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                                                         Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                                   Spencer CID (Google)


                                     CID or Litigation        Video of Deposition      Page      Line     Page Line        Party Confidentiality as of                           Google Counter-
  Witness       Date of Deposition                                                                                                                       Google Objections
                                        Deposition                   (Y/N)             From      From      to   to                2024.07.03                                      Designations
Scott Spencer      2021.08.12              CID                        Yes                5        24        6    9            Highly Confidential
Scott Spencer      2021.08.12              CID                        Yes               10        23       14    3            Highly Confidential
Scott Spencer      2021.08.12              CID                        Yes               14         4       14   10            Highly Confidential
Scott Spencer      2021.08.12              CID                        Yes                14       11       14   12            Highly Confidential
Scott Spencer      2021.08.12              CID                        Yes               14        17       17    8            Highly Confidential
Scott Spencer      2021.08.12              CID                        Yes               17         9       17   17            Highly Confidential                                  52:15-52:17
Scott Spencer      2021.08.12              CID                        Yes                24        5       24    9            Highly Confidential
Scott Spencer      2021.08.12              CID                        Yes                25        4       26   21            Highly Confidential
Scott Spencer      2021.08.12              CID                        Yes                27       11       27   17            Highly Confidential
Scott Spencer      2021.08.12              CID                        Yes               27        18       28    7            Highly Confidential
Scott Spencer      2021.08.12              CID                        Yes                29       13       29   21            Highly Confidential
Scott Spencer      2021.08.12              CID                        Yes               29        13       30    3            Highly Confidential
Scott Spencer      2021.08.12              CID                        Yes                32        3       32    9            Highly Confidential
Scott Spencer      2021.08.12              CID                        Yes                32       10       32   16            Highly Confidential
Scott Spencer      2021.08.12              CID                        Yes                32       17       32   23            Highly Confidential
Scott Spencer      2021.08.12              CID                        Yes               32        24       33    1            Highly Confidential
Scott Spencer      2021.08.12              CID                        Yes               33         2       33   16            Highly Confidential
Scott Spencer      2021.08.12              CID                        Yes                33       17       33   22            Highly Confidential
Scott Spencer      2021.08.12              CID                        Yes                43        8       43   24            Highly Confidential
Scott Spencer      2021.08.12              CID                        Yes                48        3       48    8            Highly Confidential
Scott Spencer      2021.08.12              CID                        Yes                48        9       48   13            Highly Confidential
Scott Spencer      2021.08.12              CID                        Yes                48       14       48   16            Highly Confidential
Scott Spencer      2021.08.12              CID                        Yes                48       17       49   14            Highly Confidential
Scott Spencer      2021.08.12              CID                        Yes                49       15       52   14            Highly Confidential        602 (50:11 - 50:19)
Scott Spencer      2021.08.12              CID                        Yes                57       15       57   20            Highly Confidential
Scott Spencer      2021.08.12              CID                        Yes                57       15       58   12            Highly Confidential
Scott Spencer      2021.08.12              CID                        Yes                58       13       58   19            Highly Confidential
Scott Spencer      2021.08.12              CID                        Yes                58       20       58   25            Highly Confidential
Scott Spencer      2021.08.12              CID                        Yes                59        1       59   13            Highly Confidential
Scott Spencer      2021.08.12              CID                        Yes                65       21       66   15            Highly Confidential
Scott Spencer      2021.08.12              CID                        Yes                70        3       70   12            Highly Confidential
Scott Spencer      2021.08.12              CID                        Yes                70       17       71    6            Highly Confidential
Scott Spencer      2021.08.12              CID                        Yes                72        2       72   24            Highly Confidential
Scott Spencer      2021.08.12              CID                        Yes                82       11       84   13            Highly Confidential
Scott Spencer      2021.08.12              CID                        Yes                84       15       84   16            Highly Confidential
Scott Spencer      2021.08.12              CID                        Yes                85        8       85   25            Highly Confidential                              86:1-86:8; 86:18-87:2
Scott Spencer      2021.08.12              CID                        Yes                97        9       98   15            Highly Confidential
Scott Spencer      2021.08.12              CID                        Yes               111       15      112    4            Highly Confidential
Scott Spencer      2021.08.12              CID                        Yes               112        5      112    6            Highly Confidential
Scott Spencer      2021.08.12              CID                        Yes               112       15      112   25            Highly Confidential
Scott Spencer      2021.08.12              CID                        Yes               119       11      119   25            Highly Confidential
Scott Spencer      2021.08.12              CID                        Yes               121       19      122    6            Highly Confidential                                122:7 - 122:15
Scott Spencer      2021.08.12              CID                        Yes               122       16      123    2            Highly Confidential                                127:10 - 128:13
Scott Spencer      2021.08.12              CID                        Yes               132       25      133    7            Highly Confidential
Scott Spencer      2021.08.12              CID                        Yes               141       12      141   16            Highly Confidential
Scott Spencer      2021.08.12              CID                        Yes               143        7      143   25            Highly Confidential             402, 403
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                                                         Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                               Spencer CID (Google)


                                     CID or Litigation        Video of Deposition      Page      Line     Page Line        Party Confidentiality as of                       Google Counter-
  Witness       Date of Deposition                                                                                                                       Google Objections
                                        Deposition                   (Y/N)             From      From      to   to                2024.07.03                                  Designations
Scott Spencer      2021.08.12              CID                        Yes               150       23      153   15            Highly Confidential                              153:16-154:8
                                                                                                                                                                              157:14-157:21
Scott Spencer      2021.08.12              CID                        Yes               156        12      156     16         Highly Confidential
                                                                                                                                                                               158:6-158:15
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                                                                   Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                                                        Spero CID (Google)



                                                                                                                                                                                                              Google Counter-
 Witness      Date of Deposition   CID or Litigation Deposition   Video of Deposition (Y/N)    Page From Line From Page to Line to            Party Confidentiality as of 2024.07.03   Google Objections
                                                                                                                                                                                                               Designations
Jason Spero      2021.09.28                    CID                          Yes                     7           20          7        24                Highly Confidential                                       5:19-5:22
Jason Spero      2021.09.28                    CID                          Yes                    19           12          19       22                Highly Confidential
Jason Spero      2021.09.28                    CID                          Yes                    20            6          20       14                Highly Confidential                                 19:23-20:5; 20:15-20:24
Jason Spero      2021.09.28                    CID                          Yes                    20           25          22       16                Highly Confidential
Jason Spero      2021.09.28                    CID                          Yes                    22           23          22       25                Highly Confidential
Jason Spero      2021.09.28                    CID                          Yes                    24           19          24       23                Highly Confidential                                 25:17-25:25; 26:1-26:14
Jason Spero      2021.09.28                    CID                          Yes                    54            8          54       20                Highly Confidential                                       98:22-99:21
Jason Spero      2021.09.28                    CID                          Yes                    106          10         106       14                Highly Confidential                                     102:19-103:22
Jason Spero      2021.09.28                    CID                          Yes                    106          15         107       8                 Highly Confidential                                      107:9-107:23
Jason Spero      2021.09.28                    CID                          Yes                    107          24         108       25                Highly Confidential
                                                                                                                                                                                                            120:6-120:9; 120:11-
Jason Spero      2021.09.28                    CID                          Yes                    123           1         124       14                Highly Confidential
                                                                                                                                                                                                                   120:21
                                                                                                                                                                                                           103:23-103:24; 104:1-
Jason Spero      2021.09.28                    CID                          Yes                    184          20         185        6                Highly Confidential                                 105:18; 185:7-185:13;
                                                                                                                                                                                                               237:24-240:7
                                                                                                                                                                                                            196:22-197:6; 230:2-
Jason Spero      2021.09.28                    CID                          Yes                    197           7         197       14                Highly Confidential
                                                                                                                                                                                                           230:4; 231:18-231:24
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                                                         Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                                     Srinivasan (Google)


                                        CID or Litigation           Video of         Page                  Page    Line    Party Confidentiality as of                              Google Counter-
    Witness        Date of Deposition                                                        Line From                                                     Google Objections
                                           Deposition            Deposition (Y/N)    From                   to      to            2024.07.03                                         Designations
Rahul Srinivasan      2023.08.29           Litigation                  Yes             4          11         4      13            Confidential
Rahul Srinivasan      2023.08.29           Litigation                  Yes            10           2        10      15            Confidential
Rahul Srinivasan      2023.08.29           Litigation                  Yes            14           2        15       8            Confidential
Rahul Srinivasan      2023.08.29           Litigation                  Yes            19          19        21      20            Confidential                                        21:21-21:24
Rahul Srinivasan      2023.08.29           Litigation                  Yes            22          17        22      21            Confidential
Rahul Srinivasan      2023.08.29           Litigation                  Yes            37          19        37      22            Confidential
Rahul Srinivasan      2023.08.29           Litigation                  Yes            47           4        47      10              Public
Rahul Srinivasan      2023.08.29           Litigation                  Yes            48          22        49      2             Confidential                                        48:16-48:21
Rahul Srinivasan      2023.08.29           Litigation                  Yes            66          17        67      6         Highly Confidential
Rahul Srinivasan      2023.08.29           Litigation                  Yes            67           7        67      17        Highly Confidential                                      67:18-68:2
                                                                                                                                                                                   99:25-100:5; 100:7-
Rahul Srinivasan      2023.08.29            Litigation                 Yes            106         15       107      3          Highly Confidential         802 (106:20-107:3)
                                                                                                                                                                                         100:10
Rahul Srinivasan      2023.08.29            Litigation                 Yes            169         23       171      10             Confidential          802 (170:1-171:10), 602
Rahul Srinivasan      2023.08.29            Litigation                 Yes            171         11       173      20            Confidential                    602
Rahul Srinivasan      2023.08.29            Litigation                 Yes            173         21       177      18         Highly Confidential              602, 802              178:3-178:9
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   Witness       Date of Deposition                                                                                                                  Google Objections
                                         Deposition                (Y/N)           From       From      to     to             2024.07.03                                   Designations
Bonita Stewart      2021.05.17              CID                     Yes             10         22       11     6          Highly Confidential
                                                                                                                                                           402
Bonita Stewart      2021.05.17              CID                     Yes              33         9       33     16          Highly Confidential
                                                                                                                                                           402;
Bonita Stewart      2021.05.17              CID                     Yes              33        23       35      7          Highly Confidential                              282:19-283:14
                                                                                                                                                      403 (35:2-35:7)
Bonita Stewart      2021.05.17              CID                     Yes              42        17       42     25          Highly Confidential
Bonita Stewart      2021.05.17              CID                     Yes              43        22       44     13          Highly Confidential
Bonita Stewart      2021.05.17              CID                     Yes              53        10       54     6           Highly Confidential                                46:5-46:9
                                                                                                                                                                           66:4-25; 67:2-6;
Bonita Stewart      2021.05.17              CID                     Yes              61        11       64     13          Highly Confidential             402           105:22-106:8; 117:6-
                                                                                                                                                                                118:8
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                                                      Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                                         Verma CID (Google)


                                  CID or Litigation    Video of Deposition                              Page Line       Party Confidentiality as of                                Google Counter-
 Witness     Date of Deposition                                               Page From Line From                                                      Google Objections
                                     Deposition               (Y/N)                                      to   to               2024.07.03                                           Designations
Alok Verma      2021.07.21              CID                    Yes                 8           15        8    22           Highly Confidential
Alok Verma      2021.07.21              CID                    Yes                25           17        26   12           Highly Confidential
Alok Verma      2021.07.21              CID                    Yes                29           14        32   14           Highly Confidential
Alok Verma      2021.07.21              CID                    Yes                117          5        117   16           Highly Confidential                 402
                                                                                                                                                                                145:25 - 146:7; 146:13 -
Alok Verma      2021.07.21              CID                     Yes               144          14        145    24          Highly Confidential                402              148:14; 149:4 - 150:22,
                                                                                                                                                                                    153:12 - 154:9
Alok Verma      2021.07.21              CID                     Yes               161          23        168     7          Highly Confidential                 402
Alok Verma      2021.07.21              CID                     Yes               304          23        305     4          Highly Confidential       402, 403, 602, 802, 805
                                                                                                                                                                                305:19 - 305:22; 307:4-
Alok Verma      2021.07.21              CID                     Yes               305           7        305    16          Highly Confidential       402, 403, 602, 802, 805
                                                                                                                                                                                        307:18
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                                                           Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                                 Whitcombe (Meta 30(b)(6))


                                       CID or Litigation     Video of Deposition                                                 Party Confidentiality as of                           Google Counter-
    Witness       Date of Deposition                                                Page From Line From Page to Line to                                        Google Objections
                                         Deposition                 (Y/N)                                                               2024.07.03                                      Designations
Simon Whitcombe      2023.09.28           Litigation                 Yes                 5           19          5      21                Public
Simon Whitcombe      2023.09.28           Litigation                 Yes                8            17         9       5               Confidential
Simon Whitcombe      2023.09.28           Litigation                 Yes                 9           15         10       3                Public
Simon Whitcombe      2023.09.28           Litigation                 Yes                88            7         88      13          Highly Confidential
Simon Whitcombe      2023.09.28           Litigation                 Yes               104           15        105      5               Confidential
Simon Whitcombe      2023.09.28           Litigation                 Yes               105           17        106      3               Confidential                  802
Simon Whitcombe      2023.09.28           Litigation                 Yes               106            4        106      7               Confidential                  802
Simon Whitcombe      2023.09.28           Litigation                 Yes               106            8        106      12              Confidential                 611c
Simon Whitcombe      2023.09.28           Litigation                 Yes               106           16        106      23              Confidential             802, 402, 602
Simon Whitcombe      2023.09.28           Litigation                 Yes               106           24        108      3               Confidential             802, 402, 602
Simon Whitcombe      2023.09.28           Litigation                 Yes               108            4        108      11              Confidential             802, 402, 602
Simon Whitcombe      2023.09.28           Litigation                 Yes               108           12        108      14              Confidential
Simon Whitcombe      2023.09.28           Litigation                 Yes               108           20        108      23              Confidential                 611c
Simon Whitcombe      2023.09.28           Litigation                 Yes               109            4        109      5               Confidential             802, 402, 602
Simon Whitcombe      2023.09.28           Litigation                 Yes               109            6        109      9               Confidential             802, 402, 602
Simon Whitcombe      2023.09.28           Litigation                 Yes               109           12        109      13              Confidential             802, 402, 602
Simon Whitcombe      2023.09.28           Litigation                 Yes               111            8        111      9               Confidential
Simon Whitcombe      2023.09.28           Litigation                 Yes               111           11        111      14              Confidential
Simon Whitcombe      2023.09.28           Litigation                 Yes               115            2        115      8               Confidential                 611c
Simon Whitcombe      2023.09.28           Litigation                 Yes               115           11        115      11              Confidential             802, 402, 602
Simon Whitcombe      2023.09.28           Litigation                 Yes               116            4        116      25              Confidential                  802
Simon Whitcombe      2023.09.28           Litigation                 Yes               117           21        118      5               Confidential                  802
Simon Whitcombe      2023.09.28           Litigation                 Yes               118            7        118      23              Confidential                  802
Simon Whitcombe      2023.09.28           Litigation                 Yes               118           24        119      2               Confidential                  802
Simon Whitcombe      2023.09.28           Litigation                 Yes               119            4        119      6               Confidential                  802
Simon Whitcombe      2023.09.28           Litigation                 Yes               119            9        119      12              Confidential                  802
Simon Whitcombe      2023.09.28           Litigation                 Yes               119           22        120      2               Confidential                  802
Simon Whitcombe      2023.09.28           Litigation                 Yes               120            4        120      4               Confidential                  802
Simon Whitcombe      2023.09.28           Litigation                 Yes               120            7        120      11              Confidential                  802
Simon Whitcombe      2023.09.28           Litigation                 Yes               120           12        120      14              Confidential                  802
Simon Whitcombe      2023.09.28           Litigation                 Yes               120           16        120      16              Confidential                  802
Simon Whitcombe      2023.09.28           Litigation                 Yes               120           17        120      19              Confidential                  802
Simon Whitcombe      2023.09.28           Litigation                 Yes               120           22        120      22              Confidential                  802
Simon Whitcombe      2023.09.28           Litigation                 Yes               120           23        120      25              Confidential                  802
Simon Whitcombe      2023.09.28           Litigation                 Yes               121            2        121      2               Confidential                  802
Simon Whitcombe      2023.09.28           Litigation                 Yes               121            4        121      9               Confidential                  802
Simon Whitcombe      2023.09.28           Litigation                 Yes               121           10        121      13              Confidential                  802
Simon Whitcombe      2023.09.28           Litigation                 Yes               121           16        121      21              Confidential                  802
Simon Whitcombe      2023.09.28           Litigation                 Yes               121           22        122      9               Confidential                  802
Simon Whitcombe      2023.09.28           Litigation                 Yes               122           10        122      13              Confidential                  802
Simon Whitcombe      2023.09.28           Litigation                 Yes               122           16        122      19              Confidential                  802
Simon Whitcombe      2023.09.28           Litigation                 Yes               122           20        122      23              Confidential               611c, 802
Simon Whitcombe      2023.09.28           Litigation                 Yes               123            3        123      5               Confidential                  802
Simon Whitcombe      2023.09.28           Litigation                 Yes               123           13        123      18              Confidential
Simon Whitcombe      2023.09.28           Litigation                 Yes               125            5        125      9               Confidential
Simon Whitcombe      2023.09.28           Litigation                 Yes               125           18        125      22              Confidential               611c, 802
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                                                           Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                                          Whitcombe (Meta 30(b)(6))


                                       CID or Litigation     Video of Deposition                                                 Party Confidentiality as of                                    Google Counter-
    Witness       Date of Deposition                                                Page From Line From Page to Line to                                           Google Objections
                                         Deposition                 (Y/N)                                                               2024.07.03                                               Designations
Simon Whitcombe      2023.09.28           Litigation                 Yes               125           24        126      3               Confidential                  611c, 802
Simon Whitcombe      2023.09.28           Litigation                 Yes               126           11        126      21              Confidential                  611c, 802
Simon Whitcombe      2023.09.28           Litigation                 Yes               126           24        126      25              Confidential                     802
Simon Whitcombe      2023.09.28           Litigation                 Yes               127           2         127      20              Confidential                  611c, 802
Simon Whitcombe      2023.09.28           Litigation                 Yes               129           3         129      6               Confidential                611c, 802, 602
Simon Whitcombe      2023.09.28           Litigation                 Yes               129           10        129      20              Confidential                611c, 802, 602
Simon Whitcombe      2023.09.28           Litigation                 Yes               130           13        130      18              Confidential                  611c, 802
Simon Whitcombe      2023.09.28           Litigation                 Yes               130           25        131      10              Confidential                  611c, 802
Simon Whitcombe      2023.09.28           Litigation                 Yes               131           14        131      15              Confidential                  611c, 802
Simon Whitcombe      2023.09.28           Litigation                 Yes               131           21        131      25              Confidential
Simon Whitcombe      2023.09.28           Litigation                 Yes               132           2         132      12              Confidential
Simon Whitcombe      2023.09.28           Litigation                 Yes               132           19        132      21              Confidential              402, 602, 802, 30b6
Simon Whitcombe      2023.09.28           Litigation                 Yes               132           24        132      24              Confidential              402, 602, 802, 30b6
Simon Whitcombe      2023.09.28           Litigation                 Yes               132           25        133      4               Confidential              402, 602, 802, 30b6
Simon Whitcombe      2023.09.28           Litigation                 Yes               133           5         133      10              Confidential              402, 602, 802, 30b6
Simon Whitcombe      2023.09.28           Litigation                 Yes               133           11        133      14              Confidential              402, 602, 802, 30b6
Simon Whitcombe      2023.09.28           Litigation                 Yes               133           19        133      19              Confidential              402, 602, 802, 30b6
Simon Whitcombe      2023.09.28           Litigation                 Yes               133           20        133      22              Confidential              402, 602, 802, 30b6
Simon Whitcombe      2023.09.28           Litigation                 Yes               134           4         134      6               Confidential              402, 602, 802, 30b6
Simon Whitcombe      2023.09.28           Litigation                 Yes               134           7         134      12              Confidential              402, 602, 802, 30b6
Simon Whitcombe      2023.09.28           Litigation                 Yes               134           16        134      20              Confidential              402, 602, 802, 30b6
Simon Whitcombe      2023.09.28           Litigation                 Yes               134           23        135      9               Confidential              402, 602, 802, 30b6
Simon Whitcombe      2023.09.28            Litigation                Yes               136           23        136      25              Confidential           611c, 402, 602, 802, 30b6

Simon Whitcombe      2023.09.28            Litigation                Yes               137           2         137       2              Confidential           611c, 402, 602, 802, 30b6

Simon Whitcombe      2023.09.28            Litigation                Yes               137           4         137       6              Confidential           611c, 402, 602, 802, 30b6

Simon Whitcombe      2023.09.28            Litigation                Yes               137           9         137      11              Confidential           611c, 402, 602, 802, 30b6

Simon Whitcombe      2023.09.28            Litigation                Yes               137           12        137      16              Confidential           611c, 402, 602, 802, 30b6

Simon Whitcombe      2023.09.28            Litigation                Yes               137           17        137      21              Confidential           611c, 402, 602, 802, 30b6
                                                                                                                                                               611c, 402, 602, 802, 30b6,
Simon Whitcombe      2023.09.28            Litigation                Yes               138           9         138      18              Confidential
                                                                                                                                                                          701
                                                                                                                                                               611c, 402, 602, 802, 30b6,
Simon Whitcombe      2023.09.28            Litigation                Yes               138           19        138      24              Confidential
                                                                                                                                                                          701
                                                                                                                                                               611c, 402, 602, 802, 30b6,
Simon Whitcombe      2023.09.28            Litigation                Yes               139           5         139      10              Confidential
                                                                                                                                                                          701
                                                                                                                                                               611c, 402, 602, 802, 30b6,
Simon Whitcombe      2023.09.28            Litigation                Yes               139           11        139      14              Confidential                                           140:5-8; 140:14-24
                                                                                                                                                                          701
Simon Whitcombe      2023.09.28            Litigation                Yes               139           21        140      3               Confidential
Simon Whitcombe      2023.09.28            Litigation                Yes               140           25        141      5               Confidential           611c, 402, 602, 701, 802
Simon Whitcombe      2023.09.28            Litigation                Yes               141           9         141      10              Confidential           611c, 402, 602, 701, 802
Simon Whitcombe      2023.09.28            Litigation                Yes               141           11        141      14              Confidential           611c, 402, 602, 701, 802
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                                                           Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                                        Whitcombe (Meta 30(b)(6))


                                       CID or Litigation     Video of Deposition                                                 Party Confidentiality as of                                  Google Counter-
    Witness       Date of Deposition                                                Page From Line From Page to Line to                                          Google Objections
                                         Deposition                 (Y/N)                                                               2024.07.03                                             Designations
Simon Whitcombe      2023.09.28           Litigation                 Yes               141           18        141      19              Confidential           611c, 402, 602, 701, 802
Simon Whitcombe      2023.09.28           Litigation                 Yes               141           20        141      23              Confidential           611c, 402, 602, 701, 802
Simon Whitcombe      2023.09.28           Litigation                 Yes               142           5         142      7               Confidential           611c, 402, 602, 701, 802
Simon Whitcombe      2023.09.28           Litigation                 Yes               144           7         144      23              Confidential
Simon Whitcombe      2023.09.28           Litigation                 Yes               146           5         146      8               Confidential             611c, 402, 602, 802
Simon Whitcombe      2023.09.28           Litigation                 Yes               146           11        146      11              Confidential             611c, 402, 602, 802
Simon Whitcombe      2023.09.28           Litigation                 Yes               146           13        146      15              Confidential             611c, 402, 602, 802
Simon Whitcombe      2023.09.28           Litigation                 Yes               146           18        146      18              Confidential             611c, 402, 602, 802
Simon Whitcombe      2023.09.28           Litigation                 Yes               148           13        148      25              Confidential           611c, 402, 602, 701, 802
Simon Whitcombe      2023.09.28           Litigation                 Yes               150           6         150      7               Confidential           611c, 402, 602, 701, 802         149:24-150:4
Simon Whitcombe      2023.09.28           Litigation                 Yes               150           14        150      17              Confidential           611c, 402, 602, 701, 802
Simon Whitcombe      2023.09.28           Litigation                 Yes               151           18        151      24              Confidential           611c, 402, 602, 701, 802
Simon Whitcombe      2023.09.28           Litigation                 Yes               152           7         152      12              Confidential           611c, 402, 602, 701, 802
Simon Whitcombe      2023.09.28           Litigation                 Yes               152           21        152      23              Confidential           611c, 402, 602, 701, 802
Simon Whitcombe      2023.09.28           Litigation                 Yes               153           7         153      17              Confidential           611c, 402, 602, 701, 802     156:13-15; 156:20-24
Simon Whitcombe      2023.09.28           Litigation                 Yes               176           14        176      17                Public
Simon Whitcombe      2023.09.28           Litigation                 Yes               176           20        177      18              Confidential
Simon Whitcombe      2023.09.28           Litigation                 Yes               177           19        177      25              Confidential
Simon Whitcombe      2023.09.28           Litigation                 Yes               178           3         178      9               Confidential
                                                                                                                                                                                           172:25-173:4; 173:7-17;
Simon Whitcombe      2023.09.28            Litigation                Yes               178           11        178      14              Confidential
                                                                                                                                                                                           178:17-22; 178:24-179:6
Simon Whitcombe      2023.09.28            Litigation                Yes               184           24        185      3               Confidential                     402
Simon Whitcombe      2023.09.28            Litigation                Yes               185            5        185      11              Confidential                     402
Simon Whitcombe      2023.09.28            Litigation                Yes               189           10        189      14                Public
Simon Whitcombe      2023.09.28            Litigation                Yes               189           22        190      20              Confidential
Simon Whitcombe      2023.09.28            Litigation                Yes               190           21        190      25              Confidential                    611c
Simon Whitcombe      2023.09.28            Litigation                Yes               191            5        191      6               Confidential
Simon Whitcombe      2023.09.28            Litigation                Yes               191           11        191      13              Confidential
Simon Whitcombe      2023.09.28            Litigation                Yes               191           16        192      5               Confidential             611c (191:25-192:5)
Simon Whitcombe      2023.09.28            Litigation                Yes               192            8        192      20              Confidential
Simon Whitcombe      2023.09.28            Litigation                Yes               192           21        192      23                Public
Simon Whitcombe      2023.09.28            Litigation                Yes               192           21        200      17              Confidential
Simon Whitcombe      2023.09.28            Litigation                Yes               192           25        193      3               Confidential
Simon Whitcombe      2023.09.28            Litigation                Yes               193            5        193       7                Public
Simon Whitcombe      2023.09.28            Litigation                Yes               193           21        193      23                Public
Simon Whitcombe      2023.09.28            Litigation                Yes               194            4        194      5               Confidential
Simon Whitcombe      2023.09.28            Litigation                Yes               194            6        194      11                Public
Simon Whitcombe      2023.09.28            Litigation                Yes               194           15        194      23              Confidential
Simon Whitcombe      2023.09.28            Litigation                Yes               195            2        195       5                Public
Simon Whitcombe      2023.09.28            Litigation                Yes               195            9        195      13              Confidential
Simon Whitcombe      2023.09.28            Litigation                Yes               195           16        195      20                Public
Simon Whitcombe      2023.09.28            Litigation                Yes               195           24        196      4               Confidential
Simon Whitcombe      2023.09.28            Litigation                Yes               196            7        196      11              Confidential                     602
Simon Whitcombe      2023.09.28            Litigation                Yes               196           16        196      17              Confidential                     602
Simon Whitcombe      2023.09.28            Litigation                Yes               196           18        196      21                Public
Simon Whitcombe      2023.09.28            Litigation                Yes               196           24        197      2               Confidential
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                                                           Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                                 Whitcombe (Meta 30(b)(6))


                                       CID or Litigation     Video of Deposition                                                 Party Confidentiality as of                           Google Counter-
    Witness       Date of Deposition                                                Page From Line From Page to Line to                                        Google Objections
                                         Deposition                 (Y/N)                                                               2024.07.03                                      Designations
Simon Whitcombe      2023.09.28           Litigation                 Yes               197            3        197       7                Public                     611c
Simon Whitcombe      2023.09.28           Litigation                 Yes               197           17        198      4               Confidential
Simon Whitcombe      2023.09.28           Litigation                 Yes               198           5         198      10              Confidential                 611c
Simon Whitcombe      2023.09.28           Litigation                 Yes               198           13        198      18                Public                     611c
Simon Whitcombe      2023.09.28           Litigation                 Yes               198           21        198      25              Confidential             611c, 402, 602
Simon Whitcombe      2023.09.28           Litigation                 Yes               199           4         199      5               Confidential
Simon Whitcombe      2023.09.28           Litigation                 Yes               199           19        199      24                Public
Simon Whitcombe      2023.09.28           Litigation                 Yes               200           4         200      17              Confidential
Simon Whitcombe      2023.09.28           Litigation                 Yes               200           18        200      24                Public                     611c
Simon Whitcombe      2023.09.28           Litigation                 Yes               201           4         201      16              Confidential                 602
Simon Whitcombe      2023.09.28           Litigation                 Yes               202           3         202      7               Confidential               611c, 103
Simon Whitcombe      2023.09.28           Litigation                 Yes               202           11        202      12              Confidential                 602
Simon Whitcombe      2023.09.28           Litigation                 Yes               202           17        202      19                Public                   402, 602
Simon Whitcombe      2023.09.28           Litigation                 Yes               202           22        202      23              Confidential               402, 602
Simon Whitcombe      2023.09.28           Litigation                 Yes               202           24        203       2                Public
Simon Whitcombe      2023.09.28           Litigation                 Yes               203            3        203       5                Public                   402, 602
Simon Whitcombe      2023.09.28           Litigation                 Yes               203           10        203      20              Confidential               402, 602
Simon Whitcombe      2023.09.28           Litigation                 Yes               203           21        204      5               Confidential
Simon Whitcombe      2023.09.28           Litigation                 Yes               204           6         204      11              Confidential               611c, 802
Simon Whitcombe      2023.09.28           Litigation                 Yes               204           15        204      17              Confidential                 802
Simon Whitcombe      2023.09.28           Litigation                 Yes               204           19        204      22                Public
Simon Whitcombe      2023.09.28           Litigation                 Yes               204           23        204      23                Public
Simon Whitcombe      2023.09.28           Litigation                 Yes               205            2        205       7                Public                     602
Simon Whitcombe      2023.09.28           Litigation                 Yes               205           12        205      16              Confidential                 602
Simon Whitcombe      2023.09.28           Litigation                 Yes               206            3        206       8                Public                   611c, 802
Simon Whitcombe      2023.09.28           Litigation                 Yes               206           12        206      13              Confidential               611c, 802
Simon Whitcombe      2023.09.28           Litigation                 Yes               208           15        209      7               Confidential               402, 602
Simon Whitcombe      2023.09.28           Litigation                 Yes               210           19        210      22              Confidential               402, 602
Simon Whitcombe      2023.09.28           Litigation                 Yes               211           4         211      7               Confidential               402, 602
Simon Whitcombe      2023.09.28           Litigation                 Yes               211           8         211      22              Confidential               402, 602
Simon Whitcombe      2023.09.28           Litigation                 Yes               211           25        212      11              Confidential               402, 602
Simon Whitcombe      2023.09.28           Litigation                 Yes               212           14        212      14              Confidential               402, 602
Simon Whitcombe      2023.09.28           Litigation                 Yes               212           15        212      25              Confidential               402, 602
Simon Whitcombe      2023.09.28           Litigation                 Yes               213           4         213      4               Confidential               402, 602
Simon Whitcombe      2023.09.28           Litigation                 Yes               215           16        215      21              Confidential                                       215:6-10
Simon Whitcombe      2023.09.28           Litigation                 Yes               215           23        216      10              Confidential
Simon Whitcombe      2023.09.28           Litigation                 Yes               216           11        216      17              Confidential
Simon Whitcombe      2023.09.28           Litigation                 Yes               216           20        217      13              Confidential                  802
Simon Whitcombe      2023.09.28           Litigation                 Yes               265           23        266      3               Confidential
Simon Whitcombe      2023.09.28           Litigation                 Yes               266           9         266      19              Confidential
Simon Whitcombe      2023.09.28           Litigation                 Yes               267           10        267      14              Confidential
Simon Whitcombe      2023.09.28           Litigation                 Yes               267           18        267      19              Confidential                  802
Simon Whitcombe      2023.09.28           Litigation                 Yes               269           25        270      6               Confidential
Simon Whitcombe      2023.09.28           Litigation                 Yes               270           9         270      16              Confidential
Simon Whitcombe      2023.09.28           Litigation                 Yes               270           17        270      24              Confidential
Simon Whitcombe      2023.09.28           Litigation                 Yes               271           2         271      7               Confidential
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                                                           Google LLC's Objections and Counter Designations to Plaintiffs' Deposition Designations                                 Whitcombe (Meta 30(b)(6))


                                       CID or Litigation     Video of Deposition                                                 Party Confidentiality as of                           Google Counter-
    Witness       Date of Deposition                                                Page From Line From Page to Line to                                        Google Objections
                                         Deposition                 (Y/N)                                                               2024.07.03                                      Designations
Simon Whitcombe      2023.09.28           Litigation                 Yes               271           8         271      18              Confidential                 602
Simon Whitcombe      2023.09.28           Litigation                 Yes               271           21        271      25              Confidential
Simon Whitcombe      2023.09.28           Litigation                 Yes               272           4         272      16              Confidential
